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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 REGENERON PHARMACEUTICALS, INC.,

                  Plaintiff,

 v.                                                  CIVIL NO. 1:22-CV-61
                                                            (KLEEH)
 MYLAN PHARMACEUTICALS INC., and
 BIOCON BIOLOGICS, INC.,

                  Defendants.


                                    **SEALED**

         MEMORANDUM OPINION AND ORDER FOLLOWING BENCH TRIAL
                               I.     INTRODUCTION

      In this patent infringement action, the plaintiff, Regeneron

 Pharmaceuticals, Inc., (“Regeneron”), and the Defendants, Mylan

 Pharmaceuticals Inc. and Biocon Biologics, Inc. (collectively,

 “the Defendants”),1 dispute whether the Defendants have infringed

 claims 6 and 25 of Regeneron’s U.S. Patent No. 11,253,572 (“the

 ’572 Patent”); Claims 11 and 19 of Regeneron’s U.S. Patent No.

 10,888,601 (“the ’601 Patent”); and claims 4, 7, 9, 11, 14, 15,

 16, and 17 of Regeneron’s          U.S. Patent No. 11,084,865 (“the ’865

 Patent”).   They also dispute whether each of these asserted claims

 is valid and enforceable.



 1 Regeneron initially brought this lawsuit against only Defendant
 Mylan Pharmaceuticals Inc. (“Mylan”).    (ECF No. 1).   Defendant
 Biocon Biologics, Inc. was added later by stipulation (ECF No.
 523).
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       Regeneron has sued the Defendants under the Biologics Price

 Competition and Innovation Act (“BPCIA”), which “governs a type of

 drug called a biosimilar, which is a biologic product that is

 highly similar to a biologic product that has already been approved

 by the Food and Drug Administration (FDA).”          Sandoz Inc. v. Amgen

 Inc., 582 U.S. 1, 5 (2017).          The BPCIA provides an abbreviated

 route for FDA approval of biosimilars.

       The   patents-in-suit    are   associated     with   Regeneron’s   FDA

 approved Eylea® product, which contains a biological product known

 as   aflibercept.      The    Defendants    filed   a   Biologics   License

 Application (“BLA”) seeking FDA approval to market a biosimilar

 aflibercept product under the trade name YesafiliTM prior to the

 expiration of the patents in suit.2           The Court is tasked with

 deciding the following:

       (1)   whether the Defendants’ BLA products infringe claims 4,

             7, 9, 11, 14, 15, 16, and 17 of the ’865 Patent;

       (2)   whether    the    Defendants’     proposed      label   induces

             infringement of claims 6 and 25 of the ’572 Patent and

             claims 11 and 19 of the ’601 Patent;




 2 Mylan filed BLA No. 761274 with the FDA on October 29, 2021. It
 transferred ownership of that BLA to Biocon effective March 31,
 2023. (ECF No. 523).
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      (3) whether claims 4, 7, 9, 11, 14, 15, 16, and 17 of the

            ’865 Patent are invalid as anticipated or obvious or

            invalid under 35 U.S.C. § 112 for lack of written

            description, lack of enablement, or indefiniteness;

      (4)   whether claims 6 and 25 of the ’572 Patent are invalid

            as anticipated or obvious or invalid under 35 U.S.C. §

            112 for lack of written description, lack of enablement,

            or indefiniteness; and

      (5)   whether claims 11 and 19 of the ’601 Patent are invalid

            as anticipated or obvious or invalid under 35 U.S.C. §

            112 for lack of written description, lack of enablement,

            or indefiniteness.

      Following a nine-day bench trial, the parties submitted their

 memoranda of law of these issues, and the case is ripe for the

 Court’s decision.

                            II.   FINDINGS OF FACT

 A.   Parties, Jurisdiction, and Venue

      Regeneron is a corporation organized under the laws of the

 State of New York, with its principal place of business at 777 Old

 Saw Mill River Road, Tarrytown, NY 10591.            Mylan is a company

 organized under the laws of the State of West Virginia with its

 principal place of business at 3711 Collins Ferry Road, Morgantown,

 West Virginia 26505.     Mylan is an indirect wholly-owned subsidiary
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 of Viatris Inc. Biocon is a company based in India. The Court

 has subject matter and personal jurisdiction, and venue in this

 District is proper.

 B.    The BPCIA

       Under the Public Health Service Act (“PHSA”), a sponsor

 seeking to market a biologic drug must file a BLA with the Food

 and   Drug   Administration    (“FDA”)    that    details   the    biologic’s

 chemistry,    pharmacology,      manufacturing     process,      and   medical

 effects.     Sandoz, 582 U.S. at 6.        Through the BPCIA, Congress

 amended the Public Health Service Act and the Patent Act in an

 effort to balance the goals of competition and innovation.              BPCIA

 § 7001(b), Pub. L. No. 111-148.           To expedite getting competing

 “biosimilars”     to   market,     Congress      created    an    abbreviated

 regulatory approval pathway so that the biosimilar applicant does

 not have to regenerate early preclinical and clinical studies;

 rather, the applicant can instead rely, in part, on the data

 supporting the previous approval of a reference biologic product.

 42 U.S.C. § 262(i)(2), (k); Sandoz, 582 U.S. at 7.               A biosimilar

 “is a biologic product that is highly similar to a biologic product

 that has already been approved.”         Sandoz, 582 U.S. at 5.

       The Defendants’ BLA for its biosimilar product, Yesafili,

 relies on the Eylea BLA data as the reference biologic product


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 under the statute. (ECF No. 1, ¶ 3; ECF No. 435, Answer to ¶ 3).

 To   compensate    the   reference    product    sponsor   (“RPS”),    here

 Regeneron, for the use of these data, Congress grants the RPS a

 valuable twelve (12) years of marketing exclusivity, independent

 of any patent protection to which it is entitled.             Sandoz, 582

 U.S. at 7 (“the manufacturer of a new biologic enjoys a 12-year

 period when its biologic may be marketed without competition from

 biosimilars”).     Regeneron’s marketing exclusivity period (which

 includes an additional extension for performing a pediatric study)

 is set to expire on May 18, 2024.        ECF Nos. 5, 7.

 C.   Procedural Background

      By letter dated January 5, 2022, Mylan notified Regeneron

 that “FDA has received a BLA from Mylan for M710, a proposed

 biosimilar to aflibercept, which was submitted under 42 U.S.C.

 § 62(k).”   By letter dated February 22, 2022, Regeneron served on

 Mylan a list of patents pursuant to 42 U.S.C. § 262(l)(3)(A), that

 Regeneron believed “could reasonably be asserted against a person

 ‘engaged in the making, using, offering to sell, selling or

 importing into the United States of the biological product that is

 the subject of’ Mylan’s BLA No. 761274.”             Regeneron’s list of

 patents pursuant to 42 U.S.C. § 262(l)(3)(A) included each patent-

 in-suit as well as additional patents.          Mylan subsequently served


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 detailed statements related to the identified patents, on April

 14, 2022, pursuant to 42 U.S.C. § 262(l)(3)(B). Regeneron provided

 its responsive detailed statements on June 10, 2022, pursuant to

 42 U.S.C. § 262(l)(3)(C).              The parties conducted negotiations

 pursuant to 42 U.S.C. § 262(l)(4)(A) and exchanged lists of patents

 to litigate pursuant to 42 U.S.C. § 262(l)(5)(B).

       Pursuant to 42 U.S.C. § 262(l)(6)(B), Regeneron brought suit

 against Mylan on the patent-in-suit, among other patents, on August

 2,   2022.3    In     accordance   with      the   Court’s    Scheduling       Order,

 following     claim    construction,      Regeneron        reduced    its    asserted

 patents and claims to claims 11, 19, and 27 of the ‘601 Patent,

 claims 4, 7, 9, 11, and 14-18 of the ‘865 Patent and claims 6, 7,

 12, 13, 18, 19, 22, 23, and 25 of the ‘572 Patent.                   (ECF No. 433).

 Regeneron also stipulated to the invalidity of claims 5-6 and 9 of

 the ‘601 Patent and claims 1-5, 8-11, 14, 26-28 of the ‘865 Patent

 under the Court’s claim construction.               Id.

       Thereafter,      the   parties    filed      cross    motions    for    summary

 judgment, which the Court denied.             (ECF Nos. 428, 429, 525).          The

 Court held a final pretrial conference on May 30, 2023.                      (ECF No.


 3 Regeneron sued on 24 patents, U.S. Patent Nos. 7,070,959;
 9,222,106;    9,254,338;   9,669,069;   9,816,110;   10,130,681;
 10,406,226; 10,415,055; 10,464,992; 10,669,594; 10,857,205;
 10,888,601; 10,927,342; 10,973,879; 11,053,280; 11,066,458;
 11,084,865; 11,104,715; 11,174,283; 11,186,625; 11,253,572;
 11,299,532; 11,306,135; and 11,332,771. (ECF No. 1, ¶ 6).
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 512).         The Court denied the Defendants’ request to challenge

 inventorship, and to challenge the enforceability of the claims

 based on inequitable conduct.         (ECF No. 524, 1-2).

 D.      Technical Background

         The    general   background   to    this     art    involves    biologic

 molecules, and their use as anti-VEGF compounds.

         1.     The aflibercept molecule and anti-VEGF clinical targets

                a.   Vascular endothelial growth factor (“VEGF”)

         In the early 1990s, targeted gene inactivation studies in

 mice showed that a particular signaling compound in the body called

 Vascular Endothelial Growth Factor (VEGF) “is necessary for the

 early stages of vascular development.”              (DTX 3619.8; DTX 4041.2).

 In layman’s terms, this growth factor stimulates the body to

 assemble cells to grow new blood vessels.                  Angiogenesis is the

 beginning part of that process to signal new blood vessel growth.

         VEGF-mediated    angiogenesis      is   a    normal    part    of   human

 functioning.        (DTX 4041.2)   But too much of the VEGF protein can

 lead to undesirable effects, such as blood vessel growth for

 cancerous tumors, or abnormal growth of blood vessels under the

 retina in the eye, which can lead to fluid leakage or undesirable

 blood vessel growth in and around the retina.                 Id.; Tr. 111:5-15




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 (Yancopoulos); Tr. 280:8-25, 282:18-24, 287:8-17 (Csaky); Tr.

 921:18-922:3 (Albini).

      By   1993,    “Ferrara    and   colleagues”      showed   that     anti-VEGF

 antibodies “could inhibit the growth of several human tumor types”

 in   mice;   but     varying   results      based     on   targeting     pathways

 “highlighted the need to optimize blockade of this [VEGF] pathway.”

 (DTX 3592.3).        Regeneron’s early patents, including one that

 published in 2000, noted that “[p]ersistent angiogenesis may cause

 or exacerbate certain diseases such as . . . diabetic retinopathy

 and neovascular glaucoma. An inhibitor of VEGF activity would be

 useful as a treatment for such diseases and other VEGF-induced

 pathological angiogenesis and vascular permeability conditions,

 such as tumor vascularization.”            DTX 3619.6, ll. 8-13; see also

 DTX 3619.36-37 (anti-VEGF compounds are useful for treating “eye

 disorders such as age-related macular degeneration and diabetic

 retinopathy”)).

      VEGF    binds    to   receptors       in   the   body.      (Tr.    111:5-9

 (Yancopoulos); DTX 3619.5-6).         A “portion of the receptor that is

 displayed on the surface of the cell” is “generally the most

 distinctive portion of the molecule.”           (DTX 3619.2).     One of these

 receptors was designated as Receptor 1 (“R1”), another as Receptor

 2 (“R2”). PTX 3333.25). “VEGF-R1 binds to VEGF with [the] highest

 affinity.” (Id.) Anti-VEGF compounds were designed to mimic these

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 receptor binding sites, to capture circulating VEGF before it

 reaches a receptor in the body.       (DTX 4041.3, 5; Tr. 111:18-112:1

 (Yancopoulos)).

             b.    The therapeutic goal and structural rationale for
                   aflibercept

        Regeneron identified the therapeutic goal that it sought to

 solve with its aflibercept molecule:          “produce a receptor based

 VEGF   antagonist   that   has   a   pharmacokinetic    profile   that   is

 appropriate for consideration of the antagonist as a therapeutic

 candidate,” and which has “improved pharmacokinetic properties as

 compared to other known receptor-based VEGF antagonists.”              (DTX

 3619.29-30).     Pharmacokinetic properties of the drug are commonly

 assessed to see how the drug is absorbed, distributed, moves and

 works, and then eventually metabolizes, through the body.              (Tr.

 461:2-8 (Furfine)); see, e.g., Persion Pharms. LLC v. Alvogen Malta

 Operations Ltd., 945 F.3d 1184, 1187 (Fed. Cir. 2019) (noting

 pharmacokinetic effects included clinical effects such as blood

 concentration levels of the drug, and side effects associated with

 administering the drug).

        Aflibercept is a man-made protein.      (Tr. 448:1-8 (Furfine)).

 Regeneron disclosed in the prior art that it had prepared anti-

 VEGF compounds, which had one segment designed to mimic the VEGF

 binding segments of the R1 and R2 receptors, fused together; and

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 then an antibody segment, allowing the whole molecule to more

 strongly    bind   to    VEGF.     (DTX       3619.11-14,   16;   Tr.    114:1-17

 (Yancopoulos);     Tr.   448:1-8    (Furfine)      (“Aflibercept    is    a   man-

 made . . . protein where you take two receptors that are normally

 on the surface of the cell and you genetically engineer them to be

 on an antibody part” called “the Fc domain,” and “that creates a

 drug”)).

       The full protein sequence of the R1 receptor “has poor

 pharmacokinetics that make it difficult to use as a therapeutic

 agent,” so modifying it in the way that Regeneron did (including

 replacing some parts with parts of the VEGF R2 receptor region)

 produced a molecule with better pharmacokinetics, including, e.g.,

 VEGFR1R2-FcǻC1(a).       (DTX 3619.59-60).

       One of the preferred embodiments that Regeneron disclosed was

 the fusion polypeptide that had “the amino acid sequence set forth

 in Figure 24A-24C,” which was VEGFR1R2FcǻCl(a).             (DTX 3619.16, 60,

 23 (“Figure 24A-24C. Nucleotide and deduced amino acid sequence of

 the modified FIt1 receptor termed VEGFR1R2FcǻCl(a)”)).

       Regeneron secured a patent to the aflibercept molecule, the

 ‘959 patent, which issued in 2006.             (DTX 7.1; Tr. 1432:23-1433:23

 (MacMichael)).      Example 20 of the ‘959 patent explains how to

 prepare    VEGFR1R2FcǻCl(a),       and    provides    the   complete     sequence



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 across Figures 24A-24C. (DTX 7.73, 29:13:29; DTX 7.63, 9:65-67;

 DTX 7.42-44).

       Regeneron has assigned various descriptors to the molecule

 known      as    aflibercept,      including    VEGF    Trap,     VEGF     Trap-Eye

 (formulated for use in the eye); and VEGFR1R2FcǻCl(a).                         (DTX

 4008.1,     DTX      7.63,   9:65-67,   DTX   3592.3   (describing       structural

 features of protein “that we term VEGF Trap”); DTX 4957.5 (“[VEGF

 Trap-Eye]       has   been   purified   and    formulated    in    concentrations

 suitable for direct injection into the eye.”); Tr. 1227:9-12 (Chu

 30(b)(6)); Tr. 208:25-209:10 (Yancopoulos); Tr. 1432:8-1438:24

 (MacMichael)).

       2.        Early anti-VEGF performance:       non-human data

 Before a drug goes into human use, it is required to be tested in

 preclinical animal models pertaining to the mechanism of action

 and/or for the disease, and to get a sense of what range of doses

 will likely work to accomplish the drug’s effect.                       (Tr. 459:2-

 21, 462:15-465:14 (Furfine)).

                 a.    Establishing aflibercept’s anti-angiogenic effect,
                       dose amounts
       By    2002,      Regeneron    published    papers     in    the    scientific

 literature touting aflibercept’s potency.                 In Holash, Regeneron

 explained its “hope” that “anti-VEGF approaches can be generalized

 to many different types of cancer, as well as to other diseases in


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 which    pathologic angiogenesis contributes, such as diabetic

 retinopathy.”         (DTX     3549.1).          Regeneron   stated    that   it    had

 “engineer[ed]     a     very   potent     high-affinity       VEGF    blocker”     with

 “prolonged in vivo” activity, which “lacks nonspecific toxicities,

 and can effectively suppress the growth and vascularization of a

 number of different types of tumors in vivo.”                      (Id.)   Regeneron

 reported that its studies using cell lines and rats “indicated

 that VEGF-TrapR1R2 has the potential to be a long-term and potent

 pharmacologic blocker of VEGF-mediated activities in vivo, far

 superior to that of parental VEGF-Trap.”                 (DTX 3549.4).     Regeneron

 reiterated that this “combination of high-affinity and improved

 pharmacokinetics apparently contributes toward making VEGF-TrapR1R2

 one of the most, if not the most, potent and efficacious VEGF

 blocker available.”          (DTX 3549.5; Tr. 114:14-17 (Yancopoulos)).

         Much of Regeneron’s early work with aflibercept focused on

 the anti-angiogenic effects of the drug in connection with cancer

 applications.         (Tr.     449:14-16     (Furfine);      PTX    3333.27).       But

 Regeneron also assessed the anti-angiogenic effects of aflibercept

 in animal eyes specific to treating eye disease.                    In 2003, Saishin

 et     al.   reported    their     results        with   both      subcutaneous     and

 intravitreal injection of aflibercept into mice eyes. (DTX 2751.1;

 Tr. 1050:24-1051:11, 1080:10-18 (Rabinow)).                  The authors confirmed

 that    VEGF-TRAPR1R2     given    as   a    single      intravitreous     injection

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 “markedly     suppressed    the    development    of     choroidal

 neovascularization over the course of two weeks.”            (DTX 2751.7).

 While the subcutaneous dosing method also produced good results,

 it required five injections to produce the reported results.           (DTX

 2751.4; Tr. 1090:5-22 (Rabinow)).

       After seeing aflibercept’s performance in vivo in mice and

 rats, the next step was to assess how it performed in primates,

 and   better   identify    the   dose   ranges   to   target.    Regeneron

 specifically assessed which primate doses produced the desired

 anti-angiogenic effects.         (Tr. 1067:9-22 (Rabinow)).      Fraser et

 al. published these results in 2005, reporting among other things

 “the minimal dose of VEGF TrapRlR2 that would be required to

 interrupt follicular development,” which is the time period when

 angiogenesis occurs, and whether the dose amount impacted the

 “duration” of the anti-VEGF effect.        (DTX 729.2).   Fraser reported

 that the “VEGF TrapR1R2 was well tolerated at all doses tested.”

 (Id., 3).      The 4 mg/kg and the 1 mg/kg doses “resulted in a

 significantly longer” period of activity compared to the lower

 doses.   (Id., 5).

       In 2005, Regeneron’s published patent application reported

 the results of aflibercept injections into mouse eyes, including

 intravitreally.     (DTX 4229.24 [0031]).



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        In U.S. Patent No. 7,303,747 (“the ‘747 patent”), which

 published February 9, 2006, and which issued on December 4, 2007,

 Regeneron characterized the disclosed invention as involving a

 “therapeutic method for treating or ameliorating an eye disorder,”

 including    “age     related    macular        degeneration”      and     “diabetic

 retinopathy.”     (DTX 2730.13, 1:49-54).          The compounds preferred to

 use for this purpose included VEGFR1R2FcǻCl(a).                   (Id., 1:64-2:2).

 Regeneron disclosed that the initial dose should be “at least

 approximately 25-4000 micrograms [4 mg] VEGF inhibitor protein to

 an affected eye.”       (Id., 2:14-15; DTX 2730.16, 7:52-55).                       The

 ‘747     patent       included         preclinical        data      that        tested

 VEGFR1R2FcǻCl(a),      aflibercept,        in    various    retinal       models     in

 animals, reporting good results with intravitreal injections.

 (DTX 2730.13-14 (referencing data in Figures 4-9)).                         The ‘747

 patent     confirms    that      “[p]referably”       the        drugs     would     be

 administered       “directly      to     the      eye,”     including          through

 “intravitreal injections.”          (DTX 2730.16, 7:5-10).               The aqueous

 solutions     would     have     “ophthalmically           compatible       pH      and

 osmolality.”      (Id., 7:26-28).

        The intravitreal injections in the Examples were dosed at 50,

 250, or 500 mcg/eye [0.05, 0.25, or 0.5 mg doses/eye].                             (DTX

 2730.20,    15:2-4).     The     specification       reports      that    “a   single

 intravitreal injection (500 mcg) [0.5 mg] of VEGFR1R2-FcǻCl(a)

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 made following the laser injury [to the eye] reduced the incidence

 of grade 4 lesions from 44% to 0% within 10 days of treatment.”

 (Id., 15:19-23).        Example 16 tested VEGFR1R2FcǻCl(a) to assess the

 “ability of an intravitreally administered protein to reach the

 desired site of action, i.e. the macula in the case of macular

 degeneration,” and concluded that it would in fact reach “both

 ocular tissue (vitreous humor, retina and choroid) and that “if a

 compound is delivered into the vitreous humor, it can be cleared

 from that region and be distributed into the surrounding tissue,

 i.e. retina and choroid.”          (DTX 2730.21-22).     The larger VEGF trap

 protein stayed in the eye tissue longer in comparison to its

 smaller mini-VEGF trap version.           (DTX 2730.22).     The specification

 then proposed treatment in human patient eyes, including that the

 “eye to be treated is injected with 25-4000 micrograms [4 mg] of

 VEGF trap protein in an ophthalmic solution.”               (Id. (Example 17)).

             b.        Other anti-VEGF compounds: dosing methods

       Regeneron       closely    monitored     Genentech,    as   well   as   how

 Genentech planned to dose its anti-VEGF compounds.                 (See, e.g.,

 Tr. 448:16-449:6 (Furfine); DTX 710.1 (noting Genentech had dosed

 ranibizumab      in    rabbits    subconjunctivally,     intracamerally,      and

 intravitreally)).          By    March   1,   2004,   Genentech   reported    the




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 “highest levels [of ranibizumab were] observed for                      ITV,”

 intravitreal doses.      (DTX 710.2).

       Genentech compared how ranibizumab performed intravitreally

 and intravenously in monkeys, confirming by January 2005 that based

 on the systemic clearance rates, ranibizumab would be “favorable

 for its clinical use in treating neovascular AMD by monthly ITV

 injection.”       (DTX   2265.1;    DTX    714.1   (Regeneron    calling   the

 Gaudreault paper a “nice find”).            Gaudreault likewise evaluated

 different dosing ranges in primates.           (DTX 2265.2 (February 2005

 publication      by   Gaudreault,     comparing       the    performance    of

 intravitreal and intravenous formulations, including 10 mg/mL and

 40 mg/mL in 50 microliters dosed intravitreally)).

             c.     The   human     clinical    activity      with   anti-VEGF
                    compounds
       By 2005, clinicians pursued anti-VEGF strategies, including

 with intravitreal injections, to treat their patients.

                  i.      The first        FDA-approved      anti-VEGF   agent:
                          Macugen

       The anti-VEGF agent, Macugen (pegaptanib), was in Phase I

 clinical studies as early as April 1999, and had proceeded to Phase

 II/III studies by 2001.      (DTX 209.2-3).        In the Phase III studies,

 “1186 patients were enrolled to test the efficacy of intravitreal

 injections of pegaptanib every six weeks.” (DTX 209.3). By August


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 31, 2004, Regeneron knew that the FDA’s advisory committee had

 considered the Phase III clinical and safety data, and that “70%

 of patients met the primary endpoint” of “patients losing less

 than 15 letters, or three lines, of visual acuity on the eye chart

 from baseline after 54 weeks.”                 (DTX 209.1, 5).      FDA approved

 Macugen in December 2004.            (DTX 4041.1).

                ii.          Avastin—approved as an anti-VEGF cancer drug,
                             but used by physicians intravitreally to
                             target wet AMD and DME

       FDA   approved        the    anti-VEGF    Avastin    (bevacizumab)     as    an

 intravenous anti-cancer therapy in February 2004.                   (DTX 210.2).

 By March 3, 2005, the Bascom Palmer Eye Institute issued a press

 release (which Regeneron received) confirming that it had used

 Avastin to treat wet AMD.             (DTX 210.1; Tr. 1240:22-1242:19 (Chu

 30(b)(6))).    The study’s lead, Dr. Phil Rosenfeld, explained that

 “[w]e’ve been injecting anti-VEGF drugs into the eye for the past

 3   years   with     very    encouraging   results.”        (DTX   210.1).        Dr.

 Rosenfeld also studied systemic patient dosing because even though

 “[s]ome people would rather have an injection in the eye than worry

 about the risks from a systemic drug” systemic dosing would offer

 “a new potential option for patients with wet AMD.”                 (DTX 210.2).

 He acknowledged that “the potential disadvantage” of Avastin given

 systemically       was      “the   risk   of    systemic    side-effects,”        but


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 indicated that thus far, patients’ blood pressure increases were

 readily controlled with medication.          (Id.)

        Shortly thereafter, in July/August 2005, Dr. Rosenfeld and

 others published further details about their intravitreal Avastin

 injection process, confirming that Avastin produced efficacious

 results in a human patient, when injected intravitreally at a

 concentration of 25 mg/mL.          (DTX 3058.2; Tr. 528:2-12 (Furfine);

 DTX 3510; DTX 2264.1-2; DTX 9036.5-6 (Avery publication from March

 3, 2006 dosing 1.25 mg of Avastin in 0.05 mL); DTX 9036.3 (library

 receipt page showing Avery publication received by March 3, 2006)).

 The injections were described as “well tolerated in all patients,”

 with    no   ocular    toxicity,      “or   thromboembolic     events,”     or

 “significant    elevation”    in    blood   pressure   “observed    over   the

 course of the study.”         (DTX 2264.3; DTX 9036.7).             The “vast

 majority of patients demonstrated stability or improvement” of

 their visual acuity,” and four weeks after the injections, many

 “demonstrated complete resolution of retinal edema”; even some

 non-responders     “also   showed    resolution”     after   they   “received

 reinjections at week 12.”       (DTX 2264.3-4; DTX 9036.7-8).

        Avery also addressed the theory in the literature that had

 warned that there might be a “lack of retinal penetration beyond

 the [internal limiting membrane] after intravitreal administration

 of full-length antibodies,” which was plainly contradicted by “the

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 apparent rapid biologic effect demonstrated in this current study

 with bevacizumab.”       (DTX 2264.8; DTX 9036.12).            Avery proposed

 that the use of a larger dose, human anatomy versus primate

 anatomy, and the methodology used in the primate studies could

 account for why the theory did not lead to failure for bevacizumab.

 (Id.)

         Avastin was then tested in clinical trials on extended dosing

 intervals, with Bashur et al. reporting in 2008 that after three

 monthly injections, visual acuity gains could be maintained for

 several months by giving just 3.4 injections on average for the

 remainder of the year.        (DTX 4013.1; Tr. 768:2-10 (Albini)).

               iii.      Lucentis (ranibizumab)

         At the July 2005 American Society of Retinal Specialists

 meeting,” the results from a “large phase Ill clinical trial”

 demonstrated that ranibizumab was “effective in the treatment of

 neovascular    AMD.”     (DTX    2264.1-2;    DTX    9036.5-6).   The   active

 ingredient in Lucentis, ranibizumab, is an antibody fragment.             Tr.

 2014:5-7     (Trout);    Tr    1832:11-1833:1       (Csaky);   Tr.   113:7-18

 (Yancopoulos); Tr. 452:7-14 (Furfine).

         Dr. Rosenfeld presented his one-year PrONTO outcomes at the

 May 2006 Association for Research in Vision and Ophthalmology

 (“ARVO”) meeting.       (DTX 218.2; DTX 3131.3 (dosing patients on a

 PRN basis after 3 monthly doses)).            On May 9, 2006, Regeneron

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 internally circulated a copy of Dr. Rosenfeld’s press release about

 the   study,       including    that   he    had     dosed    ranibizumab    using

 intraocular injections for wet AMD, and that most patients had

 only needed 5 or 6 injections in the year.                    (DTX 218.1-2).      He

 reported that “82% of patients had the same or better vision after

 one year and 35% of patients experienced a two-fold improvement in

 vision     as    defined   by   gaining      three    lines    of   vision   on   a

 standardized visual acuity chart.”             (Id., 1).       Dr. Rosenfeld did

 this work even though Lucentis had not yet been officially approved

 by FDA, and was still being tested in Phase III studies.                     (Id.,

 2).

       By May 4, 2006, Genentech’s patent to Dr. Shams published.

 Example 1 included a study protocol for the “efficacy and safety

 of intravitreal injections of VEGF antagonist (e.g., ranibizumab)

 administered monthly for 3 doses followed by doses every 3 months.”

 (DTX 726.32).

       FDA approved Lucentis for wet AMD in June 2006.                   (See DTX

 3040.1).        By October 5, 2006, Dr. Rosenfeld and others published

 the successful Phase III clinical trial results with monthly dosing

 of ranibizumab for wet AMD in the New England Journal of Medicine.

 (DTX 2034). Mitchell summarized data for the ANCHOR monthly dosing

 (2006), PRONTO PRN dosing (2007), and EXCITE quarterly dosing

 (2008), showing visual acuity gains over many months of time. (DTX

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 4061.4; see also DTX 3115.1 (Fung, Rosenfeld et al. reported on

 using OCT to guide extended-interval dosing after three monthly

 loading doses)).

       Once the efficacy of ranibizumab for AMD was established,

 doctors quickly began using it for other indications, namely DME,

 DR, and RVO, and also on extended dosing intervals.                  One review

 article summarizing DME clinical work included Lalwani 2009, where

 patients received three monthly doses of ranibizumab (baseline,

 month 1, month 2), followed by dosing at an extended two month

 interval, at months 4 and 6, for a mean gain of 8 letters by month

 12.   (DTX 2733.1; Tr. 768:24-769:14 (Albini)).

               iv.         Aflibercept

       Regeneron initially began its aflibercept work for cancer

 indications, as part of a partnership with Sanofi.               (Tr. 112:19-

 20 (Yancopoulos); DTX 4956.3-4).              Regeneron disclosed that the

 “results in animal models have supported the exploration of the

 VEGF Trap in human studies of vascular eye diseases. Initial

 clinical studies in human patients suffering from both AMD and

 diabetic    edema   and    retinopathy       appear   quite   promising,   with

 evidence in early trials that the VEGF Trap can rapidly and

 impressively decrease retinal swelling.”              (DTX 3592.4)




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                        a)   Regeneron tries, and rejects, systemic
                             aflibercept    and    instead    pursues
                             intravitreal aflibercept for human use
         Regeneron initiated its first Phase I study with aflibercept

 through intravenous delivery, by January 2004.            (DTX 207.1-2; Tr.

 1238:13-19      (Chu)).    Like   Dr.     Rosenfeld,   Regeneron     initially

 thought that the ability to dose the drug systemically would be an

 advantage over direct injection into the eye.              (DTX 207.2; DTX

 210;    Tr.    1240:24-1242:5   (Chu)).       Regeneron   also    secured   and

 published its systemic dosing results in humans in the ‘747 patent,

 which published in February 2006.            (DTX 2730.23).      At the higher

 3.0 mg/kg dose group, 2 of the 5 patients experienced adverse

 events, causing them to all be “prematurely withdrawn from [the]

 study.”       (DTX 2730.23, 21:39-22:1)).

         Thus, not surprisingly, in its SEC Form 10-K filed in March

 2005, Regeneron confirmed its “plan to initiate a clinical trial

 of the VEGF Trap delivered through intravitreal injection in mid-

 2005.    While use of the VEGF Trap for eye diseases using systemic

 delivery remains part of our collaboration with sanofi-aventis, we

 and sanofi-aventis do not currently intend to pursue further

 clinical development using systemic delivery of VEGF Trap for eye

 diseases.”        (DTX 4956.4; id., 119 (publication date March 11,

 2005)).



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        Regeneron additionally released its intravenous aflibercept

 results for AMD at the ARVO meeting in May 2005.                   (DTX 211.6-7).

 Regeneron’s briefing document listed its objectives for this 2005

 ARVO meeting.       Regeneron planned to increase “awareness of the

 VEGF   Trap   as    [a]    promising    compound      for    the    treatment   of

 neovascular diseases,” (DTX 211.2), reporting that Regeneron had

 “successfully completed the Phase I study of intravenous VEGF Trap

 in wet AMD,” and identifying the maximum tolerated dose (MTD) for

 systemic VEGF Trap administration, (id., 3).                Regeneron planned to

 represent that “[n]o unexpected side effects were observed during

 the systemic Phase I trial,” that “[p]roof of concept was obtained

 for both ITV [intravitreal] and systemic deliveries in a primate

 model of CNV,” and that VEGF Trap had “demonstrated pre-clinical

 efficacy” when given intravitreally. (Id.) Regeneron also planned

 to explain that in view of the systemic side effects, it would

 “continue development with an ITV formulation to maximize VEGF

 Trap therapeutic benefit,” with this “ITV phase 1 study” to begin

 “this year.”       (Id.; id., 14 (“ITV formulation chosen to maximize

 therapeutic benefit”); see also DTX 214.2.

        Regeneron    also   planned     to   discuss    its     belief   that    the

 intravitreal dosing approach would “allow[] for a longer interval

 between injections when administered intravitreally,” and that

 “[e]xpansion into other ophthalmic indications including, but not

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 limited to, diabetic macular edema is also a possibility.”             (DTX

 211.3-4)    Copies of the abstracts submitted to ARVO for the May

 2005 meeting are at DTX 211.8-13; and are likewise referenced on

 Dr. Yancopoulos’ CV.     Thus, Regeneron’s intent to dose aflibercept

 through the intravitreal route to treat eye diseases such as AMD

 and DME was known to a person of ordinary skill in the art by 2005.

       Karen Chu confirmed that the intravitreal dose-ranging study

 No. 0502, the CLEAR-IT-1 study, was also performed in 2005, and

 used dose amounts that included 1, 2 and 4 mg, and at 40 mg/mL

 concentrations.        (Tr.   1645:3-1646:21     (Chu);    DTX   9005.23).

 Regeneron announced the results of this dose-ranging study at least

 by February 2006.        (Tr. 1649:5-1650:2 (Chu); DTX 4957.5 (“In

 February 2006, [Regeneron] announced positive preliminary results

 from an ongoing Phase I dose-escalation study of the VEGF Trap-

 Eye”)).     By March 21, 2006, Regeneron also had submitted its

 Phase I intravitreal study data, called “CLEAR-IT 1,” to the

 American Society of Retinal Specialists (“ASRS”) to present at its

 meeting in the fall of 2006; Regeneron presented this data again

 at ARVO in May of 2006.        (DTX 216 (confirming ASRS submission);

 DTX 9006.12 (reference 56); Tr. 1647:11-1648:22 (Chu)). The CLEAR-

 IT 1 abstract reported that intravitreal injections “of up to 4 mg

 of VEGF Trap has been well-tolerated.”         (DTX 216.3; Tr. 1650:7-22

 (Chu)).

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         In early 2006, Regeneron also sought input from key opinion

 leaders to guide Regeneron’s next steps for clinical trial design,

 including whether clinicians would continue to dose with Avastin,

 or adopt the PIER loading doses with Lucentis, as well as to seek

 guidance for how best to dose DME.          (DTX 212; DTX 213.1 (“How will

 Lucentis be used in practice?        Monthly . . . Induction followed by

 quarterly maintenance . . . Induction followed by PRN”; “Will off-

 label use of Avastin still be rampant after Lucentis is approved”);

 DTX 213.2 (“How Important is dose frequency?”)).

         After Dr. Rosenfeld presented his results with less frequent

 injections with Lucentis from the PrONTO study, Regeneron noted

 internally    that   the   results   “may    suggest   that     the    so-called

 ‘clinician prn practice’ following ‘induction dose’ is as good as

 monthly injections for at least the first year, and that is

 probably the take home message that the market will follow.”                  (DTX

 220.1).     Since Lucentis showed effectiveness for 6-8 weeks, Dr.

 Avner     Ingerman   suggested   that      there   would   be   a     “potential

 advantage, of showing comparable efficacy, or even a slightly lower

 efficacy, and have a win on label dosing interval.”                   (Id.)    Dr.

 Yancopoulos likewise noted that since Lucentis could not last for

 a full 2 months, this “may provide us [a] major opportunity for

 VEGF Trap interval advantage!”        (DTX 220.2).



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       By August 2006, Regeneron had reached out to Dr. Rosenfeld to

 get his input on their VEGF Trap-Eye data, including for DME.            Dr.

 Rosenfeld suggested that Regeneron had a “better probability of

 showing a more durable treatment effect” compared to Lucentis, and

 recommended that Regeneron pursue the 2 or 4 mg dose, “which is a

 4-fold molar excess over Lucentis with a good chance of better

 durability,” and then dose “every 2 weeks or 4 weeks for a fixed

 number of doses then see the patients back every 4 weeks and dose

 as needed.”     (DTX 222.1).     Regeneron’s CEO, Len Schleifer, told

 Dr. Yancopoulos that dosing plans should be finalized “when we

 know more about our partnering efforts.”          (Id.)

       By   February    2007,   the   European     regulatory      authorities

 approved Lucentis with a dosing regimen that included “a loading

 phase of one injection per month for three consecutive months,

 followed by a maintenance phase in which patients should be

 monitored for visual acuity on a monthly basis.”              (DTX 913.1).

       Regeneron discussed with its development partner Bayer its

 ideas of how aflibercept “could even be better than Lucentis.”

 Tr.   112:7-113:18    (Yancopoulos).      As    the   field    recognized,   a

 significant drawback of the primary dosing regimen in Lucentis’s

 label was that it required monthly intravitreal injections of

 Lucentis, subjecting patients to the very unpleasant experience of

 having a needle inserted into their eye once a month.                See Tr.

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 129:1-17 (Yancopoulos); Tr. 290:16-291:8 (Csaky). Dr. Yancopoulos

 thus hoped to develop an aflibercept regimen that would allow the

 drug to attain either improved patient outcomes, or an extended

 dosing interval, or both, compared to Lucentis.                   He sought to

 reduce “the very significant onerous treatment burden of monthly

 treatments” and “cut the number of treatments by half,” that would

 “be game-changing for these patients and their caregivers and the

 doctors.”          Tr.     124:11-125:1       (Yancopoulos);      Tr.     128:9-15

 (Yancopoulos).

        By March 2007, Dr. Jesse Cedarbaum proposed that in order to

 “not   have   to    wait   for   the    80    mg/mL   formulation,”      which   had

 “formulation issues,” Regeneron should proceed with the 2 mg dose

 for the Phase III clinical trials, and that he “could get behind

 an 8 week interval in place of 12” based on the loss of 8-10 days

 of half-life exposure due to using the lower dose.                (DTX 226.1).

        On April 2, 2007, the Regeneron/Bayer joint development team

 reported a decision to use a dosing regimen of “2mg q8wks w/PlER

 lead in (dose monthly for 1st 3mths).”                 (DTX 227.1; Tr. 1258:12-

 1259:1   (Chu      30(b)(6))).     On    April    5,    2007,   Robert    Terifay,

 Regeneron’s head of marketing, noted that having sat with the joint

 development team to review the CLEAR-IT 2/0508 data, it was clear

 that “Q8 weeks dosing appears to maintain visual acuity better

 than Q12 weeks dosing,” which justified pursuing the 8-week dosing

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 interval. He explained the marketing advantages of having a label

 with an advantage over the Lucentis interval, particularly for

 drug pricing.      (DTX 229.3; DTX 230 (Terifay April 18, 2007 e-mail

 emphasizing       marketing     advantages);       Tr.   1249:14-19     (Chu

 (30(b)(6))).

        By May 2007, Regeneron released the CLEAR-IT 2 Phase II study

 data for aflibercept intravitreal injections.            (See DTX 232; DTX

 234;   Tr.    1264:4-1265:15    (Chu   30(b)(6))   (confirming   data   were

 presented and public)).        Regeneron also published its Phase I DME

 data, including that its intravitreal injection of a 4 mg dose was

 “well tolerated” with “no serious drug-related adverse events,”

 and mean BCVA improvements of 2.6 to 6.8 letters by 6 weeks with

 just a single injection.       (DTX 234.3).

        Regeneron ultimately submitted to the FDA its Phase III

 clinical trial plan for 3 monthly doses, followed by every-8-week

 dosing.      FDA announced that the Phase III study would commence in

 August 2007 on its clinicaltrials.gov website on or around August

 1, 2007.     (DTX 231.2, 8).

        Dixon published that Regeneron’s Phase III clinical trials

 included an arm that had 3 doses given 4 weeks apart, followed by

 dosing every 8 weeks.      (DTX 204.4).     Regeneron announced that its

 Phase III clinical trials met their primary endpoint on November

 22, 2010.     (DTX 917.1).

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                v.     Design of methods for using anti-VEGF agents

       The development of any method of treating angiogenic eye

 disorders    using    anti-VEGF     agents   entails    a   number   of   design

 decisions.     The testimony at trial reflected that for any given

 dosing regimen, the POSA would need to consider the dosage amount,

 the route of administration, the frequency of administration, the

 concentration of drug to be administered, whether to use loading

 doses at the outset of treatment, the number of loading doses to

 be used, and the duration and frequency of any maintenance doses.

 Tr. 862:15-863:18 (Albini).

       In the context of anti-VEGF therapies, the concept of “loading

 doses” refers to treatments given one after another, on a fixed

 schedule,     administered     unconditionally         without   personalized

 decision-making      based,   for    example,    on   the   progression    of   a

 patient’s disease as measured by Optical Coherence Tomography

 (“OCT”) scans.       Tr. 1849:3-25 (Csaky).

       The remainder of the treatment schedule (sometimes referred

 to as the maintenance or extended dosing phase) then can involve

 various strategies to treat the patient going forward and, ideally,

 less than monthly injections.           For example, in the general time

 period of 2007-2011, physicians began to make use of a dosing

 strategy generally called pro re nata (“PRN”), meaning as-needed


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 dosing.     See Tr. 305:18-306:13 (Csaky); Tr. 1877:7-11 (Csaky).

 PRN dosing generally entailed administering loading doses and then

 seeing the patient on a fixed schedule going forward (often, but

 not always, monthly), where the patient would be assessed at

 regular intervals using an OCT scan that determined whether fluid

 had begun to reaccumulate in the eye, and then administered a dose

 of the anti-VEGF agent if fluid had recurred.           Tr. 305:18-306:13

 (Csaky); Tr. 1819:15-1822:22 (Csaky); DTX-3131 at 11; see also PDX

 8.004.

       In clinical practice, retina specialists also began using an

 approach called “treat and extend,” in which, following loading

 doses, the treating physician would attempt to extend the interval

 for both visits and re-treatment.              Tr. 773:16-774-9 (Albini)

 (describing    treat-and-extend).         If   OCT   indicated   fluid   had

 recurred at the time of an attempted extended interval visit, the

 physician would scale back the interval to the prior interval that

 did not result in the reaccumulation of fluid.

       Both PRN and treat-and-extend strategies differ from fixed

 extended dosing regimens. In the latter, a doctor injects patients

 at fixed intervals regardless of whether fluid has reaccumulated

 according to an OCT scan.          Tr. 1824:22-1825:6 (Csaky) (fixed

 extended dosing regimens are “completely different” than OCT-

 based,    individualized    retreatment    approaches);    Tr.   1825:12-25

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 (Csaky) (fixed approaches differ from personalized approaches);

 see also Tr. 776:5-20 (Albini) (“there were fixed regimens” and

 “there were also individualized regimens that sought to evaluate

 patients and make decisions about whether or not to reinject on a

 patient basis.”); Tr. 835:1-16 (Albini) (distinguishing between

 PRN treatment and “fixed regimens like monthly dosing”).                   While

 PRN     and   treat    and       extend     treatment    methodologies     entail

 “conditional”     decisions         to    retreat   a   patient,   Tr.   1825:3-6

 (Csaky), fixed interval strategies do not.                 Tr. 1825:3-6 (Csaky);

 Tr. 776:5-20 (Albini); Tr. 781:19-782:7 (PRN dosing means making

 “decisions . . . whether or not to inject based on clinical

 measures and imaging findings for that patient”) (Albini).                    The

 parties agreed that the claims at issue at trial described “loading

 doses” followed by “subsequent eight-week injections,” Tr. 777:25-

 778:7     (Albini);        see     Tr.     780:2-10     (Albini)    (“eight-week

 injections”);        Tr.    778:20-779:5        (Albini)     (“q8-week    regular

 dosing.”).     Those subsequent eight-week fixed interval injections

 may be referred to as “maintenance doses” after the initial loading

 dose treatment phase.            Tr. 301:10-23 (Csaky).

                vi.         Prior Art efforts to develop extended dosing
                            regimens
         The parties also largely agreed on a key point at trial: prior

 to 2011, efforts to attempt fixed extended dosing regimens to


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 maximize the time that patients could go between intravitreal

 injections heavily focused on individualized treatment strategies

 using PRN and treat-and-extend regimens.          Tr. 1819:15-20 (Csaky)

 (personalized approaches were the predominant method for extended

 dosing prior to 2011); Tr. 875:2-6 (Albini) (most physicians were

 using personalized approaches in 2010 to 2011).                PRN had been

 widely accepted in light of new OCT technology, which allowed

 physicians to measure the recurrence of fluid that was believed to

 contribute    to   the   impairment    of   vision   in    connection    with

 angiogenic eye disorders.         Tr. 1820:1-19 (Csaky).          Dr. Csaky

 testified at trial that the emergence of OCT technology was

 critical to the development of personalized treatment strategies,

 because doctors could measure the fluid re-accumulation in each

 individual patient and decide whether to retreat or not.                 Tr.

 1822:8-18 (Csaky).

       The   parties   also   largely   agreed   that      pre-priority   date

 efforts at fixed extended dosing regimens — i.e., dosing schedules

 with intervals longer than one month — resulted in worse visual

 outcomes than monthly and PRN treatment schedules and had largely

 fallen out of favor.      And the unrefuted evidence at trial is that

 the POSA’s goal (like Regeneron’s) would have been to improve upon

 the results that obtained with monthly ranibizumab for treating

 wet AMD, either in terms of visual acuity gains, or the interval

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 between     doses   to   spare  patients   the   inconvenience          and

 unpleasantness of injections into the eye.          Tr. 1816:4-24 (Csaky)

 (“[O]ur goals [pre-2011] were . . . to maximize patient’s vision,”

 “reduce the number of injections that we were giving to patients

 to achieve that maximum vision that we could offer them,” “reduce

 the burden on having [patients] come to the office,” and “ensure

 that we were doing these [injections] in a safe way and not

 exposing patients to undue risks.”); Tr. 1822:23-1823:10 (Csaky)

 (attaining outcomes similar to monthly treatment was what the POSA

 was aiming for); 123:21-125:1 (Yancopoulos) (“Lucentis set a high

 bar, but the opportunities were we could either restore more vision

 or we could do exactly the same as Lucentis but perhaps . . . cut

 the number of treatments by half . . . .”); see also Tr. 134:21-

 136:3 (Yancopoulos); 1849:12-25 (Csaky); PTX-3333 at 42, 51.            Dr.

 Yancopoulos testified that in developing his treatment regimen for

 AMD in particular, he was well aware of the trials that had shown

 less than promising results using fixed extended dosing regimens

 at both eight-week and 12-week intervals with ranibizumab.              Tr.

 130:25-132:5 (Yancopoulos); PTX-3333 at 46-47.

        Efforts to achieve a fixed extended dosing regimen before the

 Treatment    Patents’    priority   date   were   discouraging.     Several

 clinical trials had tested ranibizumab in wet AMD at extended 12-

 week    fixed   dosing    intervals    following    loading   doses,   with

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 disappointing results.     Tr. 129:18-130-17 (Yancopoulos);                    Tr.

 1916:7-16 (Csaky); PTX-3333 at 46; DTX-4061 at 6 (SAILOR).                 Most

 notably, the PIER trial even resulted in an eventual loss of vision

 for patients once they entered the extended dosing phase.                      Tr.

 872:7-873:15 (Albini); see also PTX-1146 at 8 (EXCITE trial results

 showing   clinical      superiority    of     monthly   treatment    regimen    as

 opposed to quarterly treatment regimen); DTX-4061 at 6 (SAILOR

 trial results “indicated that quarterly visits were insufficient

 to monitor and capture disease progression”).               Indeed, even the

 FDA-approved label for Lucentis notes that dosing every 3 months

 will lead to an approximate 5-letter (1-line) loss of visual acuity

 benefit.”    DTX-4056 at 1.         PRN dosing regimens, in contrast, had

 at least resulted in net vision gains, contributing to the uptake

 of such regimens by physicians in clinical practice.                Tr. 1823:11-

 25 (Csaky).      The PrONTO trial, for example, was a well-known

 clinical trial that helped establish PRN as a recognized method of

 treating patients with ranibizumab.              Tr. 869:25-870:23 (Albini)

 (PrONTO trial contributed to the “wide adoption of prn dosing back

 in the 2007-08 time frame”); Tr. 1822:24-1823:25 (Csaky).

       Despite PRN’s prevalence, the art in the years immediately

 preceding the January 2011 priority date reflected the POSA’s view

 that the best treatment strategies for wet AMD and DME were

 unsettled.       Both     parties     cited    references    describing    that

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 uncertainty, and Defendants’ expert, Dr. Albini, agreed that as of

 2010 “there was uncertainty as to what the best dosing approaches

 were for anti-VEGF agents,” Tr. 864:6-8 (Albini).              One January

 2010 article quoted Dr. Csaky as describing dosing approaches for

 Avastin, for example, as “all seat-of-the-pants,” in part because

 there were no clinical trial-based guidelines.              DTX-9014; Tr.

 1999:20-2000:23 (Csaky).

       Regeneron sought to develop Eylea with the use of extended

 eight-week fixed dosing regimen. The fixed dosing regimens for

 aflibercept claimed in the ’601 and ’572 patents set monthly

 loading dose periods (“initial” and “secondary” doses) followed by

 eight-week fixed extended dosing intervals (or “tertiary” doses).

 Figure 1 of the ’601 and ’572 patents depicts this concept:




 PTX-1 at 10-12, 21-22 (’601 patent); PTX-3 at 13, 15, 25 (’572

 patent).    It shows an initial loading dose at the beginning of the

 treatment regimen, two additional loading doses administered at

 weeks 4 and 8, and the extended fixed dosing intervals every 8

 weeks thereafter.       PTX-1 at 11-12; PTX-3 at 15.          This dosing

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 regimen and the others claimed in the ’601 and ’572 patents are

 not personalized to the individual patient.                    Tr. 1824:22-1825:6

 (Csaky).      Physicians     do    not        alter    treatment    based   on   an

 individualized assessment of the patient’s vision at any given

 visit, such as an OCT scan, a clinical examination, or visual

 acuity measurements.        See Tr. 1849:3-18 (Csaky); Tr. 1864:6-11

 (Csaky); Tr. 1875:14-1876:5 (Csaky); Tr. 864:18-866:23 (Albini).

 Instead,    physicians    treat     patients      on     the   “very   regimented”

 schedule as set forth in the Treatment Claims.                 Tr. 1824:22-1825:6

 (Csaky).

       In designing its Phase 3 wet AMD trials, for example (the

 “VIEW 1 and VIEW 2” trials), Regeneron did not know whether its

 dosing regimen of 2.0 mg of aflibercept using three monthly loading

 doses, followed by an eight-week fixed extended dosing period would

 succeed, which is why it included a 2.0 mg monthly regimen as a

 treatment arm as well.       Tr. 134:15-136:3 (Yancopoulos).

              vii.        Challenges of developing treatment methods for
                          anti-VEGF agents
       The   parties’     experts    agreed        that    drug     development   is

 difficult and that the process of developing a drug does not end

 with the invention of the active molecule.                     Rather, developers

 must also create a stable formulation, and then test that drug

 product by gathering safety and efficacy data during Phase 1, 2,


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 and 3 clinical trials and beyond. In the context of drugs used to

 treat angiogenic eye disorders, Phase 1 trials seek “to make sure

 that nothing terrible happens to the eye” in “a small number of

 patients,” Tr. 1826:17-1827:5 (Csaky), Phase 2 trials seek “to

 make sure there’s a benefit” and “start to decipher a dose and

 some type of regimen that may or may not give us some ideas of

 activity,” though they “typically are also underpowered,” Tr.

 1827:6-15 (Csaky), and Phase 3 trials are “the big ones” with

 “hundreds and hundreds, if not thousands, of patients” that are

 “able to demonstrate safety and efficacy for the FDA’s requirements

 and then submission to the FDA for approval,” Tr. 1827:16-22

 (Csaky).    The POSA’s knowledge of how a drug performs “expands as

 the number of patients increases in trials over time,” and the

 POSA would know that information from each phase “can either

 confirm or contradict what you’ve seen in the preceding phase.”

 Tr. 859:19-860:2 (Albini).

       Phase 1 and 2 trials generate “early preliminary data that

 you try to use to design your definitive Phase 3” trials, “but you

 can’t really count on those numbers and the information that you

 get there,” which is why the FDA demands “not only one large Phase

 3 but two large Phase 3 trials to make sure that you see it in

 very large numbers of patients and you repeat it and confirm it.”

 Tr. 143:7-14, 144:13-145:24 (Yancopoulos).            Most drugs “do not

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 make it through the development process all the way through Phase

 3,” Tr. 1827:23-1828:6 (Csaky), and other anti-VEGF drugs have

 failed to demonstrate safety or efficacy during clinical trials

 and even after FDA approval, see Tr. 1828:7-1829:12 (Csaky).            The

 POSA would have been aware that such a failure could arise at any

 time.    As Defendants’ clinical expert Dr. Albini acknowledged, not

 only can anti-VEGF drugs “get all the way to Phase 3 and still not

 make it to the market,” but “further, a drug can pass Phase 3 and

 make it into the market and still fail in the real world.”              Tr.

 860:11-861:23 (Albini).

         The Court notes, based on the trial record that there was,

 and may still be, unpredictability in the art that relates to the

 development of anti-VEGF agents, and improvements in anti-VEGF

 therapy have not been easy to attain.         For instance, both sides’

 experts referenced the widely recognized failure of another anti-

 VEGF treatment, Beovu, even after its Phase 3 clinical trials and

 FDA approval.     Tr. 861:6-21 (Albini) (Beovu’s significant safety

 issues only became known after it entered the market); Tr. 1829:6-

 12   (Csaky)   (some   patients   using   Beovu   experienced    occlusive

 vasculitis, resulting in blindness). Another anti-VEGF drug, KSI-

 301, failed its Phase 3 trial.       Tr. 860:18-22 (Albini).       And even

 Dr. Albini participated in the clinical trial of a drug called

 abicipar which also failed after late-stage clinical trials.            Tr.

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 860:23-861:5 (Albini). Efforts to improve drug delivery through

 a port delivery system also have experienced difficulties. Tr.

 1995:14-23 (Csaky) (port delivery system has since been recalled).

 Indeed, following Eylea’s approval in 2011, many years passed

 before another anti-VEGF therapy was both approved and attained

 some traction in the market.      Tr. 1995:19-23 (Csaky) (FDA approved

 faricimab in February 2022); Tr. 172:22-24 (Yancopoulos) (“[T]he

 field was littered with many, many failures, including our own” in

 the “several attempts to improve on Eylea.”).

 E.    Regeneron’s Eylea Product and Methods of Treatment

       Regeneron is the holder of BLA No. 125387 for Eylea, which

 the FDA first approved on November 18, 2011.           (ECF No. 494-12, ¶

 12; ECF No. 435, Answer to ¶ 1).          As discussed above, Eylea is an

 ophthalmic drug product invented by Regeneron scientists that has

 been used to treat millions of patients suffering from diseases

 that can cause vision loss or even blindness.          Tr. 114:21-116:22,

 128:2-8 (Yancopoulos); Tr. 282:25-288:9 (Csaky).             Specifically,

 Eylea is indicated for the treatment of patients with angiogenic

 eye disorders, including Neovascular (Wet) Age-Related Macular

 Degeneration (AMD), Macular Edema Following Retinal Vein Occlusion

 (RVO), Diabetic Macular Edema (DME), Diabetic Retinopathy (DR),

 and Retinopathy of Prematurity (ROP).


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       The active ingredient in Eylea is aflibercept, a fusion

 protein.    Tr. 2012:12-17 (Trout); Tr. 110:14-19 (Yancopoulos); Tr.

 448:1-12 (Furfine).         Aflibercept works by preventing VEGF from

 stimulating blood vessel growth in the retina.              Tr. 280:6-281:8,

 288:10-19 (Csaky); Tr. 110:24-112:1 (Yancopoulos).

       After     inventing     the    aflibercept      molecule,      Regeneron

 endeavored to develop a safe, effective, and successful ophthalmic

 drug product.     Tr. 172:12-173:22, 184:17-185:7 (Yancopoulos); Tr.

 449:19-9      (Furfine).      Aflibercept       entered    into    preclinical

 development in the mid-1990s, and was initially developed as a

 potential treatment for cancer.             Tr. 121:8-12 (Yancopoulos); Tr.

 449:14-16, 475:10-17 (Furfine).              Its use to treat ophthalmic

 diseases by injection into the eye was only later considered.                Tr.

 449:14-21     (Furfine);     Tr.    1679:5-1680:11    (Graham).        Two    of

 Regeneron’s     early   development    partners,     Procter   &   Gamble    and

 Aventis, concluded that an aflibercept-containing product would

 not be a viable drug product, and abandoned the partnership.                 Tr.

 112:10-113:25     (Yancopoulos).       But     Regeneron   persisted   in    its

 efforts to develop a drug that doctors could administer to patients

 less frequently than the leading treatment at the time, Lucentis.

 Tr. 2014:5-7 (Trout); Tr 1832:11-1833:1 (Csaky); Tr. 113:7-18

 (Yancopoulos); Tr. 452:7-14 (Furfine).            Eylea was first approved



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 by the FDA for the treatment of wet AMD in November 2011.               Tr.

 214:18-24 (Yancopoulos).

        Regeneron’s inventors had several aims in developing Eylea.

 They sought to develop Eylea as a drug for intravitreal injection—

 i.e., for injection directly into the jelly-like vitreous of the

 eye.    Tr. 288:20-25 (Csaky); Tr. 2034:2-20 (Trout); Tr. 117:15-

 118:21 (Yancopoulos); Tr. 465:22-466:9 (Furfine).              In doing so,

 Regeneron aimed to develop a drug that was both stable and highly

 concentrated, thereby delivering large amounts of drug to the eye

 in a single injection while minimizing the risk of it coming out

 of solution and causing serious side effects.             Tr. 115:1-116:3

 (Yancopoulos); Tr. 1680:12-1681:17 (Graham).              Although a high

 concentration    could   lead   to   higher   efficacy,   it   also   risked

 instability and adverse effects on patients.               Tr. 2044:8-22,

 2054:13-15, 2066:10-21 (Trout); Tr. 469:21-471:4, 472:6-19, 473:2-

 22, 480:6-9 (Furfine); Tr. 1681:18-1682:1, 1691:11-19 (Graham).

 Among other complications, injecting a drug directly into the eye

 requires doctors to use exceedingly small, narrow-bore needles

 that put pressure on drugs—known as shear stress—and can cause the

 aflibercept protein to come out of solution.         Tr. 578:2-9, 2062:9-

 17, 2066:17-21 (Trout); Tr. 476:2-478:13 (Furfine); Tr. 1683:4-

 13, 1685:7-15, 1687:3-22, 1688:17-21 (Graham); Tr. 1125:13-16

 (Rabinow); Tr. 1465:12-25 (MacMichael).

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       Because aflibercept is an unnatural fusion protein, not (like

 other anti-VEGF agents) an antibody or antibody fragment, the

 inventors did not expect that formulation ingredients that might

 stabilize an antibody therapeutic would be capable of stabilizing

 aflibercept.    Tr. 573:10-13 (Trout); Tr. 1156:17-24 (Rabinow); Tr.

 452:15-454:1 (Furfine).       And even if one succeeded in creating a

 stable, high-concentration formulation of aflibercept, a cloud of

 uncertainty hung over the whole endeavor: it was unknown whether

 a protein as large as aflibercept could penetrate through the

 retinal membrane to an extent that would allow it to enter the

 retina, the site of action for improving patients’ vision.              Tr.

 2027:14-2028:9 (Trout).

       Scientists understood at the time that larger molecules the

 size of antibodies stayed mostly in the vitreous and did not

 penetrate the retina, whereas smaller molecules like the antibody

 fragment ranibizumab were able to penetrate into the retina.            Tr.

 2027:14-2030:14 (Trout); PTX-1839 at 1 (Gaudreault); PTX-576 at 8-

 9 (Ghate); PTX-1842 at 1 (Jackson); see also Tr. 455:4-456:24

 (Furfine).     For precisely that reason, the leading biotechnology

 company at the time, Genentech, selected a small antibody fragment

 (ranibizumab), as opposed to a full-sized protein, in developing

 its intravitreal product Lucentis.        Tr. 2026:17-2028:9 (Trout).



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       Regeneron itself was concerned that aflibercept, originally

 intended for cancer treatment, was too large to penetrate into the

 retina, and so undertook a parallel development project involving

 a smaller protein called “Mini-Trap” as a backup candidate in case

 the   full-length    aflibercept    proved   incapable   of    sufficiently

 penetrating into the retina.         Tr. 2035:13-2036:17 (Trout); PTX-

 1757 at 11 (Daly); Tr. 119:1-121:5 (Yancopoulos); Tr. 457:17-

 458:4, 459:22-25, 461:10-13 (Furfine).            In the end, Regeneron

 unexpectedly demonstrated that aflibercept could penetrate the

 retina and developed a stable, high-concentration, intravitreal

 formulation of aflibercept—which eventually became the commercial

 Eylea formulation.       Tr. 466:22-467:9, 495:15-496:17 (Furfine).

 The Eylea formulation contains 40 mg/ml aflibercept, 10 mM sodium

 phosphate, 40 mM sodium chloride, 0.03% polysorbate 20, and 5%

 sucrose, pH 6.2.

       Regeneron also sought to develop a clinical regimen superior

 to Lucentis’s monthly dosing regimen, one that would reduce the

 number of injections that patients had to receive.            Tr. 116:7-22,

 128:9-132:5 (Yancopoulos).      Intravitreal injection into the eye is

 burdensome for patients and their caregivers, and entails serious

 risks—including infection, inflammation, and retinal detachment,

 as well as anxiety and discomfort.            Tr. 291:22-295:8 (Csaky).

 Although    Lucentis    provided    significant    benefit    to   patients

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 compared to previous therapies, the need to administer it every

 month to patients by intravitreal injection posed an onerous

 treatment burden; a drug product that could be administered less

 frequently would constitute a benefit for patients.             Tr. 307:16-

 309:1, 334:12-337:25, 1816:4-24 (Csaky); see also Tr. 129:18-

 132:5, 137:3-21 (Yancopoulos).        Regeneron’s co-founder and Chief

 Scientist, Dr. George Yancopoulos, sought to reduce that “very

 significant onerous treatment burden of monthly treatments” and

 “cut the number of treatments by half,” which would “be game-

 changing for these patients and their caregivers and the doctors.”

 Tr.     124:11-125:1     (Yancopoulos);     Tr.   128:9-15   (Yancopoulos).

 Ultimately,      Dr.   Yancopoulos   invented     fixed,     extended-dosing

 regimens for aflibercept, and Regeneron obtained FDA approval for

 Eylea    using   these   regimens.    Tr.    303:6-304:25,     308:23-309:20

 (Csaky); PTX-917 at 1 (Eylea Label); PTX-1 & PTX-3 (Treatment

 Patents); see also Tr. 133:10-13, 137:3-21, 153:4-8 (Yancopoulos).

 F.      The Patents-in-Suit and Asserted Claims

         The ’865 Patent, also referred to as the “Product Patent,”

 covers formulations of aflibercept such as Eylea.              The ’601 and

 the ’572 Patents, also referred to as the “Treatment Patents,” are

 directed to methods of using aflibercept.




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        1.      The ’865 Patent

        The ’865 Patent was issued by the United States Patent and

 Trademark Office (“USPTO”) on August 10, 2021.              The title of the

 ’865    Patent    is   “VEGF     Antagonist     Formulations   Suitable   for

 Intravitreal Administration.”          The ’865 Patent lists Eric Furfine,

 Daniel Dix, Kenneth Graham, and Kelly Frye as the inventors.              The

 ’865 Patent issued from U.S. Patent Application No. 16/739,559,

 which was filed on June 10, 2020.            Regeneron is listed as assignee

 on the face of the ’865 Patent.         The ’865 Patent on its face claims

 priority      and/or   benefit    to   U.S.   Provisional   Application   No.

 60/814,484, which was filed on June 16, 2006.               The ’865 Patent

 lists nine other patents that, as of the issue date of the ’865

 Patent, had issued from the same patent family.

        Regeneron asserts claims 4, 7, 9, 11, and 14-17 of the ’865

 Patent.       The asserted claims depend from claims 1 and 2 which

 provide as follows:

        1.     A vial comprising an ophthalmic formulation
               suitable for intravitreal administration that
               comprises:
                    a vascular endothelial growth factor (VEGF)
                    antagonist,
                    an organic co-solvent,
                    a buffer,
                    and a stabilizing agent,

               wherein said VEGF antagonist fusion protein is
               glycosy- lated and comprises amino acids 27-457 of
               SEQ ID NO:4; and

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                wherein at least 98% of the VEGF antagonist is
                present in native conformation following storage at
                5° C. for two months as measured by size exclusion
                chromatography.

         2.     The vial of claim 1, wherein the concentration of
                said VEGF antagonist fusion protein is 40 mg/ml,
                and wherein said organic co-solvent comprises
                polysorbate.

 PTX 2.19.        Claim 4 is illustrative.     If the Defendants Infringe

 claim 4, then they necessarily infringe the other asserted claims.

 Claim 4 states: “The vial of claim 2, wherein said organic co-

 solvent comprises about 0.03% to about 0.1 % polysorbate 20.” PTX-

 2.19.

         2.     The ’601 Patent

         The ’601 Patent was issued by the USPTO on January 12, 2021.

 The title of the ’601 Patent is “Use of a VEGF Antagonist to Treat

 Angiogenic       Eye   Disorders.”    The     ’601   Patent   lists   George

 Yancopoulos as the inventor.         The ’601 Patent issued from U.S.

 Patent Application No. 16/397,267, which was filed on April 29,

 2019.        Regeneron is listed as assignee on the face of the ’601

 Patent.

         The ’601 Patent on its face claims priority and/or benefit to

 U.S. Provisional Application No. 61/432,245, which was filed on

 January 13, 2011; U.S. Provisional Application No. 61/434,836,


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 which was filed on January 21, 2011; U.S. Provisional Application

 No.    61/561,957,    which    was   filed    on   November     21,   2011;

 PCT/US2012/020855, which was filed on January 11, 2012; and U.S.

 Patent Application No. 13/940,370, filed on July 12, 2013, among

 additional U.S. Patent Applications.         The ’601 Patent lists three

 other patents that, as of the issue date of the ’601 Patent, had

 issued from the same patent family.

       Regeneron asserts claim 11 of the ’601 Patent which depends

 from claim 10:

       10.   A method for treating diabetic macular edema in a
             patient in need thereof, comprising intravitreally
             administering, to said patient, an effective amount
             of aflibercept which is 2 mg approximately every 4
             weeks for the first 5 injections followed by 2 mg
             approximately once every 8 weeks or once every 2
             months.
       11.   The method of claim 10, wherein approximately every
             4 weeks comprises approximately every 28 days or
             approximately monthly.
 PTX 1.21.
      Regeneron also asserts claim 19 of the ’601 Patent which

 depends from claim 18.

       18.   A method for treating diabetic retinopathy in a
             patient in need thereof, comprising intravitreally
             administering, to said patient, an effective amount
             of aflibercept which is 2 mg approximately every 4
             weeks for the first 5 injections followed by 2 mg
             approximately once every 8 weeks or 2 months.
       19.   The method of claim 18, wherein approximately every
             4 weeks comprises approximately every 28 days or
             approximately monthly.
 PTX 1.22.

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         3.      The ’572 Patent

         The ’572 Patent was issued by the USPTO on February 22, 2022.

 The title of the ’865 Patent is “Use of a VEGF Antagonist to Treat

 Angiogenic       Eye   Disorders.”    The     ’572   Patent   lists   George

 Yancopoulos as the inventor.          The ’572 Patent issued from U.S.

 Patent Application No. 17/352,892, which was filed on June 21,

 2021.        Regeneron is listed as assignee on the face of the ’572

 Patent.

         The ’572 Patent on its face claims priority and/or benefit to

 U.S. Provisional Application No. 61/432,245, which was filed on

 January 13, 2011; U.S. Provisional Application No. 61/434,836,

 which was filed on January 21, 2011; U.S. Provisional Application

 No.     61/561,957,     which   was   filed    on    November   21,    2011;

 PCT/US2012/020855, which was filed on January 11, 2012; and U.S.

 Patent Application No. 13/940,370, filed on July 12, 2013, among

 additional U.S. Patent Applications.           The ’572 Patent lists six

 other patents that, as of the issue date of the ’572 Patent, had

 issued from the same patent family.

         Regeneron asserts claim 6 of the ’572 Patent which depends

 from claims 1, 2, and 3:

         1.     A method of treating an angiogenic eye disorder in
                a patient in need thereof comprising sequentially
                administering to the patient by intravitreal
                injection a single initial dose of 2 mg of
                aflibercept, followed by one or more secondary

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               doses of 2 mg of aflibercept, followed by one or
               more tertiary doses of 2 mg of aflibercept;
                   wherein each secondary dose is administered
                   approximately    4    weeks   following    the
                   immediately preceding dose; and wherein each
                   tertiary dose is administered approximately 8
                   weeks following the immediately preceding
                   dose;
                   wherein the patient achieves a gain in visual
                   acuity within 52 weeks following the initial
                   dose.
       2.     The method of claim 1 wherein the patient achieves
              a gain in Best Corrected Visual Acuity (BCVA)
              according to Early Treatment Diabetic Retinopathy
              Study (ETDRS) letter score.
       3.     The method of claim 2 wherein the patient gains at
              least 7 letters Best Corrected Visual Acuity (BCVA)
              according to Early Treatment Diabetic Retinopathy
              Study (ETDRS) letter score.
       6.     The method of claim 3 wherein the aflibercept is
              formulated as an isotonic solution.
 PTX 3.25.
      Regeneron also asserts claim 25 of the ’572 Patent which

 depends from claim 15:

       15.    A method of treating diabetic macular edema in a
              patient in need thereof comprising sequentially
              administering to the patient a single initial dose
              of 2 mg of aflibercept, followed by one or more
              secondary doses of 2 mg of aflibercept, followed by
              one or more tertiary doses of 2 mg of aflibercept;
                   wherein each secondary dose is administered to
                   the   patient    by   intravitreal    injection
                   approximately    4    weeks    following    the
                   immediately preceding dose; and
                   wherein each tertiary dose is administered to
                   the   patient    by   intravitreal    injection
                   approximately    8    weeks    following    the
                   immediately preceding dose.



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      25. The method of claim 15 wherein four secondary doses
            are administered to the patient.
 PTX 3.25.

 G.    Claim Construction

       1.    The Product Patent

       In the course of this litigation, the parties stipulated that

 the term “glycosylated” in claim 1 of the Product Patent is

 construed as “containing at least one amino acid residue with an

 attached carbohydrate.”      During claim construction, they submitted

 several claim terms from the Product Patent for construction by

 the Court, “organic co-solvent” and “native conformation.”              The

 Court construed “organic co-solvent” to mean “an organic substance

 added to the primary solvent to increase the solubility of the

 solute, here a VEGF antagonist.”          (ECF No. 427 at 20).   The Court

 construed “native conformation” to mean “the original intact form

 of the VEGF antagonist, which is a form that does not exhibit

 chemical or physical instability.”            Id. at 25-26.4     The Court

 applies its prior constructions to these claim terms and applies

 the “ordinary and customary” meaning as understood by a person of

 ordinary skill in the art to the remaining claim terms.                 See




 4 The Court also found that the claim term “[w]herein the exclusion
 criteria for the patent include. . . ,” as used in the ’601 Patent
 and the ’865 Patent to lack patentable weight. (ECF No. 427 at
 29-37).
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 Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en

 banc).

       2.     The Treatment Patents

       Certain language in claims 11 and 19 of the ’601 Patent and

 claims 6 and 25 of the ’572 Patent, collectively referred to as

 the “Treatment Claims,” relates to the visual acuity outcomes

 measured by doctors in the patients they treat.                During claim

 construction, the Court construed these visual acuity limitations

 to lack patentable weight.       (ECF No. 427 at 37–39).

       The Court applies its prior constructions to these claim terms

 herein.      Accordingly, it affords no patentable weight to the

 following language of claims 1, 2, and 3 of the ’572 Patent, all

 of which are incorporated by virtue of dependency into claim 6 of

 the ’572 Patent:

       x    “wherein the patient achieves a gain in visual acuity

            within 52 weeks following the initial dose”;

       x    “wherein the patient achieves a gain in Best Corrected

            Visual Acuity (BCVA) according to Early Treatment Diabetic

            Retinopathy Study (ETDRS) letter score”; and

       x    “wherein   the   patient   gains   at   least   7   letters   Best

            Corrected Visual Acuity (BCVA) according to Early Treatment

            Diabetic Retinopathy Study (ETDRS) letter score.”


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       The Court does not consider the visual acuity limitations

 included in claims 1, 2, and 3 of the Angiogenic Eye Disorder Claim

 in its infringement or validity analyses, because it has concluded

 that those are not entitled to patentable weight.            (ECF No. 427 at

 37-39).   The Court applies the “ordinary and customary” meaning as

 understood by a person of ordinary skill in the art to the

 remaining claim terms.      Phillips, 415 F.3d at 1313.

 H.    The Defendants’ BLA and Yesafili Product

       Mylan submitted BLA No. 761274 to FDA on October 29, 2021.

 Tr. 309:21-310:6 (Csaky).         Mylan later transferred its rights in

 the Yesafili BLA to Biocon, a biopharmaceutical company based in

 India. (ECF No. 523 at 1-2; Tr. 310:7-15 (Csaky)). By stipulation

 of the parties, Biocon was then added to this case as a Defendant-

 Counterclaim Plaintiff.        (ECF No. 523 at 2).          If Yesafili is

 eventually marketed in the United States, it will be sold by

 Biocon.    Tr. 310:13-15.      The parties stipulated, and the Court

 ordered, that any evidence that supports a finding of patent

 infringement    as   to   Mylan    will    support   a   finding   of   patent

 infringement as to Biocon.        (ECF No. 523 at 2).




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                          The Defendants’ BLA seeks FDA approval to

 market   an    aflibercept     biologic      product   under       the    trade   name

 Yesafili.       (ECF No. 523, 1; ECF No. 494-12, ¶¶ 1, 41).                    BLA No.

 761274 seeks FDA licensure of Yesafili pursuant to 42 U.S.C.

 § 262(k)(4) for each of the following angiogenic eye disorders:

 neovascular age-related macular degeneration (“wet AMD”), macular

 edema following retinal vein occlusion (“RVO”), diabetic macular

 edema (“DME”), and diabetic retinopathy (“DR”).

       The     Defendants’     BLA   also     specifies       the   composition      of

 Yesafili.      PTX-1541.      The          drug product for BLA No. 761274

 comprises             M710,                  histidine,                     histidine

 hydrochloride monohydrate,                      polysorbate 20,             trehalose

 dihydrate and water for injection q.s. to 0.05 mL.                        Like Eylea,

 Yesafili’s      active     ingredient      is     aflibercept        at    a    target

 concentration of 40 mg/ml.           PTX-1541; Tr. 584:7-12, 587:13-588:5

 (Trout).       In   the   composition      of   the   M710    drug    product,     the

 Defendants’     BLA    identifies




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        The Defendants’ Yesafili BLA also includes a proposed label

 to be packaged along with the marketed product.                 Tr. 310:16-311:13

 (Csaky);     PTX-3097    (Mylan    label    dated      August    2022);   PTX-3338

 (Biocon label).      That label contains no material differences from

 the label that Regeneron includes with its Eylea product.                      Tr.

 313:7-22     (Csaky);     PTX-917     (Regeneron’s       Eylea     label).      In

 particular,    there     is   no   difference     in    how   Regeneron’s    label

 recommends that doctors use Eylea to treat AMD, DME, and DR as

 compared with how the Defendants’ proposed label recommends that

 doctors use Yesafili to treat AMD, DME, and DR.                    Tr. 313:18-22

 (Csaky).

 I.     Prior Art

        The parties have stipulated the following regarding the prior

 art:

        “VEGF Trap-Eye for the treatment of neovascular age-related

 macular degeneration,” by J.A. Dixon et al. (“Dixon”), published

 in 2009.

        “An   Exploratory      Study   of    the   Safety,       Tolerability   and

 Bioactivity     of   a   Single     Intravitreal       Injection    of    Vascular




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 Endothelial Growth Factor Trap-Eye in Patients with Diabetic

 Macular Edema,” by D. Do et al, (“Do 2009”) published in 2009.

         “Anti-VEGF Therapy in Diabetic Macular Edema: An Overview of

 New Agents Under Investigation,” by G. Lalwani (“Lalwani 2009”)

 published in 2009.

         “Enrollment Completed in Regeneron and Bayer Healthcare Phase

 2 Studies of VEGF Trap-Eye in Neovascular Age-Related Macular

 Degeneration (Wet AMD),” (“9-14-2009 Press Release”) is a press

 release publicly distributed by Regeneron Pharmaceuticals, Inc. on

 September 14, 2009.

         U.S. Patent No. 7,303,747 issued December 4, 2007, and claims

 priority to a June 8, 1999 provisional patent application.

         “Single Injections of Vascular Endothelial Growth Factor Trap

 Block Ovulation in the Macaque and Produce a Prolonged, Dose-

 Related Suppression of Ovarian Function,” by H.M. Fraser et al.

 (“Fraser”) published in February 2005.

         “VEGF-Trap: A VEGF Blocker with Potent Antitumor Effects,” by

 J. Holash et al. (“Holash” or “Holash 2002”) published in August

 2002.

         “Prevention of Thecal Angiogenesis, Antral Follicular Growth,

 and Ovulation in the Primate by Treatment with Vascular Endothelial

 Growth Factor Trap R1R2,” by C. Wulff et al. (“Wulff”) published

 in July 2002.

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       Patent Application No. WO 00/75319 (“Papadopoulos”) published

 in 2000.

       “Physical    Stability    of   Proteins     in   Aqueous      Solution:

 Mechanism and Driving Forces in Nonnative Protein Aggregation,” by

 Chi et al. (“Chi”) published in September 2003.

       U.S.   Patent   No.   10,406,226    (“the   ‘226       patent”)   claims

 priority to a U.S. Provisional Application filed March 25, 2005.

       U.S. Patent No. 8,110,546 (“Dix”) claims priority to a U.S.

 Provisional Application filed March 25, 2005.

       U.S.   Patent    Application    Publication      No.    US2001/0014326

 (“Andya ‘326”) published on August 16, 2001.

 U.S. Patent Application Publication No. US2004/0197324 (“Liu”)

 published on October 7, 2004.

       Patent Publication No. WO 2006/047325 (“Shams”) published May

 4, 2006.

       “Preclinical Pharmacokinetics of Ranibizumab (rhuFabV2) After

 a Single Intravitreal Administration,” by J. Gaudreault et al.

 (“Gaudreault”) published in February 2005.

       Patent Publication No. WO 97/04801 (“Andya ’801”) published

 on February 13, 1997.

       U.S. Patent No. 9,340,594 (“’594 patent”) issued from the

 same family from which the ’865 Patent issued.



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       U.S. Patent No. 9,580,489 (“’489 patent”) issued from the

 same family from which the ’865 Patent issued.

       U.S. Patent No. 7,608,261 (“’261 patent”) issued from the

 same family from which the ’865 Patent issued.

 J.    Trial Witnesses

       The   parties    presented    live     testimony    from     the   following

 witnesses, listed in alphabetical order, at trial.

       1.     Dr. Thomas Albini

       Dr. Thomas Albini is an ophthalmologist and vitreoretinal

 surgeon who received his medical degree from the Johns Hopkins

 University    School    of   Medicine;      he    completed   an   ophthalmology

 residency at the Doheny Eye Institute at the University of Southern

 California and is currently a Professor of Ophthalmology at the

 Bascom Palmer Eye Institute of the University of Miami Miller

 School of Medicine.      (Tr. 748:7-749:3 (Albini)).             Dr. Albini is a

 member of, and serves on committees of, the Retina Society and the

 Macula Society, is a founding member of the Vit-Buckle Society,

 serves as co-director of the annual Angiogenesis meeting, and has

 served as an editor for the Journal of Vitreoretinal Diseases and

 Retina     Today.     (Tr.   751:2-752:4         (Albini)).    Dr.   Albini    was

 qualified without objection as an expert in the diagnosis and

 treatment of vitreoretinal disease.              (Tr. 754:18-755:11 (Albini)).


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       2.      Abby Cahn

       Abby Cahn is Regeneron’s Marketing and Customer Engagement

 Executive     Director   and   was   designated   as   a   30(b)(6)    witness

 concerning Regeneron’s marketing of Eylea.             (Tr. 951:9-12, 22-24

 (Cahn (30(b)(6)); see also DTX 802.3).             She was presented by

 designated video deposition testimony.

       3.     Dr. Hana Chang

       Dr. Hana Chang is a research scientist who was formerly

 employed by a third-party company, Integrity Bio.                (ECF No. 543,

 2).




                                                                  Dr. Chang was

 presented by designated video deposition testimony.

       4.     Karen Chu

       Karen Chu has worked at Regeneron for the past twenty years

 and currently serves as Regeneron’s Executive Director of Clinical

 Strategy     and   Execution   for   Ophthalmology.        Tr.    1583:5-1912,

 1586:6-8 (Chu).      In that role, she oversees “all of ophthalmology

 clinical     development,”     including   “the   design,    strategy,     and

 execution of clinical trials.”             Tr. 1583:13-19.         As Ms. Chu

 testified, she was involved with the clinical development of Eylea

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 from the time it first entered clinical trials. Tr. 1586:19-25.

 She testified in her personal capacity about the history of Eylea’s

 clinical development as well as Dr. Yancopoulos’s involvement in

 the Eylea development program.

        Regeneron also designated Chu as a Rule 30(b)(6) deponent on

 a    variety    of   topics,    including     Regeneron’s     clinical    trials,

 secondary considerations, and the conception and reduction to

 practice of the claimed inventions.               (DTX 202.1; Tr. 1225:23-

 1227:14, 1230:6-10 (Chu (30(b)(6)); see also DTX 802.3).                     Her

 30(b)(6) testimony was presented by designated video deposition.

        5.      Jenifer Colyer

        Jennifer      Colyer    is   Regeneron’s     Executive     Director     of

 Commercial Finance and Business Planning. (Tr. 971:14-16 (Colyer

 30(b)(6))). Regeneron designated Ms. Colyer as a 30(b)(6) witness

 to    testify     concerning     Eylea    marketing     and   financial     data,

 including      Eylea   sales    information.     (DTX   501.1;    Tr.    969:7-18

 (Colyer 30(b)(6)); see also DTX 802.3).                 She was presented by

 designated video deposition testimony.

        6.      Dr. Karl Csaky

        Dr. Karl Csaky, M.D., Ph.D., is a physician who studies and

 cares for patients with diseases of the retina.                   Tr. 268:3-15

 (Csaky).       Dr. Karl Csaky is a retinal specialist and vitreal

 retinal surgeon who received his medical degree from the University

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 of   Louisville and completed an ophthalmology residency                  at

 Washington    University    in   St.   Louis   (Tr.   268:3-15,   270:16-18,

 271:4-12, (Csaky)).        Dr. Csaky currently works at a “not-for-

 profit academic research institution” called the Retina Foundation

 of the Southwest in Dallas, Texas, where he holds the titles Chief

 Executive Officer, Chief Medical Officer, and T. Boone Pickens

 Director of the Molecular Ophthalmology Laboratory and Clinical

 Center of Innovation for Macular Degeneration.           Tr. 269:12-270:6.

 Dr. Csaky is involved with the Macula Society, the Retina Society,

 the American Society of Retina Specialists, and the American

 Ophthalmologic Society, and serves on several committees, as well

 as training fellows and publishing in the area of angiogenic eye

 disorders.    (Tr. 275:11-276:22 (Csaky)).

       For the past thirty years, Dr. Csaky has treated patients

 with retinal diseases, including AMD, DME, and DR, and has done so

 using Eylea.      Tr. 268:16-20, 274:16-275:10.         About half of his

 more than 140 publications relate to such retinal diseases.             Tr.

 276:17-22.    Dr. Csaky has run and helped organize clinical trials,

 including working closely with FDA on the design of clinical

 trials.    Tr. 277:1-9.     Dr. Csaky was qualified without objection

 as an expert in ophthalmology with a specialty in angiogenic

 retinal diseases and their treatment.          (Tr. 277:20-278:1 (Csaky)).



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       7.      Dr. Eric Furfine

       Dr. Eric Furfine is the former head of preclinical development

 at Regeneron; and is a named co-inventor of the ’865 Patent.           (Tr.

 443:7-10, 445:20-446:5, 446:12-21 (Furfine)).          Dr. Furfine serves

 as Chief Scientific Officer and Chief Executive Officer of Mosaic

 Biosciences,     providing   scientific    services    to   small   biotech

 companies.     Tr. 443:7-16 (Furfine).       From 2002 through 2006, Dr.

 Furfine led Regeneron’s preclinical development efforts, including

 protein formulation development and early animal studies.               Tr.

 445:1-4, 445:22-446:5.       Dr. Furfine testified about his work at

 Regeneron on the Eylea product, including his efforts to develop

 the Eylea formulation covered by the claims of the Product Patent.

       8.     Dr. Parag Goyal

       Dr. Parag Goyal is a former Mylan employee who was a Senior

 Director, Biologics R&D at Mylan, Inc., and who was designated as

 Mylan’s Rule 30(b)(6) witness regarding certain aspects of the

 development of Mylan’s aflibercept product.           (ECF No. 543, 22).

 He was presented by designated video deposition testimony.

       9.     Dr. Kenneth Graham

       Dr. Kenneth Graham is a senior director in a formulation

 development group at Regeneron, and is a named co-inventor of the

 ’865 Patent.      (Tr. 1671:24-1672:2, 1678:17-19 (Graham)).            Dr.

 Graham has worked at Regeneron for more than twenty-two years; he

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 currently serves as a Senior Director overseeing a formulation-

 development team at Regeneron.            Tr. 1671:20-1672:2 (Graham).               Dr.

 Graham testified about his efforts to develop and test stable

 formulations      of        aflibercept        for        intravitreal     injection,

 culminating     in    the    stable   formulation            of   Regeneron’s      Eylea

 product, which is covered by the Product Patent.

       10.     Dr. Gregory MacMichael

       Gregory MacMichael, Ph.D., is a consultant with experience in

 the   biopharmaceutical        industry.         Tr.        1369:21-24,    1371:12-18

 (MacMichael).     He was accepted as an expert in the formulation and

 development of therapeutic proteins.                 Id.

       11.     Dr. Barrett Rabinow

       Dr. Barrett Rabinow received his Ph.D. in physical organic

 chemistry from the University of Chicago; earned the title of

 Baxter Distinguished Scientist after nearly 40 years of employment

 at    Baxter     Healthcare       Corporation;             and    is     currently     a

 pharmaceutical        consultant.     (Tr.       1000:22-1001:2,          1001:16-21,

 1004:2-18 (Rabinow)).          He was qualified without objection as an

 expert   in    pharmaceutical       formulation            science,    including     the

 development          and      manufacture            of      therapeutic        protein

 formulations.     (Tr. 1005:9-16 (Rabinow)).




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       12. Vanessa Smith

       Vanessa Smith is Mylan’s Director of Core Regulatory Labeling

 Strategy, who was designated as Mylan’s Rule 30(b)(6) witness on

 the topic of labeling.        (ECF No. 538-3, 8).        She was presented by

 designated video deposition testimony.

       13.   Dr. Jay Stewart

       Dr. Jay Stewart is an ophthalmologist and retinal specialist

 who received his medical degree from Harvard; is a full professor

 with the University of California San Francisco medical school,

 and Chief of Ophthalmology at SF General Hospital.                (Tr. 1267:13-

 1268:16 (Stewart)).          He serves as the Editor-in-Chief for the

 American    Journal    of   Ophthalmology      Case   Reports     and    Associate

 Editor-in-Chief       for   Annals    of     Eye   Science.       (Tr.    1269:2-6

 (Stewart)).     He was qualified without objection as an expert in

 the medical and surgical treatment of vitreoretinal and ophthalmic

 diseases.    (Tr. 1270:9-15 (Stewart)).

       14.   Dr. Bernhard Trout

       Dr.   Bernhardt       Trout     received     his    Ph.D.    in     chemical

 engineering from the University of California, Berkeley, and is a

 Professor of Chemical Engineering at the Massachusetts Institute

 of Technology.    (Tr. 567:4-18 (Trout)). At MIT, Dr. Trout performs

 pharmaceutical development and manufacturing research on biologic

 (e.g.,      protein-based)           therapeutics        and      small-molecule

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 therapeutics. Tr. 568:2-6. Since 1998, Dr. Trout has worked on

 approximately fifty biologic therapeutics.            Tr. 568:14-2420.     He

 has experience working with bevacizumab, a protein-based drug that

 is injected into the eye.          Tr. 568:21-24.        Dr. Trout teaches

 undergraduate     students,     graduate    students,   and     post-doctoral

 researchers on fundamental aspects of chemical engineering.               Tr.

 569:3-7.    He also teaches an annual course to professionals from

 the biopharmaceutical industry on the subject of biologic molecule

 formulations    (“bioformulation”).          Tr.    569:8-23.      Dr.   Trout

 regularly    consults    with    industry     and   government     officials,

 including FDA and foreign regulatory agencies.           Tr. 569:24-570:16.

 He has authored more than two hundred publications, including more

 than fifty in the field of protein formulation.               Tr. 570:17-23.

 He was qualified without objection as an expert in formulation and

 stabilization of protein and small-molecule therapeutics.                (Tr.

 571:24-572:5 (Trout)).

       15.   Dr. George Yancopoulos

       Dr. Yancopoulos is the co-founder, co-chairman, President,

 and Chief Scientist at Regeneron.           Tr. 97:7-9 (Yancopoulos).      In

 his role as Chief Scientist, Dr. Yancopoulos oversees all aspects

 of biopharmaceutical research and development at Regeneron.               Tr.




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 97:10-13. He is listed as the sole named inventor of the ‘572 and

 ‘601 Patents. (Tr. 100:7-101:21 (Yancopoulos)).

       Dr. Yancopoulos testified on background regarding Regeneron,

 and its various research and development efforts over the years

 with aflibercept.       (Tr. 97:14-99:17, 107:11-108:2, 108:7-109:16

 (Yancopoulos)).     Dr. Yancopoulos explained his early interest in

 science and his role in developing Regeneron from a small startup

 to one of the world’s leading biopharmaceutical companies.                   Tr.

 102:20-110:10.     Dr. Yancopoulos testified about his involvement in

 the development of Eylea, including his work leading to the methods

 of treatment claimed in the Treatment Patents.

       Dr. Yancopoulos is the named inventor on more than 150

 patents, is an author of more than 500 scientific publications,

 and has been recognized as one of the top scientists in the world

 based on citation index.         Tr. 100:10-12, 102:3-6, 102:16-19.          He

 was elected to the National Academy of Sciences and to the Biotech

 Hall of Fame; selected by Ernst & Young as Entrepreneur of the

 Year; and recognized by Forbes Magazine as one of the Heroes of

 the Pandemic.    Tr. 102:7-15.     Dr. Yancopoulos acknowledged that he

 is not a formulator, (Tr. 216:13-16 (Yancopoulos)), or practicing

 ophthalmologist, (Tr. 242:17-19, 252:6-9 (Yancopoulos)); he has

 further   earned   in   excess    of   $100    million   off   the   value   of

 Regeneron.    (Tr. 251:23-252:5 (Yancopoulos)).

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                             III. CONCLUSIONS OF LAW

 A.    Person of Ordinary Skill in the Art

       In a patent case, the overall framework for analysis is

 presented in the context of a hypothetical person of ordinary skill

 in the art (“POSA”).        Standard Oil Co. v. Am. Cyanamid Co., 774

 F.2d 448, 454 (Fed. Cir. 1985).           This legal construct is “akin to

 the   ‘reasonable    person’      used    as   a    reference     in    negligence

 determinations.     The legal construct also presumes that all prior

 art references in the field of the invention are available to this

 hypothetical skilled artisan.”           In re Rouffet, 149 F.3d 1350, 1357

 (Fed. Cir. 1998).        “A person of ordinary skill in the art is also

 a person of ordinary creativity, not an automaton.”                  KSR Int’l Co.

 v. Teleflex Inc., 550 U.S. 398, 421 (2007).                     Courts may also

 account for “the inferences and creative steps that a person of

 ordinary skill in the art would employ.”                 Id. at 418.

       Determining who constitutes a person of ordinary skill in the

 art (“POSA”) is a factual question.                 See ALZA Corp. v. Andrx

 Pharm., LLC, 603 F.3d 935, 940 (Fed. Cir. 2010).                To determine the

 level of ordinary skill in the art, courts consider the following

 non-exhaustive      factors:      “(1)   the    educational      level    of    the

 inventor; (2) type of problems encountered in the art; (3) prior

 art   solutions     to    those    problems;       (4)    rapidity     with    which


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 innovations are made; (5) sophistication of the technology; and

 (6) educational level of active workers in the field.” Daiichi

 Sankyo Co., Ltd. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir.

 2007).

       1.    The Product Patent

       The parties advanced substantially similar definitions of a

 POSA to whom the ’865 Patent is directed.        According to Regeneron,

 the POSA “would be a professional with a master’s degree at least

 in a relevant field, so a technical field directly relevant to

 formulations here.”      Tr. 2092:6-17 (Trout); PDX-9.002 (explaining

 that the POSA “would have held an advanced degree, such as a

 Master’s in a biopharmaceutical science, or a related discipline,

 such as chemical engineering, and several years of experience in

 the development of biologics products.          Alternatively, the POSA

 could have a Ph.D. in such discipline and less experience.              The

 POSA may collaborate with others, including a medical doctor with

 experience treating ophthalmic diseases.”).             According to the

 Defendants, the POSA would have a similar but somewhat higher level

 of skill: “at least a PhD in chemistry, chemical engineering,

 biochemistry, pharmacology, or a related field, along with one to

 two years of experience in the development and manufacture of

 formulations of therapeutic proteins or a lower degree with more



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 practical    industrial    experience.”     Tr.    1372:25-1373:14

 (MacMichael).

         The parties agree that there is no significant difference

 between       these   definitions    that        would      impact   the    Court’s

 examination of the ’865 Patent. The Court adopts Regeneron’s less-

 stringent       definition   of     the        POSA   for    purposes      of   this

 opinion.      However, its opinion would be no different were it to

 perform the required analysis under the Defendants’ definition of

 the POSA.

         2.    The Treatment Patents

         The    parties    likewise        offered        substantially      similar

 definitions of a POSA to whom the ’601 and ’572 Patents are

 directed.      Regeneron offered the following definition of the POSA

 as relates to the Treatment Claims:

         A person of ordinary skill in the art relevant to the
         claims is an ophthalmologist with experience in treating
         angiogenic eye disorders, including through the use of
         VEGF antagonists, and would have access to individuals
         with    experience    with    intravitreal     injection
         formulations.

 Tr. 1815:13-1816:3 (Csaky).

         The Defendants offered a slightly different definition of the

 POSA with respect to the Treatment Claims, stating that they would

 have:

                1. Knowledge regarding the diagnosis and
                treatment  of angiogenic  eye  disorders,

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              including the administration of therapies to
              treat said disorders; and

              2. The ability to understand results and
              findings presented or published by others in
              the   field,   including  the   publications
              discussed herein.

       Typically, such a person would have an advanced degree,
       such as an MD or PhD, or equivalent or less education
       but considerable professional experience in the medical,
       biotechnological, or pharmaceutical field with practical
       academic or medical experience in:

             1. Developing treatments for angiogenic eye
                disorders, such as AMD, including through
                the use of VEGF antagonists; or

             2. Treating of same, including through the use
             of VEGF antagonists.

 Tr. 752:17-753:13 (Albini).

       Neither      party   has   presented     any   substantive    difference

 between    these    two    definitions    as   dispositive   or    critical   to

 resolution of any issue in the case.           Nevertheless, because one of

 the Treatment Claims involves formulation as an isotonic solution

 (’572 Patent, claim 6), the Court concludes that Regeneron’s

 definition of the POSA is most appropriate to the claims at issue

 and adopts it for purposes of this opinion.              However, the Court

 finds that its opinion would be no different were it to perform

 the required analysis under the Defendants’ definition of the POSA.




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 B.    Infringement of the Patents-in-Suit

       Regeneron contends that the Defendants have infringed the

 Product Patent because Yesafili meets each of the asserted claim

 limitations.     The Defendants dispute that Yesafili infringes the

 Product Patent because the polysorbate in their formulation is not

 an “organic co-solvent” as the claim has been construed by the

 Court.

       Regeneron further asserts that the Defendants will induce

 infringement of the asserted claims of the Treatment Patents

 because the proposed Yesafili label copies the Eylea label and

 instructions    physicians    to    carry   out   the   claimed   methods   of

 treatment.     The Defendants, however, contend that Regeneron has

 failed to demonstrate that physicians will use Yesafili in a manner

 that constitutes direct infringement and has failed to demonstrate

 that the Defendants specifically intended to induce infringement.

       1.     Legal Standard

       “[W]hoever without authority makes, uses, offers to sell, or

 sells any patented invention, within the United States or imports

 into the United States any patented invention during the term of

 the patent therefor, infringes the patent.” 35 U.S.C. § 271(a).

 “The patentee bears the burden of proving infringement by a

 preponderance     of   the   evidence.”     Creative    Compounds,   LLC    v.

 Starmark Lab’ys, 651 F.3d 1303, 1314 (Fed. Cir. 2011) (quoting SRI

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 Int’l v. Matsushita Elec. Corp., 775 F.2d 1107, 1123 (Fed. Cir.

 1985)). “An infringement analysis entails two steps. The first

 step is determining the meaning and scope of the patent claims

 asserted to be infringed. The second step is comparing the properly

 construed claims to the device accused of infringing.” Markman v.

 Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en

 banc) (citation omitted).       The first step is a question of law,

 id. at 979, while the second step is a question of fact.           Spectrum

 Pharms., Inc. v. Sandoz Inc., 802 F.3d 1326, 1337 (Fed. Cir. 2015);

 see also Vanda Pharms. Inc. v. W.-Ward Pharms. Int’l Ltd., 887

 F.3d 1117, 1125 (Fed. Cir. 2018) (“In a bench trial,” whether the

 BLA infringes “is a question of fact.”).

       Under 35 U.S.C. § 271(e)(2)(A), when a party submits a

 regulatory submission to the FDA that describes “a drug claimed in

 a patent,” this can constitute an infringing act under certain

 circumstances.     In re Brimonidine Pat. Litig., 643 F.3d 1366, 1377

 (Fed. Cir. 2011).      Like the Hatch-Waxman Act for an ANDA filing,

 and under the BPCIA for a BLA filing, the submission to the FDA

 constitutes a hypothetical “artificial” or a “technical” act of

 infringement.     Sandoz, 582 U.S. at 10; Sunovion Pharms., Inc. v.

 Teva Pharms. USA, Inc., 731 F.3d 1271, 1278 (Fed. Cir. 2013).

       An infringement inquiry provoked by a regulatory filing must

 be “focused on a comparison of the asserted patent against ‘the

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 product that is likely to be sold following [BLA] approval.’”

 Alcon Rsch. Ltd. v. Barr Lab’ys, Inc., 745 F.3d 1180, 1186 (Fed.

 Cir. 2014).      “[I]f a product that an . . . applicant is asking the

 FDA to approve . . . falls within the scope of an issued patent,

 a judgment of infringement must necessarily ensue.”                Sunovion

 Pharm., Inc., 731 F.3d at 1278.

             a.     Literal Infringement

       “Literal infringement requires the patentee to prove that the

 accused device contains each limitation of the asserted claim(s).”

 Bayer AG v. Elan Pharm. Rsch. Corp., 212 F.3d 1241, 1247 (Fed.

 Cir. 2000).       “If even one limitation is missing or not met as

 claimed, there is no literal infringement.” Mas-Hamilton Grp. v.

 LaGard, Inc., 156 F.3d 1206, 1211 (Fed. Cir. 1998).

             b.     Induced Infringement

       “To succeed on a theory of induced infringement, the plaintiff

 is required to prove by a preponderance of the evidence (1) direct

 infringement, i.e., if defendant’s drug was ‘put on the market, it

 would infringe the relevant patent’; and (2) ‘that [defendant]

 possessed        the    specific    intent      to   encourage   another's

 infringement.’”        Genentech, Inc. v. Sandoz Inc., 55 F.4th 1368,

 1376 (Fed. Cir. 2022) (quoting Vanda, 887 F.3d at 1129–30).           “This

 requires a plaintiff to show that the alleged infringer’s actions

 induced infringing acts and that he knew or should have known his

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 actions would induce actual infringements.” GlaxoSmithKline v.

 Teva Pharm., 7 F.4th 1320, 1327 (Fed. Cir. 2021).

         Specific intent may be shown if the defendant’s proposed label

 recommends, encourages, or promotes an infringing act or through

 other circumstantial evidence.            Genentech, 55 F.4th at 1376;

 GlaxoSmithKline, 7 F.4th at 1327.          When a plaintiff relies on a

 drug’s label accompanying the marketing of a drug to prove intent,

 “[t]he label must encourage, recommend, or promote infringement.”

 Sanofi v. Watson Labs. Inc., 875 F.3d 636, 644 (Fed. Cir. 2017).

         “For purposes of inducement, ‘it is irrelevant that some users

 may ignore the warnings in the proposed label.’” Eli Lilly & Co.

 v. Teva Parenteral Medicines, Inc., 845 F.3d 1357, 1368 (Fed. Cir.

 2017)(quoting AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1060

 (Fed. Cir. 2010)). “The pertinent question is whether the proposed

 label     instructs   users    to    perform    the   patented     method.”

 AstraZeneca, 633 F.3d at 1060; see also Vita–Mix Corp. v. Basic

 Holding, Inc., 581 F.3d 1317, 1329 n. 2 (Fed. Cir. 2009) (“The

 question is not . . . whether a user following the instructions

 may end up using the device in an infringing way.            Rather, it is

 whether [the] instructions teach an infringing use of the device

 such that we are willing to infer from those instructions an

 affirmative intent to infringe the patent.”).



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       2.      The Defendants’ BLA Product Infringes the Asserted
               Claims of the Product Patent

       Only one claim limitation is at issue as to the ’865 Patent.

 The parties dispute whether Yesafili is an ophthalmic formulation

 containing an organic co-solvent comprising about 0.03% to about

 0.1% polysorbate 20.      Regeneron contends that the Defendants’ BLA

 product satisfies this claim limitation because Yesafili contains

              polysorbate 20 which increases the solubility of the

 aflibercept.       The Defendants, however, assert that their BLA

 product does not infringe the Product Patent because polysorbate

 is not a co-solvent in Yesafili.

       Regeneron must prove by a preponderance of the evidence that

 the BLA product satisfies every claim limitation.          Roche Palo Alto

 LLC v. Apotex, Inc., 531 F.3d 1372, 1377 (Fed. Cir. 2008); Warner-

 Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1366 (Fed. Cir. 2003).

 As detailed below, the Court finds that Regeneron has satisfied

 this burden.       Because Yesafili meets every limitation of the

 asserted claims, the Defendants infringe the Product Patent.

       Both parties presented expert testimony on the topic of

 infringement of the Asserted Product Claims.         Regeneron called Dr.

 Trout,     who   testified   that   the   Defendants’   Yesafili    product

 infringes all of the Asserted Product Claims.               Tr. 582:15-23

 (Trout). The Defendants called Dr. MacMichael, who testified that,


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 in his opinion, the Asserted Product Claims are not infringed

 because the Defendants’ Yesafili product does not contain an

 “organic co-solvent” under the Court’s construction.                Tr. 1375:9-

 15 (MacMichael).          As explained below, the Court credits the

 testimony of Dr. Trout over the testimony of Dr. MacMichael on

 issues involving infringement of the asserted claims of the Product

 Patent.

                a.     Yesafili Satisfies All Undisputed Limitations of
                       the Asserted Product Claims

         The Defendants and Dr. MacMichael do not dispute that Yesafili

 meets every limitation of the Asserted Product Claims other than

 the “organic co-solvent” limitations.             Dr. Trout’s testimony that

 Yesafili meets all limitations of the Asserted Product Claims is

 therefore unrebutted as to all limitations other than “organic co-

 solvent.”

                     i.    Claim 1
         Every Asserted Product Claim ultimately depends from claim 1.

 Dr. Trout testified that Yesafili meets each limitation of claim 1

 of the Product Patent.         Dr. Trout explained that




 meets    the    requirement    of   claim    1   of   “A   vial   comprising   an



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 ophthalmic formulation suitable for intravitreal administration

 that comprises.”     Tr. 583:1-23 (Trout); PTX-1541.

       Dr. Trout next testified that the requirement of “a vascular

 endothelial growth factor (VEGF) antagonist . . . wherein said

 VEGF antagonist fusion protein is glycosylated and comprises amino

 acids 27-457 of SEQ ID NO:4”




       Dr. Trout testified that the Defendants’ Yesafili product

 meets the requirement of “a buffer” in claim 1.              Tr. 627:1-21

 (Trout).




       Dr. Trout further testified that the Defendants’ Yesafili

 product meets the requirement of “a stabilizing agent” in claim 1.

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 Tr. 628:20-629:20 (Trout).




       Dr. Trout also addressed the limitation of claim 1 reciting

 “wherein at least 98% of the VEGF antagonist is present in native

 conformation following storage at 5°C. for two months as measured

 by size exclusion chromatography.”        Tr. 629:21-633:3 (Trout); PTX-

 66A; PTX-1820 at 9 (Table 2.3.P.8-6); PTX-1802 at 15-24.




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                                       Dr. Trout thus concluded that the

 Defendants’ Yesafili product meets this limitation of claim 1.

       The   Defendants    and    their     non-infringement     expert,     Dr.

 MacMichael, offered no argument or evidence that their accused

 Yesafili product does not meet the foregoing limitations of claim

 1.    The Court credits Regeneron’s unrebutted evidence, including

 the testimony of Dr. Trout, that the Defendants’ Yesafili product

 meets each of the foregoing claim limitations.

       Regarding the dependent claims, aside from the “organic co-

 solvent” limitation, the Defendants did not dispute at trial any

 limitations of any of the asserted dependent claims of the Product

 Patent.     Regeneron, through its expert Dr. Trout, explained that

 the   Defendants’    Yesafili    product    meets   each   of   these     claim

 limitations, as summarized below.          The Court credits Dr. Trout’s

 unrebutted testimony.

               ii.      Claim 2

       All of the Asserted Product Claims also depend from claim 2.

 Dr. Trout testified that the Defendants’ Yesafili product meets

 the requirement of claim 2 that “wherein the concentration of said

 VEGF antagonist fusion protein is 40 mg/mL.”               Tr. 587:6-588:5.

 Dr. Trout explained that Mylan’s BLA submission states that its


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 product is formulated at a concentration of 40 mg/ml. Id.; PTX-

 1541 at 1.     Dr. MacMichael did not dispute that the Defendants’

 product contains 40 mg/ml aflibercept.           Tr. 1504:25-1505:2.

              iii.       Claim 7

       Regarding     claim   7,   which      recites   “wherein    said   buffer

 comprises 5-25 mM buffer,” Dr. Trout testified that the Defendants’

 Yesafili product contains a buffer as required by the asserted

 claims.    Tr. 627:18-21.




               iv.       Claim 9

       Regarding     claim   9,   Dr.   Trout   testified   that    Defendants’

 Yesafili product meets the requirement that “wherein said buffer

 comprises a pH about 6.2-6.3.”           Tr. 627:22-628:19.




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                 v.     Claims 10 and 11

       Regarding claims 10 and 11, Dr. Trout testified that the

 Defendants’      Yesafili        product   meets   the   limitations    of    these

 claims.     Tr. 628:20-629:20.             He testified that the trehalose

 stabilizing agent in Yesafili is a sugar, so Yesafili meets the

 requirement of claim 10 that “said stabilizing agent comprises a

 sugar.”    Id.     He further testified that the trehalose stabilizing

 agent in Yesafili is among the sugars expressly listed in claim

 11, so Yesafili meets the requirement of claim 11 that “wherein

 said sugar is selected from the group consisting of sucrose,

 sorbitol, glycerol, trehalose, and mannitol.”               Id.

                  vi.          Claim 14

       Regarding claim 14, Dr. Trout testified about the specific

 glycosylation sites on the aflibercept protein in the Defendants’

 product.      As       he    explained,    the   aflibercept   protein   in       the

 Defendants’ product is glycosylated at the specific sites recited

 in claim 14.       Tr. 585:18-586:8; PTX-3097 at 13 (the Defendants’

 proposed      Yesafili          label      describing     aflibercept        as     a

 “glycoprotein”).            Thus, Yesafili meets the requirement of claim 14

 that “wherein said VEGF antagonist fusion protein is glycosylated

 at asparagine residues corresponding to asparagine residues 62,

 94, 149, 222 and 308 of SEQ ID NO: 4.”

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              vii.     Claim 15

       Regarding claim 15, Dr. Trout testified that the Defendants’

 Yesafili product meets the additional limitation the of this claim.

 Tr. 639:2-640:8.




             viii.      Claim 16

       Regarding claim 16, Dr. Trout testified that




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                                           Dr. Trout thus concluded that

 Mylan’s Yesafili product meets the claim element set forth in claim

 16.   Id.

               ix.      Claim 17

       Regarding claim 17, Dr. Trout testified that




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                                            Dr. Trout thus concluded that

 Mylan’s Yesafili product meets the claim element set forth in claim

 17.   Id.

             b.    Yesafili   Satisfies   the  “Organic   Co-solvent”
                   Limitation of the Asserted Product Claims

       Each Asserted Product Claim requires an “organic co-solvent”

 comprising “polysorbate”—either expressly or by virtue of its

 dependency on another patent claim.           Claim 1 recites “an organic

 co-solvent”;     claim   2   specifies    that   “said   organic   co-solvent

 comprises polysorbate”; claim 4 specifies that “said organic co-

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 solvent comprises about 0.03% to about 0.1% polysorbate 20”; and

 claim 5 specifies that “said organic co-solvent comprises 0.01% to

 3% polysorbate 20.”




       The parties’ only infringement dispute focuses on whether the

 polysorbate 20 undisputedly present in the Defendants’ Yesafili

 product meets the claim requirement of an organic co-solvent

 comprising polysorbate 20.       The Defendants argued at trial that,

 under the Court’s construction, Yesafili’s              polysorbate 20 is

 not a co-solvent because it is not “added to the primary solvent”

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 (i.e., the water in Yesafili) “to increase the solubility of the

 solute,     here   a     VEGF   antagonist”    (i.e.,    the   aflibercept      in

 Yesafili).         Tr.   1375:23-1376:5     (MacMichael).          By    contrast,

 Regeneron maintained that Yesafili meets every limitation of the

 Asserted     Product     Claims,   including    the     “organic    co-solvent”

 limitation as that term was construed by the Court, by virtue of

 the polysorbate 20 in the Defendants’ Yesafili product.                         Tr.

 589:16-590:1 (Trout).

       There was no dispute at trial that




                                    Aggregation is the mechanism by which

 proteins like aflibercept come out of solution as a result of

 insolubility.      Tr. 593:16-594:4, 598:13-10 (Trout); PTX-1556 at 3-

 4 (Wang).    The Product Patent Inventors prevented the formation of

 insoluble particles in their intravitreal aflibercept formulations

 by including polysorbate 20.         Tr. 483:4-10 (Furfine).            Polysorbate

 achieved this objective by interacting with “hydrophobic patches”

 on the aflibercept molecules, thus preventing aggregation.                     Tr.

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 489:2-22 (Furfine), 595:5-596:14 (Trout). The term “hydrophobic”

 means     “water-repelling”        and     refers       to     substances     that    are

 insoluble     in     water,       like     oil.          Tr.    590:20-25       (Trout).

 “Hydrophilic” means “water-loving” and refers to substances that

 interact favorably with water.               Id.       Because polysorbate 20 has

 both hydrophobic and hydrophilic parts, PTX-1813A at 3; Tr. 590:12-

 591:6    (Trout),    its     hydrophobic        part    interacts      favorably     with

 hydrophobic regions of the protein and thereby prevents those

 hydrophobic        patches     from      binding        to     other    proteins      and

 aggregating, Tr. 595:5-23 (Trout).

         Preventing aflibercept from aggregating and coming out of

 solution is especially important in the context of intravitreal

 injections.        Intravitreal       injections        use    narrow     needles,    Tr.

 472:21-473:8 (Trout); Tr. 1465:15-21 (MacMichael); Tr. 476:9-14

 (Furfine), which lead to shear stress and enhanced risk of protein

 aggregation,        Tr.      577:10-578:25          (Trout);        Tr.       1465:19-25

 (MacMichael).        Forcing protein solutions through a narrow-bore

 needle creates shear stress, which can cause a protein to aggregate

 and come out of solution.                Tr. 578:2-9 (Trout); Tr. 1465:15-25

 (MacMichael);       see    also   Tr.     476:2-24      (Furfine);      Tr.    1680:6-11

 (Graham).       Polysorbate        20     protects       against       such   stresses,

 preventing     the        aflibercept      from        aggregating      and    becoming

 insoluble.            Tr.      1455:11-16,          1458:4-8,          1460:22-1461:13

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 (MacMichael). A protein coming out of solution can lead to several

 potential problems, including protein inactivation, inflammation,

 and even adverse immune responses.                 Tr. 578:25-579:10 (Trout).

 The critical question for formulation scientists, therefore, is

 not   whether    aflibercept      stays     in   solution    under    non-stressed

 conditions, but rather whether it stays in solution under all of

 the     temperature     and   pressure         conditions    attendant     to   the

 manufacture, storage, shipment, and use (including through narrow

 needles) of the product.          Tr. 577:10-578:9, 580:16-22 (Trout).

         The   experts    agreed      that      polysorbate    20     prevents   the

 aggregation of aflibercept, Tr. 595:5-596:5, 596:22-597:2, 599:11-

 600:7     (Trout);      Tr.   1407:15-20,        1408:13-18,       1460:17-1461:20

 (MacMichael), and that preventing the aggregation of aflibercept

 keeps    more   aflibercept     in    solution,      Tr.    600:12-20,    601:1-6,

 601:14-602:15, 602:22-603:13 (Trout); Tr. 1412:11-14, 1458:4-14,

 1459:2-1460:13,         1462:13-18      (MacMichael),        i.e.,      increasing

 solubility of aflibercept as the Court’s construction of “organic

 co-solvent” requires.




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         The inventors used various labels to refer to polysorbate 20.

 In the Product Patent, in some internal documents, and in parts of

 their FDA submissions, they called it an “organic co-solvent.”

 PTX-2,     2:39-42;      Tr.       488:1-489:1       (Furfine);      PTX-86       at    5

 (“formulation development will require minimizing organic co-

 solvent (PEG and polysorbate)”); Tr. 1739:16-1740:22 (Graham);

 PTX-672 at 26 (“[A]ddition of an organic co-solvent (PEG3350,

 PEG300,       or   polysorbate     20)   to    the   VEGF    Trap    drug      substance

 significantly inhibited the degradation of 0.5 mg/ml VEGF Trap

 when agitated.”).           At times they referred to it as a stabilizer,

 stabilizing        agent,     or   surfactant.         Tr.    501:2-9       (Furfine).

 Regardless of its label, polysorbate 20 refers to a specific

 substance known to the POSA.             Tr. 590:12-591:6 (Trout); PTX-1813A

 (Handbook of Pharmaceutical Excipients) at 3.                   And regardless of

 the particular English word used, polysorbate achieves the same

 function in aflibercept formulations—reducing aggregation that

 leads    to    aflibercept     coming    out    of   solution       in   the    form   of

 insoluble aggregations.             Tr. 595:5-596:5, 596:22-597:2, 599:11-

 600:7     (Trout);      Tr.    1407:15-20,       1408:13-18,         1460:17-1461:20

 (MacMichael).



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         As relevant to the infringement inquiry, it was undisputed at

 trial      that    polysorbate      20   reduces      formation    of     insoluble

 aggregates.         Dr. Trout reviewed the scientific literature and

 explained how polysorbate 20 stabilizes proteins by preventing

 insoluble aggregates, thereby increasing the protein’s solubility.

 The literature reflects the connection between reducing insoluble

 aggregates        (which    both   parties    agree   polysorbate    20       does    in

 aflibercept formulations, Tr. 595:5-596:5, 596:22-597:2, 599:11-

 600:7      (Trout);        Tr.   1407:15-20,    1408:13-18,       1460:17-1461:20

 (MacMichael)) and increasing solubility of a protein (the Court’s

 construction of organic co-solvent, ECF No. 427 at 20; Tr. 600:12-

 20, 601:1-6, 601:14-602:15, 602:22-603:13 (Trout); Tr. 1412:11-

 14, 1458:4-14, 1459:2-1460:13, 1462:13-18 (MacMichael)).                         Wang

 2005 elucidates how protein aggregation occurs: “[i]t is the

 patches of contiguous hydrophobic groups in the folding/unfolding

 intermediates that initiate the aggregation process.”                   PTX-1556 at

 3;   Tr.    598:17-25       (Trout).     Dr.    Trout   evaluated       the    three-

 dimensional structure of an aflibercept domain and confirmed that

 aflibercept has such hydrophobic patches that will be shielded by

 polysorbate, thereby increasing the solubility of aflibercept.

 Tr. 607:7-610:12; PTX-68A (showing hydrophobic regions in red).

 The Defendants offered no disagreement or contrary evidence.                         The

 Court credits Dr. Trout’s unrebutted analysis.

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       The literature reflects the principle that as the hydrophobic

 patches of proteins associate, they begin to aggregate and become

 insoluble.        “The      initial     protein        aggregates       are    soluble     but

 gradually    become         insoluble      as    they    exceed       certain      size    and

 solubility     limits.”           PTX-1556        at     4;     Tr.    599:1-7      (Trout).

 Polysorbate 20 prevents the formation of insoluble aggregates—

 protein     out        of    solution.            “To        protect      proteins        from

 shaking/shearing-induced              aggregation,            surfactants          are    most

 commonly used,” and these surfactants—including polysorbate, Tr.

 601:14-25     (Trout),        1379:22-25        (MacMichael)—          “inhibit      protein

 aggregation       by    accumulating,       competitively             with    proteins,     at

 hydrophobic surfaces/interfaces and/or by binding directly to

 proteins.”             PTX-1556       at    20;        Tr.      599:11-600:7.              The

 hydrophobic/hydrophilic nature of polysorbate allows it to serve

 as a bridge between the hydrophobic patches of the protein and the

 aqueous (hydrophilic) solvent, thus inhibiting aggregation.                               PTX-

 1813A at 3; Tr. 590:12-591:6 (Trout).                           The Court finds that

 polysorbate       20’s      inhibition      of     the        formation       of   insoluble

 aflibercept aggregates meets the Court’s construction of “organic

 co-solvent.”

       Using a series of animations, Dr. Trout illustrated how

 polysorbate inhibits the formation of insoluble aggregates.                                Tr.

 592:2-597:3.       Dr. MacMichael did not dispute this understanding.

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 Tr. 1407:15-20, 1408:13-18, 1412:11-14, 1460:17-1461:20. Without

 polysorbate, aflibercept molecules aggregate and then fall out of

 solution    as    insoluble   particles.       Tr.    593:15-594:4,    599:1-7

 (Trout); PTX-1556 at 4.           In the presence of polysorbate 20,

 however,    the   hydrophobic    end   of    the    polysorbate   20   molecule

 interacts with the hydrophobic patches of aflibercept and “tends

 to hinder aggregation, and therefore, keep the molecules soluble.”

 Tr. 595:5-596:5 (Trout).        In other words, more aflibercept remains

 in solution with polysorbate 20 than without it; polysorbate 20

 thus increases the solubility of aflibercept, consistent with the

 Court’s claim construction.         Id.; see Tr. 600:12-601:6 (Trout);

 Tr. 1461:22-1462:8 (MacMichael).

       The literature confirms Dr. Trout’s testimony and the link

 between    reduced    aggregation      and   increased    solubility.       The

 Randolph     publication      explained      that     interactions      between

 surfactants and the hydrophobic patches on protein molecules lead

 to a “hydrophobicity reversal” that “effectively increases the

 solubility of the [surfactant-protein] complex”:

       The hydrophobic portion of non-ionic surfactants can
       bind to hydrophobic patches on proteins. This naturally
       causes the surfactant to order itself so that more
       hydrophilic groups are solvent exposed, resulting in a
       “hydrophobicity   reversal.”      This   “hydrophobicity
       reversal” means that the protein-surfactant complex is
       more hydrophilic tha[n] either the surfactant or protein
       alone, and effectively increases the solubility of the
       complex.

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 PTX-1817 at 9-10 (emphasis added).                   Dr. Trout explained that

 Randolph “teach[es] exactly as I’ve been describing and exactly as

 the Wang article teaches,” Tr. 601:14-20, and is “a reflection of

 the Court’s construction of organic cosolvent.                    It increases the

 solubility    of   the    complex.”6          Tr.    602:16-21.         Neither    the

 Defendants nor their experts offered a contrary interpretation of

 the literature, which reflects the understanding in the field that

 preventing aggregation is synonymous with increasing solubility.

 The Court credits Dr. Trout’s unrebutted testimony.

       Randolph     also      addressed        polysorbate       20     specifically,

 explaining    that    its    “addition”        “blocked     the      progression   of

 aggregates    from    a     relatively    low       molecular     weight,    soluble

 fraction to insoluble aggregates.”                  PTX-1817 at 10.       Dr. Trout

 confirmed Randolph’s teaching that “just adding a very little bit

 of the polysorbate 20 starts to reduce the percentage of insoluble

 aggregates    or     increases   the     solubility.”           Tr.     604:12-606:8

 (discussing PTX-1817 at 10, Fig. 4).                    In addition, Randolph

 demonstrates that surfactants like polysorbate 20 “increase[] the

 solubility of the complex” (here, aflibercept interacting with

 polysorbate) at low concentrations of polysorbate 20, thereby


 6 The “complex” referenced in Randolph corresponds to a “weak
 interaction” between the aflibercept protein and polysorbate—it is
 not a new molecule. Tr. 603:14-22 (Trout).
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 blocking the formation of insoluble aggregates. PTX-1817 at 9-

 10; Tr. 603:14-22 (Trout). The Court credits Dr. Trout’s testimony

 and   the   teachings      of    Randolph,     both      of    which   demonstrate

 infringement.

       The Defendants’ argument that polysorbate 20 is not an organic

 co-solvent under the Court’s construction and does not increase

 the    solubility     of        aflibercept,       see        Tr.   1375:16-1376:5

 (MacMichael),    lacks     support    in    the    scientific       literature,

                                                   and is contrary to the plain

 claim language reciting that the “organic co-solvent comprises

 . . . polysorbate 20.”




       For example, Dr. MacMichael confirmed on cross-examination

 that polysorbate 20 increases the solubility of aflibercept.                      Dr.

 MacMichael presented the following demonstrative reflecting the

 effect of polysorbate 20 on protein solubility in water:



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 DDX-8.34.        Discussing the graph, Dr. MacMichael agreed with Dr.

 Trout     that     “hydrophobic       patches     can     interact     and   cause

 aggregation” of aflibercept “over time, if not protected” by

 polysorbate, Tr. 1458:6-8 (MacMichael).                 He also agreed that, if

 aflibercept aggregates “get large enough, they will fall out of

 solution,”        Tr.    1454:14-16,    see     also     1456:10-16,     1459:4-5

 (MacMichael).       This testimony contradicts the Defendants’ argument

 that nothing can serve as an “organic co-solvent” for aflibercept

 in the claimed formulations because the aflibercept is fully

 soluble     in     water    alone.       Tr.      1452:11-16,     1405:16-1406:9

 (MacMichael).           As Dr. MacMichael agreed, “over time, if not

 protected” by polysorbate, the aflibercept will not remain in

 solution.         Tr.   1458:6-8   (MacMichael).          That   is   because   the

 solubility of aflibercept in water is not an invariable constant,


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 but rather depends on external conditions such as time, pressure,

 and temperature.        Tr. 1457:1-6 (MacMichael).              As Dr. MacMichael

 admitted,      a    protein        solution    experiences      changes        in    such

 conditions as it is handled and used—for example, “[a]s you push

 the   liquid       through”    a    narrow-gauge     needle    upon      intravitreal

 administration, the protein molecule “[i]s experiencing shear.”

 Tr.   1465:12-25      (MacMichael).           Conditions     such   as   “agitation-

 induced shear stresses” can increase aflibercept’s “propensity for

 aggregation.”         Tr.     1466:19-1467:6      (MacMichael).          And    as   Dr.

 MacMichael explained, the black curve in his graph shows the

 aflibercept “monomer in solution is going down over time as

 aggregates form.”           Tr. 1458:11-14.       (A “monomer” is a “singular

 molecule of aflibercept,” in contrast to aggregates of multiple

 aflibercept molecules.             Tr. 1462:23-1463:8.)

       Critically, Dr. MacMichael’s figure shows that aflibercept’s

 “Solubility in Water” with polysorbate in the formulation (the

 orange dashed line) is consistently higher than its solubility

 without polysorbate (the black curve).                Dr. MacMichael confirmed

 that “[w]hat we’re showing in this graphic is that,” without

 polysorbate, “the monomer aggregates and falls out of solution.

 And when we add polysorbate, it would stop that aggregation.”                        Tr.

 1461:18-20         (emphasis       added);     see    Tr.     1462:2-5         (“[W]ith

 polysorbate,        you’re     going     to    prevent      aggregation        and   the

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 [aflibercept] monomer from falling out of solution, either as

 soluble aggregates or insoluble aggregates.”).                       Thus, as Dr.

 MacMichael    agreed,     “you    have    more    monomer     in     solution   with

 polysorbate than without,” Tr. 1462:13-18—in other words, the

 polysorbate increases the solubility of aflibercept.

       Dr. MacMichael and Dr. Trout thus did not substantively

 dispute the underlying scientific principles of how polysorbate 20

 interacts with aflibercept to prevent aggregation and cause more

 aflibercept to remain in solution. Dr. MacMichael instead advanced

 two    primary     arguments       in     support       of     the     Defendants’

 noninfringement position.         First, he argued that the specification

 and claims of the Product Patent incorrectly describe polysorbate

 as a co-solvent. And second, he argued that that the Court’s claim

 construction imposes an unstated requirement that is not met by

 the polysorbate in the Defendants’ product.                  As explained below,

 the Court credits neither of these arguments.

       First, by Dr. MacMichael’s own admission, the claims and

 specification of the Product Patent expressly describe polysorbate

 as an organic co-solvent. For example, Dr. MacMichael acknowledged

 that asserted claim 4 recites “wherein said organic co-solvent

 comprises about 0.03% to about 0.1% polysorbate 20.”                  Tr. 1470:13-

 17 (MacMichael).       In Dr. MacMichael’s opinion, however, claim 4 is

 “inaccurate”     and   “doesn’t    make       sense.”    Tr.       1471:4-18.     He

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 testified that he “would have written” the claim differently.                    Tr.

 1471:19-24 (MacMichael).           In addition, he acknowledged that the

 Product Patent’s specification repeatedly refers to polysorbate as

 an organic co-solvent, but he “disagree[d] with the wording” of

 the    patent’s      specification.               Tr.   1472:2-5,       1472:16-17

 (MacMichael).      He testified that the patent is “wrong” and “the

 way it’s defining polysorbate as a cosolvent is incorrect.”                      Tr.

 1473:6-13 (MacMichael).        In other words, Dr. MacMichael concedes

 that the Product Patent’s specification expressly defines “organic

 co-solvent” to include polysorbate, and he further concedes that

 the   claims     likewise   refer    to    polysorbate      20   as    an   “organic

 cosolvent” — he simply disagrees with the language chosen by the

 inventors to define and claim their patented invention.                     The Court

 declines    to    rewrite    the    Product        Patent   as   Dr.    MacMichael

 “[h]ypothetically . . . would have written” it if he were the

 inventor.      Tr. 1471:19-24 (MacMichael).             The specification and

 claims of the Product Patent are clear that polysorbate is an

 organic co-solvent, and the Court’s construction reflects the

 language of the Product Patent.                As explained above, there is no

 substantive dispute between Dr. Trout and Dr. MacMichael about how

 polysorbate 20 and aflibercept interact to prevent aflibercept

 from aggregating, thereby increasing the solubility of aflibercept

 under the Court’s construction of “organic co-solvent.”

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       Dr. MacMichael also argued that the Court’s construction of

 “organic co-solvent” imposes an additional, unstated requirement—

 that the polysorbate must “dissolve” the aflibercept in order to

 qualify as an organic co-solvent.                Tr. 1405:18-20, 1406:4-9,

 1407:4-10 (MacMichael); see also Tr. 1577:21-22 (the Defendants’

 counsel arguing that “[t]he claim construction requires that a

 cosolvent has to actually help dissolve, get more things into

 solution”).       To be clear, the Court’s construction requires only

 that the organic co-solvent is “added to the primary solvent to

 increase the solubility of the solute, here a VEGF antagonist.”

 (ECF No. 427 at 20).          It does not require that the organic co-

 solvent achieve the solubility increase in any particular way, and

 it specifies no requirement that the cosolvent “dissolve” the VEGF

 antagonist.        Dr.    MacMichael   nonetheless    argued    that    because

 aflibercept is “fully soluble and, therefore, would not need a

 cosolvent    to    further    its   solubility,”    polysorbate    20    cannot

 increase the solubility of aflibercept.            Tr. 1452:11-16; see Tr.

 1405:16-1406:9.          As explained above, however, this argument is

 contradicted by Dr. MacMichael’s own testimony that, “over time,

 if not protected” by polysorbate, aggregates of aflibercept “can

 fall out of solution,” Tr. 1458:6-8, 1459:4-5.                 The additional

 requirement that Dr. MacMichael and the Defendants urge is not



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 part of the Court’s construction, nor is it found anywhere in the

 Product Patent or the scientific literature.

       As the parties’ experts agreed, the notion of “dissolving”

 aflibercept has no scientific basis.         The evidence was consistent

 that aflibercept is never “dissolved” upon formulation, because it

 is already in solution when formulated.         Tr. 1469:5-9 (MacMichael)

 (acknowledging that from the time the molecule is synthesized by

 the cell through its “final formulation,” the aflibercept molecule

 is “continuously in an aqueous environment” and “[i]s not in a

 solid format”); Tr. 576:5-8 (Trout) (“Typically, aggregates are

 irreversible.      So once they form, they don’t go backwards.”); Tr.

 1409:2-18 (MacMichael) (agreeing with Dr. Trout); see also Tr.

 505:4-12, 531:8-11, 561:15-562:8 (Furfine); Tr. 1677:4-7 (Graham).

 Rather, the evidence showed that a cosolvent may increase the

 solubility    of    aflibercept    by     preventing   it   from   becoming

 insoluble.    As described above, “with polysorbate, you’re going to

 prevent aggregation and the [aflibercept] monomer from falling out

 of solution” and forming “insoluble aggregates.”             Tr. 1462:2-5

 (MacMichael); see      also Tr. 562:2-8 (Furfine).          In this way,

 polysorbate 20 serves to “increase the solubility” of aflibercept.




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                    Even if the Court did not consider this testimony,

  however, that would not change the Court’s rulings in favor of

  Regeneron as to the Product Patent.

        Dr. MacMichael’s only response to




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         In sum, having considered the evidence and testimony at trial

  regarding whether Yesafili contains an “organic co-solvent [that]

  comprises . . . polysorbate 20” under the Court’s construction,

  the    Court    concludes    that    the           polysorbate      20    in    the

  Defendants’      Yesafili    product    meets    the   requirements       of    the

  asserted       claims   of   an     organic     co-solvent   that        comprises

  polysorbate 20. In doing so, the Court finds Dr. Trout’s testimony

  to be more credible than Dr. MacMichael’s.




                                                                            And   Dr.

  MacMichael misapplied the Court’s claim construction in arguing

  that

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                                      the Court’s construction requires

  only that the organic co-solvent is “added to the primary solvent

  to   increase     the    solubility         of   the    solute,     here   a   VEGF

  antagonist” — not        that   the     organic        co-solvent    achieve    the

  increased solubility in any particular way.                (ECF No. 427 at 20).

               c.   Conclusion

        As    explained,    the   only    infringement       dispute   between   the

  parties regarding the Product Patent is whether the polysorbate 20

  in the Defendants’ Yesafili product meets the “organic co-solvent”

  claim limitation under the Court’s construction of that term.                   In

  other words, the dispute centers on whether the polysorbate 20 in

  the Defendants’ Yesafili product “is added to the primary solvent

  [i.e., the water in the Defendants’ Yesafili product] to increase

  the solubility of” the aflibercept in the Defendants’ Yesafili

  product.     (ECF No. 427 at 20).

        The Randolph publication explained that interactions between

  surfactants like polysorbate 20 and the hydrophobic patches on

  protein     molecules    lead   to     a    “hydrophobicity       reversal”    that

  “effectively increases the solubility of the [surfactant-protein]

  complex.”     PTX-1817 at 9-10.        And Wang 2005 elucidates how protein

  aggregation occurs: “[i]t is the patches of contiguous hydrophobic

  groups in the folding/unfolding intermediates that initiate the


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  aggregation process.”    PTX-1556 at 3; Tr. 598:17-25 (Trout).

  Randolph also addressed polysorbate 20 specifically, explaining

  that its “addition” “blocked the progression of aggregates from a

  relatively low molecular weight, soluble fraction to insoluble

  aggregates.”          PTX-1817 at 10.

          Notably, the Defendants’ infringement expert, Dr. MacMichael,

  did not respond to the pertinent teachings of Wang 2005 and

  Randolph,       and    did    not     dispute    Dr.   Trout’s      analysis    of   how

  polysorbate 20 interacts with aflibercept.                    Dr. Trout’s testimony

  thus stands unrebutted and compels a judgment of infringement.

  See Raytheon Techs. Corp. v. Gen. Elec. Co., 993 F.3d 1374, 1382

  (Fed.     Cir.        2021)     (“unrebutted        evidence”        on    issue     was

  “conclusive”); Imperium IP Holdings v. Samsung Elecs. Co., 757 F.

  App’x 974, 978-79 (Fed. Cir. 2019) (no reasonable basis to reject

  opinion    of    expert       whose    “testimony      was    not   contradicted”    or

  impeached).

          While Dr. MacMichael and Dr. Trout did not substantively

  dispute the underlying principles for how polysorbate 20 interacts

  with aflibercept, Dr. MacMichael asserted that the Court’s claim

  construction imposes several requirements that are found nowhere

  in the Product Patent or the literature.                     He argued that because

  aflibercept is “fully soluble and, therefore, would not need a

  cosolvent       to    further    its    solubility,”         polysorbate   20   cannot

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  increase the solubility of aflibercept. Tr. 1452:11-16; see Tr.

  1405:16-1406:9.      But the Court’s construction does not require the

  co-solvent      to     “dissolve”      aflibercept.        Tr.      1405:18-24

  (MacMichael).        Under    the    Defendants’    interpretation    of    the

  construction, Dr. MacMichael could identify nothing that could

  serve as a co-solvent for aflibercept in the claims, confirming

  that the Defendants improperly seek to impose a requirement that

  cannot be satisfied.         See Lisle Corp. v. A.J. Mfg. Co., 398 F.3d

  1306, 1314 (Fed. Cir. 2005) (rejecting “hyper-technical reading”

  requiring “tool disclosed by the patent” to perform function it

  was “incapable” of performing); Kenall Mfg. Co. v. H.E. Williams,

  Inc., 2013 WL 427119, at *2 (N.D. Ill. Feb. 1, 2013) (“[R]eadings

  of patents are to be avoided where they would arrive at an absurd

  result rather than achieve a common sense meaning.”).            The Court’s

  construction requires only that the organic co-solvent is “added

  to the primary solvent to increase the solubility of the solute,

  here a VEGF antagonist.”       (ECF No. 427 at 20).      It does not require

  that the organic co-solvent achieve the increase in solubility in

  any particular way.

        The   evidence    was    unequivocal   that     aflibercept    is    never

  “dissolved” upon formulation, because it is already in solution

  when formulated.       Tr. 505:4-12, 531:8-11, 561:15-562:8 (Furfine);

  Tr. 1677:4-7 (Graham); Tr. 576:5-8 (Trout) (“Typically, aggregates

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                                       it cannot meet the “organic co-

  solvent     compris[ing]    . . .    polysorbate      20”    limitation.       This

  argument epitomizes form over substance.                     The Product Patent

  describes polysorbate 20 as an organic co-solvent.                 E.g., PTX-2,

  2:39-40; Tr. 1473:6-13 (MacMichael) (agreeing the patent “[is]

  defining polysorbate as a cosolvent” but contending the patent “is

  incorrect”); Tr. 2098:19-22 (Trout).             It is well-established that

  chemicals may appropriately be described using different labels,

  which is of little moment where, as here, the patent specification

  and claims identify polysorbate 20 expressly as an organic co-

  solvent.     PTX-2, claim 4, 2:39-42; see Celgene Corp. v. Hetero

  Labs   Ltd.,   2020    WL   3249117,     at    *12   (D.N.J.    June   16,    2020)

  (“[N]othing     in    the   specification      or    the    prosecution    history

  supports . . . that the ‘lubricant’ has to be a substance that is

  ‘distinct from’ a binder or filler.”); Roche Palo Alto LLC v. Lupin

  Pharm., Inc., 2012 WL 983697, at *18 (D.N.J. Mar. 21, 2012)

  (“[I]ngredients can overlap by serving multiple functions within

  a   given   formulation.”).         By   contrast,     the    patent   identifies

  substances other than polysorbate as stabilizing agents.                     PTX-2,

  2:44-45.     The Defendants cannot avoid infringement merely by




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        Dr.   MacMichael   acknowledges  the   patent’s   unambiguous

  description of polysorbate 20 as a co-solvent; he just thinks the

  patent “is wrong.” Tr. 1470:21-23. But disagreement with a patent

  is not a defense to patent infringement.          Patent infringement “is

  a strict liability offense” and judgment must follow “regardless

  of   the   intent,    culpability   or   motivation    of    the   infringer.”

  Jurgens v. CBK, Ltd., 80 F.3d 1566, 1570 n.2 (Fed. Cir. 1996).




                                                                            —and

  Regeneron referred to polysorbate 20 as an organic co-solvent

  repeatedly, including in the Product Patent and the Eylea BLA.

  PTX-2,     2:39-42;    Tr.    488:1-489:1      (Furfine);     PTX-86    at   5

  (“formulation development will require minimizing organic co-

  solvent (PEG and polysorbate)”); Tr. 1739:16-1740:22 (Graham);

  PTX-672 at 26 (“[A]ddition of an organic co-solvent (PEG3350,

  PEG300,    or   polysorbate   20)   to   the   VEGF   Trap   drug   substance

  significantly inhibited the degradation of 0.5 mg/ml VEGF Trap

  when agitated.”).

        The Court declines to rewrite the Product Patent as Dr.

  MacMichael “[h]ypothetically . . . would have written” it if he

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  were the inventor. Tr. 1471:19-24 (MacMichael). The specification

  and claims of the Product Patent are clear that polysorbate is an

  organic co-solvent, and the Court’s construction reflects the

  language of the Product Patent.           Thus, the Court concludes that

  polysorbate 20 meets the “organic co-solvent” claim element




        For these reasons, the Court concludes that Regeneron has

  demonstrated    by   a   preponderance      of   the   evidence   that   the

  Defendants’ BLA Product infringes the asserted claims of the

  Product Patent.

        3.   The Defendants’ BLA Product Induces Infringement of the
             Treatment Patents

        The parties next dispute whether the Defendants’ BLA product

  and proposed instructions and label will induce infringement of

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  the Treatment Claims, claims 11 and 19 of the ’601 Patent and

  claims 6 and 25 of the ’572 Patent.                   The Treatment Claims relate

  to the treatment of angiogenic eye disorders using Regeneron’s

  dosing regimen: a period of every-four-week dosing of aflibercept

  followed by at least one eight-week dose of aflibercept.                       These

  claims fall into three categories: (1) claims involving methods of

  treating DME by administering aflibercept in a series of five

  monthly loading doses followed by one or more subsequent doses

  spaced eight weeks apart - claim 11 of the ’601 Patent and claim

  25 of the ’572 Patent (the “DME Claims”); (2) a claim involving a

  method of treating DR by administering aflibercept in a series of

  five monthly loading doses followed by one or more subsequent doses

  spaced eight weeks apart – claim 19 of the ’601 Patent (the “DR

  Claim”);   and    (3)   a   claim    involving         a   method   of   treating   an

  angiogenic    eye   disorder        by   administering         aflibercept     in   an

  isotonic solution in a series of every-four-week loading doses

  followed by one or more subsequent doses spaced eight weeks apart

  - claim 6 of the ’572 Patent (the “Angiogenic Eye Disorder Claim”).

        Regeneron     asserts         that      the       Defendants’      prescribing

  information for Yesafili will induce infringement of the Treatment

  Claims because its label and marketing recommend that physicians

  administer    the   BLA     product      in      an    infringing    manner.        The

  Defendants, on the other hand, argue that Regeneron has failed to

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  demonstrate that physicians will use Yesafili in an infringing way

  if   commercialized    or    that    the   Defendants    intended    to   induce

  infringement.

        As detailed below, the Court finds that (1) if the Defendants

  market Yesafili with its proposed label, some physicians will

  follow the recommendations in that label and will thereby perform

  acts that directly infringe the Treatment Claims, and (2) the

  Defendants’ proposed label for Yesafili encourages, recommends,

  and promotes administration of Yesafili in an infringing manner.

  Accordingly, the Court finds that the Defendants will induce

  infringement of the Treatment Claims if they market Yesafili.

             a.    Physicians Will Use the Defendants’ BLA product in
                   an Infringing Manner

        The evidence at trial demonstrated that if the Defendants

  market Yesafili with its proposed label, some physicians will

  follow its recommendations and treat patients in a manner that

  directly   infringe    the    Treatment      Claims.     Regeneron   presented

  expert testimony on the topic of infringement of the Treatment

  Claims, through its clinical expert Dr. Karl Csaky, whom the Court

  accepted   as   an   expert   in     ophthalmology     with   a   specialty   in

  angiogenic retinal diseases and their treatment in view of his

  extensive qualifications, detailed above.              The Defendants did not

  offer opposing expert testimony.

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        Dr. Csaky testified that the Defendants induced infringement

  of each Asserted Treatment Claim by the express instructions in

  the proposed label for Yesafili.        See Tr. 345:10-23, 360:17-361:6,

  371:23-372:8, 373:17-20, 381:21-382:9, 388:21-389:5 (Csaky); see

  also PTX-3097 (the Defendants’ August 2022 label); PTX-3338 (the

  Defendants’ March 2023 label, which they produced after expert

  discovery, and which is substantively identical to the August 2022

  label, Tr. 311:4–312:9 (Csaky)).            No witness testified to the

  contrary.     As Dr. Csaky explained, he and other ophthalmologists

  read labels, and the label for a drug “gives us a starting point

  for how do we utilize the drug.”           Tr. 331:18-333:7 (Csaky).          The

  Defendants’ clinical expert Dr. Jay Stewart admitted on cross-

  examination that he has reviewed labels for Eylea in his clinical

  practice.    Tr. 1350:6-10 (Stewart).

        Dr.   Csaky   also    testified   that   if       the   Defendants    market

  Yesafili accompanied by their proposed label, at least some doctors

  will follow the label instructions and therefore perform the

  methods of the Treatment Claims in some patients.                    Tr. 367:4-

  371:22 & 379:17-381:20 (Csaky) (DME Claims); Tr. 386:10-388:20

  (Csaky)     (DR   Claim);   Tr.   331:3-345:9       &    355:5-360:16      (Csaky)

  (Angiogenic Eye Disorder Claim).           Dr. Csaky based those opinions

  on his experience, Tr. 304:13-25, 307:16-309:1, 331:18-333:7,

  334:12-337:4, 344:19-345:9, 356:7-358:9, 360:3-16, 367:4-371:22,

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  379:17-381:20, 386:10-388:20 (Csaky), his discussions with fellow

  ophthalmologists,          Tr.     304:13-25,         307:16-309:1,       334:12-335:6,

  337:5-25,     344:19-345:9,           356:7-358:4,        358:21-359:7,       360:3-16,

  367:4-371:22,       379:17-381:20,        387:1-388:20         (Csaky),      the    sworn

  testimony of other ophthalmologists, Tr. 339:2-341:16, 344:19-

  345:9, 358:10-20, 360:3-16 (Csaky), and peer-reviewed literature,

  Tr. 341:19-345:9 (Csaky); see also PTX-586.                    He also grounded his

  opinions in the fact that ophthalmologists, including Dr. Csaky

  himself, have performed these methods with Eylea, which has a

  substantively identical label.                Tr. 333:17-337:25, 339:2-344:18,

  355:11-359:7, 359:20-360:16, 369:4-371:6, 380:18-381:20, 386:10-

  388:20 (Csaky).

         At trial, the Defendants objected to Dr. Csaky’s reliance on

  the written testimony of Dr. Diana Do that Regeneron submitted in

  an    IPR    proceeding,         as     informing        his   understanding            that

  ophthalmologists make use of the dosing regimens set forth in the

  Eylea label in various contexts. Tr. 433:17-34 (Csaky). Regeneron

  did    not   and    does     not      request    admission      of    the    underlying

  Declaration itself, but Dr. Csaky was permitted to reference it in

  explaining how he formed his opinions.                  Tr. 338:14-18 (Csaky).           As

  a    qualified     expert,    Dr.     Csaky     was    permitted     to   rely     on   his

  understanding       of   practices       in     the    field   as    informed      by   his

  understandings from other ophthalmologists.                     Fed. R. Evid. 703.

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  Just     as he could consider views as expressed in written

  publications or in oral conversations, there is no reason he could

  not take into account the views of another expert as set forth in

  a written declaration made under oath.             Dr. Csaky testified that

  he knows Dr. Do, has co-authored a paper with her, and finds her

  trustworthy.         Tr. 339:12-340:21, 433:5-15, 1833:13-21, 2003:20-

  2005:6 (Csaky); PTX-1027.           One of the Defendants’ experts, Dr.

  Albini, agreed that she is well-regarded.             Tr. 884:14-16 (Albini).

  Also,    as    Dr.    Csaky    explained   in   his   testimony,   physicians

  frequently rely on the opinions of physicians who are paid by

  industry leaders for their work, and he himself has done so in the

  context of his own research.           Tr. 432:11-15 (Csaky).      The Court

  will consider Dr. Csaky’s testimony about the Do declaration, but

  not the declaration itself, in its infringement analysis.             Even if

  the Court did not consider Dr. Csaky’s testimony relying on the Do

  declaration, however, it would not change the Court’s infringement

  analysis.

          As    Mylan’s   Rule    30(b)(6)     corporate   representative   and

  Director of Core Regulatory Labeling Strategy, Vanessa Smith,

  testified, “we based our labeling [for Yesafili] off of the

  reference product labeling [for Eylea],” ECF No. 538-3 at 48:16–

  17; the Yesafili label contains “the same indications that are

  listed on the current Eylea label” and instructs treatment using

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  “the same dosage regimens that are reflected on the current Eylea

  label,” ECF No. 538-3 at 31:17-32:22; and the purpose for including

  such statements in the label was to “provide the information

  pertaining to how the product should be dosed for the defined

  indications . . . and how that product should be administered . .

  . for each particular indication,” ECF No. 538-3 at 32:8–17.

  Copying   the    label      for   Eylea   allowed   the    Defendants     to   take

  advantage of an abbreviated path to FDA approval by using dosing

  regimens that Regeneron developed and tested at great expense with

  clinical trials, the cost of which “can easily run in the hundreds

  of millions of dollars.”          Tr. 1590:2-3 (Chu).

             b.      The Defendants’          BLA   product    Label      Recommends
                     Infringing Uses

        Further,        the   Defendants’     proposed      label   for    Yesafili

  encourages, recommends, and promotes administration of Yesafili in

  a manner that meets every limitation of each of the Treatment

  Claims.

                   i.         The DME Claims (Claim 11 of the ’601 Patent
                              and Claim 25 of the ’572 Patent)

        With regard to the DME Claims, the Defendants’ Yesafili label

  recommends, encourages and promotes clinicians to use Yesafili to

  treat “Diabetic Macular Edema (DME),” consistent with claim 10 of




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  the ’601 patent and claim 15 of the ’572 patent, from which the

  asserted claims depend.

          The Yesafili label recommends only one dosing regimen for the

  treatment of DME. Tr. 347:4-25, 349:2-17 (Csaky); PTX-3097 at 1-

  2; see also Tr. 303:19-304:1, 313:18-22 (Csaky) (Eylea and Yesafili

  labels    recommend    the   same    thing).          Specifically,     the   label

  recommends      ophthalmologists     treat      DME    by   administering     2   mg

  Yesafili “by intravitreal injection every 4 weeks (approximately

  every 28 days, monthly) for the first 5 injections, followed by 2

  mg (0.05 mL) via intravitreal injection once every 8 weeks (2

  months).” This recommended regimen meets every limitation of claim

  11 of the ’601 patent and claim 25 of the ’572 patent, as Dr. Csaky

  testified, and as set forth in more detail below.                      Tr. 361:12-

  367:3, 374:11-379:16 (Csaky).

                          1)    Claim 25 of the ’572 Patent

          The Defendants’ proposed label for Yesafili recommends that

  doctors perform every step of the method of claim 25 as to which

  the     Court   has   afforded   patentable           weight,   including     those

  limitations incorporated by virtue of claim 25’s dependency on

  claim    15.     Specifically,      the    Defendants’      proposed    label     for

  Yesafili recommends that doctors perform:




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        x   “A method for treating diabetic macular edema in a patient

            in need thereof” (see PTX-3097 at 2; see also PTX-3097 at

            1; Tr. 362:11-24, 375:8-376:13 (Csaky));

        x   “sequentially administering to the patient a single initial

            dose of 2 mg of aflibercept, followed by one or more

            secondary doses of 2 mg of aflibercept . . . wherein each

            secondary   dose   is     administered   to   the   patient    by

            intravitreal injection approximately 4 weeks following the

            immediately preceding dose” . . . “wherein four secondary

            doses are administered to the patient” (see PTX-3097 at 2;

            see also PTX-3097 at 1 (“2 mg (0.05 mL) administered by

            intravitreal injection every 4 weeks (approximately every

            28 days, monthly) for the first 5 injections”); Tr. 362:25-

            365:7, 376:14-378:11 (Csaky));

        x   “and wherein each tertiary dose is administered to the

            patient by intravitreal injection approximately 8 weeks

            following the immediately preceding dose” (see PTX-3097 at

            2; see also PTX-3097 at 1; Tr. 365:8-366:12, 378:12-379:2

            (Csaky)).

        The evidence also demonstrates that if the Defendants market

  Yesafili, some physicians will perform the steps recommended in

  its proposed label and thereby directly infringe claim 25 of the


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  ’572 patent. As described above, Dr. Csaky testified that some

  physicians would follow the instructions in Yesafili’s label based

  on, among other things, his own experience and discussions with

  fellow ophthalmologists.     Tr. 367:4-371:22 (Csaky discussing claim

  25); ¶¶ 162-63 (Csaky testimony regarding physicians reviewing

  labels and performing methods described in Yesafili and Eylea

  labels); Tr. 369:3-370:1 (Csaky testimony that Eylea and Yesafili

  labels both recommend infringement of claim 25).

         For example, Dr. Csaky testified that based on “the way that

  doctors currently use” Eylea, “there will be some doctors who will

  perform these methods” as recommended in Yesafili’s label, and

  that he personally has used those methods to treat DME, as claim

  25 requires.    Tr. 355:5-356:21 (Csaky).      Dr. Csaky elaborated that

  “it’s very common to say we’re going to try five injections at the

  very   beginning,   especially    for   someone   with   diabetic   macular

  edema; and then, of course, if they respond well, then you want to

  start extending them to a longer period, like eight weeks.”             Tr.

  357:4-9 (Csaky).

         Accordingly, the Court finds that if the Defendants market

  Yesafili, the Defendants will induce infringement of claim 25 of

  the ’572 patent.




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                         2)   Claim 11 of the ’601 Patent

        The Defendants’ proposed label for Yesafili recommends that

  doctors perform every step of the method of claim 11 having

  patentable weight, including those limitations incorporated by

  virtue of claim 11’s dependency on claim 10.            Specifically, the

  Defendants’ proposed label for Yesafili recommends that doctors

  perform:

        x   “A method for treating diabetic macular edema in a patient

            in need thereof” (see PTX-3097 at 2; see also PTX-3097 at

            1; Tr. 362:11-24, 375:8-376:13 (Csaky));

        x   “comprising intravitreally administering, to said patient,

            an   effective   amount   of    aflibercept   which   is   2   mg

            approximately every 4 weeks for the first 5 injections”

            (see PTX-3097 at 2; see also PTX-3097 at 1 (“2 mg (0.05

            mL) administered by intravitreal injection every 4 weeks

            (approximately every 28 days, monthly) for the first 5

            injections”); Tr. 362:25-365:7, 376:14-378:11 (Csaky));

        x   “followed by 2 mg approximately once every 8 weeks or once

            every 2 months” (see PTX-3097 at 2; see also PTX-3097 at

            1; Tr. 365:8-366:12, 378:12-379:2 (Csaky));

        x   “wherein    approximately       every   4     weeks    comprises

            approximately every 28 days or approximately monthly” (see


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            PTX-3097 at 2; see also PTX-3097 at 1; Tr. 377:16-378:11

            (Csaky)).

          The evidence also demonstrates that if the Defendants market

  Yesafili, some physicians will perform the steps recommended in

  its proposed label and thereby directly infringe claim 11 of the

  ’601 patent.     As described above, Dr. Csaky testified that some

  physicians would follow the instructions in Yesafili’s label based

  on, among other things, his own experience and discussions with

  fellow ophthalmologists.     Tr. 379:18-381:20 (Csaky); supra ¶¶ 162-

  63. In addition to the testimony Dr. Csaky provided in the context

  of claim 25, supra ¶ 169—all of which is relevant to claim 11—Dr.

  Csaky specifically testified that doctors will also perform claim

  11’s additional limitation—administering aflibercept once every

  four weeks for the first five injections, “wherein approximately

  every     4   weeks   comprises    approximately    every   28    days   or

  approximately monthly” — which is consistent with his own practice

  and the practice of other ophthalmologists with whom he has spoken.

  Tr. 380:5-381:9 (Csaky) (“Yes. I would say that we often do this

  approximately every 28 days.”).

          Accordingly, the Court finds that if the Defendants market

  Yesafili, the Defendants will induce infringement of claim 11 of

  the ’601 patent.



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                 ii.     The DR Claim (Claim 19 of the ’601 Patent)

        The Defendants’ proposed label for Yesafili recommends that

  doctors perform every step of the method of claim 19 of the ’601

  patent    having     patentable   weight,    including    those    limitations

  incorporated by virtue of claim 19’s dependency on claim 18.

  Specifically,      the    Defendants’      proposed   label   for     Yesafili

  recommends that doctors perform:

        x   “A method for treating diabetic retinopathy in a patient

            in need thereof” (see PTX-3097 at 1, 3; Tr. 383:6-25

            (Csaky));

        x   “comprising intravitreally administering, to said patient,

            an   effective     amount   of    aflibercept    which    is   2   mg

            approximately every 4 weeks for the first 5 injections”

            (see PTX-3097 at 3; see also PTX-3097 at 1; Tr. 384:1-385:4

            (Csaky));

        x   “followed by 2 mg approximately once every 8 weeks or 2

            months” (see PTX-3097 at 3; see also PTX-3097 at 1; Tr.

            385:5-24 (Csaky));

        x   “wherein       approximately      every     4   weeks      comprises

            approximately every 28 days or approximately monthly” (see

            PTX-3097 at 3; see also PTX-3097 at 1; Tr. 384:1-385:4

            (Csaky)).


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        The evidence also demonstrates that if the Defendants market

  Yesafili, some physicians will perform the steps recommended in

  its proposed label and thereby directly infringe claim 19 of the

  ’601 patent.    Dr. Csaky testified that he has personally performed

  and that others have performed the method of claim 19 to treat DR

  using Eylea, and that in his opinion, some doctors will follow

  Yesafili’s label for the treatment of patients with DR.                 Tr.

  386:11-388:20 (Csaky).      Dr. Csaky elaborated that “there’s more

  and more interest in using this approach,” and that he has talked

  with other physicians “about the utility of this approach in

  treating these types of patients, and they claim that they are

  using this approach” especially “where the alternative is laser

  photocoagulation.     Tr. 387:1-10 (Csaky); see also Tr. 357:10-358:9

  (Csaky).

        Accordingly, the Court finds that if the Defendants market

  Yesafili, the Defendants will induce infringement of claim 19 of

  the ’601 patent.

              iii.       The Angiogenic Eye Disorder Claim (Claim 6 of
                         the ’572 Patent)

        The Defendants’ proposed label for Yesafili recommends that

  doctors perform every step of the method of claim 6 of the ’572

  patent   having    patentable   weight,   including    those   limitations

  incorporated by virtue of claim 6’s dependency on claims 1, 2, and

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  3.    Specifically, the Defendants’ proposed label for Yesafili

  recommends     that    doctors         perform      the       following     steps   for      the

  treatment of each of AMD, DME, and DR.

        x   “A method of treating an angiogenic eye disorder in a

            patient      in        need        thereof          comprising      sequentially

            administering to the patient by intravitreal injection a

            single initial dose of 2 mg of aflibercept” (AMD, DME, and

            DR: see PTX-3097 at 2-3; id. at 1; Tr. 316:22-318:10,

            346:3-347:3 (Csaky))

        x   “followed by one or more secondary doses of 2 mg of

            aflibercept, followed by one or more tertiary doses of 2

            mg   of     aflibercept            wherein      each        secondary     dose      is

            administered           approximately            4        weeks    following        the

            immediately preceding dose . . . wherein each tertiary dose

            is   administered            approximately           8    weeks   following        the

            immediately preceding dose” (AMD: see PTX-3097 at 2; id.

            at 1; Tr. 318:11-323:21 (Csaky); DME and DR: PTX-3097 at

            2-3; id. at 1; Tr. 347:4-352:8 (Csaky));

        x   “followed     by       one    or   more    tertiary         doses   of    2   mg    of

            aflibercept        .     .    .     wherein         each     tertiary     dose      is

            administered           approximately            8        weeks    following        the

            immediately preceding dose” (AMD: PTX-3097 at 2; id. at 1;


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            Tr. 323:22-325:9 (Csaky); DME and DR: PTX-3097 at 2-3; id.

            at 1; Tr. 352:9-353:20 (Csaky));

        x   “wherein the aflibercept is formulated as an isotonic

            solution (AMD, DME and DR: PTX-3097 at 13; PTX-1800 at 2;

            PTX-1820 at 14; Tr. 642:5-15, 640:9-641:23, 640:9-642:22

            (Trout)).

        With   respect   to   the    final   limitation   of   claim   6,




               Tr. 1168:25-1169:2 (Rabinow) (agreeing “isotonic and

  iso-osmolar have roughly the same meaning”); see also Tr. 526:22-

  527:1 (Furfine).



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         The evidence also demonstrates that if the Defendants market

  Yesafili, doctors will follow the recommended dosing regimens for

  AMD,   DME,    and    DR   and   will   therefore      perform   acts   of    direct

  infringement.        As he testified with regard to the Yesafili label’s

  instructions for treating DME and DR, Dr. Csaky testified that at

  least some doctors would follow the label’s instructions for

  treating wet AMD, and in fact that those instructions reflect “a

  very common approach” that he and other doctors use with patients.

  Tr. 333:8-337:25 (Csaky).          Dr. Csaky also properly relied on the

  sworn declaration of a renowned ophthalmologist, Dr. Diana Do, who

  testified that she and other physicians “typically and frequently

  treat wet AMD” as well as “other diseases like diabetic macular

  edema, DME, or diabetic retinopathy” by using the method of claim

  6 of the ’572 Patent.            Tr. 339:2-341:16 (Csaky); see PTX-1527

  (Decl. of Diana Do).

                 iv.         Additional Evidence of Infringement

         Even were the specific dosing regimens discussed above not

  included in Yesafili’s label, other statements in the Defendants’

  proposed Yesafili label are sufficient to induce infringement

  because those statements convey to ophthalmologists that Yesafili

  should    be    used       identically     to    the     way     in   which     some

  ophthalmologists already administer Eylea.                See Tr. 331:3-345:9,



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  355:5-361:7, 367:4-371:22, 379:17-381:20, 386:10-388:20, 393:10-

  396:1 (Csaky).

        First, Dr. Csaky considered language that the Defendants

  included in their Yesafili label, stating that Yesafili is “highly

  similar”   to    Eylea,    that       “there    are    no   clinically     meaningful

  differences between” Yesafili and Eylea, and that Yesafili “can be

  expected to produce the same clinical result as [Eylea] in any

  given patient.”     PTX-3097 at 1.             This language was optional, not

  required    by    the     FDA,    as     Mylan’s       Rule     30(b)(6)    corporate

  representative and Director of Core Regulatory Labeling Strategy,

  Vanessa Smith, acknowledged.             (ECF No. 538-3 (Smith) at 110:08-

  112:09, 114:05-115:13, 117:12-118:10).                      Dr. Csaky testified —

  unrebutted — that this language alone conveys to clinicians that

  “the two drugs are the same” and that they “can use Yesafili in

  the exact same way [they] can use Eylea.”                         Tr. 394:20-396:1

  (Csaky).    Accordingly, the Court concludes that this language

  alone,   without    regard       to    any     other   language     in     the   label,

  demonstrates the Defendants’ inducement of infringement.

        Second, Dr. Csaky considered language that the Defendants

  included   in    their    Yesafili       label,       stating    that    Yesafili   is

  “interchangeable” with Eylea. PTX-3097 at 1. Again, this language

  was optional, not required by the FDA, as Mylan’s Rule 30(b)(6)

  corporate representative acknowledged.                 (ECF No. 538-3 (Smith) at

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  110:08-112:09, 114:05-115:13, 117:12-118:09). Dr. Csaky testified

  — unrebutted — that this language would convey to clinicians that

  “the two drugs are the same” and that they “can essentially

  exchange and use Yesafili in the exact same fashion that [they

  are] using Eylea in the clinic.”               Tr. 394:1-19 (Csaky).

         Third, Dr. Csaky considered statements the Defendants made in

  a presentation delivered by their consultant, Dr. Susan Bressler,

  at the 2022 meeting of the American Academy of Ophthalmology

  (“AAO”).        See    PTX-331.         The    AAO    meeting      is    the     “largest

  ophthalmology         meeting”    in     the    country      that        “all     general

  ophthalmologists, retina specialists will attend” and that “is the

  one place where you can disseminate information and share the

  results of data with the community.”                  Tr. 390:5-17 (Csaky).             In

  their presentation, the Defendants stated that they had performed

  a Phase 3 trial in which Yesafili was administered in a baseline

  dosing   regimen       within    the    scope    of    the   DME    Claims       and    the

  Angiogenic Eye Disorder Claim, see PTX-331 at 5-6, and announced

  that   the   study      had   “demonstrated          therapeutic        equivalence     of

  [Yesafili] and [Eylea] in the treatment of diabetic macular edema

  (DME),” that Yesafili “was safe and well tolerated, with a similar

  safety    and   immunogenicity          profile      to . . . Eylea,”           and    that

  “[f]ollowing regulatory approval, [Yesafili] is expected to be a

  new treatment option for patients with DME,” id. at 12.                         Dr. Csaky

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  testified — unrebutted — that ophthalmologists would understand

  such statements to convey that they could “use Yesafili essentially

  in an identical way that [they are] using Eylea in the treatment

  of DME.”     Tr. 393:10-21 (Csaky).           This evidence supports a finding

  that   the      Defendants       actively    encourage    infringement      of   the

  Treatment Claims as to DME.

         The Defendants offered no expert testimony to rebut Dr.

  Csaky’s      conclusions         on    infringement.       The      Court   credits

  Regeneron’s unrebutted evidence of infringement, including the

  testimony of Dr. Csaky, that if the Defendants market Yesafili,

  the Defendants will induce infringement of each of the Treatment

  Claims.

                c.     Conclusion

         The Defendants induce infringement of the Treatment Patents

  because they propose to sell Yesafili with prescribing information

  that   will     explicitly        encourage,      recommend,   and    promote    its

  administration in a manner that would infringe the Treatment

  Claims, and it is undisputed that some doctors will follow the

  label and use Yesafili to treat patients in an infringing way.

  Federal Circuit “precedent has consistently held that, when a

  product    is      sold   with    an    infringing     label   or    an   infringing

  instruction manual, such a label is evidence of intent to induce


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  infringement.” GlaxoSmithKline, 7 F.4th at 1334; see also Sanofi,

  875 F.3d at 646; Eli Lilly, 845 F.3d at 1368; AstraZeneca, 633

  F.3d at 1059.

          To the extent that the Defendants argue that some doctors

  will ignore the label directions and engage in noninfringing uses

  of Yesafili, see Tr. 713:16-22, 715:10-18, the Federal Circuit has

  rejected this argument.            In AstraZeneca v. Apotex, the Federal

  Circuit      acknowledged      that     “where       a     product   has     substantial

  noninfringing uses,” intent to induce infringement could not be

  inferred from a defendant’s mere knowledge that its product might

  be put to infringing use, but clarified that “liability for active

  inducement may be found where evidence goes beyond a product’s

  characteristics or the knowledge that it may be put to infringing

  uses,      and   shows    statements        or   actions      directed     to    promoting

  infringement.”           633 F.3d at 1059.               Here, the Defendants’ label

  instructions meet this standard and “encourage, recommend, or

  promote” infringing conduct, particularly given the Defendants’

  continued pursuit of FDA approval of those instructions despite

  repeated notice of Regeneron’s infringement claims.                             See, e.g.,

  id. at 1060; Sanofi, 875 F.3d at 646 (rejecting argument that

  because product “has substantial noninfringing uses not forbidden

  by   the    proposed      labels   .    .    .     the    district   court      could   not

  permissibly       find    intent   to       encourage       an   infringing      use”   and

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  concluding “there is no legal or logical basis for the suggested

  limitation on inducement”); GlaxoSmithKline, 7 F.4th at 1334 (“Our

  precedent has consistently held that, when a product is sold with

  an infringing label or an infringing instruction manual, such a

  label is evidence of intent to induce infringement.”).

          To the extent that the Defendants argue that the Yesafili

  label     discusses    noninfringing      uses,     including    potential

  alternative regimens, the Federal Circuit also has rejected that

  argument.    In GlaxoSmithKline, the accused infringer contended its

  label language about treating two categories of patients, when

  arguably the treatment of only one category fell within the scope

  of the claim, “preclude[d] inducement since this may encourage

  both infringing and noninfringing uses.”          Id. at 1329.   The court

  rejected the argument that the “label’s recommended use on both

  types of patients somehow obviates infringement.”            Id. at 1330.

  In Vanda, the court similarly rejected a noninfringement argument

  based on a label’s target dose range allowing for the use of both

  infringing and noninfringing doses.        887 F.3d at 1132.     The court

  explained that “[e]ven if not every practitioner will prescribe an

  infringing dose, that the target dose range ‘instructs users to

  perform the patented method’ is sufficient to ‘provide evidence of

  . . . affirmative intent to induce infringement.’”           Id. (quoting

  AstraZeneca, 633 F.3d at 1060).

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        The Defendants also induce infringement of the Treatment

  Patents because their marketing has instructed and will instruct

  health care providers to administer Yesafili in the same infringing

  manner they have administered Eylea for many years, and it is

  undisputed that some doctors will follow those directions and use

  Yesafili to treat patients in an infringing way.           As the Federal

  Circuit stated in AstraZeneca, “liability for active inducement

  may be found where evidence goes beyond a product’s characteristics

  or the knowledge that it may be put to infringing uses, and shows

  statements or actions directed to promoting infringement.”              633

  F.3d at 1059.

        Here, such statements or actions included the Defendants’

  statements in their label that Yesafili is “highly similar” to

  Eylea,   that    “there   are   no   clinically   meaningful    differences

  between” Yesafili and Eylea, that Yesafili “can be expected to

  produce the same clinical result as [Eylea] in any given patient,”

  and that Yesafili is “interchangeable” with Eylea, see PTX-3097,

  as   well   as   the   Defendants’     statements   via   a    consultant’s

  presentation at a medical conference that they had “demonstrated

  therapeutic equivalence of [Yesafili] and [Eylea] in the treatment

  of diabetic macular edema (DME),” that Yesafili “was safe and well

  tolerated, with a similar safety and immunogenicity profile to .

  . . Eylea,” and that “[f]ollowing regulatory approval, [Yesafili]

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  is expected to be a new treatment option for patients with DME,”

  see PTX-331.

          For these reasons, the Court concludes that Regeneron has

  demonstrated by a preponderance of the evidence that, if the

  Defendants were to market their BLA Product, they would induce

  infringement of the asserted claims of the Treatment Patents.

  C.      Invalidity of the Patents-in-Suit

          According    to   the   Defendants,       the     asserted    claims   are

  anticipated,        obvious,    or    invalid     under    35   U.S.C.   §     112.

  Specifically, the Defendants contend the asserted claims of the

  Product Patent are anticipated by Dix ’226; obvious in light of

  three    combinations     of    prior    art    references:     (1)   Fraser   and

  Lucentis, (2) Fraser and Lui, and (3) Dix ’226 alone; and invalid

  under § 112 because they are indefinite, lack written description,

  and lack enablement.

          As to the Asserted Treatment Claims, the Defendants assert

  that Claim 6 of the ’572 Patent, (the angiogenic eye disorder

  claim) is anticipated by Dixon or is obvious in view of Dixon alone

  or in combination with Hecht.           They further assert that Claim 6 is

  invalid under § 112 for lack of written description and enablement.

          The Defendants also assert that claims 25 of the ’572 Patent

  and claim 11 or the ’601 Patent (the DME claims) and claim 19 of


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  the ’601 Patent (the DR claim) are anticipated by Regeneron’s

  September 2009 press release or are rendered obvious in view of

  the ‘747 Patent, the 9-14-2009 Press Release, and in combination

  with Do 2009 and Lalwani 2009b.              They further assert that these

  claims are invalid under § 112 for lack of written description and

  enablement.


         1.     Legal Standards

         In 2011, Congress passed the America Invents Act (“AIA”),

  which changed the United States patent system from a “first to

  invent” system to a “first inventor to file” system.              See Madstad

  Eng’g, Inc. v. U.S. Pat. & Trademark Off., 756 F.3d 1366, 1368

  (Fed. Cir. 2014).       Where, as here, the claims have an effective

  filing date prior to March 16, 2013, pre-AIA 35 U.S.C. § 102

  applies.      Blue Calypso, LLC v. Groupon, Inc., 815 F.3d 1331, 1341

  n.4 (Fed. Cir. 2016); Solvay S.A. v. Honeywell Int’l Inc., 742

  F.3d   998,    1000   n.1   (Fed.    Cir.    2014)   (noting   that   the   “AIA

  amendments apply only to applications and patents with an effective

  filing date of March 16, 2013, or later”).                Thus, the Court’s

  citations to 35 U.S.C. §§ 102, 103, or 112 shall be in reference

  to the pre-AIA versions of the statute, unless expressly stated

  otherwise.




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        In all cases, each asserted claim is presumed to be valid.

  See 35 U.S.C. § 282; Microsoft Corp. v. I4i Ltd. P’ship, 564 U.S.

  91, 94 (2011); Novo Nordisk A/S v. Caraco Pharm. Lab’ys, Ltd., 719

  F.3d 1346, 1352 (Fed. Cir. 2013).         The Defendants thus bear the

  burden of proving invalidity by clear and convincing evidence.

  See 35 U.S.C. § 282 (“The burden of establishing invalidity of a

  patent or any claim thereof shall rest on the party asserting such

  invalidity.”); Microsoft, 564 U.S. at 102 (“[A] defendant raising

  an   invalidity   defense   [bears]   a   heavy    burden   of   persuasion,

  requiring proof of the defense by clear and convincing evidence.”

  (citation and quotation marks omitted)).          “[A] patentee never must

  submit evidence to support . . . that a patent remains valid . .

  . .” Prometheus Labs., Inc. v. Roxane Labs., Inc., 805 F.3d 1092,

  1101–02 (Fed. Cir. 2015) (emphasis in original) (quoting Pfizer,

  Inc. v. Apotex, Inc., 480 F.3d 1348, 1360 (Fed. Cir. 2007)).

  “Clear and convincing evidence places in the fact finder ‘an

  abiding conviction that the truth of [the] factual contentions are

  highly probable.’” Procter & Gamble Co. v. Teva Pharm. USA, Inc.,

  566 F.3d 989, 994 (Fed. Cir. 2009) (quoting Colorado v. New Mexico,

  467 U.S. 310, 316 (1984)).

             a.     Anticipation

        A patent claim is invalid for anticipation when subject matter

  that the claims cover “was patented or described in a printed

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  publication . . . more than one year prior to the date of

  application for patent in the United States.”         35 U.S.C. § 102(b);

  Helsinn Healthcare S.A. v. Teva Pharms. USA, Inc., 855 F.3d 1356,

  1367 (Fed. Cir. 2017); Net MoneyIN, Inc. v. VeriSign, Inc., 545

  F.3d 1359, 1369 (Fed. Cir. 2008).         Whether a prior art reference

  anticipates a claim is a question of fact.        Atofina v. Great Lakes

  Chem. Corp., 441 F.3d 991, 995 (Fed. Cir. 2006).

        To prove anticipation, a defendant must show not only that a

  single reference “disclose[s] all elements of the claim within

  [its] four corners,” but “all elements of a claimed invention

  arranged as in the claim.”         Net MoneyIN, 545 F.3d at 1369–71

  (emphasis in original) (internal quotation marks omitted).                A

  patent thus is invalid for anticipation if “a single prior art

  reference discloses each and every limitation of the claimed

  invention.” Schering Corp. v. Geneva Pharm., Inc., 339 F.3d 1373,

  1377 (Fed. Cir. 2003).

        “[I]t is not enough that the prior art discloses part of the

  claimed invention, which an ordinary artisan might supplement to

  make the whole, or that it includes multiple, distinct teachings

  that the artisan might somehow combine to achieve the claimed

  invention.” Net MoneyIN, 545 F.3d at 1371; see also, e.g., Finisar

  Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1334–35 (Fed. Cir.

  2008); Union Oil Co. of Cal. v. Atl. Richfield Co., 208 F.3d 989,

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  995 (Fed. Cir. 2000). “[A]ll of the limitations” must be “arranged

  or combined in the same way as recited in the claim” in order to

  “prove prior invention of the thing claimed and . . . anticipate

  under 35 U.S.C. § 102.”      Net MoneyIN, 545 F.3d at 1371.

        An anticipatory reference must “clearly and unequivocally

  disclose the claimed [invention] or direct those skilled in the

  art to the [invention] without any need for picking, choosing, and

  combining various disclosures not directly related to each other

  by the teachings of the cited reference.”          Sanofi-Synethelabo v.

  Apotex, Inc., 550 F.3d 1076, 1083 (Fed. Cir. 2008) (quoting In re

  Arkley, 455 F.2d 586, 587 (C.C.P.A. 1972) (emphasis in original)).

  The reference must also “enable one of ordinary skill in the art

  to make the invention without undue experimentation.”                In re

  Gleave, 560 F.3d 1331, 1334 (Fed. Cir. 2009) (quoting Impax Labs.,

  Inc. v. Aventis Pharms. Inc., 545 F.3d 1312, 1314 (Fed. Cir.

  2008)).

             b.    Obviousness

        A claimed invention is invalid as obvious “if the differences

  between the subject matter sought to be patented and the prior art

  are such that the subject matter as a whole would have been obvious

  at the time the invention was made to a person having ordinary

  skill in the art to which said subject matter pertains.” 35 U.S.C.

  § 103(a) (pre-AIA).      “Obviousness is a question of law based on

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  underlying factual findings: (1) the scope and content of the prior

  art; (2) the differences between the claims and the prior art; (3)

  the   level   of    ordinary   skill   in    the   art;   and   (4)   objective

  considerations of nonobviousness.”            Osram Sylvania, Inc. v. Am.

  Induction Techs., Inc., 701 F.3d 698, 706 (Fed. Cir. 2012) (citing

  Graham v. John Deere Co. of Kan. City, 383 U.S. 1, 17–18 (1966));

  see also KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398, 406–07

  (2007) (“[T]he [Graham] factors continue to define the inquiry

  that controls.”).      “The determination of obviousness is made with

  respect to the subject matter as a whole, not separate pieces of

  the claim.”        Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075,

  1086 (Fed. Cir. 2008).         A party alleging obviousness based on a

  combination of prior-art references generally must prove by clear

  and convincing evidence both “[(1)] that a skilled artisan would

  have had reason to combine the teaching of the prior art references

  to achieve the claimed invention, and [(2)] that the skilled

  artisan would have had a reasonable expectation of success from

  doing so.”    Cyclobenzaprine, 676 F.3d at 1068–69 (quoting Procter

  & Gamble, 566 F.3d at 994).

        In considering the POSA’s reasons or motivations to make or

  use the claimed invention, “a reference ‘must [be] considered for

  all it taught, disclosures that diverged and taught away from the

  invention at hand as well as disclosures that pointed toward and

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  taught the invention at hand.’” Polaris Indus., Inc. v. Arctic

  Cat, Inc., 882 F.3d 1056, 1069 (Fed. Cir. 2018) (quoting Ashland

  Oil, Inc. v. Delta Resins & Refractories, Inc., 776 F.2d 281, 296

  (Fed.    Cir.   1985));   see   also    Arctic   Cat   Inc.   v.    Bombardier

  Recreational Prods. Inc., 876 F.3d 1350, 1363 (Fed. Cir. 2017)

  (“Evidence suggesting reasons to combine cannot be viewed in a

  vacuum apart from evidence suggesting reasons not to combine.”).

          A patentee can refute an allegation that the POSA would have

  had a motivation or reason to make or use the claimed invention by

  showing that a particular prior art reference “taught away” from

  the invention. See Rembrandt Wireless Techs., LP v. Samsung Elecs.

  Co., 853 F.3d 1370, 1379–80 (Fed. Cir. 2017) (“[A] showing that a

  prior art reference teaches away from a given combination is

  evidence that one of skill in the art would not have been motivated

  to make that combination to arrive at the claimed invention.”).              A

  reference teaches away from the claimed invention if the POSA,

  “upon reading the reference, would be discouraged from following

  the path set out in the reference, or would be led in a direction

  divergent from the path that was taken in the claim.”              AstraZeneca

  v. Mylan Pharm. Inc., 19 F.4th 1325, 1337 (Fed. Cir. 2021) (quoting

  Meiresonne v. Google, Inc., 849 F.3d 1379, 1382 (Fed. Cir. 2017)).

  The reference need not explicitly disparage an invention or address

  an aspect of the invention recited specifically in the claim to

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  teach away. See id.; see also, e.g., Arctic Cat Inc., 876 F.3d at

  1360; Institut Pasteur & Universite Pierre et Marie Curie v.

  Focarino, 738 F.3d 1337, 1345–46 (Fed. Cir. 2013) (finding that a

  prior-art suggestion of a risk of toxicity precluded a conclusion

  of obviousness regardless of whether the claims recited a lack of

  toxicity).     Whether the prior art “teaches away” is a question of

  fact.     See Bombardier Recreational Prods. Inc., 876 F.3d at 1360;

  see also, e.g., Spectralytics, Inc. v. Cordis Corp., 649 F.3d 1336,

  1343 (Fed. Cir. 2011), abrogated on other grounds by Halo Elecs.,

  Inc. v. Pulse Elecs., Inc., 579 U.S. 93 (2016).

          A claimed invention that is merely one of a “finite number of

  identified, predictable solutions,” may be obvious if it was

  “obvious to try.”     KSR, 550 U.S. at 421.      But “[t]o the extent an

  art is unpredictable, . . . KSR’s focus on these ‘identified,

  predictable solutions’ may present a difficult hurdle because

  potential solutions are less likely to be genuinely predictable.”

  Eisai Co. v. Dr. Reddy’s Labs., 533 F.3d 1353, 1359 (Fed. Cir.

  2008).     If “the prior art, at best, [gives] only general guidance

  as to the particular form of the claimed invention or how to

  achieve it, relying on an obvious-to-try theory to support an

  obviousness finding is impermissible.”        Cyclobenzaprine, 676 F.3d

  at 1073 (internal quotation marks omitted) (quoting In re Kubin,

  561 F.3d 1351, 1359 (Fed. Cir. 2009)).             An invention is not

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  “obvious to try” if the prior art “gave no direction as to which

  of   the   many    possible   combination     choices     were    likely    to   be

  successful”       and   “consistently    taught   away”    from    the     claimed

  invention.    Leo Pharm. Prods., Ltd. v. Rea, 726 F.3d 1346, 1357

  (Fed. Cir. 2013).

        Proving obviousness also requires a showing by clear and

  convincing evidence that the POSA would have had a reasonable

  expectation of success in achieving the claimed invention. InTouch

  Techs., Inc. v. VGO Commc’ns, Inc., 751 F.3d 1327, 1347 (Fed. Cir.

  2014); see, e.g., Cyclobenzaprine, 676 F.3d at 1068–69.                    To have

  such an expectation, the POSA must have been “motivated to do more

  than merely to ‘vary all parameters or try each of numerous

  possible choices until one possibly arrived at a successful result,

  where the prior art gave either no indication of which parameters

  were critical or no direction as to which of many possible choices

  is likely to be successful.’”       Medichem, S.A. v. Rolabo, S.L., 437

  F.3d 1157, 1165 (Fed. Cir. 2006) (quoting In re O’Farrell, 853

  F.2d 894, 903 (Fed. Cir. 1988)).

        As with the POSA’s reason for modifying or combining the prior

  art, the POSA’s expectation of success must be assessed with

  respect to the actual needs in the pertinent art.                  See KSR, 550

  U.S. 398 (focusing on motivation based on demands “present in the

  marketplace”); Institut Pasteur, 738 F.3d at 1345–46; Endo Pharms.

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  Sols., Inc. v. Custopharm Inc., 894 F.3d 1374, 1385 (Fed. Cir.

  2018).      Thus, in assessing whether the POSA would have had a

  reasonable expectation of success, a factfinder must determine

  whether the POSA would have believed that the invention would

  succeed based on the goals that the POSA would have had, regardless

  of whether those goals are recited as claim limitations.               See,

  e.g., Institut Pasteur, 738 F.3d at 1345-46 (POSA would not have

  had a reasonable expectation of practicing a method of manipulating

  a living cell based on prior art references stating that such a

  method would be toxic to the cell, even though the claims did not

  expressly require that the cell remain viable).

        The   use   of   hindsight   is   prohibited   in   the   obviousness

  analysis.    KSR, 550 U.S. at 421 (“A factfinder should be aware, of

  course, of the distortion caused by hindsight bias and must be

  cautious of arguments reliant upon ex post reasoning.”).           This is

  because the obviousness inquiry is conducted from the perspective

  of the POSA as of the priority date.            Graham, 383 U.S. at 36

  (courts must “resist the temptation to read into the prior art the

  teachings of the invention at issue”); Metalcraft of Mayville,

  Inc. v. Toro Co., 848 F.3d 1358, 1367 (Fed. Cir. 2017) (“[W]e

  cannot allow hindsight bias to be the thread that stitches together

  prior art patches into something that is the claimed invention.”);

  Dey, L.P. v. Teva Parenteral Medicines, Inc., 6 F.Supp.3d 651,

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  673-74 (N.D. W.Va. 2014). “[T]he proper analysis requires a form

  of amnesia that ‘forgets’ the invention and analyzes the prior art

  and understanding of the problem at the date of the invention.”

  Mintz v. Dietz & Watson, Inc., 679 F.3d 1372, 1379 (Fed. Cir.

  2012).    As the Federal Circuit has explained, “[t]he inventor’s

  own path itself never leads to a conclusion of obviousness; that

  is hindsight. What matters is the path that the person of ordinary

  skill in the art would have followed, as evidenced by the pertinent

  prior art.”     Otsuka Pharm. Co. v. Sandoz, Inc., 678 F.3d 1280,

  1296 (Fed. Cir. 2012).      Indeed, “the path that leads an inventor

  to the invention is expressly made irrelevant to patentability by

  statute.”     Life Techs., Inc. v. Clontech Labs., Inc., 224 F.3d

  1320, 1325 (Fed. Cir. 2000); see also 35 U.S.C. § 103(a) (pre-AIA)

  (“Patentability shall not be negatived by the manner in which the

  invention was made.”).

           Objective indicia of non-obviousness must be considered

  where present.    Cyclobenzaprine, 676 F.3d at 1075–76, 1079.          Such

  evidence can help to “guard against slipping into use of hindsight”

  and “the temptation to read into the prior art the teachings of

  the invention at issue.”       Apple Inc. v. Samsung Elecs. Co., 839

  F.3d 1034, 1052 (Fed. Cir. 2016) (en banc) (quoting Graham, 383

  U.S. at 36); see also WBIP LLC v. Kohler Co., 829 F.3d 1317, 1328

  (Fed. Cir. 2016) (“[O]bjective indicia of non-obviousness play an

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  important role as a guard against the statutorily proscribed

  hindsight reasoning in the obviousness analysis.”); AstraZeneca AB

  v. Aurobindo Pharma Ltd., 232 F. Supp. 3d 636, 649 n.8 (D. Del.

  2017) (“Because Aurobindo has failed to establish a prima facie

  case of obviousness, the court does not address AstraZeneca’s

  secondary considerations.”); Takeda Pharm. Co. v. Handa Pharm.,

  2013 WL 9853725, at *66 (N.D. Cal. Oct. 17, 2013) (“[T]he absence

  of secondary considerations does not prove obviousness.”).

        Evidence of an invention’s unexpected properties, that the

  invention     met    a    long-felt    need,    that     the    invention   received

  industry praise, that others failed to solve the problems addressed

  by the invention, and that others have copied the invention all

  can   serve    as        such    objective     indicia     in    support    of     non-

  obviousness.        See, e.g., WBIP, 829 F.3d at 1332–37; Mintz, 679

  F.3d at 1379–80.           Likewise, “[e]vidence of industry skepticism

  weighs in favor of non-obviousness.” WBIP, 829 F.3dat 1336 (“Doubt

  or disbelief by skilled artisans regarding the likely success of

  a combination or solution weighs against the notion that one would

  combine     elements        in     references      to     achieve     the    claimed

  invention.”).            Objective    indicia    of     nonobviousness      also   may

  consist of evidence that a prior art reference taught away from

  the claimed invention, i.e., that “person of ordinary skill, upon

  reading the reference, would be discouraged from following the

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  path set out in the reference, or would be led in a direction

  divergent      from    the     path    that       was   taken    by     the   applicant.”

  Millennium Pharm., Inc. v. Sandoz Inc., 862 F.3d 1356, 1366 (Fed.

  Cir. 2017) (quoting In re Urbanski, 809 F.3d 1237, 1244 (Fed. Cir.

  2016)).

                c.      Section 112

          The first paragraph of 35 U.S.C. § 112 states that the

  “specification         shall    contain       a     written      description        of   the

  invention, and of the manner and process of making and using it,

  in such full, clear, concise, and exact terms as to enable any

  person skilled in the art to which it pertains, or with which it

  is most nearly connected, to make and use the same.”                          35 U.S.C. §

  112, ¶ 1 (emphasis added).                This section protects the public

  interest      by   enforcing     the    basic       quid   pro    quo    of   the    patent

  monopoly, ensuring the inventor possessed what is claimed as the

  invention at the time of filing (written description), and gave a

  disclosure where one of ordinary skill can make and use the full

  scope    of   the     claimed    invention         without    undue     experimentation

  (enablement).       Amgen Inc. v. Sanofi, 143 S. Ct. 1243, 1254 (2023);

  AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234, 1244 (Fed. Cir.

  2003) (an adequate disclosure in the specification is “part of the

  quid pro quo of the patent bargain”).                    Every patent specification

  must comply with both requirements.                     See AbbVie Deutschland GmbH

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  & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1298 (Fed. Cir.

  2014)     (“drafters   of    patent   applications    know   that   they    must

  describe their inventions as well as disclose how to enable their

  use”); Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed.

  Cir. 1991). Both written description and enablement must be proven

  by clear and convincing evidence.              Invitrogen Corp. v. Clontech

  Lab’ys, Inc., 429 F.3d 1052, 1072 (Fed. Cir. 2005).

           Section 112 also requires the patent applicant to conclude

  the specification with “one or more claims particularly pointing

  out and distinctly claiming the subject matter which the applicant

  regards as his invention.”        35 U.S.C. § 112, ¶ 2.

                         i.       Written Description

           The written description requirement § 112 provides that a

  patent specification must “contain a written description of the

  invention, and of the manner and process of making and using it.”

  35 U.S.C. § 112 ¶ 1 (pre-AIA).               The “hallmark” of an adequate

  written description is “disclosure.”             Ariad Pharms., Inc. v. Eli

  Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc).                The

  patent must “reasonably convey[] to those skilled in the art that

  the inventor had possession of the claimed subject matter as of

  the filing date.”      Id.

           The relevant inquiry — “possession as shown in the disclosure”

  —   is     an   “objective   inquiry    into    the   four   corners   of    the

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  specification from the perspective of a person of ordinary skill”

  where “the specification must describe an invention understandable

  to that skilled artisan and show that the inventor actually

  invented   the   invention    claimed.”      Ariad,   598   F.3d    at   1351.

  Possession is shown “by describing the invention, with all its

  claimed limitations.”        Lockwood v. Am. Airlines, Inc., 107 F.3d

  1565, 1572 (Fed. Cir. 1997).        The patent’s specification is not

  required to have “either examples or an actual reduction to

  practice; rather, the critical inquiry is whether the patentee has

  provided a description that in a definite way identifies the

  claimed invention in sufficient detail that a person of ordinary

  skill would understand that the inventor was in possession of it

  at the time of filing.”      Alcon Rsch. Ltd. v. Barr Labs., Inc., 745

  F.3d 1180, 1190–91 (Fed. Cir. 2014) (internal quotation marks

  omitted) (quoting Ariad, 598 F.3d at 1350).

        The written description requirement prevents an applicant

  from overreaching by later asserting that he invented something he

  did not actually invent. See Amgen Inc. v. Hoechst Marion Roussel,

  Inc., 314 F.3d 1313, 1330 (Fed. Cir. 2003); Purdue Pharma L.P. v.

  Faulding Inc., 230 F.3d 1320, 1327 (Fed. Cir. 2000).               It ensures

  that the “patentee had possession of the claimed invention at the

  time of the application, i.e., that the patentee invented what is



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  claimed.” LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d

  1336, 1344-45 (Fed. Cir. 2005).

                      ii.       Enablement

        Under § 112, a patent specification also must “enable any

  person skilled in the art to which it pertains, or with which it

  is most nearly connected, to make and use the same.”          35 U.S.C. §

  112 ¶ 1 (pre-AIA).     “To prove that a claim is invalid for lack of

  enablement, a challenger must show by clear and convincing evidence

  that a person of ordinary skill in the art would not be able to

  practice the claimed invention without ‘undue experimentation.’”

  Alcon, 745 F.3d at 1188 (quoting In re Wands, 858 F.2d 731, 736–

  37 (Fed. Cir. 1988)).      That some experimentation is necessary does

  not mean that a claim is not enabled.          In re Wands, 858 F.2d at

  736–37.   The “key word is ‘undue,’ not experimentation.”           Id.

        “The   test    for    undue   experimentation      is   not   merely

  quantitative, since a considerable amount of experimentation is

  permissible, if it is merely routine, or if the specification in

  question provides a reasonable amount of guidance with respect to

  the direction in which the experimentation should proceed to enable

  the determination of how to practice a desired embodiment of the

  claimed invention.”        Johns Hopkins Univ. v. CellPro, Inc., 152

  F.3d 1342, 1360 (Fed. Cir. 1998) (quoting PPG Indus., Inc. v.

  Guardian Indus. Corp., 75 F.3d 1558, 1564 (Fed. Cir. 1996)).

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          “Whether undue experimentation is needed is not a single,

  simple factual determination, but rather is a conclusion reached

  by weighing many factual considerations.”           Id. at 737.      These

  include the following “Wands” factors:

          (1) the quantity of experimentation necessary, (2) the
          amount of direction or guidance presented, (3) the
          presence or absence of working examples, (4) the nature
          of the invention, (5) the state of the prior art, (6) the
          relative skill of those in the art, (7) the
          predictability or unpredictability of the art, and
          (8) the breadth of the claims.

  Id.

          “[T]he question is whether undue experimentation is required

  to make and use the full scope of embodiments of the invention

  claimed.”     McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d

  1091, 1100 (Fed. Cir. 2020). The Supreme Court recently reiterated

  that:

          If a patent claims an entire class of processes,
          machines, manufactures, or compositions of matter, the
          patent’s specification must enable a person skilled in
          the art to make and use the entire class.     In other
          words, the specification must enable the full scope of
          the invention as defined by its claims. The more one
          claims, the more one must enable.

  Amgen, 143 S. Ct. at 1254.     When a patent specification has a broad

  disclosure, it is not required that every embodiment covered by

  the claims be exemplified; “it may suffice to give an example (or

  a few examples) if the specification also discloses ‘some general

  quality . . . running through’ the class that gives it a ‘peculiar

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  fitness for the particular purpose.’” Id. A “specification may

  call for a reasonable amount of experimentation to make and use a

  patented invention.      What is reasonable in any case will depend on

  the nature of the invention and the underlying art.”          Id. at 1255.

  But the person of ordinary skill in the art cannot be left with

  merely “a hunting license” or obligated to engage in “painstaking

  experimentation” or “trial and error” to “see what works.”          Id. at

  1254, 1256-57.    Whether a specification enables the full scope of

  the claimed invention is “determined as of the effective filing

  date of the patent’s application.”         Alza Corp. v. Andrx Pharms.,

  LLC, 603 F.3d 935, 940 (Fed. Cir. 2010).

                    iii.        Indefiniteness

          A claim is invalid as indefinite if, when read in light of

  the specification and prosecution history, the claim “fail[s] to

  inform, with reasonable certainty, those skilled in the art about

  the scope of the invention.” Nautilus, Inc. v. Biosig Instruments,

  Inc., 572 U.S. 898, 901 (2014); 35 U.S.C. § 112 ¶ 2 (pre-AIA).

  While    definiteness    “mandates   clarity,”   the   Supreme   Court   has

  recognized that “absolute precision is unattainable.”            Nautilus,

  572 U.S. at 910.     “One must bear in mind . . . that patents are

  ‘not addressed to lawyers, or even to the public generally,’ but

  rather to those skilled in the relevant art.”          Id. at 909 (quoting

  Carnegie Steel Co. v. Cambria Iron Co., 185 U.S. 403, 437 (1902)).

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  Accordingly, “[c]laims reciting terms of degree ‘have long been

  found definite’ if they provide reasonable certainty to a skilled

  artisan when read in the context of the patent.”          Mentor Graphics

  Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1290 (Fed. Cir. 2017)

  (quoting Biosig Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374,

  1378 (Fed. Cir. 2015)).       Definiteness “is to be evaluated from the

  perspective of someone skilled in the relevant art” at the time

  the patent was filed.”       Nautilus, 572 U.S. at 908.


        2.     Invalidity of the Product Patent

               a.      Dix ’226 Does Not Anticipate the Product Patent

        The Defendants argue anticipation of the asserted claims of

  the Product Patent based on Dix ’226 (U.S. Patent No. 10,406,226

  B2), a patent assigned to Regeneron and issued on September 10,

  2019.      DTX-13.     Dix ’226 is directed to formulations of VEGF

  antagonists for cancer.       Dix ’226 does not include any teaching of

  an “ophthalmic formulation[s]” or intravitreal administration, to

  which the Product Patent claims are directed.           To the contrary,

  Dix ’226 only teaches that VEGF is involved in cancer.             DTX-13,

  1:42-54; Tr. 1123:25-1124:11 (Rabinow).

        The Court finds that Dix ’226 does not anticipate the Asserted

  Claims of the Product Patent.       Dix does not anticipate the Product

  Patent because it does not disclose 40 mg/ml aflibercept, the


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  concentration required by every asserted claim of the Product

  Patent.

        The    Defendants     argued    that   40   mg/ml    aflibercept    claim

  requirement is satisfied by the disclosure in Dix ’226 of “10-50

  mg/ml of the fusion protein.”                DTX-13, 2:23; Tr. 1083:15-18

  (Rabinow);    see    also   DTX-13,    7:8-9.     The     Defendants’    expert,

  however, admitted that 40 mg/mL is not expressly disclosed by the

  range of “10-50 mg/ml.”       Tr. 1133:25-1134:3 (Rabinow).          Moreover,

  the range of 10-50 mg/ml is not a small range.                   Dr. Rabinow’s

  testimony made clear that “10-50 mg/ml” includes not just every

  whole-number value from 10 to 50, but also includes more precise

  values to the tenths and hundredths decimal places—like “37.2” and

  “49.35” mg/ml—resulting in thousands of discrete values within the

  disclosed range.       Tr. 1135:25-1138:9.        Dr. Trout also testified

  that the range was not a small one.            Tr. 2072:16-17 (Trout).

        Furthermore, the disclosure in Dix ’226 of “10-50 mg/ml” is

  not linked to aflibercept specifically, but instead refers to a

  generic “VEGF-specific fusion protein antagonist.”                  DTX-13 at

  2:20-23.     The Defendants’ expert did not dispute that multiple

  fusion    proteins    would   fall    within    that    genus.    Dr.   Rabinow

  explained that the recited “fusion protein” is not limited to

  aflibercept but instead covers a “class” of proteins, Tr. 1135:25-

  1138:9, and Dr. Trout agreed, Tr. 2073:13-2074:4.                 Notably, Dix

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  ’226 identifies at least two such fusion proteins by sequence, and

  more would fall within the class.                DTX-13 at 2:3-19.       As Dr.

  Rabinow agreed, only the aflibercept fusion protein falls within

  the asserted claims; the other fusion proteins encompassed by Dix’s

  disclosed class do not meet the limitations of the Product Patent.

  Tr. 1136:14-1138:2.      Thus, the Defendants’ argument based on “Dix

  ’226’s disclosed aflibercept protein range of 10 to 50 mg/ml” (ECF

  No. 576 (Defs.’ Opening Br.) at 22 (emphasis added)) incorrectly

  describes Dix’s disclosed genus.               The disclosure in Dix ’226 of

  “10-50 mg/ml of the fusion protein” refers to a large range of

  numerical concentrations and also encompasses multiple different

  fusion proteins — and yet, only one such concentration (40 mg/ml)

  and one such fusion protein (aflibercept) meets the asserted claims

  of    the   Product   Patent.      The    evidence    does    not   support    the

  Defendants’ argument that Dix’s broad genus of “10-50 mg/ml of the

  fusion protein” discloses 40 mg/ml of aflibercept.                  As a result,

  the    Defendants     have   not   proven       the   legal   requirements      of

  anticipation as to Dix ’226.

         Nor is this a case of “overlapping ranges” giving rise to a

  “prima facie case of anticipation.”             Defs.’ Opening Br. 22.        Each

  asserted claim recites the specific concentration of 40 mg/ml

  aflibercept, not a range of concentrations.               As explained below,

  the Defendants also are incorrect in arguing that Regeneron must

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  prove that 40 mg/ml is “‘critical to the operability’ of the

  invention.”      Defs.’ Opening Br. 22.         In any event, the testimony

  at trial demonstrated that the inventors specifically chose the 40

  mg/ml concentration to maximize the half-life of aflibercept in

  the eye while minimizing toxicity and stability concerns, see,

  e.g.,    Tr.    473:2-22   (Furfine);     Tr.   1680:12-1682:1,         1780:18-20

  (Graham), and their selection of 40 mg/ml contributed to the

  beneficial properties of Eylea, see Tr. 493:10-494:7, 495:16-21

  (Furfine).      No record evidence shows that these desirable benefits

  of the claimed invention would obtain at other concentrations

  between 10 and 50 mg/ml.          Accordingly, even if anticipation law

  required    a   showing    of   criticality     in   the   present      situation,

  undisputed      evidence   at   trial   demonstrates       that   the    40   mg/ml

  concentration of aflibercept is critical to the benefits provided

  by the claimed invention.

          In their post-trial briefing, the Defendants state that Dix

  ’226 disclosed a “‘40 mg/ml’ embodiment.”               Defs.’ Opening Br. 4

  (citing DTX-13, 3:60-61).          The Defendants’ characterization of

  this    disclosure    is   incorrect,     and   their      reliance     on    it   is

  forfeited.      Dix refers to “a 40 mg/ml pre-lyophilized solution

  [that] is lyophilized and reconstituted to a 80 mg/ml solution.”

  DTX-13, 3:60-62.       Dr. Trout offered unrebutted testimony that a

  pre-lyophilized solution is only “a manufacturing intermediate”

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  not intended for any kind of injection.     Tr. 2077:1-16.               Dr.

  Trout’s testimony is consistent with the disclosure of Dix, which

  states   that   the   pre-lyophilized     solution   “is   lyophilized   and

  reconstituted” to a different concentration; Dix does not disclose

  the pre-lyophilized solution as being stored or injected.           DTX-2,

  3:60-61.   Dr. Trout also explained that Dix did not teach that the

  “pre-lyophilized solution” included aflibercept, and that the POSA

  would not expect this manufacturing intermediate to meet the 98%

  native conformation limitation over two months, as a formulator

  would not “store it for nearly that long.”            Tr. 2077:17-2079:1.

  Thus, Dix’s “40 mg/ml pre-lyophilized solution” does not refer to

  any kind of formulation to be administered, much less an ophthalmic

  formulation or, as the claim requires, an ophthalmic formulation

  of aflibercept.

        In any event, the arguments in the Defendants’ opening brief

  involving anticipation over Dix ’226 never reference Dix’s “40

  mg/ml pre-lyophilized solution” disclosure, Defs.’ Opening Br. 22-

  23, and so the Court holds that any reliance on that passage has

  been forfeited. See Vanda Pharms., Inc. v. Teva Pharms. USA, Inc.,

  2022 WL 17593282, at *12 n.1 (D. Del. Dec. 13, 2022) (holding that

  a party “forfeited its right” to raise a specific argument “by not

  raising it in timely fashion” and “by the passing manner in which

  it raised the argument in its post-trial brief”), aff’d, 2023 WL

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  3335538 (Fed. Cir. May 10, 2023). Furthermore, Dr. Rabinow did

  not disclose any reliance on the pre-lyophilized solution in his

  expert reports, and indeed never even addressed it.                    PTX-55 ¶¶

  122-27, 245-59.

        To prove anticipation, a defendant must prove that a single

  prior art reference discloses every limitation of the claim.

  Atofina v. Great Lakes Chem. Corp., 441 F.3d 991, 999 (Fed. Cir.

  2006).     “It is well established that the disclosure of a genus in

  the prior art is not necessarily a disclosure of every species

  that is a member of that genus.”                 Id.; see also UCB, Inc. v.

  Actavis    Labs.,     65    F.4th   679,   688    (Fed.    Cir.   2023)     (“[T]he

  disclosure of a range is not a disclosure of the endpoints of the

  range or other discrete points within the range.”); Janssen Pharms.

  v. Watson Labs., 2012 WL 3990221, at *9 (D.N.J. Sept. 11, 2012)

  (same); OSRAM Sylvania v. Am. Induction Techs., 701 F.3d 698, 705-

  06 (Fed. Cir. 2012) (same).

        As   relevant    here,    “the   disclosure     of   a   range   is    not   a

  disclosure of the endpoints of the range or other discrete points

  within the range.”         UCB, Inc. v. Actavis Labs., 65 F.4th 679, 688

  (Fed. Cir. 2023).          A numerical range is a genus encompassing the

  values within it, Janssen, 2012 WL 3990221, at *7 (holding “dosage

  range in [prior art] is a genus”), and only “a very small genus”

  may anticipate specific intervening values, Atofina, 441 F.3d at

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  999.     For example, the Federal Circuit’s predecessor                court

  concluded that disclosure of a genus of “20 possible compounds”

  with similar structures and properties could anticipate a species

  within the genus.     In re Ruschig, 343 F.2d 965, 973-74 (C.C.P.A.

  1965) (discussing In re Petering, 301 F.2d 676 (C.C.P.A. 1962)).

  The Defendants failed to establish that the five-fold range of 10-

  50 mg/ml disclosed in Dix ’226 (DTX-13) is “very small.”           Atofina,

  441 F.3d at 999.        Rather, in Dr. Rabinow’s view, this range

  encompasses hundreds of discrete concentrations between 10 and 50

  (like “28” mg/ml, “37.2” mg/ml, and “49.35” mg/ml).             Tr. 1134:9-

  19; see Atofina, 441 F.3d at 999 (“A temperature range of over 100

  degrees is not a small genus.”); Tr. 2072:16-17 (Trout).

         The genus is further enlarged by the fact that Dix’s range is

  not limited to aflibercept, but rather covers a broader generic

  set of “VEGF-specific fusion protein antagonist” molecules, both

  sides’ expert agreed.      Tr. 1135:25-1138:9 (Rabinow); Tr. 2073:13-

  2074:4 (Trout).     Nor does Dix ’226 disclose any formulation with

  40   mg/ml   aflibercept   that    meets   the   98%   native   conformation

  limitation, or any ophthalmic formulation, also required by each

  claim, which separately is fatal to the Defendants’ anticipation

  argument.     See Tr. 1124:9-11, 1124:25-1125:16 (Rabinow); e.g.,

  Atofina, 441 F.3d at 999 (“single reference” must disclose “each

  limitation”).    Because Dix ’226 does not disclose what the claims

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  require specifically — 40 mg/ml of aflibercept, with 98% native

  conformation after two months storage at 5°C—it cannot anticipate

  the claims.

         Thus, the Defendants’ anticipation theory involves the POSA

  arbitrarily and improperly selecting 40 mg/ml from the range of

  10-50 mg/ml and cobbling together other, disparate disclosures

  from Dix ’226.       But to anticipate, the prior-art reference must

  disclose each element “arranged as in the claim.”                    Net MoneyIN,

  Inc. v. Verisign, Inc., 545 F.3d 1359, 1370-71 (Fed. Cir. 2008).

  The Defendants’ “mechanistic dissection and recombination” of

  disclosures from Dix ’226 involves just the kind of impermissible

  “hindsight     anticipation[]”     relying      on   “the    guidance       of   a[]

  [patentee’s]       disclosures”    that    precedent        has     long    forbid.

  Ruschig, 343 F.2d at 974.

         Following    that    precedent,    the   Janssen     court    rejected    an

  anticipation       argument    indistinguishable        from       the     one   the

  Defendants raise here, concluding that a dosage range of “.02-0.05

  mg” did not anticipate a specific dose of “0.025 mg.”                       2012 WL

  3990221, at *6-10.         The Court’s holding in Janssen is consistent

  with   Federal     Circuit    precedent    explaining       that    where    “[t]he

  disclosure is only that of a range, not a specific [point] in that

  range, . . . the disclosure of a range is no more a disclosure of

  the end points of the range than it is of each of the intermediate

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  points.” Atofina, 441 F.3d at 1000; UCB, 65 F.4th at 688.                The

  Court holds likewise here that the range of 10-50 mg/ml in Dix

  ’226 does disclose every intermediate point in the range, including

  40 mg/ml.

        As explained, the Defendants forfeited any reliance on the 40

  mg/ml “pre-lyophilized solution” disclosed in Dix ’226 by not

  relying on it in their post-trial brief.           Furthermore, Dr. Rabinow

  did not disclose any reliance on the pre-lyophilized solution in

  his expert reports–indeed, he never even addressed it.                PTX-55

  (Rabinow Opening Report) ¶¶ 122-27, 245-59.              The Court therefore

  strikes Dr. Rabinow’s testimony as to the “40 mg/mL pre-lyophilized

  solution” portion of the prior art reference.               See PersonalWeb

  Techs. LLC v. Int’l Bus. Machs. Corp., 2017 WL 8186294, at *6 (N.D.

  Cal. July 25, 2017) (excluding expert opinion on claim limitation

  at trial that was not disclosed in expert report).

        In any event, the “pre-lyophilized solution” refers only to

  a   “manufacturing      intermediate,”       not     a     formulation   for

  administration, and Dix ’226 does not indicate whether the pre-

  lyophilized solution contains aflibercept or any other limitation

  of the claims.    Tr. 2077:1-16 (Trout).      Thus, even if considered,

  the isolated disclosure of 40 mg/ml pre-lyophilized solution,

  unconnected to any of the other claim elements, is not a disclosure



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  of each element “arranged as in the claim.” Net MoneyIN, 545 F.3d

  at 1370.

         The   Defendants     also      argue   that    Regeneron       must        show

  criticality of the claimed aflibercept concentration.                        Defs.’

  Opening Br. 22.        However, the Federal Circuit has held that

  criticality is a factor only where a disclosed range “overlaps”

  with a “claimed range,” not a specific point.                Genentech, Inc. v.

  Hospira, Inc., 946 F.3d 1333, 1338 (Fed. Cir. 2020) (emphasis

  added).      Furthermore,       the   Federal   Circuit       has    specifically

  rejected equating “discrete points” in a range with a range itself.

  UCB, 65 F.4th at 687-88.           The Product Patent claims a specific

  concentration — 40 mg/ml — not a “claimed range.”                  The Defendants

  cite    no   case   where   a    court    considered        criticality      in     an

  anticipation inquiry under these circumstances.

         The Court concludes that criticality is thus irrelevant here

  — consistent with Janssen, 2012 WL 3990221, at *6-10, which

  addressed    indistinguishable        facts   and    also    did    not   consider

  criticality — as well as with numerous other precedents addressing

  anticipation in the genus/species context.             See Ruschig, 343 F.2d

  at 974 (not considering criticality in anticipation context of

  whether genus anticipates species); Mylan Pharm. Inc. v. Merck

  Sharp & Dohme Corp., 50 F.4th 147, 153-54 (Fed. Cir. 2022) (same);

  Eli Lilly & Co. v. Bd. of Regents of Univ. of Washington, 334 F.3d

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  1264, 1271-72 (Fed. Cir. 2003) (same); Bristol-Myers Squibb Co. v.

  Ben Venue Labs., 246 F.3d 1368, 1380 (Fed. Cir. 2001) (same);

  Genetics Inst., LLC v. Novartis Vaccines & Diagnostics, Inc., 687

  F. Supp. 2d 486, 499 (D. Del. 2010), aff’d, 655 F.3d 1291 (Fed.

  Cir. 2011) (same).

        Nonetheless, even if criticality were relevant, the Court

  concludes that Regeneron has demonstrated criticality of the 40

  mg/ml concentration, because the prior art taught away from using

  that concentration and because Regeneron demonstrated unexpected

  properties    of   the   claimed    compositions,   as   described   further

  below.   See Cot’n Wash, Inc. v. Henkel Corp., 56 F. Supp. 3d 626,

  644 (D. Del. 2014) (finding criticality based on unexpected results

  and teaching away).

        For these reasons, the Court concludes that Mylan has failed

  to demonstrate by clear and convincing evidence that Dix ’226

  anticipates the asserted clams of the Product Patent.

               b.    The Defendants Combinations of Prior Art do not
                     Render the Product Patent Obvious

        To prove obviousness, the Defendants must show by clear and

  convincing evidence that the differences between the claims “and

  the prior art are such that the subject matter as a whole would

  have been obvious at the time the invention was made” to the POSA.

  35 U.S.C. § 103(a) (pre-AIA).            Here, the asserted claims all

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  require     an ophthalmic formulation of the VEGF antagonist

  aflibercept at a concentration of 40 mg/ml.               As explained further

  below,    in   the    prior   art   cited    by   the   Defendants,     the   only

  disclosure of a 40 mg/ml formulation taught the POSA away from

  using that concentration for aflibercept because it would lead to

  unacceptable inflammation without any advantages.                That teaching

  forecloses obviousness.         AstraZeneca v. Mylan, 19 F.4th at 1336

  (teaching      away    “on    its    own     is    sufficient     to    sustain”

  nonobviousness); Winner Int’l Royalty Corp. v. Wang, 202 F.3d 1340,

  1349-50 (Fed. Cir. 2000) (teaching away “finding alone can defeat”

  nonobviousness).         Furthermore,       the   other   evidence     at   trial,

  including      Regeneron’s     objective      evidence    of    nonobviousness,

  demonstrated that the inventions claimed in the Product Patent

  were not obvious.

                  i.       The Defendants are limited to their disclosed
                           obviousness combinations

        As an initial matter, the Court rejects any attempt by the

  Defendants to rely on reference combinations never disclosed in

  discovery, or prior art that was never disclosed at all, consistent

  with the Court’s ruling during trial. Tr. 796:14-797:6 (precluding

  obviousness opinion as to Fraser, Dix, and Lucentis); see ECF Nos.

  529, 540.      As the Court explained, “the Federal Circuit has been

  abundantly clear . . . that when we’re talking about obviousness,

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  the   specific prior art needs to be identified and then                    an

  explanation needs to be identified in the expert disclosures,” Tr.

  996:16-997:1; the Court will not “tie . . . together” reference

  combinations    that   the    Defendants    themselves    did     not   timely

  disclose, Tr. 1075:17-22.      See Innogenetics, N.V. v. Abbott Labs.,

  512 F.3d 1363, 1373 (Fed. Cir. 2008); ActiveVideo Networks, Inc.

  v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1327-28 (Fed. Cir. 2012)

  (deeming obviousness opinion insufficient where expert “failed to

  explain   how    specific    references     could   be    combined,      which

  combination(s) of elements in specific references would yield a

  predictable result, or how any specific combination would operate

  or read on the asserted claims”); Changzhou Kaidi Elec. Co. v.

  Okin Am., Inc., 112 F. Supp. 3d 330, 334 (D. Md. 2015) (excluding

  expert opinion asserting “previously undisclosed combinations of

  those same prior art references,” enforcing rules requiring the

  defendants to identify expressly “any combinations of prior art

  showing obviousness”); see also S. States Rack & Fixture, Inc. v.

  Sherwin-Williams Co., 318 F.3d 592, 596 (4th Cir. 2003).

        When the Defendants sought to rely on another undisclosed

  combination     (Lucentis    and    Liu),   the   Court   again    sustained

  Regeneron’s objection.       Tr. 1045:23-1048:7, 1074:20-1075:22.         And

  just as trial was not the place for new obviousness theories and

  combinations, the Court rejects any effort by the Defendants to

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  circumvent the Courts’ rulings at trial by relying on undisclosed

  references, combinations, or prior art theories in their post-

  trial briefing, as set forth below.

                         a)    Avery

        The Court concludes that the Defendants did not disclose

  during discovery any obviousness theory relying on Avery (DTX-

  2264) to provide a motivation either to use a larger molecule for

  intravitreal injection or to use a higher concentration. The Court

  excludes any such theory.        Even if the Court did consider it,

  however, it would not change the Court’s rulings in favor of

  Regeneron as to the Product Patent.

                         b)    “Background” References

        In addition, the Court notes that several of the references

  the Defendants cite as “Background” reflect Regeneron’s own work

  published less than a year before Regeneron’s asserted June 16,

  2006 priority date of the Product Patent.        See DTX-4957 (Regeneron

  Form 10-K for fiscal year 2005); DTX-216 (internal Regeneron

  discussion dated March 21, 2006 regarding conference abstract).

  The Defendants did not disclose these references during discovery

  or pursuant to their statutory obligation under 35 U.S.C. § 282 as




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  relevant prior art to the Product Patent, which precluded their

  use at trial.

                         c)    Ferrara 2005

        Dr.   Rabinow   also   offered    testimony   regarding   a   separate

  Ferrara reference (“Ferrara 2005,” DTX-4041) concerning a Phase 3

  ranibizumab study.     Tr. 1031:3-6 (Rabinow).      Regeneron objected to

  this line of testimony as outside the scope of Dr. Rabinow’s

  report. Id. Regeneron explained that Dr. Rabinow never identified

  Ferrara 2005 as a prior art reference or discussed it in detail.

  Tr. 1031:08-1032:18 (Rabinow).          Dr. Rabinow discussed forty-six

  references in the background of his opening report, see generally

  PTX-55 (Rabinow Opening Report) ¶¶ 96-176, but the Ferrara 2005

  reference is not identified there.             He then identified four

  combinations of certain of those prior art references that he

  asserted against Regeneron’s claims.         Again, these did not include

  Ferrara 2005.     PTX-55 ¶ 180.        Dr. Rabinow mentions Ferrara 2005

  just twice in his “tutorial” about “VEGF Antagonists.”               PTX-55

  ¶¶ 67-68.

        The Defendants suggest that Dr. Rabinow can opine about the

  Ferrara 2005 reference because he referred generally to the results

  of Lucentis clinical trials published in other articles in his

  report. However, Dr. Rabinow did so only with respect to different


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  references concerning ranibizumab, not Ferrara 2005. That does

  not suffice to disclose an expert opinion under Rule 26. An expert

  cannot testify about obviousness based on a prior art reference

  that was not previously disclosed under Federal Rule of Civil

  Procedure 26.       See Innogenetics, 512 F.3d at 1373; ActiveVideo

  Networks, 694 F.3d at 1327-28; Changzhou Kaidi Elec. Co., 112 F.

  Supp. 3d at 334.         Thus, the Court will not consider Dr. Rabinow’s

  testimony about the Ferrara 2005 reference as prior art.                              Tr.

  1031:3-16    (Rabinow).             Even    if    the    Court    did    consider    this

  reference,    however,         it   would    not    change       the    Court’s   rulings

  Regeneron as to the Product Patent.

                                d)    Rudge

          Relatedly, the Court concludes that the Defendants did not

  meet their burden of proving that the Rudge reference (DTX-3592)

  is prior art to the Product Patent.                     Rudge’s publication date is

  unclear     from        the    record.      Regeneron          asserts     Dr.    Rabinow

  acknowledged       on    cross      examination         that    Rudge    cited    “papers

  published after the June 16, 2006 priority date.”                          Tr. 1147:11-

  15.     Although the reference lists a copyright date of 2005, Dr.

  Rabinow agreed that it was “confusing” how a reference could both

  be published in 2005 yet cite to publications from after June 16,

  2006.    Tr. 1147:18-1148:3.          The Defendants assert that this attack


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  is unwarranted because Dr. Rabinow explained that the fact that

  the Rudge paper has a publication date of 2005, but includes

  citations to references in 2006 is not surprising, because often

  versions of papers or abstracts are released online earlier than

  their     official    publication   dates.      (Tr.    1141:7-1143:11-15

  (Rabinow)).    And, most of the citations Regeneron pointed to were

  expressly identified as ARVO e-abstracts. (See, e.g., Tr. 1142:12-

  16; DTX 3592.5 (Brown citation of “IOVS 2006. 47: ARVO E-Abstract

  2963”); DTX 3592.6 (Heier citation of “IOVS. 2006. 47: ARVO E-

  Abstract 2959”)). In view of this conflicting evidence, the Court

  concludes the Defendants did not meet their burden of showing by

  clear and convincing evidence that Rudge is prior art.          Sandt, 264

  F.3d at 1350.        Even if the Court did consider this reference,

  however, it would not change the Court’s rulings in favor of

  Regeneron as to the Product Patent.

                ii.       Fraser and Lucentis

          The Defendants’ first obviousness argument relies on the

  combination of Fraser (DTX-729) and “Lucentis,” i.e., Gaudreault

  (PTX-1839) and Shams (DTX-726).           The Defendants argue that the

  POSA would have been motivated to replace the ranibizumab in either

  of the Lucentis references with aflibercept, which the Defendants

  contend was disclosed in Fraser.


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        As an initial matter, the Court disagrees with the Defendants

  that the POSA would necessarily have been motivated to replace one

  drug in a formulation with another in its class.           The Defendants

  cite Richardson-Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1483-84

  (Fed. Cir. 1997) and Senju Pharm. Co. v. Lupin Ltd., 780 F.3d 1337,

  1347 (Fed. Cir. 2015), but neither case stands for the “general

  proposition that a skilled artisan would always be motivated to

  try later generation compounds in an old composition.”              Apotex

  Inc. v. Wyeth LLC, 657 F. App’x 998, 1003 (Fed. Cir. 2016)

  (addressing Senju).     Richardson-Vicks did not address formulations

  at all, but rather involved claims to a combination of two known

  drugs that the Federal Circuit concluded would have been obvious

  to combine based on the facts of the case.         122 F.3d at 1480-84.

        Likewise, Senju (as the Federal Circuit confirmed in Apotex)

  also turned on the factual record in that case and the close

  structural similarity of the claimed compounds in the formulations

  of the prior art and the claims.          780 F.3d at 1346-47.      In the

  particular context relevant here, Dr. Trout explained that the

  POSA would not just substitute one protein formulation for another,

  Tr. 2148:3-14; see Tr. 453:10-18 (Furfine) (explaining “[t]hat’s

  not how we do formulation discovery”).           Furthermore, Dr. Trout

  explained that fusion proteins are fundamentally different from

  antibodies in that fusion proteins are synthetic molecules made by

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  humans, while antibodies have evolved over time to be stable.                  Tr.

  2013:14-17, 2014:21-2015:16; see also PTX-1835 (Fast) at 15 (“In

  comparison      with   native     IgG     proteins,      wherein      interdomain

  interactions      presumably      have        evolved    to    provide       mutual

  stabilization,     fusion      proteins        may    lack    such    stabilizing

  interdomain stabilization.”); Tr. 448:1-6, 456:6-9 (Furfine).

                          a)      Lucentis taught away from 40 mg/ml of a
                                  VEGF antagonist

        A reference teaches away where a POSA “upon reading the

  reference, would be discouraged from following the path set out in

  the reference, or would be led in a direction divergent from the

  path that was taken in the claim.”             AstraZeneca v. Mylan, 19 F.4th

  at 1337 (quoting Meiresonne v. Google, Inc., 849 F.3d 1379, 1382

  (Fed. Cir. 2017)).       Here, the prior art taught away from the

  claimed concentration of 40 mg/ml of glycosylated aflibercept.

  Specifically, the prior art both taught against “following the

  path set out in the reference,” (using a 40 mg/ml formulation of

  a VEGF antagonist in an ophthalmic formulation) and “led [the POSA]

  in a direction divergent from the path that was taken in the claim”

  (40 mg/ml of aflibercept). AstraZeneca v. Mylan, 19 F.4th at 1337.

  Dr.   Trout’s     testimony     was     that    the     “moderate     to    severe”

  inflammation     exhibited      after    administration        with    40    mg/ml

  ranibizumab taught away from using 40 mg/ml aflibercept.                       Tr.

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  2040:10-2041:10, 2041:22-2043:2, 2045:8-11 (Trout).     Dr. Trout

  explained that the inflammation persisted for seven days and was

  “problematic from an immune response standpoint” and thus “would

  teach the [POSA] away from the 40 mg/ml.”            Tr. 2041:1-10.       In

  contrast, the 10 mg/ml ranibizumab formulation did not exhibit

  such levels of inflammation, and the authors found that this lower

  “dose provides maximum inhibition of VEGF.”          Tr. 2041:22-2042:9;

  PTX-1839 at 7.    Dr. Trout’s analysis of Gaudreault was unrebutted

  by Dr. Rabinow, and is “conclusive” of teaching away.            Raytheon,

  993 F.3d at 1382 (“unrebutted evidence” on issue was “conclusive”);

  Imperium, 757 F. App’x at 978-79 (no reasonable basis to reject

  opinion of expert whose “testimony was not contradicted”).

        Moreover, it was undisputed that aflibercept was much more

  potent than ranibizumab.        Tr. 2042:13-17 (Trout); Tr. 114:1-25

  (Yancopoulos).    Because of its higher potency, less aflibercept is

  needed   to   inhibit   the   same   amount   of   VEGF   as   compared   to

  ranibizumab.     Critically, Gaudreault found that only 10 mg/ml of

  ranibizumab resulted in “maximum inhibition of VEGF,” PTX-1839 at

  7, and Dr. Trout explained that the POSA would have been motivated

  to use a concentration of aflibercept lower than the 10 mg/ml

  ranibizumab in view of aflibercept’s higher potency and the greater

  risk of aggregation caused by a higher concentration, Tr. 2042:18-

  2043:2, 2044:5-22 (Trout); PTX-1556 (Wang 2005) at 9.          Dr. Rabinow

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  again     offered no contrary testimony, thus undermining                the

  Defendants’ argument that a POSA would use 40 mg/ml aflibercept.

  See Raytheon, 993 F.3d at 1382; Imperium, 757 F. App’x at 978-79.

  Thus, the Defendants have failed to point to any motivation in the

  prior art to use a 40 mg/ml formulation of aflibercept.

          The Court is mindful that “the fact that there may be reasons

  a skilled artisan would prefer one [option] over the other does

  not amount to a teaching away from the lesser preferred but still

  workable option.”       Bayer Pharma AG v. Watson Labs., Inc., 874 F.3d

  1316, 1327 (Fed. Cir. 2017).           The unrebutted evidence at trial,

  however, demonstrated that the POSA would not have viewed the

  40 mg/ml formulation merely as an inferior or unpreferred but

  nonetheless suitable option.       To the contrary, the POSA would have

  been discouraged from the “path set out in” Gaudreault regarding

  a 40 mg/ml formulation, because it produced a problematic immune

  response without providing any advantage in VEGF inhibition, and

  because    the   POSA   would   have   considered   fusion   proteins   like

  aflibercept to have a higher risk of generating an immune response.

  AstraZeneca v. Mylan, 19 F.4th at 1337; Tr. 2040:23-2041:5, 2043:8-

  2044:4 (Trout).

          Generating such an immune response would have been a fatal

  property for an ophthalmic formulation—as it was for Gaudreault’s

  40 mg/ml ranibizumab formulation, which undisputedly was never

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  developed further.      Tr. 2042:10-12 (Trout); Tr. 549:11-22

  (Furfine) (noting that Genentech “did not develop the 40 mg/ml

  formulation”).      Indeed, the evidence at trial was unequivocal that

  “moderate to severe” inflammation was an extremely concerning

  phenomenon for any intravitreal drug product to exhibit, as it

  could result in vision loss and thus defeat the purpose of using

  an ophthalmic drug product in the first place.                 See Tr. 468:1-

  470:7 (Furfine) (the inflammation in the 40 mg/ml Gaudreault

  formulation was “substantial and concerning” and “unacceptable”);

  Tr. 549:1-2 (Furfine) (“[R]epeated moderate to severe inflammation

  might cause vision loss.”); Tr. 115:16-20 (“[M]any drugs in this

  space     have     failed     because     they’ve     caused   what’s    called

  inflammation or other side effects leading to actual blindness.

  So the cure can be worse than the disease if you inject something

  that     can     almost     immediately    cause     blindness.”),      125:2-21

  (Yancopoulos); Tr. 861:1-5 (Albini) (agreeing that “significant

  intraocular inflammation” occurred with a drug called abicipar,

  which then “did not make it to the market”).

          There was nothing in the prior art that would have pointed a

  POSA to the 40 mg/ml concentration absent hindsight in working

  backwards from the claimed invention.               Thus, the Court concludes

  Gaudreault’s teachings with respect to the 40 mg/ml concentration

  of a VEGF antagonist meet the standard for teaching away.                   See

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  Crocs, Inc. v. ITC, 598 F.3d 1294, 1308-09 (Fed. Cir. 2010)

  (finding teach away where prior art taught claimed material was

  “unsuitable”); Millennium, 862 F.3d at 1366-67 (holding that prior

  art taught away from modification where it “would have been

  unattractive to a person of ordinary skill for fear of disturbing

  the chemical properties whereby bortezomib functions effectively

  as an anti-cancer agent”); AstraZeneca v. Mylan, 19 F.4th at 1337

  (prior art taught away where district court held that reference

  “cut against the very goal a [POSA] would have been trying to

  achieve—a stable product with a consistent dose”).

          The Defendants criticize the Product Patent on the basis that

  it “provides no additional motivation to overcome” the problems

  the prior art taught regarding high concentrations, citing Merck

  & Co., Inc. v. Teva Pharm., 395 F.3d 1364, 1373-74 (Fed. Cir.

  2005).     Defs.’ Opening Br. 27.       But the disclosure of the Product

  Patent’s specification is not prior art; it is irrelevant to the

  motivation of the POSA and whether that prior art taught away from

  the invention.     The role of the specification is not to review the

  prior     art’s   failures   or   its    teachings   against   the   claimed

  invention, but rather to “disclose[] and teach[]” the invention

  and inform the POSA how to make and use it.            Ariad, 598 F.3d at

  1347.



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        There is no requirement for a patent to point out each

  instance where it deviates from the prior art, as the obviousness

  analysis forecloses reading the prior art through the lens of the

  patent with the benefit of hindsight.             Sanofi-Aventis U.S., LLC v.

  Dr. Reddy’s Labs., 933 F.3d 1367, 1375 (Fed. Cir. 2019); ATD Corp.

  v.   Lydall,    Inc.,    159   F.3d   534,     546    (Fed.    Cir.   1998).        The

  Defendants’ cited portions of Merck                  have nothing to do with

  teaching away or the POSA’s motivation, but rather with differences

  between the prior art and the claims.                395 F.3d at 1373-74.

        Similarly,        the    Federal      Circuit      has     explained      that

  “‘[t]eaching away’ does not require that the prior art foresaw the

  specific invention that was later made, and warned against taking

  that path.”      Spectralytics v. Cordis, 649 F.3d 1336, 1343 (Fed.

  Cir. 2011).       What ultimately matters is whether the POSA, upon

  reading the prior art, would have been taught against taking the

  approach required by the claimed invention.               AstraZeneca v. Mylan,

  19 F.4th at 1337.       And here, the unrebutted testimony demonstrated

  that the POSA would have been taught against using 40 mg/ml

  aflibercept.

        Likewise, the Court rejects the Defendants’ suggestion that

  the claims were required to recite explicitly the properties

  related   to    pharmacokinetics      and      inflammation     in    order    to   be

  relevant.      The teaching-away analysis focuses on the motivation of

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  the POSA, without hindsight knowledge of the invention. And as

  the Federal Circuit has explained, that analysis may properly

  consider an “unclaimed feature” if it is relevant to the POSA’s

  motivation to modify or combine the prior art to make the claimed

  invention.    Chemours Co. FC v. Daikin Indus., Ltd., 4 F.4th 1370,

  1377 (Fed. Cir. 2021).      In AstraZeneca v. Mylan, for example, the

  prior art at issue contained data on formulations which displayed

  “drug adhesion” to the dispensing device and the POSA accordingly

  would have understood those formulations “were not suitable” and

  “clearly   don’t   work.”      19   F.4th    at   1336.    Because   those

  formulations were similar to those claimed in the patent at issue

  and would have led the POSA away from making them, the Federal

  Circuit concluded that the prior art formulations showing drug

  adhesion taught away, id., even though the claims did not recite

  anything about drug adhesion, id. at 1328; see also Chemours, 4

  F.4th at 1377 (prior art’s teachings to a POSA regarding “unclaimed

  feature” of “molecular weight distribution” precluded motivation

  to combine); Institute Pasteur, 738 F.3d at 1345-46 (Board erred

  by not considering toxicity of proposed combination even though

  claims did not require viability or level of toxicity); cf.

  Genetics Inst., LLC v. Novartis Vaccines & Diagnostics, 655 F.3d

  1291, 1307 (Fed. Cir. 2011) (“Our case law is clear that the

  structure of a claimed compound and its properties are inseparable

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  for purposes of § 103.”). Here, the asserted claims of the Product

  Patent require an aflibercept concentration of 40 mg/ml, and the

  evidence at trial showed that Gaudreault’s inflammation result

  would have discouraged the POSA from making a 40 mg/ml composition.

  As in AstraZeneca v. Mylan, Institut Pasteur, and Chemours, that

  teaching is relevant (and here, dispositive) even though the claims

  do not recite inflammation levels.

          The Court concludes that Gaudreault’s teaching away from a 40

  mg/ml concentration “on its own is sufficient to sustain the

  nonobviousness” of the claims.       AstraZeneca v. Mylan, 19 F.4th at

  1336; see Winner, 202 F.3d at 1349-50 (teaching away “finding alone

  can defeat” nonobviousness).      The Court nonetheless analyzes below

  the     remaining   issues    between     the   parties   pertaining     to

  obviousness.

                         b)     Fraser did not motivate the POSA to make
                                a 40 mg/ml formulation
          There is no dispute that Fraser disclosed a composition having

  24.3 mg/ml of a VEGF Trap that was used to investigate ovarian

  functions in monkeys.        DTX-729 at 1-2.    Dr. Rabinow agreed that

  “Fraser says not one word about injecting its formulation into the

  eye.”     Tr. 1103:1-3.     He nonetheless offered testimony that the

  POSA would have converted Fraser’s 24.3 mg/ml concentration for

  intravenous injection for ovarian function in monkeys into the 40

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  mg/ml concentration in the claimed ophthalmic formulations for

  intravitreal injection in humans.         Tr. 1067:2-1068:15.    The Court

  does not find Dr. Rabinow’s testimony credible as his chain of

  inferences appear to be driven entirely by hindsight and to lack

  any support in the prior art’s teachings or the knowledge of the

  POSA,    and   the   Court   likewise   rejects   the   Defendants’   other

  arguments pertaining to the 40 mg/ml limitation, for the reasons

  discussed above.      Because the claimed subject matter “as a whole”

  must have been obvious, 35 U.S.C. § 103(a), and the Defendants

  have failed to establish by clear and convincing evidence that the

  40 mg/ml concentration would have been obvious, the Defendants’

  obviousness challenge fails.       E.g., Univ. of Strathclyde v. Clear-

  Vu Lighting LLC, 17 F.4th 155, 165-66 (Fed. Cir. 2021).

                          c)    The art did not motivate using a protein
                                as large as glycosylated aflibercept
          The obviousness inquiry does not merely ask whether a skilled

  artisan could combine the references, but instead asks whether

  “they would have been motivated to do so.”              Adidas AG v. Nike,

  Inc., 963 F.3d 1355, 1359 (Fed. Cir. 2020) (quoting InTouch Techs.,

  Inc. v. VGO Commc’ns, Inc., 751 F.3d 1327, 1352 (Fed. Cir. 2014));

  Cyclobenzaprine, 676 F.3d at 1068-69.          The Court concludes that

  the prior art would not have motivated the POSA to use a large




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  molecule like aflibercept because it would have been considered

  too large to reach the retina and exert a therapeutic effect.

        Gaudreault           taught     specifically        that   “penetration         of

  ranibizumab into the retina is critical for its clinical use” and

  that ranibizumab’s “ability [to penetrate the retina] has been

  attributed to the small molecule size” of ranibizumab.                        PTX-1839

  at 2, 6; Tr. 2026:2-2028:24 (Trout).                    Furthermore, Gaudreault’s

  teachings were consistent with the scientific literature, which

  taught that proteins larger than 77 kDa would not penetrate the

  retina.         Tr. 2028:25-2031:3; PTX-576 at 8 (Ghate) (the retina’s

  “internal limiting membrane” was “impermeable to . . . globular

  molecules > 70 kDa”); PTX-1842 at 1 (Jackson) (“The [retinal

  exclusion limit] in human tissue was 76.5 ± 1.5 kDa.”); PTX-1757

  (Daly)     ¶ 48     (the    smaller       46    kDa   “mini-trap”    had    “optimized

  characteristics for local/intra-vitreal delivery” and “has the

  ability to penetrate through the inner-limiting membrane (ILM) in

  the eye, and diffuse through the vitreous to the retina/retinal

  pigment epithelial (RPE) layer which will help to treat retinal

  disease”).

        As    for     Fraser,    that       reference     undisputedly       provides   no

  teachings regarding intravitreal use of VEGF Trap and thus provides

  no motivation either.          Because it was known that the protein later

  known      as    aflibercept        had    a    molecular   weight     of    115   kDa,

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  substantially greater than the retinal exclusion limit, the POSA

  would not have been motivated to use aflibercept in an ophthalmic

  formulation.         The     overwhelming       weight    of    the   evidence   thus

  demonstrated that the POSA would not have been motivated to combine

  Fraser and Lucentis with a reasonable expectation of success to

  achieve     the    claimed       compositions,    which    require     the   specific

  aflibercept protein that is also glycosylated in an ophthalmic

  formulation.       Adidas, 963 F.3d at 1359; see St. Jude Med., LLC v.

  Synders Heart Valve LLC, 977 F.3d 1232, 1242-43 (Fed. Cir. 2020).

                              d)      The combination fails to teach multiple
                                      claimed limitations

       Claim 1 — aflibercept amino acid sequence and glycosylation
  requirement

        The combination of Fraser and Lucentis fails to teach several

  limitations of the claims.                Neither Fraser nor the Lucentis

  publications teach the specific claimed amino acid sequence, i.e.,

  amino acids 27-457 of SEQ ID NO:4.               Nor did the Defendants advance

  any persuasive reason to select that sequence from among the

  several others known in the prior art. Tr. 2018:7-2022:16 (Trout);

  PTX-3619A.        The combination’s failure to teach these limitations

  weighs strongly against obviousness.

        Dr.    Rabinow       relied    on   inherency       for   the   glycosylation

  limitation, but failed to provide any evidence that aflibercept is

  necessarily glycosylated.            Tr. 1044:13-19.       As the Federal Circuit
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  has explained, “[i]nherency . . . may not be established by

  probabilities or possibilities. The mere fact that a certain thing

  may result from a given set of circumstances is not sufficient.”

  PAR Pharm., Inc. v. TWI Pharm., Inc., 773 F.3d 1186, 1194 (Fed.

  Cir. 2014) (quoting In re Oelrich, 666 F.2d 578, 581 (C.C.P.A.

  1981) (emphasis added).        The prior art provides numerous examples

  of    nonglycosylated   proteins,    such    as   ranibizumab,   DTX-726    at

  31:34, and nonglycosylated fusion proteins, such as mini-Trap,

  PTX-1757 (Daly) ¶ 48.     Furthermore, Dr. Trout explained that even

  if    a   protein   contains    amino      acid   sequences   that   may    be

  glycosylated, a given protein may not be glycosylated. Tr. 2023:9-

  2025:23.     Dr. Trout’s testimony was supported by the scientific

  literature, see PTX-1773 (Sinclair) at 2, and Dr. Rabinow did not

  offer any contrary testimony.       Thus, the Defendants failed to meet

  the “high standard” for proving inherency.           PAR, 773 F.3d at 1195-

  96.

         Nor did the Defendants provide any reason to make the claimed

  fusion protein glycosylated.        The Defendants, as “a party seeking

  to invalidate a patent as obvious[,] must demonstrate by clear and

  convincing evidence that a skilled artisan would have had reason

  to combine the teaching of the prior art references to achieve the

  claimed invention.”      Cyclobenzaprine, 676 F.3d at 1068-69.             The

  Defendants did not meet that burden.          Dr. Rabinow did not advance

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  any motivation to glycosylate aflibercept. Dr. Trout explained

  that the POSA would have sought to use nonglycosylated aflibercept,

  because glycosylation increases size and thus decreases retinal

  penetration.    Tr. 2022:20-2023:2, 2028:16-24, 2035:3-2036:24.            Dr.

  Rabinow did not dispute this testimony and did not establish any

  affirmative reason why the POSA would want to increase molecular

  size via glycosylation.

        Claim 1 — 98% native conformation

        Each of the asserted claims requires that “at least 98% of

  the VEGF antagonist is present in native conformation following

  storage at 5° C. for two months as measured by size exclusion

  chromatography.”       The Defendants bear the burden not only of

  showing a motivation to combine the references to achieve the

  claimed   invention,    but   also   of    “a   reasonable   expectation   of

  success” in achieving the claimed invention.           Endo Pharm. Inc. v.

  Actavis LLC, 922 F.3d 1365, 1377-78 (Fed. Cir. 2019).             The Court

  finds that the Defendants have not shown a reasonable expectation

  of success in achieving the 98% native conformation limitation.

  The Defendants’ argument is based on Dr. Rabinow’s unsupported

  theory that formulations in a clinical trial would have 98% native

  conformation as claimed.        The Court finds that the Defendants’

  assertion is unsupported by the prior art and that the Defendants



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  did not meet their burden in showing a reasonable expectation of

  success.

         Nonetheless, even if all formulations in a clinical trial,

  such as the formulation disclosed in Shams, did have 98% native

  confirmation, Dr. Rabinow agreed that “[j]ust because one protein

  has a given native conformation at a specific condition, the [POSA]

  wouldn’t expect that a different protein will have the same native

  conformation at that condition.”          Tr. 1156:20-24.       The higher

  required concentration of aflibercept compared to the ranibizumab

  in Shams and aflibercept’s identity as a fusion protein undermine

  any reasonable expectation of success.        It was undisputed at trial

  that    higher   protein    concentrations    increase    the    risk   for

  instability, and the claimed concentration of aflibercept (40

  mg/ml) is four times higher than the 10 mg/ml concentration of

  ranibizumab in Shams.      Tr. 2049:21-2050:21 (Trout); PTX-1556 (Wang

  2005) at 7, 9.    Thus, the Court finds that the POSA would not have

  had a reasonable expectation that the claimed formulations would

  have 98% native conformation in view of the Lucentis publications.

         Furthermore, Dr. Trout explained that because fusion proteins

  are synthetic “Frankenstein” molecules that, unlike antibodies,

  did not evolve to possess inherent stability, the POSA would expect

  fusion proteins like aflibercept to have lower stability than

  antibodies (or antibody fragments like ranibizumab).         Tr. 2068:18-

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  2069:7.     Dr. Trout’s explanation draws support in the scientific

  literature, PTX-1835 (Fast) at 15; Tr. 2014:21-2015:16 (Trout),

  and Dr. Rabinow did not offer any rebuttal.            The Court thus finds

  that the Defendants did not demonstrate a reasonable expectation

  of success.    Endo, 922 F.3d at 1377-78.

        Claim 4 — polysorbate 20 concentration

        Claim 4 of the Product Patent requires that “said organic co-

  solvent comprises about 0.03% to about 0.1% polysorbate 20.”               The

  references in the Defendants’ combination disclose three different

  concentrations     of     polysorbate   20:        Fraser,    a   preclinical

  investigation of how intravenous administration of a VEGF Trap

  molecule    affects     ovarian   function    in   monkeys,   describes   0.1%

  polysorbate 20, DTX-729 at 2; Gaudreault, a preclinical study of

  intravitreal    ranibizumab       disclosed    a   composition    with    0.05%

  polysorbate 20, PTX-1839 at 2; and Shams, directed to a clinical

  trial of ranibizumab, disclosed 0.01% polysorbate 20, DTX-726 at

  31:27-32.

        Despite offering testimony that more clinically advanced

  formulations would be more stable, Tr. 1031:7-16, Dr. Rabinow’s

  conclusion of obviousness appears to assume that the POSA would

  not seek to use the 0.01% polysorbate 20 concentration in Shams,

  but rather would use the concentration from Fraser or Gaudreault.

  Dr. Rabinow did not offer any reason in the prior art’s teachings

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  to prefer the polysorbate 20 concentration of Fraser or Gaudreault

  over the polysorbate 20 concentration contemplated for clinical

  use in Shams.

          Dr. Trout, in contrast, considered Shams’ teaching alongside

  Fraser and Gaudreault, and testified that if the POSA were to

  choose a polysorbate 20 concentration based on these references,

  the POSA would select the concentration in Shams, which is outside

  the scope of Claim 4, because it was the most clinically advanced.

  Tr. 2046:18-2047:13, 2048:5-2049:9.          In view of the prior art’s

  teachings and the trial record, the Court finds that the POSA would

  not have been motivated to select the polysorbate 20 concentration

  in Fraser or Gaudreault.      Dr. Rabinow’s approach is emblematic of

  hindsight, which is not permitted in the obviousness analysis.

  Sanofi-Aventis, 933 F.3d at 1375 (rejecting attempt to “chart[] a

  path to the claimed compound by hindsight”).

        Claim 9—pH

        Claim 1 of the Product Patent, PTX-2, recites “a buffer,” and

  claim 9 recites “wherein said buffer comprises a pH about 6.2-

  6.3.”     As with the polysorbate 20 concentration, the Defendants’

  prior art combination teaches three different pH values:            6.0 in

  Fraser, DTX-729 at 2; 5.0 in Gaudreault, PTX-1839 at 2; and 5.5 in

  Shams, DTX-726, 31:27-32.        Dr. Trout gave unrebutted testimony

  that neither Gaudreault’s 5.0 or Sham’s 5.5 taught to use a pH of

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  “about 6.2-6.3.” Tr. 2052:4-8. Dr. Rabinow, in contrast, did not

  establish any motivation to select the pH from Fraser, the only pH

  that arguably would fall within the claimed range.                 The Court thus

  concludes that the Defendants did not meet their burden to use a

  pH of “about 6.2-6.3” as required by claim 9.

          For the reasons discussed, the Court concludes that the

  Defendants have failed to establish that the combination of Fraser

  and Lucentis render the Product Patent obvious.

                  iii.       Fraser and Liu

                             a)      The POSA would not have been motivated to
                                     combine Fraser and Liu
          The Court holds that the Defendants did not establish a

  motivation to combine Fraser and Liu.                The Defendants argue that

  Fraser, a study on the effect of VEGF Trap on ovarian function in

  monkeys, used a VEGF antagonist concentration (24.3 mg/ml) higher

  than Lucentis (6 or 10 mg/ml), so the POSA would consult Liu to

  “optimize” Fraser’s formulation.                Even if the evidence supported

  this    leap,    neither    reference     provides       any   motivation   to   use

  aflibercept intravitreally. As Dr. Trout explained, the POSA would

  not have turned to Fraser’s study on ovarian function using

  intravenous administration of a VEGF Trap and combined it with

  Liu’s    disclosure,       which      addresses    the    viscosity   of    certain

  antibody    formulations        and    “doesn’t    have   anything    to    do   with

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  aflibercept or anything related,” to make the claimed ophthalmic

  formulations of aflibercept.          Tr. 2060:23-2061:2, 2062:20-25; see

  Adidas, 963 F.3d at 1359 (“Fundamental differences between the

  references are central to this motivation to combine inquiry.”).

          Even if the POSA did consider Liu’s teachings in making an

  intravitreal formulation, the Court finds that the POSA would have

  heeded    Liu’s    teachings     regarding    viscosity       and    used   a   lower

  concentration of protein.          Liu taught that “[a]ntibodies tend to

  form viscous solutions at high concentration” and that sugars can

  further increase viscosity.          DTX-730 ¶ 6.          Dr. Trout, along with

  Dr. Furfine and Dr. Graham, explained that high viscosity would be

  especially problematic for intravitreal injections because it

  leads    to    “very    long   injection    times”    and    even    can    make   the

  formulation unusable, which would be exacerbated by the high amount

  of sugar already in Fraser’s formulation.              Tr. 2066:2-21 (Trout);

  see also Tr. 573:3-8 (Furfine); Tr. 1687:23-1688:21 (Graham).

  Thus, Liu would not have motivated the POSA to increase Fraser’s

  VEGF Trap concentration, because such increase would increase

  viscosity, which would have been particularly problematic for a

  formulation for intravitreal injection.              See Henny Penny Corp. v.

  Frymaster LLC, 938 F.3d 1324, 1331-32 (Fed. Cir. 2019) (the cited

  prior    art    “must    be    considered    for     all    its     teachings,     not

  selectively.”).          Dr. Rabinow did not address Liu’s viscosity

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  teachings. Dr. Trout’s and the inventors’ unrebutted testimony,

  which are consistent with Liu’s express teachings, weigh strongly

  against a lack of motivation to combine.                  Imperium, 757 F. App’x

  at 978-79; Raytheon, 993 F.3d at 1382.

        The    Defendants      invoke    precedent      directed       to   overlapping

  ranges to meet the 40 mg/ml limitation, but neither reference

  discloses     the    relevant      range   pertinent      to   the    claims,    i.e.,

  aflibercept concentration.            The overlapping range cases may be

  invoked     “when    the    only   difference      from     the   prior    art   is   a

  difference in the range or value of a particular variable.”                      In re

  Kumar, 418 F.3d 1361, 1366 (Fed. Cir. 2005).                   Where, as here, the

  prior art ranges have nothing to do with the “particular variable”

  claimed (aflibercept concentration), and instead are directed to

  different range—i.e., Liu’s concentrations of completely different

  proteins with no relevance to VEGF, DTX-730 ¶¶ 279-80; Tr. 2065:7-

  22—the range law is inapposite.                  Pharmacyclics LLC v. Alvogen,

  Inc., 2022 WL 16943006, at *9 (Fed. Cir. Nov. 15, 2022) (not

  applying range law where “there are additional differences between

  the   prior    art    and     [the    claim]”);      Teva      Pharm.     v.   Corcept

  Therapeutics, 18 F.4th 1377, 1382-83 (Fed. Cir. 2021) (range law

  did not apply where POSA would not expect claimed value and prior

  art range to behave same way); ModernaTx v. Arbutus Biopharma, 18

  F.4th 1364, 1374 (Fed. Cir. 2021). Regardless, even if applicable,

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  any presumption of obviousness based on optimizing within a range

  is   rebutted   by   “teaching    away,      unexpected   results,       or   other

  pertinent evidence of nonobviousness.”             DuPont v. Synvina C.V.,

  904 F.3d 996, 1006 (Fed. Cir. 2018); Allergan, 796 F.3d at 1305

  (concluding     presumption      was   rebutted    by     teaching     away    and

  unexpected results).         Gaudreault’s teaching away and the other

  objective evidence of nonobviousness (discussed below) rebut any

  presumption here.

                          b)    Fraser and Liu do not teach multiple
                                claim limitations

        As   described    above     regarding      the    Fraser   and     Lucentis

  combination, Fraser does not teach the aflibercept sequence or its

  glycosylation.       And Liu is undisputedly not directed to VEGF

  antagonists and does not disclose any sequences of such proteins,

  including aflibercept.        Tr. 1151:22-24 (Rabinow); Tr. 2063:1-18

  (Trout).      The    combination’s     failure    to    teach    these    claimed

  limitations weighs strongly against obviousness.

        The Defendants rely on Liu for the 98% native conformation

  limitation, but Liu did not teach that formulations of aflibercept

  (or any other fusion proteins) would have 98% native conformation.

  Dr. Rabinow acknowledged that Liu described antibodies, not fusion

  proteins, and did not disclose any stability data for aflibercept

  or any other VEGF antagonist.             Tr. 1152:20-1154:23 (Rabinow).


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  Crucially, both sides’ experts agreed that “different proteins

  have different propensities for aggregation.”           Tr. 1155:25-1156:2

  (Rabinow); Tr. 2068:5-2069:7 (Trout).          Dr. Rabinow agreed that

  “[j]ust because one protein has a given native conformation at a

  specific condition, the [POSA] wouldn’t expect that a different

  protein will have the same native conformation at that condition.”

  Tr. 1156:20-24.      And Dr. Trout explained, without rebuttal, that

  the POSA would have expected fusion proteins like aflibercept to

  be   less   stable    than   antibodies,   since    fusion   proteins   are

  “Frankenstein molecule[s]” that did not evolve like antibodies to

  possess inherent stability.         Tr. 2068:18-2069:7; see PTX-1835

  (Fast) at 15 (“fusion proteins may lack” the natural “interdomain

  interactions”        that    have   “evolved       to    provide    mutual

  stabilization”); Tr. 2014:21-2015:16, 2015:11-16 (Trout).          In view

  of this evidence, which the Court credits, the Court finds that

  the Defendants failed to demonstrate the requisite reasonable

  expectation of success.      Endo, 922 F.3d at 1373.

        For the reasons discussed, the Court concludes that the

  Defendants have failed to establish that the combination of Fraser

  and Liu render the Product Patent obvious.




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               iv.     Dix

        The parties spend significant portions of their post-trial

  filings disputing the proper priority date of the Product Patent

  and, in turn, whether Dix ’226 qualifies as a prior art reference.

  But the Court need not resolve these issues to get to the heart of

  the matter.       For the reasons that follow, the Court finds that

  even if Dix ’226 is prior art, it does not render the Product

  Patent obvious.

        Dix ’226 fails to render obvious the asserted claims for

  reasons similar to those explained above in connection with the

  Court’s analysis of anticipation in light of Dix ’226.            Dix ’226

  undisputedly did not disclose, suggest, or contemplate ophthalmic

  formulations or intravitreal injections.         Tr. 2072:18-20 (Trout);

  Tr. 1124:9-11, 1125:7-16 (Rabinow).          Although Dix disclosed the

  range of 10-50 mg/ml of a VEGF antagonist, it disclosed no 40 mg/ml

  formulation, did not teach to use 40 mg/ml of the specific protein

  claimed, and provided no guidance as to whether any formulations

  in that range would be preferable for intravitreal use.            DTX-13,

  2:20-30.    As discussed above, the Court finds that the 40 mg/ml

  “pre-lyophilized solution” was not an ophthalmic formulation or

  intended    for    injection,    but   rather    was   a   “manufacturing

  intermediate” that the POSA would not have been motivated to use

  or have any expectation of success with regard to the 98% native

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  conformation limitation. Tr. 2077:1-16 (Trout). Furthermore, the

  Court’s findings regarding objective evidence apply equally to the

  Defendants’    obviousness       case     over    Dix    ’226.       Gaudreault

  undisputedly    taught    away    from    using    a    40   mg/ml   ophthalmic

  formulation, as described above, and the POSA would thus have been

  discouraged from using the 40 mg/ml concentration claimed in the

  Product Patent and would instead have used a lower concentration

  within the Dix ’226 range.        Tr. 2072:25-2073:18 (Trout).

        Thus, the Defendants have failed to establish that Dix ’226

  alone renders the asserted claims obvious.

                 v.        Objective Evidence of Nonobviousness

        At   trial,    Regeneron     presented       objective      evidence   of

  nonobviousness relevant to the Product Patent:                   teaching away,

  unexpected results, industry skepticism, and copying.                 Objective

  evidence “may often be the most probative and cogent evidence in

  the record,” Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530,

  1538 (Fed. Cir. 1983), as it “guard[s] against slipping into use

  of hindsight” and “the temptation to read into the prior art the

  teachings of the invention at issue,” Apple, 839 F.3d at 1052

  (quoting Graham, 383 U.S. at 36).             Here, the objective evidence

  strongly supports nonobviousness.




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        Along with refuting the requisite motivation, AstraZeneca v.

  Mylan, 19 F.4th at 1335, evidence of teaching away constitutes

  objective evidence of nonobviousness.         Ecolochem, Inc. v. S. Cal.

  Edison Co., 227 F.3d 1361, 1379 (Fed. Cir. 2000) (considering

  teaching away as objective evidence); Monarch Knitting Machinery

  Corp. v. Sulzer Morat GmbH, 139 F.3d 877, 885 (Fed. Cir. 1998)

  (same).   As described above, the prior art taught away from using

  a 40 mg/ml concentration of a VEGF antagonist.

        Unexpected    properties     are    present   where   “the        claimed

  invention exhibits some superior property or advantage” that a

  POSA “would have found surprising or unexpected.”               Procter &

  Gamble, 566 F.3d at 994.       Here, the unexpected properties of the

  claimed 40 mg/ml aflibercept compositions compared to the “closest

  prior art,” the 40 mg/ml ranibizumab formulation in Gaudreault,

  strongly support nonobviousness.          Millennium, 862 F.3d at 1368.

  The   Defendants   did   not   dispute    that   Gaudreault’s      40    mg/ml

  formulation was the closest prior art.

        The Court finds that Eylea’s unexpected properties are well

  supported in the scientific literature.7         Eylea is undisputedly an


  7 At trial, Dr. Rabinow testified that Eylea’s properties were not
  unexpected because it was known that certain VEGF Trap molecules
  had strong binding affinity for VEGF.        Tr. 1093:1-25.    The
  Defendants forfeited this argument by not citing or discussing it
  in their Opening Post-Trial Brief.     See Vanda Pharms., Inc. v.
  Teva Pharms. USA, Inc., 2022 WL 17593282, at *12 n.1 (D. Del. Dec.
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  embodiment of the claims, as it contains 40 mg/ml of glycosylated

  aflibercept, a buffer (pshosphate), a stabilizing agent (sucrose),

  0.03%   polysorbate     20,     and    meets   the      98%   native   conformation

  limitation.      PTX-2, 9:20-44 (example 3); Tr. 2083:8-25 (Trout).

  The   Court   finds     that    Eylea    demonstrated         three    critical   and

  unexpected properties:         comparable (1) safety and (2) efficacy to

  ranibizumab, along with (3) the durability to be dosed half as

  frequently as ranibizumab (after three loading doses for wet AMD).

  PTX-1155 (Thomas) at 4.          Extended dosing with Eylea was not only

  unexpected, but revolutionary, providing “immediate benefits to

  patients   who   have    a     difficult    time       with   intravitreal   dosage

  administration” for the first time.              Id.    The “captivating aspect”

  of aflibercept that made “bimonthly dosing” possible and “altered

  current regimens of monthly dosing” was its “extended half-life.”

  Id.; Tr. 2083:8-25, 2085:11-2086:5 (Trout).                   In contrast, the 40

  mg/ml   Gaudreault      formulation        led     to    “moderate      to   severe”

  inflammation, no increase in VEGF inhibition over 10 mg/ml, and

  was ultimately discarded. The Court finds that these “captivating”

  properties, which enabled a major change in the treatment of


  13, 2022), aff’d, 2023 WL 3335538 (Fed. Cir. May 10, 2023) (holding
  that a party “forfeited its right” to raise a specific argument
  “by not raising it in timely fashion” and “by the passing manner
  in which it raised the argument in its post-trial brief”). Even
  if not forfeited, the Court would not credit Dr. Rabinow’s
  testimony.
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  ophthalmic disease, were a “difference in kind” and not merely

  degree   as   compared   to   the   40    mg/ml   Gaudreault   formulation,

  Allergan, 796 F.3d at 1307.

        The Defendants contest whether there is an adequate “nexus”

  between Eylea’s unexpected properties and the claimed invention.

  However, the Court finds that Regeneron established a sufficient

  nexus between the claims and the unexpected properties.               Here,

  “there is a presumption of nexus for objective [evidence]” because

  Regeneron     showed   undisputedly      “that    the   asserted   objective

  evidence is tied to a specific product,” i.e., Eylea, “and that

  product is the invention disclosed and claimed in the patent.”

  WBIP, 829 F.3d at 1330 (quotation marks omitted); see Crocs, 598

  F.3d at 1311 (“Because the Commission found, based on substantial

  evidence, that Crocs shoes practice the ’858 patent and that the

  Crocs shoes were commercially successful, Crocs established a

  prima facie case of nexus.”).       As relevant here, “the patent owner

  can show that it is the claimed combination as a whole that serves

  as a nexus for the objective evidence.”           WBIP, 829 F.3d at 1330.

  That is what Regeneron did.      The record at trial demonstrated that

  the unexpected properties stemmed from the claimed compositions as

  a whole, including the 40 mg/ml aflibercept concentration.            As the

  Defendants stress, and all appear to agree, the aflibercept protein

  does contribute to the longer half-life of Eylea, PTX-1155 at 4,

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  but aflibercept’s concentration is also critical to its half-life.

  As Dr. Furfine explained, a key insight of the inventors was that

  “every time you double the concentration that you inject, you get

  an extra half-life.”       Tr. 473:2-15; see In re Sullivan, 498 F.3d

  at   1352   (considering       inventor    testimony     regarding      unexpected

  properties and holding that Board erred by not considering inventor

  declaration).    Dr. Furfine’s testimony explaining the relationship

  between the concentration and the half-life was unrebutted.                    Only

  with the higher 40 mg/ml concentration, resulting in a 2 mg dose,

  did Regeneron even attempt a bimonthly dosing regimen, as the trial

  record demonstrated unequivocally.                PTX-1155 at 4, Table 1; Tr.

  125:2-126:16,       135:7-23     (Yancopoulos).          Dr.    Trout     likewise

  explained    that    the    stability      of     the   claimed   compositions,

  including the required 98% native conformation, indicated to the

  POSA that the “there’s a relatively lower risk of inflammation.”

  Tr. 2170:5-21.      Thus, Regeneron demonstrated a nexus between the

  unexpected properties and the claimed compositions, none of which

  were disclosed in the prior art.

        The    Defendants     criticize       the     Product    Patent    for    not

  describing    Eylea’s      clinical       and   pharmacokinetic      properties.

  However, the law does not require the inventors to have appreciated

  that the Eylea composition they invented would become the success

  it is; “understanding of the full range of an invention is not

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  always achieved at the time of filing the patent application,” and

  unexpected properties need not be appreciated at the time of the

  invention.    Knoll Pharm. Co. v. Teva Pharm. USA, Inc., 367 F.3d

  1381, 1384-85 (Fed. Cir. 2004); Genetics Inst., 655 F.3d at 1307-

  08 (“[W]e have held that evidence of unexpected results may be

  used to rebut a case of prima facie obviousness even if that

  evidence was obtained after the patent’s filing or issue date.”

  (emphasis added) (collecting cases)).          The claimed compositions

  could have been among the many clinical failures Regeneron had

  experienced during its decades of existence.               Tr. 97:16-98:7

  (Yancopoulos).      But Eylea was not one of them.            The claimed

  composition — 40 mg/ml of aflibercept, with polysorbate 20, a

  buffer, and a stabilizing agent — instead became the leading

  medicine in its class and a revolutionary treatment for treating

  angiogenic   eye   disorders.      Tr.    1745:3-1746:16   (Graham);    Tr.

  151:16-24 (Yancopoulos).      Those results support nonobviousness.

        Regeneron also pointed to evidence of industry skepticism,

  which may also support nonobviousness.          WBIP, 829 F.3d at 1335

  (“If industry participants or skilled artisans are skeptical about

  whether or how a problem could be solved or the workability of the

  claimed solution, it favors non-obviousness. Doubt or disbelief by

  skilled artisans regarding the likely success of a combination or

  solution weighs against the notion that one would combine elements

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  in references to achieve the claimed invention.”).     Dr. Trout

  pointed to the teachings of Ferrara 2004 (PTX-1838), which taught

  the POSA that clinical use of fusion proteins like aflibercept

  “remains to be validated” and suggested that the “junctions between

  the various structural elements in such multi-component molecules

  can generate an immune response.”                PTX-1838 at 7.         Dr. Trout

  explained that the POSA would have heeded the warning of Ferrara

  2004, which was cited over 3,000 times by other authors.                        Tr.

  2080:4-2081:19 (Trout).         Specifically, Dr. Trout explained, “as a

  formulator,”    that    the     possibility    of    an    immune    response   “is

  foremost in our mind of concern or one of the things that are of

  foremost concern.”      Id.     Dr. Rabinow did not dispute the teachings

  of    Ferrara   2004.         The   skepticism      of    Ferrara    2004—directed

  specifically at the use of VEGF Trap fusion protein and expressing

  “[d]oubt . . . by skilled artisans regarding the likely success of

  a    combination   or   solution,”     WBIP,     829     F.3d   at   1335—supports

  nonobviousness.

         Dr. Trout also considered another Ferrara reference, Ferrara

  2006    (PTX-701),      and     offered   testimony         that     Ferrara    2006

  constituted industry skepticism of the claimed invention.                       Tr.

  2081:9-19.      For the reasons expressed above with respect to

  teaching away, the Court finds that the teachings of Ferrara 2006

  constitute further evidence of industry skepticism specifically

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  directed at intravitreal compositions comprising high molecular

  weight proteins such as VEGF Trap fusion proteins, and further

  support nonobviousness.      PTX-701 at 4; WBIP, 829 F.3d at 1335.

        Evidence of copying can also support nonobviousness, and has

  greater force when the infringer tries but fails to circumvent the

  claimed invention.     Depuy Spine v. Medtronic, 567 F.3d 1314, 1328–

  29 (Fed. Cir. 2009).         Regeneron presented evidence that the




                                                                          The

  Defendants’ copying of these aspects of the Eylea formulation

  supports   nonobviousness.       Depuy,   567   F.3d   at   1328–29.




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                                                                                   still

  weighs    in    favor       of   nonobviousness.          Copying     requires    only

  “substantial         similarity”        with      the    patented     product,     not

  identicality.         Medtronic, Inc. v. Teleflex Innovations S.a.r.l.,

  70 F.4th 1331, 1340–41 (Fed. Cir. 2023).

        Having        considered        the   Defendants’      asserted    prior     art

  combinations and all of the evidence, in addition to Regeneron’s

  arguments and objective evidence of nonobviousness, the Court

  concludes that the Defendants have failed to prove by clear and

  convincing evidence that the asserted claims of the Product Patent

  would have been obvious.

                 c.     The Product Patent is not invalid under § 112

        The Defendants raise three challenges under 35 U.S.C. § 112

  against the claims of the Product Patent.                   First, the Defendants

  assert that the term “suitable for intravitreal administration”

  recited    in       claim   1    is   invalid     as    indefinite.     Second,    the

  Defendants assert that the claims of the Product Patent lack

  written description, focusing largely on claim 1.                        Third, the

  Defendants assert that the claims of the Product Patent are not

  enabled, also focusing on claim 1’s limitations.                    Having reviewed

  the Defendants’ arguments and Plaintiff’s responses at trial, the


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  Court concludes that the Defendants have not met their burden of

  proving invalidity under § 112 for any claim of the Product Patent,

  either claim 1 on which they focus or the narrower dependent claims

  asserted at trial.

                  i.         The Asserted Claims are not Indefinite.

          Indefiniteness requires clear and convincing evidence to

  prove    that   the    POSA     could     not     understand    with       “reasonable

  certainty” what “suitable for intravitreal administration” means

  in the claims, despite the disclosure in the specification and the

  term’s    common     use   in      the   field.      Nautilus       Inc.    v.    Biosig

  Instruments, Inc., 572 U.S. 898, 901 (2014); see BASF, 875 F.3d at

  1365 (indefiniteness assesses claim language “when read in light

  of the specification”).              Courts have evaluated the claim term

  “suitable”—including          in     contexts      similar     to     this       one—and

  repeatedly concluded that this term is not indefinite.                      See, e.g.,

  Dey, L.P. v. Teva Parenteral Medicines, Inc., 2011 WL 2461888, at

  *3-7 (N.D.W. Va. June 17, 2011) (finding claim term “suitable for

  direct administration” not indefinite), aff’d, 600 F. App’x 773

  (Fed. Cir. 2015); Talecris Biotherapeutics, Inc. v. Baxter Int’l

  Inc., 510 F. Supp. 2d 356, 361 (D. Del. 2007) (finding claim term

  “suitable for intravenous administration” not indefinite); UCB,

  Inc. v. Accord Healthcare, Inc., 201 F. Supp. 3d 491, 545 (D. Del.


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  2016), aff’d, 890 F.3d 1313 (Fed. Cir. 2018) (finding claim term

  “suitable” not indefinite because the “record [was] devoid of any

  evidence that a POSA would need ‘clear guidelines’ or ‘explicit

  guidance’ or ‘the upper and lower limits’” to understand the term);

  In re Watson, 517 F.2d 465, 477 (C.C.P.A. 1975) (finding claim

  term “suitable” not indefinite); Panasonic Corp. v. Magna Int’l

  Inc., 2022 WL 625089, at *19 (W.D. Tex. Mar. 3, 2022) (same);

  Tecnomatic S.p.A v. ATOP S.p.A., 2021 WL 1410036, at *19 (E.D.

  Mich. Feb. 23, 2021), report and recommendation adopted , 2021 WL

  2309933 (E.D. Mich. June 7, 2021) (same); Copan Italia S.p.A. v.

  Puritan Med. Prod. Co. LLC, 2019 WL 5699078, at *8 (D. Me. Nov. 4,

  2019) (same); Sherwin-Williams Co. v. PPG Indus., Inc., 2018 WL

  3845239, at *7 (W.D. Pa. Aug. 13, 2018) (same); Phoenix Licensing,

  L.L.C. v. AAA Life Ins. Co., 2015 WL 3866832, at *7 (E.D. Tex.

  June 22, 2015) (same); A.L.M. Holding Co. v. Akzo Nobel Surface

  Chemistry LLC, 2014 WL 12927041, at *3 n.19 (D. Del. Nov. 5, 2014)

  (same).

        Both parties offered testimony demonstrating that the POSA

  understood the scope of the asserted claims, including the term

  “suitable for intravitreal administration.”             Dr. Rabinow had no

  difficulty     opining   which    formulations        were   “suitable   for

  intravitreal    administration”     in    asserting    obviousness.      Tr.

  1171:3-19 (Rabinow).      And Dr. MacMichael conceded that knowledge

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  about    “what formulations would be suitable for intravitreal

  administration” was “available in the literature,” then agreed

  that the POSA could also consult an ophthalmologist—although Dr.

  MacMichael      did    not    do     so    despite     opining   that   the   term   is

  indefinite.           Tr.    1519:7-18       (MacMichael).        Dr.   MacMichael’s

  criticism was not that the scope of the claims was unclear, but

  rather that the claims were “open-ended and broad.”                      Tr. 1520:3-

  1521:6.

          The testimony from both parties confirmed that the POSA would

  not      have    viewed        the        term     “suitable     for    intravitreal

  administration” as subjective.               Dr. Trout testified that “suitable

  for intravitreal injection” is not subjective; the POSA would

  assess suitability by looking “to the teachings of the patent,”

  which describe exemplary excipients, see PTX-2 at 4; and then, if

  needed, looking at “the literature” for suitable excipients with

  “structures that had been used in intravitreal administration” and

  consulting      an    ophthalmologist.             Tr.    2112:20-2113:7      (Trout).

  Unlike Dr. MacMichael, who cited no evidence in support of his

  opinion, Dr. Trout cited literature as to how the POSA would

  interpret “suitable for intravitreal administration” — literature

  illustrating that those of skill in the art use and understand

  this term. Tr. 2114:5-2115:23 (citing Chang, PTX-1832 at 16 (“[I]t

  is preferred to select excipients that have been used in marketed

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  products with a relevant route of delivery.”); Peyman, PTX-1758,

  3:26 at 4 (using the similar term “suitable for the treatment of

  ocular neovascularization”).

        The Defendants strain to find ambiguity where none exists—as

  their own experts’ testimony demonstrates.            Tr. 1171:3-19; BASF

  Corp. v. Johnson Matthey Inc., 875 F.3d 1360, 1368 (Fed. Cir. 2017)

  (expert’s repeated use of terms “implicitly confirms that the terms

  at issue are ones whose scope is understood with reasonable

  certainty” by POSA); Sonix Tech. v. Publ’ns Int’l, 844 F.3d 1370,

  1378-79 (Fed. Cir. 2017) (term not indefinite where expert has “no

  difficulty in applying it”).         And Dr. MacMichael conceded that

  knowledge     about   “what   formulations    would    be   suitable    for

  intravitreal administration” was “available in the literature,”

  then agreed that the POSA could also consult an ophthalmologist —

  which Dr. MacMichael never did, despite opining that the term is

  indefinite.     Tr. 1519:7-18.     Dr. MacMichael’s criticism was not

  that the scope of the claims was unclear, but rather that the

  claims were “open-ended and broad.”          Tr. 1520:3-1521:6.     But as

  the Federal Circuit and its predecessor court have confirmed

  repeatedly, “breadth is not indefiniteness.”           BASF, 875 F.3d at

  1367; SmithKline Beecham Corp. v. Apotex Corp., 403 F.3d 1331,

  1341 (Fed. Cir. 2005); In re Gardner, 427 F.2d 786, 788 (C.C.P.A.

  1970).

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          The Defendants’ attempted reliance on Dr. Furfine’s testimony

  is misplaced.       See Defs.’ Opening Br. 28.        The testimony they cite

  was directed to what was known “[b]efore [his] patent,” i.e.,

  without     its    guidance,       whereas     the   indefiniteness     analysis

  considers the meaning of a claim term in view of the patent’s

  specification.         Tr. 544:4-12 (Furfine).       The Court also disagrees

  with the Defendants’ suggestion that Dr. Trout’s opinions were

  inconsistent.          See Defs.’ Opening Br. 29.           Dr. Trout explained

  that the prior art did teach excipients suitable for intravitreal

  injection.        Tr. 2114:5-2115:23.          That does not imply, however,

  that the POSA would expect, based on the prior art without the

  patent’s disclosure and data, to succeed in obtaining a stable, 40

  mg/ml formulation of aflibercept with 98% native conformation as

  claimed in the Product Patent.

          Supported only by Dr. MacMichael’s conclusory opinion, the

  Defendants argue that “suitable for intravitreal administration”

  is “subjective.”         Tr. 1417:9-15, Defs.’ Opening Br. 28.           But the

  term     bears    no    resemblance      to    subjective    claim   terms    like

  “aesthetically pleasing,” which turn entirely on “the preferences

  of the particular user.”           Interval Licensing LLC v. AOL, Inc., 766

  F.3d 1364, 1371 (Fed. Cir. 2014); Defs.’ Opening Br. 28.                      The

  Defendants identified no circumstances where skilled artisans

  would     disagree       whether     a   formulation        was   “suitable    for

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  intravitreal injection” based on their subjective preferences.

  See, e.g., Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342,

  1346, 1350 (Fed. Cir. 2005) (terms indefinite where they depend

  solely      on     individuals’      “subjective      beliefs”);    Intellectual

  Ventures v. T-Mobile USA, 902 F.3d 1372, 1381 (Fed. Cir. 2018)

  (claims indefinite if they depend on “the unpredictable vagaries

  of any one person’s opinion”); NuVasive, Inc. v. Alphatec Holdings,

  Inc., 557 F. Supp. 3d 1069, 1076 (S.D. Cal. 2021) (finding claim

  term indefinite where the patentee’s expert “could only offer an

  opinion for himself” about the precise boundaries of the claim

  term and “did not feel he could comment for other[s]”); Cypress

  Lake Software, Inc. v. Samsung Elecs. Am., Inc., 382 F. Supp. 3d

  586, 610 (E.D. Tex. 2019) (finding claim term indefinite where the

  patentee’s expert conceded that “[d]ifferent people will have

  different        interpretations”     of    the    claim   term’s   boundaries);

  Prolifiq Software Inc. v. Veeva Sys. Inc., 2014 WL 3870016, at *7

  (N.D. Cal. Aug. 6, 2014) (in finding claim term indefinite, posing

  questions regarding claim boundaries and concluding that “[s]ome

  people would say yes to these questions, some would say no.”).

        Dr.        Trout   testified     that       “suitable   for   intravitreal

  injection” is not subjective; the POSA would assess suitability by

  looking “to the teachings of the patent,” which describe exemplary

  excipients, PTX-2, at 4 (2:39-48); and then, if needed, looking at

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  “the literature” for suitable excipients with “structures that had

  been   used    in   intravitreal    administration”       and    consulting    an

  ophthalmologist.      Tr. 2112:20-2113:7.       Unlike Dr. MacMichael, Dr.

  Trout cited literature as to how the POSA would interpret the term.

  See Tr. 2114:5-2115:23 (Trout) (citing Chang, PTX-1832 at 6 (“[I]t

  is preferred to select excipients that have been used in marketed

  products with a relevant route of delivery”); Peyman, PTX-1758 at

  4   (using     term    “suitable      for   the    treatment        of   ocular

  neovascularization”)).       The Court thus concludes that the term

  “suitable     for   intravitreal    injection”    meets    the    standard    for

  definiteness, which does not require “absolute or mathematical

  precision.”     See Biosig Instruments v. Nautilus, 783 F.3d 1374,

  1381 (Fed. Cir. 2015); see           Presidio Components v. Am. Tech.

  Ceramics, 875 F.3d 1369, 1376 (Fed. Cir. 2017) (claims definite

  where POSA would know “general approach” to ascertain whether claim

  term was met).

         The Defendants have therefore failed to establish that the

  Product Patent is invalid under § 112 as indefinite.




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                ii.     The Asserted Claims Do Not Lack Written
                        Description

         A patent satisfies the written description requirement if the

  specification “allows [the POSA] to visualize or recognize the

  identity of the subject matter purportedly described”; the patent

  need not contain “either examples or an actual reduction to

  practice.”     Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1308

  (Fed. Cir. 2015).       Further, the written description requirement

  does    not   require    that   the   specification    “describe      in   the

  specification every conceivable and possible future embodiment of

  [the] invention.”       Cordis Corp. v. Medtronic AVE, Inc., 339 F.3d

  1352, 1365 (Fed. Cir. 2003) (internal quotation omitted). Although

  the patent need not provide examples or demonstrate reduction to

  practice, the patent specification here provides both—including

  multiple formulations with different combinations of excipients

  and corresponding stability data (PTX-2 at 7-8 (Examples 1-6)) and

  lists of suitable excipients and amounts (PTX-2 at 4 (2:39-48)).

  Because the claims are drawn to a specific protein at a specific

  concentration with specific concentration ranges of polysorbate

  20, the Court holds that the specification allows the POSA “to

  visualize     or    recognize   the   identity   of   the   subject    matter

  purportedly described” and thus meets the written description

  requirement.       See Allergan, 796 F.3d at 1308.


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        Dr. Trout testified that each of the claim limitations in the

  Product Patent have “common structural features,” including the

  “very specific” VEGF antagonist and the categories of organic co-

  solvent,   buffer,     and    stabilizing          agent.      Tr.     2109:17-2110:3

  (Trout).     He further testified that these structures were well

  known in the art.      Tr. 2110:1-5.             Dr. MacMichael did not dispute

  this assertion, acknowledging that buffers and stabilizing agents

  are both “a known set of structures.” Tr. 1509:13-1510:9, 1511:14-

  23 (MacMichael).       Dr. MacMichael even identified the handful of

  buffers that the POSA would consider in a formulation. Tr. 1494:6-

  25 (MacMichael).

        Dr. Trout also testified that the POSA could recognize the

  formulations    that   were        claimed   in     the     Product    Patent,    could

  visualize the formulations within the claims, and could recognize

  from the specification that the inventors invented the claimed

  formulations.        Tr. 2110:11-19 (Trout).                 As for the specific

  disclosures    in    the   Product     Patent       that     allowed    the   POSA    to

  recognize these features, Dr. Trout pointed to the disclosure of

  column 2, lines 39 to 57, as well as each of the examples.                           Tr.

  2110:20-25     (Trout);      see    also     Tr.    2100:7-2104:20        (discussing

  disclosures     in    detail).         Those        disclosures        conveyed    what

  structures would fall within the scope of the claim, permitting

  the POSA to visualize the claimed formulations and to recognize

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  that the inventors invented and possessed what the Product Patent

  claims.       Tr. 2100:7-2104:19, 2110:20-25 (Trout).               He noted that

  all of the Product Patent’s examples have “at least 98 percent

  native conformation as measured by SEC after two months,” and all

  “meet the turbidity limitation of Claim 15.” Tr. 2111:4-9 (Trout).

          Following this analysis, Dr. Trout testified that the Product

  Patent provided “species or examples representative of the genus,”

  claimed       structures    rather    than     function,    and    thus      provided

  adequate written description for the asserted claims.                   Tr. 2111:1-

  21 (Trout). The Court credits Dr. Trout’s analysis and conclusion.

          The    Defendants    criticize       the   claims   for     reciting      the

  structural categories of “buffer” and “stabilizing agent” instead

  of specific chemical structures.             But Dr. MacMichael acknowledged

  that buffers were “a known set of structures,” Tr. 1509:13-1510:9,

  as   were     stabilizing    agents,     Tr.    1511:14-21,       and   he   readily

  identified the handful of buffers that the POSA would consider in

  a formulation, Tr. 1494:6-25.            The POSA therefore can “visualize

  or recognize” the claimed structures.                 Dr. Trout agreed that

  buffers and stabilizing agents were “structures well known in the

  art.”     Tr. 2110:1-5.      For such known classes of structures, the

  patent did not need to provide an exhaustive description to the

  POSA.     McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d 1091,

  1100 (Fed. Cir. 2020) (A “patent need not teach, and preferably

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  omits, what is well known in the art.” (quoting Spectra-Physics,

  Inc. v. Coherent, Inc., 827 F.2d 1524, 1534 (Fed. Cir. 1987));

  Erfindergemeinschaft UroPep GBR v. Eli Lilly & Co., 276 F. Supp.

  3d 629, 650 (E.D. Tex. 2017) (Bryson, J.) (patent did not need to

  describe “hundreds of” compounds already “known” and within the

  claims to satisfy written description), aff’d, 739 F. App’x 643

  (Fed.   Cir.      2018).           Rather,   patents   may   describe    such    known

  structures     through         a    “generalized   formula”    just     as   they    may

  describe more specific chemical structures.                   In re Driscoll, 562

  F.2d 1245, 1250 (C.C.P.A. 1977).

        Further,         a    patent    may    satisfy   the    written    description

  requirement       by       describing    “structural    features   common       to   the

  members of the genus so that one of skill in the art can ‘visualize

  or recognize’ the members of the genus.”                Ariad, 598 F.3d at 1350.

  Since the specification here identifies the common structural

  features     of    the        claimed    compositions—40      mg/ml     aflibercept,

  polysorbate 20, a buffer, and a stabilizing agent—and provides

  multiple examples thereof, it satisfies the written description

  requirement.       Alcon Rsch. v. Barr Labs., 745 F.3d 1180, 1190-91

  (Fed. Cir. 2014).              The claims did not need to exclude other

  embodiments to comport with § 112; “[i]t is not the function of

  claims to exclude . . . but to point out what the combination is.”

  In re Anderson, 471 F.2d 1237, 1242 (C.C.P.A. 1973).

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        The Court has considered the decision in AstraZeneca AB v.

  Mylan Pharm. Inc., 2022 WL 16857400 (N.D.W. Va. Nov. 9, 2022),

  which has since been vacated, No. 18-cv-193, ECF No. 625 (N.D.W.

  Va. Mar. 8, 2023) (“AstraZeneca v. Mylan 2022”).                           While the

  decision is not binding, the Court finds that the factual record

  in that case is inapposite to the one here.                    The AstraZeneca court

  found that although “the asserted claims contain common structural

  limitations[,]        .    .    .   there   is    no    correlation     between      such

  limitations and the functional stability requirement.”                         2022 WL

  16857400, at *21.              That was because the evidence in that case

  showed    the      “POSA   could     not    apply      [the]    information    [in    the

  specification]        to       predict     stable      formulations”     outside      the

  examples      as     the       structures    “interact         in   interrelated      and

  unpredictable ways.”             Id. at *13, 21 n.14.

        Here,     in    contrast,       the    evidence      demonstrated       that    the

  examples in the specification were predictive of the performance

  of formulations that were not exemplified in the patent. Regeneron

  pointed to several working examples of embodiments that were

  outside the disclosed examples (and the prior art) but nonetheless

  met the 98% native conformation and turbidity limitations of the

  claims.    Tr. 1729:11-1732:3 (Graham) (discussing PTX-2281 and PTX-

  2282, showing a formulation using mannitol instead of sucrose as

  a stabilizing agent, that met both limitations); 1732:4-1733:23

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  (Graham) (discussing PTX-2265, PTX-2266, and PTX-2267, showing a

  formulation with 0.06% polysorbate 20 that likewise met both the

  98%     native   conformation    and     turbidity     limitations).      The

  Defendants did not dispute these results, nor did the Defendants

  point to any formulation within the claims that did not achieve

  the claimed functional properties.           Thus, unlike in AstraZeneca,

  here there was a “correlation between structure and function” that

  informs the POSA which formulations possess the properties recited

  in the claims.     2022 WL 16857400, at *21; see Ariad, 598 F.3d at

  1350 (“correlation between structure and function” may satisfy

  written description requirement). Unlike in Ariad and its progeny,

  which involved claims to unlimited classes of molecules defined

  only by function, 598 F.3d at 1356; AbbVie Deutschland GmbH & Co.,

  KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1292 (Fed. Cir. 2014)

  (“The claims . . . at issue in these appeals define the claimed

  antibodies by their function.”), here the claims are limited to a

  specific protein molecule at a specific concentration along with

  other    known   structures     (a     buffer,     stabilizing   agent,   and

  polysorbate 20).      Just as in Alcon, the patent’s description of

  those compositions shows possession of the claimed invention and

  thus      satisfies     the     written          description     requirement,

  notwithstanding that “various formulation parameters, including

  osmolality and pH” may be selected when practicing the invention

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  (although notably, claim 9 does specify the pH as well). See 745

  F.3d at 1191.

        Furthermore, in contrast to the evidence in AstraZeneca v.

  Mylan 2022 that the structures “interact in interrelated and

  unpredictable ways,” 2022 WL 16857400, at *13, the evidence showed

  that the POSA would have pursued a more linear process that, the

  Defendants’ expert agreed, would not require making and testing

  each permutation of the structural elements of the claim, and that

  the POSA could use formulation design systems.          For example, the

  Kaisheva reference (DTX-3610) instructs that “[t]he formulation

  development approach is as follows: selecting the optimum solution

  pH, selecting buffer type and concentration, evaluating the effect

  of various excipients of the liquid and lyophilized stability, and

  optimizing the concentration of the screened excipients using an

  I-optimal experimental design.”        DTX-3610 ¶ 54.     Consistent with

  Kaisheva’s teachings, Dr. MacMichael and Dr. Trout agreed that the

  POSA would not need to make and test every possible formulation in

  order to practice the claims.         Tr. 1497:25-1499:9 (MacMichael)

  (explaining that by using available software packages, “design of

  experiments” or “DOE” “reduces the amount of work,” and “scientists

  would know that a DOE can be used to effectively reduce the number

  of variables that have to be looked at in an actual physical wet

  chemistry lab”); Tr. 2106:19-2108:4 (Trout) (agreeing that a POSA

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  would     use experimental design methods to reduce amount               of

  experimentation).

          Thus, the Court concludes that the Defendants have failed to

  demonstrate by clear and convincing evidence that the asserted

  claims of the Product Patent are invalid for lack of written

  description.

                 iii.      The Asserted Claims Do Not Lack Enablement

          The   Supreme   Court   recently   explained   that   although   “a

  specification may call for a reasonable amount of experimentation

  to make and use a patented invention,” it may not leave the POSA

  “forced to engage in ‘painstaking experimentation’ to see what

  works.”       Amgen Inc. v. Sanofi, 143 S. Ct. 1243, 1255-56 (2023).

  The Supreme Court’s reasoning is consistent with the Federal

  Circuit’s longstanding rubric inquiring whether making and using

  the claimed invention calls for “undue experimentation.”            Wands,

  858 F.3d at 736-37.

          During his testimony, Dr. Trout applied each of the Wands

  factors to the asserted claims of the Product Patent, supporting

  his conclusion that the claims are enabled because practicing the

  full scope of the claims requires only “routine experimentation,”

  not “undue experimentation.”       Tr. 2109:6-14 (Trout).




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        Dr. Trout first testified about the breadth of the claims,

  Wands factor 8.        He stated that the asserted claims are “narrow”

  rather than broad, because they claim “one specific biologic

  molecule   .   .   .    with   a       specific           sequence   ID”    at   just   one

  concentration      (40     mg/m),            in       a     vial     for     intravitreal

  administration, and further claim specific structural components

  including a buffer, stabilizing agent, and the organic co-solvent

  of polysorbate 20 within a “narrow range.”                           Tr. 2089:10-2090:4

  (Trout).   He also explained that the claim limitation reciting “98

  percent present in native conformation following storage at 5

  degrees Celsius for two months as measured by size-exclusion

  chromatography” is a narrowing limitation that removes suspensions

  and emulsions from the scope of the claims.                                Tr. 2090:16-24

  (Trout).     The Court finds that this factor weighs in favor of

  enablement.

        Regarding the nature of the invention, Wands factor 4, Dr.

  Trout testified that “the nature of the invention is . . . an

  ophthalmic     formulation         .     .        .   suitable       for     intravitreal

  administration, with the various formulation components, including

  the aflibercept and with the 98 percent native after two months

  storage at 5 degrees Celsius and all the rest of the specifics.”

  Tr. 2091:16-24.         The experts agreed that the patent does not

  disclose or claim novel ingredients and does not require using or

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  inventing novel ingredients to practice.       See Tr. 1493:2-10

  (MacMichael); Tr. 2125:15-20 (Trout).             The Court finds that this

  factor weighs in favor of enablement.

         Regarding the relative level of skill of the POSA, Wands

  factor 6, Dr. Trout testified that the level of skill was high—

  that is, the POSA “would be a professional with a master’s degree

  at least in a relevant field, so a technical field directly

  relevant to formulations here.”             Tr. 2092:6-17 (Trout).        Dr.

  MacMichael testified that the POSA would have an even higher level

  of skill: “at least a PhD in chemistry, chemical engineering,

  biochemistry, pharmacology, or a related field, along with one to

  two years of experience in the development and manufacture of

  formulations of therapeutic proteins or a lower degree with more

  practical     industrial      experience.”              Tr.    1372:25-1373:14

  (MacMichael).       The Court finds that this factor weighs in favor of

  enablement.

         Regarding the level of predictability of the art, Wands

  factor 7,     Dr.     MacMichael     notably      did    not    testify   that

  experimentation practicing the full scope of the claims would be

  unpredictable.        He did not identify any formulation with the

  claimed components that failed to meet the 98% native conformation

  limitation, and Dr. Trout testified that he was not aware of any

  such    formulation,     either,     see    Tr.    2091:25-2092:5     (Trout).

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  Further, in responding to Dr. MacMichael’s reliance on materials

  suggesting that developing a stable formulation was nonroutine or

  not straightforward, Dr. Trout testified that those materials were

  inapposite,      in    that     they    did    not        disclose      aflibercept

  formulations, whereas the Product Patent itself taught how to make

  stable aflibercept formulations.          Tr. 2092:25-2096:3 (Trout).              The

  Court finds that this factor weighs in favor of enablement.

        Regarding the specification’s guidance and working examples,

  Wands   factor   2,   Dr.     Trout    testified     as    to   the    “significant

  guidance” in the Product Patent. See Tr. 2096:4-22 (Trout).                         In

  particular,   Dr.     Trout    highlighted    the    patent’s         disclosure    of

  “known structures” as the claimed components, including an organic

  cosolvent such as polysorbate, polyethylene glycol, propylene

  glycol, or a combination thereof; a buffer such as phosphate and

  other known buffers that would achieve the disclosed pH range,

  such as succinate or histidine buffer; a stabilizing agent such as

  sucrose, sorbitol, glycerol, trehalose, or mannitol; and a pH range

  of 6.2 to 6.3.        Tr. 2096:7-2099:18 (Trout).               He also explained

  that “given the various formulations in the examples, if one

  encompasses the various structures that are described in the

  claims, one expects to meet the 98 percent limitation, or again

  the 99 under some circumstances with the different times.”                         Tr.

  2100:2-6 (Trout).      Dr. Trout provided further testimony explaining

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  specifically the relevance of guidance in Example 1, Tr. 2100:7-

  2103:18; Example 3,     2103:19-2014:7; and Example 5, 2104:8-2105:4.

  He also testified that Examples 4 and 6, which are “similar” to

  Examples 3 and 5 except that “they’re in prefilled syringes instead

  of vials,” are “important for a general understanding of how these

  formulations work too.”       Tr. 2105:5-17.       As for the lyophilized

  formulations    in   Examples    7   and     8,   Dr.   Trout   stated   that

  lyophilization is just “another way of making formulations” taught

  by the specification. Tr. 2090:5-13. He testified that this Wands

  factor thus favored enablement.            Tr. 2105:22-2106:1.    The Court

  agrees and finds that this factor weighs in favor of enablement.

        Regarding the state of the prior art, Wands factor 5, Dr.

  Trout testified that this factor weighed in favor of enablement

  because the prior art taught “how to substitute one excipient in

  a category, such as a stabilizing agent or buffer, for another,”

  in addition to teaching how to perform SEC and turbidity testing.

  Tr. 2106:2-15 (Trout).     The Court finds that this factor weighs in

  favor of enablement.

        Regarding quantity of experimentation, Wands factor 1, Dr.

  Trout testified that the steps of formulation development—which

  the Defendants’ experts had called a “design of experiments”

  approach—involve “selecting optimal solution pH, selecting buffer

  type, concentration of the buffer, evaluating the effect of various

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  excipients of the liquid and lyophilized stability, and optimizing

  the concentration of the screened excipients.”           Tr. 2106:23-2107:9

  (Trout);   see    also   DTX-3610     (Kaisheva)   ¶   54.   Based     on    this

  approach, Dr. Trout testified that the POSA would not need to test

  every possible combination of buffers and stabilizing agents in

  practicing    this    claim,”   but    would   instead   “test   the      various

  combinations and variations of those combinations as the ’865

  patent did and via experimental design as needed.”               Tr. 2107:10-

  14 (Trout).      The POSA would know to “use excipients that have the

  same    structures,      same   structural     characteristics       as     those

  discussed in the various categories in the patent,” Tr. 2107:20-

  2108:4, further reducing the quantity of experimentation needed to

  practice the claims.      Dr. MacMichael similarly testified that “the

  POSA could do a design of experiment” using available computer

  software to “show which variables are not getting you to the

  desired outcome,” which “reduces the amount of work” needed to

  practice the claims.       Tr. 1497:1-1499:12 (MacMichael).          The Court

  thus finds that it was not necessary to make and test every

  formulation within the claims in order to determine whether it

  would meet the 98% native conformation or turbidity limitations.

  The Court finds that this factor weighs in favor of enablement.

         Likewise, the Court finds that the scope of the claims is not

  directed substantially to inoperative embodiments.               Each of the

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  Product    Patent’s several examples meets both the 98% native

  conformation and the turbidity limitation.              And Regeneron pointed

  to several examples of embodiments that were outside the disclosed

  examples (and the prior art) but nonetheless met the 98% native

  conformation and turbidity limitations of the claims. Tr. 1729:11-

  1732:3    (Graham)     (discussing   PTX-2281     and   PTX-2282,     showing   a

  formulation using mannitol instead of sucrose as a stabilizing

  agent,    that   met     both    limitations);       1732:4-1733:23    (Graham)

  (discussing      PTX-2265,       PTX-2266,     and     PTX-2267,    showing     a

  formulation with 0.06% polysorbate 20 that likewise met both the

  98%   native     conformation      and     turbidity    limitations).         The

  Defendants did not dispute these results, nor did the Defendants

  point to any formulation within the claims that would require undue

  experimentation to make and use (when guided by the patent’s

  teachings) or that did not exhibit the claimed properties.

        Dr. Trout applied each of the Wands factors in turn and

  offered credible testimony concluding that practicing the asserted

  claims required only routine and not undue experimentation.                   Tr.

  2089:7-2109:14 (Trout); see Wands, 858 F.2d at 737.                 Critically,

  “it is imperative when attempting to prove lack of enablement to

  show that one of ordinary skill in the art would be unable to make

  the   claimed    invention      without   undue   experimentation.”       Johns

  Hopkins, 152 F.3d at 1360.         Here, however, the Defendants’ experts

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  repeatedly declined to support that undue experimentation would be

  necessary to practice the claims, let alone prove nonenablement by

  clear and convincing evidence.         While Dr. MacMichael also analyzed

  the asserted claims under these Wands factors, he repeatedly

  declined to offer the opinion that practicing the claims would

  require experimentation that rose to the level of “undue”—the

  longstanding requirement for non-enablement.                See Tr. 1483:17-

  1487:13,     1535:3-1536:12       (MacMichael).     The    Defendants’     other

  expert, Dr. Rabinow, agreed with Dr. Trout regarding enablement:

  “it wouldn’t require undue experimentation to make formulations

  falling within the scope of the asserted claims.”                 Tr. 1168:1-4

  (Rabinow).     The Court credits Dr. Trout’s (largely unrebutted)

  testimony and finds the asserted claims enabled.

          The claims recite specific structures, and the specification

  provides     significant    guidance     to   practice     the   claims,    with

  examples and lists of excipients and amounts to use, as Dr. Trout

  explained.     Tr. 2088:23-2106:1 (Trout).          Using this guidance and

  tools    for   automating     formulation     design,     Tr.    2106:19-2108:4

  (Trout),    Tr.   1497:1-1499:12      (MacMichael),       DTX-3610   (Kaisheva)

  ¶ 54, the POSA could practice the claims with minimal and routine—

  not undue—experimentation, Tr. 2109:6-14 (Trout).                “Such routine

  experimentation     does    not    constitute     undue   experimentation”—“a

  considerable amount of experimentation is permissible, if it is

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  merely routine, or if the specification in question provides a

  reasonable amount of guidance with respect to the direction in

  which     the      experimentation    should    proceed    to     enable        the

  determination of how to practice a desired embodiment of the

  claimed invention.”       Johns Hopkins, 152 F.3d at 1360 (quoting PPG,

  75 F.3d at 1564); Wands, 858 F.2d at 736-40.

          The Defendants argue that the claims cannot be both nonobvious

  and enabled and accuse Dr. Trout of inconsistency.                     The Court

  disagrees.         Dr. Trout correctly applied the legal standards:

  obviousness is determined “in view of the prior art” without the

  benefit    of   the    specification,     whereas   enablement    is    assessed

  “after reading the specification”; as a result, “there is no

  tension” in finding claims both nonobvious and enabled.                         See

  Allergan, 796 F.3d at 1310.           The Defendants’ articulation would

  collapse obviousness and enablement into two sides of the same

  inquiry as if the patent specification’s teachings did not exist—

  that is not the law.

          The Court likewise does not find persuasive the Defendants’

  citation to Regeneron’s statements made during prosecution.                      As

  Dr. Trout explained, Dr. Dix was not addressing, in prosecution,

  experimentation in view of the Product Patent’s teachings. Rather,

  Dr. Dix addressed, with respect to obviousness of a different

  patent,     that     “arriving   at   a   stable    formulation    is     not     a

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  straightforward matter and it is not, for instance, possible to

  apply a formulation for one drug to another.”         Tr. 2094:7-2095:3;

  DTX-4430 at 3-4.       Again, what matters for the enablement inquiry

  is what experimentation would be necessary “after reading the

  specification,” Allergan, 796 F.3d at 1310, and at that point the

  POSA would not be left with applying formulations from one drug to

  another because the patent describes how to formulate aflibercept—

  the molecule in the claims—with numerous examples and additional

  disclosures.     Tr. 2095:3-2096:3.

         The Court also concludes that AstraZeneca v. Mylan 2022 does

  not support the Defendants’ nonenablement arguments.               2022 WL

  16857400 (N.D. W.Va. Nov. 9, 2022).           While the decision is not

  binding on this Court, the Court nonetheless concludes that the

  factual record in that case is inapposite to the one here, for

  reasons similar to those above.         In the AstraZeneca v. Mylan 2022

  case     at   issue,   the   evidence     showed   that   “[d]ue   to   the

  unpredictability of the art and lack of prior art to inform a POSA

  about the interactions between the ingredients, a POSA would have

  to test an astronomical number of formulations.” 2022 WL 16857400,

  at *7.    That was because the formulation ingredients “interact in

  interrelated and unpredictable ways.”          Id. at *13.     That fatal

  aspect of practicing the claims in AstraZeneca was also the same

  as in the Federal Circuit’s Idenix case, the Supreme Court’s Amgen

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  case, and the Federal Circuit’s similar precedent: those cases

  premised their findings of non-enablement explicitly on the need

  for the POSA to make and test each compound or structure within

  structurally unlimited claims to determine whether it would work.

  Amgen, 143 S. Ct. at 1257 (specification “leave[s] [POSA] to

  ‘random trial-and-error discovery’”); Idenix Pharm. LLC v. Gilead

  Sci. Inc., 941 F.3d 1149, 1161 (Fed. Cir. 2019) (POSA had to

  “make[] and test[]” “each” of unlimited set of structures); Wyeth

  & Cordis Corp. v. Abbott Labs., 720 F.3d 1380, 1384-85 (Fed. Cir.

  2013)    (claims   purported   to    cover     “any   structural   analog”   of

  compound,    and   POSA   could     evaluate    claimed   function   only    by

  “synthesizing and screening each” compound); Pharm. Res., Inc. v.

  Roxane Labs., Inc., 253 F. App’x 26, 30 (Fed. Cir. 2007) (“a large

  part of the asserted claims’ scope is directed toward inoperative

  embodiments,” and experiments “evidence[d] numerous unsuccessful

  attempts . . . to practice subject matter within the scope of the

  claims”).

          Unlike in each of those cases, there is no such evidence of

  interactions among the various ingredients, necessitating making

  and testing an “astronomical” number of formulations at random,

  for the formulations claimed here.             The evidence showed that the

  POSA would have pursued a more linear process that would not

  require making and testing each permutation of the structural

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  elements of the claim, and that would have been aided                         by

  formulation design systems.        For example, the Kaisheva reference

  (DTX-3610) instructs that “[t]he formulation development approach

  is as follows: selecting the optimum solution pH, selecting buffer

  type     and   concentration,    evaluating    the      effect    of   various

  excipients of the liquid and lyophilized stability, and optimizing

  the concentration of the screened excipients using an I-optimal

  experimental design.”     DTX-3610, ¶ 54.     Consistent with Kaisheva’s

  teachings, Dr. MacMichael and Dr. Trout agreed that the POSA would

  not need to make and test every possible formulation in order to

  practice the claims.     Tr. 1497:25-1499:9 (MacMichael) (explaining

  that by using available software packages, “design of experiments”

  or “DOE” “reduces the amount of work,” and “scientists would know

  that a DOE can be used to effectively reduce the number of

  variables that have to be looked at in an actual physical wet

  chemistry lab”); Tr. 2106:19-2108:4 (Trout) (agreeing that POSA

  would    use   experimental     design   methods   to    reduce    amount     of

  experimentation).

          Furthermore, the AstraZeneca v. Mylan 2022 court found that

  making “embodiments outside the scope of the disclosed examples

  would    require   substantial    trial-and-error    testing.”         2022   WL

  16857400, at *17.     Here, however, the Defendants have not pointed

  to any experimentation that would be necessary to make and test

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  formulations outside the claims. Because the Defendants “failed

  to make the threshold showing that any experimentation is necessary

  to practice the [claims],” their enablement arguments fail. Alcon,

  745 F.3d at 1189; see McRO, Inc. v. Bandai Namco Games Am. Inc.,

  959 F.3d 1091, 1100 (Fed. Cir. 2020) (Defendants generally must

  make “concrete identification of at least some embodiment or

  embodiments asserted to be not enabled” so that claim “breadth is

  shown concretely and not just as an abstract possibility.”).

        In   contrast,   Regeneron     pointed     to   several   examples   of

  embodiments that were outside the disclosed examples (and the prior

  art) but nonetheless met the 98% native conformation and turbidity

  limitations     of   the   claims.         Tr.   1729:11-1732:3    (Graham)

  (discussing PTX-2281 and PTX-2282, showing a formulation using

  mannitol instead of sucrose as a stabilizing agent, that met both

  limitations); 1732:4-1733:23 (Graham) (discussing PTX-2265, PTX-

  2266, and PTX-2267, showing a formulation with 0.06% polysorbate

  20 that likewise met both the 98% native conformation and turbidity

  limitations).    The Defendants did not dispute these results, nor

  did the Defendants point to any formulation within the claims that

  would require undue experimentation to make and use (when guided

  by the patent’s teachings) or that did not exhibit the claimed

  properties.    Again, the Defendants thus failed to make a threshold



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  showing of nonenablement. Alcon, 745 F.3d at 1189; McRO, 959 F.3d

  at 1100.

        Similarly, the Defendants have not argued, let alone proven,

  that identifying formulations having the claimed structure (40

  mg/ml of glycosylated aflibercept and polysorbate 20 within the

  specified concentration range, plus a buffer and a stabilizing

  agent) that exhibit the claimed properties amounts to finding a

  “needle in a haystack” using trial-and-error experimentation with

  a significant number of failures.         AstraZeneca v. Mylan 2022, 2022

  WL 16857400, at *19 (discussing Idenix, 941 F.3d at 1162); Roxane,

  253 F. App’x at 30.     Unlike the “needle in a haystack” problem in

  Idenix, the experimental process here of identifying formulations

  having the claimed properties would be more akin to finding hay in

  a haystack.    Each of the examples in the Product Patent achieved

  both the 98% native conformation and the turbidity limitation.

  PTX-2, Examples 1-8.      And again, the Defendants did not point to

  any example of a formulation with the claimed structures that would

  not exhibit the claimed properties, whereas Dr. Graham pointed

  (without    rebuttal)     to   multiple      formulations    outside    the

  specification’s examples, but within the claims, that meet the

  claimed properties.     Alcon, 745 F.3d at 1189.

        The Court also concludes that the Supreme Court’s recent

  decision in Amgen Inc. v. Sanofi, 143 S. Ct. 1243 (2023) is readily

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  distinguishable.  There, the claims were entirely functionally

  defined—the Court explained that the patentee “seeks to monopolize

  an entire class of things defined by their function—every antibody

  that both binds to particular areas of the sweet spot of PCSK9 and

  blocks PCSK9 from binding to LDL receptors.”               143 S. Ct. at 1256.

  Here, in contrast, the claims are directed to formulations of a

  specific   protein    at   a    specific      concentration—not    “an   entire

  kingdom” of proteins.          The excipients recited in the claims are

  also structures:     categories for the buffer and stabilizing agent,

  and a specific substance (polysorbate 20) for the organic co-

  solvent.     Because the claims in Amgen were not limited to any

  particular    structure,       the    POSA    was   left   with   “painstaking

  experimentation to see what works,” id. at 1256-57 (quotation marks

  omitted), since “changing even one amino acid in the sequence can

  alter an antibody’s structure and function,” id. at 1249.                   For

  such claims, limited specifications “offer[] [the POSA] little

  more than advice to engage in ‘trial and error,’” and “the public

  does not receive its benefit of the bargain.”                 Id. at 1257-58.

  Those challenges associated with altering protein structure are

  irrelevant to practicing the claims here, which are limited to a

  particular amino acid sequence of aflibercept.                Cf. id. at 1250

  (noting that patents claiming a particular amino acid sequence

  were not at issue).        As described above, the Defendants did not

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  present any evidence or argument that varying the claimed excipient

  structures (all known in the art) would have engendered the kind

  of “painstaking experimentation” necessary in Amgen.               Id. at 1256-

  57.

         Thus, the Court concludes that the Defendants have failed to

  demonstrate by clear and convincing evidence that the asserted

  claims of the Product Patent are invalid for lack of enablement.


         4.    Invalidity of the Treatment Patents

                   i.       Dixon Does Not Anticipate Claim 6

         The   Defendants    cite   Dixon    (DTX-204)     as   an   anticipating

  reference.    It is undisputed that Dixon does not expressly discuss

  the concept of isotonicity, and thus fails to disclose expressly

  “all of the limitations claimed” and “all of the limitations

  arranged or combined in the same way as recited in the claim.”

  Net MoneyIN, 545 F.3d at 1371.       Instead, the Defendants argue that

  Dixon inherently anticipates Claim 6 on the ground that “the

  missing descriptive material is necessarily present, not merely

  probably or possibly present, in the prior art.”                   Trintec, 295

  F.3d at 1295. They that Dixon’s reference to “VEGF Trap-Eye” as

  “formulated with different buffers and at different concentrations

  (for   buffers    in   common)    suitable   for   the    comfortable,     non-

  irritating, direct injection into the eye,” only could have been


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  describing an isotonic solution.    DTX-204 at 3.   In support of

  this position, the Defendants’ clinical expert, Dr. Albini, relied

  on testimony offered by the Defendants’ formulation expert, Dr.

  Rabinow, as to what the POSA would have believed about this

  sentence.        See Tr. 828:12-830:17 (Albini); Tr. 1098:23-1100:7

  (Rabinow); DTX-204 at 3.

        There is insufficient evidence that the “isotonic” limitation

  of   claim   6    is   necessarily   present   in   Dixon’s   reference   to

  formulations “suitable for the comfortable, non-irritating, direct

  injection into the eye.”       DTX-204 at 3.

        The Defendants’ expert Dr. Rabinow did not rule out that a

  comfortable, non-irritating injection could be something other

  than isotonic. He testified that “[t]he eye is remarkably tolerant

  to hypertonic solutions” exceeding the range of osmolality or

  tonicity for isotonic solutions, Tr. 1174:6-8 (Rabinow), showing

  that even he recognizes that formulation of aflibercept for a

  “comfortable, non-irritating injection” need not necessarily be

  isotonic.    Evidence that a comfortable, non-irritating injection

  might be isotonic is not enough to meet the Defendants’ burden to

  show inherent anticipation, which “may not be established by

  probabilities or possibilities.”        Continental, 948 F.2d at 1269.

        Dr. Rabinow’s testimony on this issue lacked credibility,

  including because he failed to explain the scientific basis for

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  his opinions. Dr. Albini’s testimony — whether on his own behalf

  or by reliance on Dr. Rabinow — cannot fill this gap, because Dr.

  Albini admitted that he has no opinion regarding what “range

  outside of isotonicity you would or wouldn’t use to treat the eye.”

  Tr. 881:19-22 (Albini).             To the extent Dr. Albini purported to

  offer testimony without reliance on Dr. Rabinow about what the

  language in Dixon would have been understood to mean from a

  formulation perspective, the Court declines to credit it.                      Dr.

  Albini admitted he is “not a formulation expert,” and is “not an

  expert” in “the design of therapeutics” or “the importance of the

  isotonicity.”         Tr. 819:2-16, 823:9-14 (Albini).               He has “no”

  opinion regarding “what specific range outside of isotonicity you

  would or wouldn’t use to treat the eye.”                Tr. 881:19-22 (Albini).

  He acknowledged he was “definitely relying on” Dr. Rabinow for any

  opinion     on    formulation       issues,      Tr.    913:17-914:6      (Albini),

  including whether “aflibercept formulated for comfortable, non-

  irritating       injection    was    inherently        isotonic,”   Tr.   942:2-12

  (Albini).

        Indeed,      although    the        Defendants’    expert,    Dr.    Rabinow,

  initially maintained that a POSA would not have viewed a hypertonic

  formulation      as   suitable      for    intravitreal     administration,    Tr.

  1171:3-7 (Rabinow), when he was confronted by his prior statements

  during cross-examination, Tr. 1171:9-19, he agreed that “[t]he eye

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  is remarkably tolerant to hypertonic solutions,” Tr. 1173:6-1174:8

  (Rabinow), supporting the conclusion that an injection may be

  “comfortable and non-irritating” to the eye, yet not isotonic.

        The Defendants argue that Regeneron did not identify at trial

  “an   isotonic   aflibercept    formulation”    in   use   “that   was   not

  comfortable, and that did irritate the eye,” and therefore “Dixon

  anticipates.”     ECF No. 576 (Defs.’ Opening Post-Trial Brief) at

  10–11.   This not only impermissibly flips the burden of proof onto

  Regeneron to cite an example, but it also seeks the wrong type of

  example.    As a factual matter, the question is not whether there

  existed some irritating isotonic aflibercept formulations; the

  question is whether Dixon’s disclosure of a “comfortable and non-

  irritating” solution teaches that the aflibercept formulation

  necessarily must be isotonic.       The Court finds that Dixon did not

  necessarily describe an isotonic formulation, because there is

  evidence that ophthalmic formulations of aflibercept existed that

  were not isotonic, including the formulation disclosed in Example

  5 of the Product Patent, which was hypotonic (“below iso-osmolar”).

  Tr. 1721:11-1722:8 (Graham).      And there was no evidence that as of

  the priority date, the POSA would have had information about which

  of the formulations disclosed in the Product Patent—all described

  as “suitable for intravitreal administration,” PTX-2 at 2—were

  isotonic, or which, if any, of the formulations it disclosed was

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  being developed and used in the clinical studies. See Tr. 1742:4-

  1743:2 (Graham).

         The Court therefore does not credit Dr. Albini’s ultimate

  conclusion    that    Dixon    constitutes    an   anticipatory        reference.

  While that alone constitutes a failure of proof, the Court also

  credits the testimony of Plaintiff’s formulation expert Dr. Trout

  that   the   POSA    would    not   have   understood    Dixon    to    say   that

  aflibercept’s formulation necessarily and only would be isotonic.

  Tr. 2117:6-24 (Trout).

         The Court finds that the Defendants failed to demonstrate by

  clear and convincing evidence that all the limitations of claim 6

  were disclosed in Dixon.

                 ii.        Prior Art Renders Claim 6 Obvious

         The   Defendants      have   carried   their     burden,   however,      to

  demonstrate that claim 6 is rendered obvious by the combination of

  Dixon and Hecht.

         The Defendants relied on the testimony of Dr. Albini and Dr.

  Rabinow in forming its obviousness arguments regarding claim 6 of

  the ‘572 patent. The Defendants rely, generally, on the same prior

  art disclosures of Dixon for their obviousness arguments as they

  did for anticipation. For example, Dr. Albini testified that Dixon

  disclosed the claimed dosing regimen through its disclosure of 2.0



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  mg VEGF Trap-Eye administered “at an 8 week dosing interval

  (following three monthly doses).”               (Tr. 812:12-813:3 (Albini); DTX

  204.4).

          Dr.    Albini   also    deferred       to       the   expert    background   and

  testimony of Dr. Rabinow and his analysis of the Chemistry section

  of Dixon and the isotonic formulation limitation of claim 6. (See,

  e.g.,    Tr.    813:7-14,      819:5-8,    826:7-23,          914:1-6    (Albini);   DTX

  204.3).       This disclosure alone, based on what Dr. Albini learned

  from Dr. Rabinow, suggested to Dr. Albini that the formulation

  described in Dixon should be isotonic.                    (Tr. 828:12-19 (Albini)).

          However, Dr. Rabinow also testified that claim 6 of the ‘572

  patent as construed by this Court is obvious in view of the

  disclosures from the Dixon reference.                   (Tr. 1096:15-21 (Rabinow)).

  For example, Dr. Rabinow explained that a POSA reading Dixon would

  understand that the phrase “suitable for the comfortable, non-

  irritating direct injection into the eye” in Dixon would tell a

  POSA that the formulation should be isotonic.                    (Tr. 1098:9-1099:10

  (Rabinow)).

          Dr. Rabinow further relied upon the Hecht reference, (Tr.

  1096:23-1097:8 (Rabinow); see generally DTX 3588), which is an

  excerpt from Remington’s Pharmaceutical Sciences, a reference that

  the     asserted    patents      admit    is        a    “formulary     known   to   all

  pharmaceutical chemists” and contains “a multitude of appropriate

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  formulations.” (PTX 1.13 (5:55-58); PTX 3.16 (5:64-6:1).                     Hecht

  disclosed      that     ophthalmic       solutions     like    aflibercept      are

  formulated to be “sterile, isotonic, and buffered for stability

  and comfort,” and that for such formulations, “isotonicity always

  is desirable and particularly is important.”                       (Tr. 1097:9-22

  (Rabinow); DTX 3588.11, 13).              Dr. Rabinow explained that Hecht

  stresses     that      tonicity    is    a     “general    consideration”       that

  formulators must consider when formulating an ophthalmic solution.

  (Tr. 1097:23-8 (Rabinow); DTX 3588.11, 13).

        Dr.    Rabinow     likened     these     disclosures    in   Hecht   to   the

  disclosures of Dixon; notably, he stated that Hecht’s ophthalmic

  solution guidance was particularly relevant to the disclosure in

  Dixon describing the aflibercept solution as “formulated with

  different buffers and at different concentrations for buffers in

  common      suitable     for   the      comfortable,      nonirritating     direct

  injection into the eye.”                (Tr. 1098:11-1099:4 (Rabinow); DTX

  204.3).      Dr. Rabinow explained that this disclosure, given the

  guidance gleaned from Hecht, would signal to a POSA that the

  aflibercept formulation described in Dixon should be isotonic.

  (Tr. 1099:5-22 (Rabinow)).

        As with anticipation, Regeneron presented the testimony of

  Dr. Csaky and Dr. Trout to rebut the Defendants’ arguments.                     Dr.

  Csaky testified that Dixon does not expressly disclose an isotonic

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  formulation, and that any disclosure from Dixon would not be

  helpful    to    an   ophthalmologist      because      they   are   not   trained

  chemists.       (Tr. 1868:8-1869:6 (Csaky)).           Dr. Csaky also testified

  that the POSA would not have known the formulation of Eylea as of

  the date of Regeneron’s Phase 3 trials and the filing date of the

  dosing patents, nor could a POSA such as Dr. Albini or Dr. Csaky

  offer an opinion as to what range would qualify as outside the

  isotonicity limitation.            (Tr. 1869:11-13 (Csaky); see also Tr.

  881:19-22,      913:17-25   (Albini)).          On    cross-examination    of   Dr.

  Albini, he admitted that the full formulation for Eylea had not

  been   disclosed      to   the    public   in    an    identifiable   prior     art

  reference; however, Dr. Csaky did confirm that the isotonicity

  formulation component had been available as of November 2010. (Tr.

  915:17-20 (Albini); Tr. 1979:12-1981:1 (Csaky); DTX 917.1-2; DTX

  918.1).    Dr. Csaky further deferred to Dr. Trout, (Tr. 1956:17-19

  (Csaky)), who also testified that no prior art reference disclosed

  the aflibercept isotonic formulation limitation.                 (Tr. 2117:6-15

  (Trout)).

         With regard to Claim 6 the parties do not dispute that Dixon

  discloses the regimen.           The Court also agrees with the Defendants

  that the claimed isotonic solutions were obvious in view of the

  disclosures of Dixon and Hecht, as explained by Dr. Albini and Dr.

  Rabinow.

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        The record further shows that a POSA would have                had   a

  reasonable expectation of success at using the claimed regimens.

  First, the record shows that there already were regimens in the

  prior art that permitted 5 monthly injections followed by less

  frequent administration.      (See, e.g., DTX 2035.2-3; DTX 2730.22;

  DTX 3198.2).    With regard to claim 6, the record reflects that the

  VIEW Phase 3 regimen, which Regeneron does not dispute falls within

  the scope of claim 1, was disclosed in the prior art Dixon

  reference, among other references, and that the Phase 2 results,

  using an even less aggressive dosing strategy than the Phase 3

  regimen, resulted in significant improvement in visual acuity.

  (See DTX 204.4).

        Second, “[a] finding of a reasonable expectation of success

  does not require absolute predictability of success” at making the

  invention.     Almirall, LLC v. Amneal Pharms. LLC, 28 F.4th 265,

  275 (Fed. Cir. 2022); see also OSI Pharms., LLC v. Apotex Inc.,

  939 F.3d 1375, 1385 (Fed. Cir. 2019) (declining to hold that “data

  is always required for a reasonable expectation of success” or to

  require “absolute predictability of success”).         Dr. Csaky admitted

  that the claimed regimens showed some efficacy.             (Tr. 1822:23-

  1823:17 (Csaky)); see Hoffmann-La Roche Inc. v. Apotex Inc., 748

  F.3d 1326, 1331 (Fed. Cir. 2014) (“Conclusive proof of efficacy is

  not necessary to show obviousness.”).          Dr. Csaky also admitted

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  that aflibercept exhibited visual acuity gains in AMD using an

  even less aggressive dosing schedule than the Phase 3 schedule.

  (Tr. 1881:14-1882:20 (Csaky) (CLEAR-IT 2 had less loading doses

  and different design than VIEW trials); Tr. 1882:24-1883:7 (Csaky)

  (CLEAR-IT 2 clearly showed “activity” in terms of “effect on visual

  acuity”); Tr. 1974:25-1977:2 (Csaky) (positive results from CLEAR-

  IT 2); DTX 204.4-5).          Under this standard, the Court finds that

  the Defendants have shown a POSA would have had a reasonable

  expectation of success at using the treatment regimen in claim 6.

  The   Defendants’      expert    Dr.   Albini   testified    as   to   several

  references that reported visual acuity gains (though no such gains

  are required of the claims), including aflibercept references

  showing efficacy in DME patients with just a single intravitreal

  injection    or   in    the     related   AMD   indication   with      repeated

  intravitreal injections.         (Tr. 790:25-792:2 (Albini); DTX 3102.3

  (“The median improvement in BCVA was nine letters at 1 month and

  three letters at 6 weeks. . .”); see also DTX 204.3-4).             The record

  also reflects positive results obtained with the VEGF inhibitor

  ranibizumab in the treatment of both AMD and DME.            (See, e.g., DTX

  2733.1 (mean gain of eight (8) letters in DME); DTX 3089.1, 4 (8

  of 10 eyes showed visual acuity gains in DME); see also, e.g., DTX

  2034.1 (mean gain of 7.2 letters in AMD); DTX 3115.1 (mean visual



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  acuity improvement of 9.3 letters in AMD); DTX 4061.4 (various

  studies in AMD)).

         Third, the Defendants have shown that the differences, if

  any, between the prior art and the claimed dosing regimen, do not

  rise to the level of being nonobvious. Regeneron has not presented

  any evidence of differences between the prior art dosing regimens

  and the claimed regimens.

         The Court finds that the Defendants have demonstrated by clear

  and convincing evidence that claim 6 is obvious in light of Dixon

  and Hecht.     Based on this conclusion, the Court does not address

  the Defendants’ assertion that claim 6 is also invalid under §

  112.


               iii.      Prior Art Does Not Anticipate the DME Claims

         Claim 11 of the ’601 patent provides: A method for treating

  diabetic macular edema in a patient in need thereof, comprising

  intravitreally administering, to said patient, an effective amount

  of aflibercept which is 2 mg approximately every 4 weeks for the

  first 5 injections followed by 2 mg approximately once every 8

  weeks or once every 2 months, “wherein approximately every 4 weeks

  comprises approximately every 28 days or approximately monthly.”

  PTX-1 at 21.




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        Claim 25 of the ’572 patent provides: “A method of treating

  diabetic macular edema in a patient in need thereof comprising

  sequentially administering to the patient in a single initial dose

  of 2 mg of aflibercept, followed by one or more secondary doses of

  2 mg of aflibercept, followed by one or more tertiary doses of 2

  mg of aflibercept; wherein each secondary dose is administered to

  the   patient   by    intravitreal      injection   approximately       4    weeks

  following    the     immediately    preceding     dose;     and    wherein   each

  tertiary dose is administered to the patient by intravitreal

  injection     approximately     8    weeks     following     the     immediately

  preceding dose. The method of claim 15 wherein four secondary doses

  are administered to the patient.”           PTX-3 at 25.

        Both claims are directed to methods of treating patients with

  diabetic    macular    edema,   where    the    physician    administers     five

  loading doses of aflibercept at a 2 mg dosage level, approximately

  4 weeks or one month apart, followed by maintenance or extended

  fixed interval dosing approximately every 8 weeks or two months

  apart for the remainder of treatment.           While the claims do not use

  the phrase “loading doses,” the parties’ experts appeared to agree

  that this is the concept described in both claims.                  Tr. 297:24-

  299:17     (Csaky);    Tr.   862:22-863:14       (Albini);    Tr.     1287:10-14

  (Stewart); Tr. 1332:7-10 (Stewart).



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        The Court finds that the Defendants failed to demonstrate by

  clear and convincing evidence that the method of claim 11 and claim

  25 were disclosed by a single reference in the prior art.               Neither

  of the two references the Defendants offered as anticipatory—a

  September   14,   2009   Press    Release     that    describes      aspects   of

  Regeneron’s Phase 2 DA VINCI trial (DTX-3198) and an earlier

  Regeneron   patent   referred     to    as   the    ’747    patent   (DTX-2730)—

  discloses every limitation of claims 11 and 25, as the law of

  anticipation requires.

                               a)      September 14, 2009 Press Release

        The Defendants urge that the September 14, 2009 Press Release

  Regeneron issued concerning several of its ongoing clinical trials

  anticipates claims 11 and 25.          It does not.    The relevant language

  from the Press Release provides:

        VEGF Trap-Eye is also in Phase 2 development for the
        treatment of Diabetic Macular Edema (DME). VEGF Trap-
        Eye dosed at 0.5 mg or 2 mg monthly, 2 mg every eight
        weeks after three monthly loading doses, or 2mg on an
        as-needed (PRN) basis after three monthly loading doses
        is being compared to focal laser treatment, the current
        standard of care in DME.

  DTX-3198 at 2. This language describes regimens that contain three

  monthly loading doses, not five monthly loading doses, as the DME

  Claims require.

        The Defendants to not assert that the September 2009 Press

  Release   (DTX-3198)     literally      describes     the   claimed   treatment

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  regimen. Plainly, it does not, because it discloses three loading

  doses (not the claimed five) followed by a PRN dosing schedule

  (not the claimed fixed eight-week interval).           DTX-3198 at 2.    As

  such, the Press Release does not disclose every element of the

  claimed method, let alone those elements as arranged in the claimed

  method.   Net MoneyIN, 545 F.3d at 1369.

        Instead, the Defendants argue that the POSA “would easily

  envisage” the claimed regimen as one possible regimen that could

  result from the administration of three loading doses followed by

  PRN treatment.     They focus on the description of one arm of the

  Phase 2 DA VINCI trial where patients were being treated with 2.0

  mg of aflibercept for 3 initial loading doses, followed by PRN

  treatment.    They rely on Wm. Wrigley Jr. Co. v. Cadbury Adams USA

  LLC, 683 F.3d 1356, 1361 (Fed. Cir. 2012), to argue this disclosure

  is anticipatory because the POSA “would easily envision the rest

  of the regimen to include one option with 5 doses, separated by 4

  weeks, followed by an 8-week dose interval.”           ECF No. 576 at 14.

  In other words, the Defendants argue it is possible doctors

  following    the   regimen   described    in   the   Press   Release   would

  administer the three monthly loading doses described in the Press

  Release and then, for a given patient, just so happen to administer

  injections during the PRN phase in a pattern that matches that of

  the claimed regimen—(1) an injection at the first PRN visit, (2)

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  an injection at the second PRN visit, (3) no injection at the third

  PRN visit, and (4) an injection at the fourth PRN visit.                      The

  Defendants argue such a pattern of injections conforms to the

  claimed regimen because it equates to five monthly doses followed

  by a dose eight weeks later, as the asserted claims require.

          The Court disagrees; Wrigley is inapposite.             In Wrigley, a

  case about chewing gum containing a combination of WS-23 (a cooling

  agent) and menthol (a flavoring agent), the prior art reference

  “list[ed] several categories of components that can be included in

  the compositions.” Wrigley, 683 F.3d at 1360.             The Court held that

  the reference anticipated because it plainly “envision[ed] using

  WS-23    and   menthol   in   a   single     product”   and   “the   number    of

  categories and components in [the] reference was [not] so large

  that the combination of WS-23 and menthol would not be immediately

  apparent to one of ordinary skill in the art.”                Id. at 1361.     In

  other    words,   the    limitations    of    the    claims   themselves     were

  disclosed in the prior art reference.               That logic does not apply

  to the September 2009 Press Release, which does not disclose five

  loading doses and does not disclose various regimen components in

  a manner it suggests can be mixed and matched; it rather discloses

  a single regimen—three monthly loading doses followed by PRN

  dosing—that is not the one claimed.



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        The evidence at trial did not support the Defendants’

  assumptions. Dr. Albini testified that this theory of anticipation

  assumes that the PRN regimen employed in the September 14, 2009,

  Press Release was a monthly PRN regimen.         Tr. 918:20-23 (Albini).

  But the undisputed evidence at trial demonstrates that a “PRN”

  regimen need not be monthly—it can occur on other intervals,

  including once every two months, as was done, for example in the

  “READ   2”   trial.    Tr.   904:23-905:6    (Albini);   PTX-3340.      The

  September 2009 Press Release upon which the Defendants rely as

  prior art does not specify whether that trial’s PRN dosing regimen

  was conducted monthly.       Tr. 1865:3-15 (Csaky) (Press Release does

  not disclose “when those prn exams were being scheduled in this

  trial.”).8    In the absence of such a disclosure, the number of

  possible dosing permutations administered during the PRN phase is

  virtually infinite.      There is no reason the POSA would “easily

  envisage” the claimed regimen from among them.




  8 The September 2009 Press Release does not disclose the details
  of the protocol actually used in Regeneron’s study. Mylan did not
  suggest at trial that the DA VINCI study itself — or any other
  clinical study conducted by Regeneron — was itself prior art that
  could render the Asserted Treatment Claims invalid nor did it
  establish that any patient in that study received 5 loading doses
  followed by a dose eight weeks later, as the claimed regimen
  required.”

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        The Defendants’ own expert, Dr. Albini, acknowledged that

  there is no reason any particular patient would “necessarily”

  receive the claimed pattern of doses on the basis of the September

  2009 Press Release’s disclosure of an as-needed, PRN dosing phase.

  Tr. 919:4-14 (Albini) (agreeing that “[t]he Week 12 dose is one

  possibility    from   that   [prn]   dosing   regimen,   but   it   is   not

  necessarily going to occur.”).         Regeneron’s expert, Dr. Csaky,

  testified to the same effect.         Tr. 1848:19-1849:25 (Csaky).        In

  sum, the parties’ experts agreed that if doctors performed the

  method described in the September 14, 2009 Press Release, it is

  merely possible that a patient would receive the claimed dosing

  regimen (among the many other possibilities), depending on the

  result of the examination the doctors performed in the study at

  each PRN visit, and whether that examination dictated that the

  patient should receive an injection.          Tr. 1864:5-11 (Csaky) (“A

  prn is a conditional treatment, right? I wait, I see, I examine,

  take OCT.”).      That is insufficient to establish anticipation.

  Infra, ¶¶ 473-76.

        Nor is this case analogous to In re Petering, 301 F.2d 676

  (C.C.P.A. 1962), and its progeny, in which the court deemed the

  prior art anticipatory because it “expressly spelled out a definite

  and limited class of compounds that enabled a person of ordinary

  skill in the art to at once envisage each member of this limited

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  class,” including those claimed, Eli Lilly & Co. v. Zenith Goldline

  Pharms., Inc., 471 F.3d 1369, 1376 (Fed. Cir. 2006) (describing

  holding of Petering).     Here, by contrast, the number of potential

  patterns of injections that fall within the September 2009 Press

  Release’s disclosure of three-monthly doses followed by PRN dosing

  on an undisclosed schedule is virtually limitless; the POSA would

  not “immediately envisage” every one of those possibilies, nor is

  there any narrower set of “preferred” regimens within the September

  2009 Press Release’s disclosure that would limit the inquiry.

  Accordingly, the September 2009 Press Release fails to meet the

  legal standard for anticipation.

        In the absence of an express disclosure of the claimed

  invention, the Defendants’ theory of anticipation is necessarily

  one of “inherent” anticipation.           Net MoneyIN, 545 F.3d at 1371

  (anticipatory reference must disclose expressly or inherently

  every element of claim as arranged in the claim).          The Defendants’

  theory fails because it falls far short of the exacting standard

  for inherent anticipation—which requires that the undisclosed

  material   is   necessarily   present     in   the   disclosure—not   merely

  possibly or probably present.      Continental, 948 F.2d at 1269 (“The

  mere fact that a certain thing may result from a given set of

  circumstances is not sufficient.”); Therasense, Inc. v. Becton,

  Dickinson & Co., 593 F.3d 1325, 1332 (Fed. Cir. 2010) (“Inherency,

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  however,   may   not   be    established   by   probabilities            or

  possibilities.”).      Possibilities and probabilities are all the

  Defendants presented at trial.

        First, the Defendants’ theory of anticipation relies on the

  assumption that the PRN regimen employed in the September 14, 2009

  Press Release was a monthly PRN regimen.          But the Press Release

  does not specify the PRN interval, and undisputed evidence confirms

  other PRN intervals are possible and were indeed discussed at

  trial.    Id.    Because it is merely possible and not necessarily

  true that the PRN interval disclosed in the September 2009 press

  release involved monthly PRN, the Defendants failed to establish

  anticipation on the basis of the September 2009 Press Release.

  Trintec, 295 F.3d at 1295 (“Inherency . . . may not be established

  by probabilities or possibilities.”); see also Continental, 948

  F.2d at 1269; Therasense, 593 F.3d at 1332; Perricone v. Medicis

  Pharm. Corp., 432 F.3d 1368, 1376–79 (Fed. Cir. 2005) (narrow

  application of applying lotion to sunburned skin not inherently

  anticipated by broad application of applying lotion topically).

        Furthermore, even if one were to assume, contrary to law and

  the Press Release’s disclosure, that the PRN dosing described in

  the September 2009 Press Release was monthly PRN dosing, the

  Defendants’ anticipation theory still depends on probabilities and

  possibilities.     The PRN dosing phase would result in an overall

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  regimen of five monthly doses followed by an eight-week dosing

  interval only if for a given patient those examinations just so

  happened to result in the need to administer (1) a dose at the

  first PRN opportunity, (2) a dose at the second PRN opportunity,

  (3) no dose at the third PRN opportunity, and (4) a dose at the

  fourth PRN opportunity.       And, again, this would only be the case

  if one were to assume the potential PRN dosing occurred monthly.

  No disclosure in the September 2009 Press Release makes this

  pattern    of    injections   inevitable       or   necessarily     true,    and

  therefore it falls short of inherently anticipating the claims.

  Trintec,   295    F.3d   at   1295;    Continental,    948   F.2d    at     1269;

  Therasense, 593 F.3d at 1332; Perricone, 432 F.3d at 1376–79.

        Accordingly, the Court holds that the Defendants failed to

  establish by clear and convincing evidence that the September 2009

  Press Release anticipates the DME Claims.


                                        b)     ’747 Patent

        Defendants also have asserted that U.S. Patent No. 7,303,747,

  assigned to Regeneron, anticipates claims 11 and 25.                      It is

  undisputed that the ’747 patent does not expressly disclose a

  regimen of five loading doses followed by extended fixed dosing

  intervals; nor does it direct itself to the concept of loading

  doses followed by fixed extended dosing intervals.           DTX-2730.       The


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  Defendants principally rely on Example 17 of the ’747 Patent for

  their anticipation theory, which — according to Dr. Albini —

  “describes an initial injection” that is “followed by subsequent

  treatments given within one- to six-month intervals.”               Tr. 785:17-

  23.    But Example 17 is not directed to Diabetic Macular Edema (or

  Diabetic Retinopathy), as the claims require, but is instead titled

  (and directed to) “Age-Related Macular Degeneration.”                 DTX-2730,

  20:15-67.     In response, the Defendants’ expert Dr. Albini stated

  that   the   patent   was   generally       directed    to    “angiogenic    eye

  disorders,” but did not explain why such a disclosure applied to

  Example 17 or rendered its teachings broader than its title of

  “Age-Related Macular Degeneration.”           Tr. 916:7-12 (Albini).         Nor

  did Dr. Albini identify any disclosure of diabetic macular edema

  in the patent whatsoever.       Id.    Accordingly, the Court concludes

  that the ’747 patent does not disclose every limitation of the DME

  claims, and the disparate disclosures from the ’747 patent on which

  the Defendants rely are not arranged as they are in the DME claims.

         Dr.   Albini   nevertheless    testified        that   the   POSA    would

  “immediately envisage” from the ’747 patent treating DME with a

  series of monthly doses that result from “continuous monitoring”

  of patients, followed by an eight-week gap (also the result of

  such monitoring).      Tr. 785:24-786:22 (Albini).            However, as with

  the September 2009 Press Release, this is a speculative outcome,

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  not one that “necessarily” would result from the methodologies

  described in the ’747 patent.           And despite Dr. Albini’s testimony

  that the POSA would “immediately envisage” this scenario, his

  testimony on this point was undermined by the fact that he agreed

  at his deposition that the combinations of potential regimens

  contained   in     the    ’747   patent     were   “infinite,”   Tr.   236:8-12

  (Albini),    and    that    as    to    a   more   time   limited    period   of

  administration,      he    had   “not   calculated     the   exact   number   of

  permutations possible.”          Tr. 917:7-15 (Albini).

        The Court also credits Dr. Csaky’s testimony that the methods

  of treatment that the ’747 patent describes are directed to PRN

  regimens based on monitoring individual patients, Tr. 1861:20-

  1862:16 (Csaky), not fixed-interval dosing, and his unrebutted

  testimony that the language of the ’747 patent does not provide

  any criteria that would inform the POSA as to what schedule a

  physician should use to treat the patient. Tr. 1862:17-25 (Csaky).

  Dr. Albini in fact agreed that the specification of the ’747 patent

  pointed toward “the need for continuous monitoring of patients,”

  Tr. 786:7-16 (Albini), which, as described above, is different

  than the fixed dosing schedule provided for by claims 11 and 25.

        Turning next to the ’747 patent, the Court holds that it also

  fails to anticipate the DME Claims for substantially the same

  reasons.    Again, the parties agree that the ’747 patent does not

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  expressly disclose a regimen for the treatment of DME using five

  monthly loading doses of aflibercept followed by a dose eight weeks

  later—instead it discloses an initial dose followed by subsequent

  doses one to six months later.      Supra ¶¶ 215-16.     It is undisputed

  that this disclosure encompasses an infinite number of treatment

  regimens.    The Defendants nevertheless argue the POSA would read

  this disclosure and “immediately envisage” the particular regimen

  of five loading doses followed by a dose eight weeks later, as

  claimed in the DME Claims.      The Court holds that the “immediately

  envisage” case law is inapplicable in this case, because the

  asserted reference fails to disclose all the elements of the

  asserted claim in any combination, and the large (here, infinite)

  number of dosing regimens disclosed in view of the absence of any

  preferred, narrower disclosure is such that the claimed dosing

  regimen would not be “immediately apparent” to the POSA.          Wrigley,

  683 F.3d at 1361 (“The question for purposes of anticipation is

  therefore whether the number of categories and components in

  Shahidi was so large that the combination of WS-23 and menthol

  would not be immediately apparent to one of ordinary skill in the

  art.”). The ’747 patent does not “expressly spell[] out a definite

  and limited class of compounds that enable[] a person of ordinary

  skill in the art to at once envisage each member of this limited



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  class,” Eli Lilly, 471 F.3d at 1376, and therefore does not

  anticipate.

        Additionally, as was the case with respect to the September

  2009 Press Release, the POSA following the disclosure of the ’747

  patent would not necessarily perform the claimed regimen instead

  of one of the other infinite possibilities.              As above, this mere

  possibility is insufficient to anticipate.            Continental, 948 F.2d

  at 1269 (“The mere fact that a certain thing may result from a

  given set of circumstances is not sufficient.”); Therasense, 593

  F.3d at 1332.

        Furthermore, the example on which the Defendants rely—Example

  17—does not disclose a method of treating DME.             Supra ¶ 215.      The

  Defendants       do      not        identify      any       disclosure        of

  “diabetic macular edema” anywhere in the ’747 patent and instead

  seek to mix and match the disclosure of the embodiment on which

  they rely with generic disclosures outside that embodiment, which

  is improper.    To anticipate, it is not enough that the prior art

  reference    discloses    part   of   the   claimed     invention,   which    an

  ordinary artisan might supplement to make the whole, or that it

  includes    multiple,    distinct     teachings   that    the   artisan   might

  somehow combine to achieve the claimed invention—all the elements

  of the invention disclosed must be arranged as in the claim.                 Net

  MoneyIN, 545 F.3d at 1371.

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        Accordingly, the Court holds that the ’747 patent does not

  anticipate the DME Claims.


                iv.      Claim 25 of the ‘572 Patent and Claims 11 and
                         19 of the ‘601 Patent are Invalid as Obvious

        In general,

        Under § 103, the scope and content of the prior art are
        to be determined; differences between the prior art and
        the claims at issue are to be ascertained; and the level
        of ordinary skill in the pertinent art resolved. Against
        this background, the obviousness or nonobviousness of
        the subject matter is determined. Such secondary
        considerations as commercial success, long felt but
        unsolved needs, failure of others, etc., might be
        utilized to give light to the circumstances surrounding
        the origin of the subject matter sought to be patented.

  KSR, 550 U.S. at 406 (quoting Graham, 383 U.S. at 17-18); see also

  In re Copaxone Consol. Cases, 906 F.3d 1013, 1025-29 (Fed. Cir.

  2018) (a 3-times per week dosing regimen was obvious over the prior

  art); Hoffmann-La Roche Inc. v. Apotex Inc., 748 F.3d 1326, 1332

  (Fed. Cir. 2014) (monthly dosing regiments obvious in view of the

  prior art); Merck & Co., Inc. v. Teva Pharms. USA, Inc., 395 F.3d

  1364, 1373-75 (Fed. Cir. 2005) (extending dosing from daily to

  weekly obvious over the prior art).

        The Court in KSR explained that while “the sequence of these

  questions might be reordered in any particular case, the factors

  continue to define the inquiry that controls.              If a court …

  conducts this analysis and concludes the claimed subject matter

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  was obvious, the claim is invalid under § 103.” KSR, 550 U.S. at

  407.     To weigh the Graham factors to decide whether a party has

  met its burden of proof, the “legal determination of obviousness

  may include recourse to logic, judgment, and common sense,” even

  “in lieu of expert testimony.”         Adapt Pharma Ops. Ltd. v. Teva

  Pharms. USA, Inc., 25 F.4th 1354, 1368-69 (Fed. Cir. 2022) (quoting

  Wyers v. Master Lock Co., 616 F.3d 1231, 1238 (Fed. Cir. 2010)).

  Further, while the published prior art does of course matter,

  “[t]he obviousness analysis cannot be confined by … overemphasis

  on the importance of published articles and the explicit content

  of issued patents.”     KSR, 550 U.S. at 419.

         In addition, “[w]hen there is a design need or market pressure

  to solve a problem and there are a finite number of identified,

  predictable solutions, a person of ordinary skill has good reason

  to pursue the known options within his or her technical grasp.           If

  this leads to the anticipated success, it is likely the product

  not of innovation but of ordinary skill and common sense. In that

  instance the fact that a combination was obvious to try might show

  that it was obvious under § 103.”         KSR, 550 U.S. at 421.

         The Supreme Court in KSR rejected the Federal Circuit’s more

  rigid teaching-suggestion-motivation (TSM) test in favor of a more

  flexible obviousness standard, holding that “the analysis need not

  seek out precise teachings directed to the specific subject matter

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  of the challenged claim, for a court can take account of the

  inferences and creative steps that a person of ordinary skill in

  the art would employ.” KSR, 550 U.S. at 418.                   The Court also

  instructed    that   the   more     flexible    KSR    standard    expands     the

  obviousness   analysis     beyond    just    “published      articles    and   the

  explicit content of issued patents,” id. at 419, but that “any

  need or problem known in the field of endeavor at the time of

  invention and addressed by the patent can provide a reason for

  combining the elements in the manner claimed,” id. at 420.

        Here, there is no dispute among the experts for the parties

  that there was market pressure to employ extended (i.e., less

  frequent than monthly) dosing regimens for aflibercept, given that

  monthly dosing with other anti-VEGF agents had already quickly

  fallen out of favor and extended dosing regimens were the dominant

  treatment paradigms with the existing therapies.                   (Compare Tr.

  1816:4-24, 1919:7-8 (Csaky), with Tr. 773:23-774:6, 935:4-937:9

  (Albini)).

        In other words, the record reflects that there was motivation

  to employ DME-DR treatment regimens like those described in the 9-

  14-2009 Press Release and the ‘747 patent that would allow for

  monthly assessment and administered injections (which are without

  dispute   uncomfortable     to    patients     and    can   lead   to   potential

  irritation or infection, (Tr. 290:12-23, 292:6-19 (Csaky))), only

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  on those visits where the assessment indicated a need for an

  injection.    (See DTX 2730.22; DTX 3198.2).            This motivation also

  applies to claim 6 as well, given that DME and DR are disorders

  falling within the scope of claim 1.         However, additional evidence

  of record also confirms, for AMD for example, the motivation to

  employ   extended   dosing   regimens      given   that   “[e]ach   injection

  subjects patients to risks of cataract, intraocular inflammation,

  retinal detachment and endophthalmitis. A significant time and

  financial burden falls on patients during their treatment course.”

  (DTX 204.5; see also Tr. 1816:4-24 (Csaky); Tr. 773:18-774:9

  (Albini); DTX 2035.1-4).

        Defendants also correctly note that the DME-DR Claims do not

  use   any   terminology   denoting    whether      or   not   the   5   monthly

  injections are “loading doses” or whether they are administered as

  as-needed injections.        (PTX-1.21 (claims 10 and 11); PTX 1.22

  (claims 18 and 19); PTX 3.25 (claims 15 and 25); Tr. 1927:23-

  1928:10 (Csaky)). Neither Regeneron nor its expert have identified

  any way to tell the difference between “fixed loading” injections

  and as-needed injections, in the context of every-day, routine

  clinical practice.9    Indeed, the named inventor himself noted that


  9 While there may be a difference in the context of a clinical
  trial, where investigators are required to follow specific
  clinical trial protocols that distinguish between fixed, or
  required injections, and discretionary, as-needed injections,
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  PRN administration is described in the ‘601 and ‘572 patents and

  is   one   of    the   possible    approaches        both    contemplated          by   the

  specification and “within the scope of the present invention.”

  (Tr. 231:4-24 (Yancopoulos)).            The Court, as a result, finds that

  the dosing regimens discussed by both Dr. Albini, (Tr. 782:3-

  784:13     (Albini)     (9-14-2009      Press      Release);    Tr.    785:24-787:17

  (Albini)    (‘747      patent)),   and    Dr.      Csaky,    (Tr.     1958:19-1961:24

  (Csaky)), derived from both the 9-14-2009 Press Release and the

  ‘747 patent permitted doses within the range                    of the regimen as

  set forth in the DME-DR Claims.

        In his anticipation analysis, Defendants’ expert Dr. Albini

  testified that the 9-14-2009 Press Release’s disclosure of 3

  monthly     injections,      followed         by    PRN     administration,         which

  Regeneron’s expert Dr. Csaky testified is a regimen known to

  involve    monthly      evaluation,      is    a   regimen     that    a    POSA    could

  immediately envision leading to the administration of 5 monthly

  injections      followed    by    one   or    more    injections       at    an    8-week

  interval.       (Tr. 780:15-784:13 (Albini); Tr. 1824:1-8 (Csaky); DTX

  3198.2; DDX 6.50-55).         For the same reason, Defendants correctly

  argued that the claimed regimen — “approximately every 4 weeks for



  Regeneron has grounded its infringement allegations in real-world
  clinical practice, and has not alleged that Defendants’ use of the
  regimen in its clinical trial infringes the DME-DR Claims.
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  the first 5 injections followed by…approximately once every 8

  weeks” — is not meaningfully or significantly different from the

  3 monthly/PRN regimen disclosure of the 9-14-2009 Press Release,

  because when patients need 5 monthly injections in the prior art

  3 monthly/PRN regimen to resolve their retinal fluid, they will

  receive them.        (Tr. 781:19-784:13, 793:19-794:1 (Albini); DDX-

  6.52-55, 75).

        With regard to Claim 6 the parties do not dispute that Dixon

  discloses the regimen.      The Court also agrees with Defendants that

  the   claimed   isotonic   solutions      were       obvious    in     view    of   the

  disclosures of Dixon and Hecht, as explained by Dr. Albini and Dr.

  Rabinow.

        The   record    further   shows   that     a    POSA     would    have    had   a

  reasonable expectation of success at using the claimed regimens.

  First, the record shows that there already were regimens in the

  prior art that permitted 5 monthly injections followed by less

  frequent administration.        (See, e.g., DTX 2035.2-3; DTX 2730.22;

  DTX 3198.2).    With regard to claim 6, the record reflects that the

  VIEW Phase 3 regimen, which Regeneron does not dispute falls within

  the scope of claim 1, was disclosed in the prior art Dixon

  reference, among other references, and that the Phase 2 results,

  using an even less aggressive dosing strategy than the Phase 3



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  regimen, resulted in significant improvement in visual acuity.

  (See DTX 204.4).

        Second, “[a] finding of a reasonable expectation of success

  does not require absolute predictability of success” at making the

  invention.     Almirall, LLC v. Amneal Pharms. LLC, 28 F.4th 265,

  275 (Fed. Cir. 2022); see also OSI Pharms., LLC v. Apotex Inc.,

  939 F.3d 1375, 1385 (Fed. Cir. 2019) (declining to hold that “data

  is always required for a reasonable expectation of success” or to

  require “absolute predictability of success”).         Dr. Csaky admitted

  that the claimed regimens showed some efficacy.              (Tr. 1822:23-

  1823:17 (Csaky)); see Hoffmann-La Roche Inc. v. Apotex Inc., 748

  F.3d 1326, 1331 (Fed. Cir. 2014) (“Conclusive proof of efficacy is

  not necessary to show obviousness.”).           Dr. Csaky also admitted

  that aflibercept exhibited visual acuity gains in AMD using an

  even less aggressive dosing schedule than the Phase 3 schedule.

  (Tr. 1881:14-1882:20 (Csaky) (CLEAR-IT 2 had less loading doses

  and different design than VIEW trials); Tr. 1882:24-1883:7 (Csaky)

  (CLEAR-IT 2 clearly showed “activity” in terms of “effect on visual

  acuity”); Tr. 1974:25-1977:2 (Csaky) (positive results from CLEAR-

  IT 2); DTX 204.4-5).      Under this standard, the Court finds that

  Defendants    have   shown   a   POSA   would   have   had   a   reasonable

  expectation of success at using the claimed treatment regimens.

  Defendants’ expert Dr. Albini testified as to several references

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  that reported visual acuity gains (though no such gains are

  required of the claims), including aflibercept references showing

  efficacy in DME patients with just a single intravitreal injection

  or   in   the   related   AMD   indication   with   repeated   intravitreal

  injections.     (Tr. 790:25-792:2 (Albini); DTX 3102.3 (“The median

  improvement in BCVA was nine letters at 1 month and three letters

  at 6 weeks…”); see also DTX 204.3-4).           The record also reflects

  positive results obtained with the VEGF inhibitor ranibizumab in

  the treatment of both AMD and DME.           (See, e.g., DTX 2733.1 (mean

  gain of eight (8) letters in DME); DTX 3089.1, 4 (8 of 10 eyes

  showed visual acuity gains in DME); see also, e.g., DTX 2034.1

  (mean gain of 7.2 letters in AMD); DTX 3115.1 (mean visual acuity

  improvement of 9.3 letters in AMD); DTX 4061.4 (various studies in

  AMD)).

        In addition, the evidence shows that patients in the Do 2009

  study achieved gains of nine letters at one month after the single

  injection of VEGF Trap-Eye, and that 2 of the patients achieved

  gains of 10 letters, while other patients achieved a gain of 9

  letters; in all, 4 of the 5 patients showed gains in visual acuity.

  (DTX 3102.1, 3).      Dr. Albini testified that these results would

  lead a POSA to have a reasonable expectation of success at using

  the claimed method to treat DME and DR.               (Tr. 790:22-791:15,

  791:20-792:2, 797:23-798:17, 800:23-801:5 (Albini)).           It stands to

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  reason that if a single injection resulted in visual acuity gains,

  repeated monthly injections for 5 months, followed by one or more

  injections at an 8-week interval will also result in visual acuity

  gains in those same patients.            (Tr. 791:20-792:2 (Albini)).       With

  regard to AMD, Dr. Albini confirmed that the Phase 2 results with

  aflibercept resulted in significant visual acuity gains, and with

  extended intervals between injections.               (DTX 204.4, 7 (Ref. 45);

  DTX    3173.6,   9,   12,   13,    16,   19;   see   also   Tr.   840:15-844:23

  (Albini)).

         Third, Defendants have shown that the differences, if any,

  between the prior art and the claimed dosing regimen, do not rise

  to the level of being nonobvious.               For the DME-DR Claims, the

  Defendants showed that prior art regimens, such as the as-needed

  regimen disclosed in the ‘747 Patent and the PRN regimen in the 9-

  14-2009 Press Release, were designed to treat until resolution of

  subretinal fluid, and that monthly visits and assessments could

  very well lead to easily envisioned situations in which a patient

  would require 5 monthly injections to resolve the patient’s edema.

  (See    Tr.   785:17-787:17       (Albini);    DTX   2730.16   (7:52-67);    DTX

  2730.22 (20:16-67); DDX 6.59-61).              After that initial period of

  treatment, treating a patient once every 8 weeks under the ‘747

  patent protocol or the 9-14-2009 Press Release protocol is an

  obvious outcome where the interim monthly assessment show an

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  absence of fluid and monthly injections are no longer required.

  (Id.).    Defendants’ expert Dr. Albini further illustrated the

  obviousness of the regimens through Dr. Csaky’s interpretation of

  claims 12 and 20, and what those claims reveal about the scope of

  independent claims 10 and 18, from which asserted claims 11 and 19

  depend—that they included scenarios that are not substantively

  different from straight monthly dosing of aflibercept, which was

  not disputed to be in the prior art.         (DTX 3198.2; see also Tr.

  1957:6-21 (Csaky); DDX 6.65).         For claim 6, Regeneron has not

  presented any evidence of differences between the prior art dosing

  regimens and the claimed regimens.

        The facts here are analogous to those in In re Copaxone

  Consol. Cases, 906 F.3d 1013, 1025-29 (Fed. Cir. 2018), where the

  Court found dosing claims obvious over the prior art.            The Court

  found that “[a]lthough the universe of potential GA doses is

  theoretically unlimited, the universe of dosages in the prior art

  that had clinical support for being effective and safe consisted

  of only two doses: 20mg and 40mg.          Even if there were multiple

  injection frequencies not yet tested in the prior art — 1x, 2x, 3x

  a week etc. — these still represent a limited number of discrete

  permutations.”    Id.

        Similarly, here, for the DME-DR Claims, there were a limited

  number of monthly injections available to a POSA for leading off

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  an anti-VEGF DME dosing regimen — in reality, 3-6.      (See DTX

  4129.2; Tr. 805:1-8 (Albini)).              Everything else was provided in

  the prior art, including the disease (DME), the drug (aflibercept),

  the dose (2 mg), and the maintenance regimens (every-8-week, or

  as-needed).      (DTX 3198.2).

          The   Court   has    also   taken   into   consideration    Regeneron’s

  counter-arguments,          including   those      presented   by   Regeneron’s

  expert, Dr. Csaky.          Dr. Csaky contends that concern over systemic

  side effects and potential over-treatment would have dissuaded a

  POSA from going with 5 monthly loading doses in the treatment of

  DME.      (Tr. 1833:12-1835:3, 1837:11-19, 1850:7-1851:6, 1855:6-

  1856:16, 1956:20-1958:18 (Csaky)).            While Regeneron does not style

  this argument as a “teaching away,” that is essentially what they

  have presented.       However, teaching away occurs only when “a person

  of ordinary skill, upon reading the reference, would be discouraged

  from following the path set out in the reference, or would be led

  in a direction divergent from the path that was taken by the

  applicant.” L’Oréal USA, Inc. v. Olaplex, Inc., 844 F. App’x 308,

  318 (Fed. Cir. 2021) (quoting In re Urbanski, 809 F.3d 1237, 1244

  (Fed. Cir. 2016)). Absent evidence that the prior art “invariably”

  would have led to a different path, the prior art does not teach

  away.     See PAR Pharm., Inc. v. TWI Pharms., Inc., 773 F.3d 1186,

  1199 (Fed. Cir. 2014).

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         On claim 6, the Court also has considered Regeneron’s counter-

  arguments, and finds that those arguments are not persuasive.                  The

  testimony and evidence of record established that formulating

  ophthalmic solutions as isotonic would have been routine and

  commonplace.       (DTX 3588.11, 13; see Tr. 1096:23-1098:8, 1099:15-

  22(Rabinow)).          This is confirmed by the asserted ‘601 and ‘572

  patents,       which    explain   that        “[a]   multitude    of   appropriate

  formulations      can     be   found     in    the    formulary   known   to   all

  pharmaceutical chemists: Remington's Pharmaceutical Sciences,” and

  that the contemplated formulations involved the use of “excipients

  and carriers well known to pharmaceutical chemists.”                    (PTX 1.13

  (5:55-58; 5:66 – 6:7); PTX 3.16 (5:64-67; 6:8-17)).

         Further, “a reference does not teach away if it merely

  expresses a general preference for an alternative invention but

  does     not     criticize,       discredit          or   otherwise     discourage

  investigation into the invention claimed.” UCB, Inc. v. Actavis

  Lab’ys UT, Inc., 65 F.4th 679, 692 (Fed. Cir. 2023) (quoting DePuy

  Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1327

  (Fed. Cir. 2009)) (internal quotation marks omitted); see also

  Galderma Lab’ys, L.P. v. Tolmar, Inc., 737 F.3d 731, 738-39 (Fed.

  Cir. 2013) (prior art did not teach away when it did not show “side

  effects would be serious enough to dissuade” particular use).                   In

  addition, none of Regeneron’s witnesses were able to point to

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  anywhere in the specification of the asserted patents where the

  concerns     over   systemic      side   effects       or    over-treatment         were

  explained or resolved, leaving the specification providing no more

  guidance than the prior art. Merck & Co., Inc. v. Teva Pharms.

  USA, Inc., 395 F.3d 1364, 1373-74 (Fed. Cir. 2005).

          As Defendants correctly observe, Plaintiff’s expert Dr. Csaky

  did not provide any documentary evidence showing that anyone in

  the community was actively discouraging the use of additional

  loading doses in the treatment of DME or DR.                 To the contrary, the

  evidence    of   record    shows    that   by       2010    multiple    parties     had

  completed, or were conducting or planning, clinical trials that

  utilized dosing schemes that required or permitted five or more

  monthly injections.        This was evident from the 9-14-2009 Press

  Release alone, which included a treatment arm directed to straight

  monthly dosing, which is an even more aggressive treatment regimen

  than 5 monthly injections followed by extended intervals.                           (DTX

  3198.2; see also Tr. 803:1-5 (Albini)).                    In addition, the 9-14-

  2009 Press Release disclosed the use of the PRN regimen following

  three     monthly   injections,     which       a    POSA    would     recognize      as

  permitting 5 monthly injections were they so needed.                    (DTX 3198.2;

  see also Tr. 780:15-784:13 (Albini); Tr. 1958:19 – 1960:24 (Csaky);

  DDX   6.51-55).      The   same    is    true       with   respect     to   prior    art

  ranibizumab clinical trials, some of which included either monthly

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  dosing or as-needed regimens that permitted 5 or more monthly

  injections.     (DTX 2733.2 (“Patients received 3 monthly injections

  followed by as-needed monthly injections after month 2.”)).

         Dr. Csaky also suggested that the range of loading doses in

  the prior art was fixed at 3-4, so a POSA would not have considered

  5.     (Tr. 1847:4-1848:1 (Csaky)).        As Defendants point out, this

  testimony directly contradicts that routine workers in the field

  were contemplating a range of 3-6 monthly doses in the first 6

  months for the DME clinical trial.            (Tr. 804:23-805:9 (Albini);

  DTX 4129.2 (suggesting 3-6 monthly doses after receiving feedback

  from the Swedish Medical Products Agency, DTX 226); DDX 6.92).                 It

  also contradicts the approach that physicians were taking in

  actual, every-day clinical practice, as Dr. Albini testified,

  which often involved treating a VEGF-related eye disorder monthly

  until retinal fluid is resolved, then switching to longer injection

  intervals.      (Tr. 771:7-772:19 (Albini); DTX 2035.1 (“I treat with

  ranibizumab monthly until optical coherence tomography (OCT) shows

  the macula to be completely free of fluid.             Some patients reach

  that    point   after   2   injections;    others   require   as   many   as    8

  injections.”); DTX2035.3 (“I give as many consecutive monthly

  doses as necessary to dry the macula.”); id. (“I see patients 4

  weeks after the initial injection.          If the macula is still wet at



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  that time, I give another injection and see them in 4 weeks.”);

  DDX 6.36; see also DTX 3198.2; DTX 204.4; DDX 6.91).

        Dr. Csaky’s fixed-dosing versus individualized dose argument

  in   response   is   without    merit,    as   Federal    Circuit     precedent

  emphasizes that the prior art need only disclose the dosing

  mechanism to obviate the claims; the theory for the dosing schedule

  need not be the same.     Nalpropion Pharms., Inc. v. Actavis Lab’ys

  FL, Inc., 934 F.3d,1344, 1354-55 (Fed. Cir. 2019).                The patented

  methods in Nalpropion were directed towards weight loss using

  specific dosages of naltrexone and bupropion.               Id. at 1347-48.

  The patentee argued that there was no motivation to combine the

  prior art asserted because the claimed drug did not possess

  sufficient   efficacy    to    secure    FDA   approval   for    weight    loss;

  instead, the prior art disclosed the use of drugs to curb weight

  gain and reduced cravings in depression.             Id. at 1353-54.         The

  Court found that it must “consider a range of real-world facts to

  determine whether there was an apparent reason to combine the known

  elements in the fashion claimed by the patent at issue.”                  Id. at

  1354 (cleaned up).      It further reasoned that “[t]he inescapable,

  real-world fact … is that people of skill in the art did combine

  [the drugs] for … goals closely relevant to weight loss … without

  understanding [the drugs’] mechanism of action.”                Id.   Given the

  art disclosed that the drugs were “well-tolerated and safe” in a

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  related condition, the person of skill had the requisite motivation

  and reasonable expectation of success.          Id.    Here too, the Court

  finds that though the rationale behind using fixed-dosing and

  individualized dosing may differ, “[t]he inescapable, real-world

  fact … is that people of skill in the art” did rely on the regimen

  disclosures of the 9-14-2009 Press Release and/or the ‘747 patent,

  and did so in light of the safety disclosures in Dixon, among

  others, and efficacy disclosures in Do 2009 and Lalwani 2009b.

  Id.   That the exact theory—fixed-dosing—was not disclosed does not

  negate that persons of skill in the art were indeed practicing the

  claims, and they did so knowing aflibercept would be “well-

  tolerated and safe,” id., given its history disclosed in the art.

        The Court further finds Dr. Csaky’s purported safety concerns

  related to the additional loading doses unpersuasive.              While both

  parties’ experts agreed that there are always concerns regarding

  safety, each of the references Dr. Csaky refers to, including Do

  2009 and Lalwani 2009b, refer to continuing clinical studies that

  were designed to further test administration of these agents in

  DME   patients,   without   any    suggestion   to    halt   or   discontinue

  clinical studies due to systemic side effect or over-treatment

  concerns, thus contradicting Dr. Csaky’s testimony.               (DTX 3102.6

  (“The results of this study strongly support additional testing of

  VEGF Trap-Eye in patients with DMO in which repeated injections

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  are given at an interval of every 6 weeks or longer.”) (emphasis

  added); DTX 2733.1-2 (describing the READ-2 study that followed

  the READ-1 results, parallel Phase 2 RISE and RIDE studies, and

  “several” investigator-sponsored trials such as RESOLVE and the

  study conducted by Philip Ferrone, MD, each of which involved

  repeated injections, and, in some cases, dose escalation)).             The

  Do 2009 reference also notes that the purpose of the study was to

  assess the safety, tolerability and bioactivity of aflibercept and

  concludes that “[i]njections of VEGF Trap-Eye were well tolerated

  with no ocular toxicity,” and the only serious systemic adverse

  event was graded as unrelated to the study drug.         (DTX 3102.1, 3).

  The larger Phase 2 AMD study of aflibercept also was reported as

  supporting the conclusion that VEGF Trap-Eye seems to be generally

  well-tolerated with no serious drug-related adverse events.            (DTX

  204.4).    It also is the case that Regeneron was proceeding with,

  and had already publicly announced by 2009, DME clinical trials

  using regimens that required more than 5 monthly injections (the

  DME Phase 2 monthly dosing arm) or where 3-6 monthly injections

  were both permitted and contemplated (the DME Phase 2 PRN following

  3 monthly injections arm), thus contradicting the argument that a

  POSA would have felt constricted because of safety concerns from

  using five monthly injections to initiate DME treatment.             (DTX-

  3198.2).

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        The Federal Circuit has held that “well-known, standard

  medical   practices”     are   obvious,   especially   as     it    relates    to

  addressing patient responses such as side effects and outcomes.

  Genentech, Inc. v. Sandoz Inc., 55 F.4th 1368, 1378 (Fed. Cir.

  2022).    In Genentech, the patented invention was directed towards

  the method of treatment of liver function abnormalities using a

  specific range of pirfenidone in milligrams at certain “periods,”

  the amount changing depending on said period; a second family of

  patents claimed the same drug use, but in a lower dosage to

  “avoid[] adverse interactions” with related drugs.                 Id. at 1371-

  73,   1374-75.     The   alleged   infringer   claimed      that     prior    art

  references “disclosed reescalation of dosage after temporary dose

  reduction    for    patients     with”    indicators     of    the      claimed

  abnormalities and the “discontinu[ation of] pirfenidone only for

  patients” with the claimed abnormality indicators.                 Id. at 1376.

  The Federal Circuit, agreeing that the methods were disclosed in

  the prior art, noted “varying doses in response to the occurrence

  of [patient response] would seem to be a well-established, hence

  obvious, practice. Thus, claiming it as an invention would appear

  to be at best a long shot.”        Id. at 1376-77; see also Amgen Inc.

  v. Sandoz Inc., 66 F.4th 952, 968 (Fed. Cir. 2023).                  Here too,

  switching to 5 monthly loading doses followed by every-8-week

  dosing in DME/DR patients “in response to the occurrence” of less-

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  than-favorable visual acuity results with fewer initial injections

  would’ve also been obvious.      Genentech, 55 F.4th at 1377.      Because

  the asserted claims “recite adjusting doses in the presence of

  [unfavorable    patient   responses],”    they   too   “would   have   been

  obvious in view of the prior art” which disclosed what “clinicians

  routinely do.”    Id. at 1378.

        In conclusion, the Court finds that Defendants have shown, by

  clear and convincing evidence, that claims 11 and 19 of the ‘601

  patent, and claim 25 of the ‘572 patent, are invalid as obvious in

  view of both the ‘747 Patent alone, and the 9-14-2009 Press Release

  alone.

        The Court also finds that the Defendants have shown, by clear

  and convincing evidence, that claims 11 and 19 of the ‘601 patent,

  and claim 25 of the ‘572 patent, are invalid as obvious in view of

  both the ‘747 patent, and the 9-14-2009 Press Release, either one

  in combination with Do 2009 and Lalwani 2009b.         For these reasons,

  the Court does not address whether claims 11 and 19 of the ‘601

  patent and claim 25 of the ‘572 patent are invalid under § 112.

        The Court also finds that the Defendants have shown, by clear

  and convincing evidence, that claim 6 of the 572 Patent is invalid

  over Dixon in view of Hecht.

        Furthermore, the claimed combinations were obvious to try.

  In In re Copaxone, the Federal Circuit, applying the Supreme

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  Court’s obvious-to-try standard described in KSR, affirmed the

  judgment of the district court in favor of the patent challengers.

  See generally In re Copaxone Consol. Cases, 906 F.3d 1013 (Fed.

  Cir. 2018).    In KSR, the Supreme Court explained that:

        When there is a design need or market pressure to solve
        a problem and there are a finite number of identified,
        predictable solutions, a person of ordinary skill has
        good reason to pursue the known options within his or
        her technical grasp. If this leads to the anticipated
        success, it is likely the product not of innovation but
        of ordinary skill and common sense. In that instance the
        fact that a combination was obvious to try might show
        that it was obvious under § 103.

  KSR, 550 U.S. at 421.       The Federal Circuit explained that where

  “the prior art focused on two critical variables, dose size and

  injection frequency, and provided clear direction as to choices

  likely to be successful” the claimed invention is obvious to try.

  In re Copaxone, 906 F.3d at 1025 (Fed. Cir. 2018).              The Court

  further explained that as of the priority date, two dose sizes had

  been established and the prior art was encouraging POSAs to pursue

  less frequent dosing.     Id.   Here, there is even more direction in

  the prior art than that in Copaxone.       The prior art, including the

  9-14-2009 Press Release, had identified the drug, the dose, and

  the indication—aflibercept, 2 mg, DME/DR. (DTX 3198.2). The prior

  also had identified monthly dosing.          (Id.).   The prior art also

  identified a very limited number of fixed extended dosing regimens

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  that had maintenance dosing phases that were keyed to multiple-

  month intervals: every-2-months (i.e., every-8-weeks) and every-

  3-months (i.e., every-12-weeks);             Regeneron’s expert Dr. Csaky

  testified that ophthalmologists were moving away from monthly

  administration, and testified that every-12-week administration

  (i.e., the PIER regimen) was viewed as inferior, leaving only

  every-8-week as a target fixed extended maintenance regimen. (See,

  e.g.,     Tr.   1816:4-24,       1817:22-1819:20        (Csaky)     (pivot   to

  personalized regimens to get monthly dosing visual acuity gains

  without office visit burden); Tr. 1870:23-1872:9, 1872:19-1873:16,

  1873:22-1874:8 (Csaky) (every-3-month dosing fell out of favor)).

  The prior art also identified monthly loading dosing, and the key

  metric or rationale for determining the number of loading doses:

  administering until the retina appears free of fluid by OCT

  examination.       (See, e.g., PTX 722.1-3; DTX 204.4; DTX 2730.22,

  20:16-67; DTX 3115.1; DTX 3198.2; DTX 4013.1-3; DTX 4061.4; Tr.

  765:13-770:19 (Albini) (describing the evolution of the art, with

  loading    doses   and   early     monthly     dosing    becoming    prevalent

  alongside the advent of OCT)); Tr. 771:7-772:10, 773:16-774:9

  (Albini) (the same in clinical practice); Tr. 804:9-22 (Albini)

  (highlighting a range of monthly loading doses in the art); Tr.

  1844:4-9 (Csaky) (validating Dr. Albini’s loading dose summary)).

  Moreover, the prior art had settled on a very narrow range of

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  possible monthly loading doses: 3-6.      (See DTX 3198.1-2; DTX

  4129.2).

         Not only that, but the prior art, as Defendants’ expert Dr.

  Albini testified, had been employing extended dosing regimens, in

  both   fixed     and   as-needed    personalized      contexts    (which    often

  results in even fewer injections being administered than in a fixed

  regimen)   and    been    consistently   obtaining      results    with    visual

  acuity improvements.         (See, e.g., PTX 722.1-3; DTX 204.4; DTX

  2730.22, 20:16-67; DTX 3115.1; DTX 3198.2; DTX 4013.1-3; DTX

  4061.4; Tr. 765:13-770:19, 771:7-772:10, 773:16-774:9 (Albini)).

  Indeed, visual acuity improvements were observed with just a single

  injection of aflibercept in DME patients, leading to a reasonable

  expectation    that     similar    outcomes   would    result    with   repeated

  injections.      (DTX 3102.1; Tr. 798:2-17 (Albini)).

         Within such a context, “a POSITA had only a limited number of

  permutations of dose and frequency to explore that were not already

  disclosed in the prior art,” rendering the claimed combination

  obvious-to-try.        In re Copaxone Consol. Cases, 906 F.3d 1013, 1025

  (Fed. Cir. 2018).         As the Court in Copaxone explained, the fact

  that a POSA could calculate unlimited numbers of permutations, in

  theory, was irrelevant, and it was the universe outlined by the

  prior art that controlled.          Id. at 1026.      There, the universe of

  dosage amounts was two.       Id.    Here, we have a similar number, with

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  the prior art 9-14-2009 Press Release reporting 0.5 mg and 2.0 mg,

  with a clear focus on the 2 mg dose.         (DTX 3198.2).

        The Copaxone court further explained that “[e]ven if there

  were multiple injection frequencies not yet tested in the prior

  art—1x, 2x, 3x a week etc.—these still represent a limited number

  of discrete permutations.”         In re Copaxone Consol. Cases, 906

  F.3d 1013, 1026 (Fed. Cir. 2018).         Here, the Court notes that the

  fact of there being a limited number of monthly loading dose

  permutations available, a POSA would have found five loading doses

  to be obvious-to-try.     This is particularly so in view of the use

  of 3-4 in treating AMD, and the common knowledge among POSAs,

  including Plaintiff’s expert Dr. Csaky, that DME often required

  additional injections.       (See, e.g., DTX 204.4; DTX 2733.3; Tr.

  1853:7-15 (Csaky).

        Copaxone further instructs that “conclusive proof of efficacy

  is not necessary to show obviousness” but that “[a]ll that is

  required is a reasonable expectation of success.”            In re Copaxone

  Consol. Cases, 906 F.3d 1013, 1026 (Fed. Cir. 2018) (cleaned up).

  The prior art presented here by Defendants’ expert Dr. Albini also

  shows that a POSA would have had a reasonable expectation of

  success at using a regimen of 5 monthly injections followed by

  every-8-week injections in the treatment of DME.          (See DTX 204.4;



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  DTX 2034.1; DTX 2733.1-2; DTX 3102.1; DTX 8190.3; Tr. 798:2-801:5

  (Albini)).

        On    claim    6,   the    Court     finds    that    the      use   of    isotonic

  formulations also represents an obvious-to-try approach.                               The

  record     evidence    establishes       that     Dixon    discloses       the   claimed

  dosing regimen, and also that the formulation used in that dosing

  regimen is comfortable and non-irritating to the eye.                        (DTX 204.3-

  4).      When   it    comes     to    tonicity,    a   POSA    has    three      options:

  hypotonic,      isotonic,        or    hypertonic.            (See     Tr.      212:14-24

  (Yancopoulos)        (noting     options    for    osmolality);        see      also   Tr.

  1168:14-1169:2 (Rabinow) (distinguishing isotonic and hypertonic,

  but equating isotonic and iso-osmolar)).                   Given Dixon’s guidance

  that a formulation ought to be comfortable and non-irritating, and

  Hecht’s     instruction        that     ophthalmic     formulations          should     be

  isotonic, the hypotonic (not enough solute) and hypertonic (too

  much solute) options fall by the wayside, with the focus of the

  prior art primarily on isotonic.                  Accordingly, with isotonicity

  being a routine and commonplace aspect of ophthalmic formulations,

  and a limited number of permutations in the prior art for tonicity,

  the use of isotonic formulations for aflibercept becomes obvious-

  to-try.     In re Copaxone Consol. Cases, 906 F.3d 1013, 1025 (Fed.

  Cir. 2018) (cleaned up).



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        In view of the evidence, the Court finds that claims 11 and

  19 of the ‘601 patent, and claim 25 of the ‘572 patent, are invalid

  as being drawn to combinations that are obvious to try in view of

  the directions and guidance of the prior art, including the 9-14-

  2009 Press Release, which provided POSAs with the drug, the dosage

  amount, the disease, and the 8-week maintenance dosing regimen.

  If Plaintiff contends that the only missing element was an express

  recitation of 5 monthly loading doses, that would have been

  provided by the general knowledge of those of ordinary skill in

  the art about the small number of permutations available for

  monthly loading doses.

        Likewise, the Court finds that, due to the limited number of

  permutations    in   the   prior   art    for   tonicity    of   ophthalmic

  formulations, and the clear direction provided by the prior art,

  including Dixon and Hecht, claim 6 is invalid for being drawn to

  subject matter that would have been obvious to try.

        Accordingly, claims 11 and 19 of the ‘601 patent, and claims

  6 and 25 of the ‘572 patent, are invalid under 35 U.S.C. § 103.


        The Court also weighs, as it must, any evidence or testimony

  of record relating to secondary considerations.            KSR Int’l Co. v.

  Teleflex Inc., 550 U.S. 398, 406 (2007).        The Court’s presentation

  of the parties’ secondary considerations arguments follows.


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         Defendants assert that there was no evidence of secondary

  considerations presented at trial that would be sufficient to

  overcome the demonstrated obviousness of the asserted claims of

  the ‘601 and ‘572 patents.

         Defendants point to the testimony of Plaintiff’s expert Dr.

  Csaky, notably the fact that Dr. Csaky only presented purported

  evidence of long-felt need, failure of others, and industry praise

  during the Plaintiff’s rebuttal case, and that the evidence was

  limited to aspects of the claims that were already in the prior

  art.   (See Tr. 1914:4-1919:11 (Csaky)).

         Regeneron argues that the claimed dosing regimen fulfilled a

  long-felt need for a reliable, fixed extended dosing regimen for

  the treatment of any angiogenic eye disorder.         Regeneron’s expert

  Dr. Csaky explained that no regimen prior to Regeneron’s Q8 scheme

  equated to monthly dosing’s outcomes.          (Tr. 1914:12-17 (Csaky)).

  He elaborated that alternatives in the prior art such as treat-

  and-extend and PRN did not fulfill such a need, mostly because the

  ophthalmologist was required to “always … have [their] OCT to make

  …   treatment   decisions.”      (Tr.     1914:18-1915:6,   1915:21-1916:4

  (Csaky)). Regeneron supplemented its long-felt need arguments by

  positing that its competitors had tried and failed to develop an

  extended dosing regimen like that claimed in the ‘601 and ‘572

  patents. Regeneron points to testimony from its expert, Dr. Csaky,

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  who commented on his own failures with siRNA technologies as it

  related to inhibition of VEGF, but did not elaborate on the

  schedule for the same. (Tr. 1828:7-15 (Csaky)). Dr. Csaky further

  commented on the failure of Macugen to fulfill such a need because

  the data for the six-week intervals were “quite poor.”                 (Tr.

  1916:7-25 (Csaky)).     He clarified that a subsequent 12-week dosing

  regimen lacked any data, and thus also constituted a failure. (Tr.

  1917:1-5 (Csaky)).

        Regeneron alternatively relied on safety concerns in support

  of its failure of others claims, relying again on Dr. Csaky’s

  testimony.     Dr. Csaky began by commenting that there had been

  multiple failures “through the history” of anti-VEGF research and

  use, but identified only a single instance where safety concerns

  were raised.     (Tr. 1828:16-20 (Csaky)).        Dr. Csaky exclusively

  relied on the case of Beovu, which he described as a “weirdo”

  molecule, to suggest that developers failed to augment anti-VEGF

  therapy.     (Tr. 1828:21-1829:12 (Csaky)).       Again, this testimony

  did not mention the dosing regimen at which Beovu was administered.

        Regeneron did not present any evidence of unexpected results

  in its rebuttal; though its expert Dr. Csaky discussed various

  clinical trials and internal documents disclosing study results,

  he did not characterize any as specifically relevant to this



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  secondary consideration, nor did he explain how any of those

  results would not have been expected in light of the prior art.

          Regeneron cited multiple publications that comment on the

  reaction to Eylea after it had launched.                  Regeneron’s expert Dr.

  Csaky     first     identified        comments     from     the      Food     and     Drug

  Administration         and     underscored        that    it      “recognized         that

  [Regeneron’s] two-month dosing schedule was the same as monthly

  dosing schedule.”         (Tr. 1917:12-18 (Csaky)).

          Dr.    Csaky    likened    the      regulatory      disclosure        to    other

  publications by his colleagues.                   (Tr. 1917:19-21).            The sole

  reference he presented in response was the Ohr and Kaiser 2012

  publication (PTX 841), which discussed the visual acuity gains

  from use of aflibercept compared to ranibizumab.                     (Tr. 1918:3-13).

  The study disclosed that aflibercept, dosed every two months, was

  non-inferior to monthly ranibizumab.                (See PTX 841.1).

          Regeneron further introduced the Thomas publication (PTX

  1155) into evidence during its discussion of industry praise.

  Thomas        discloses      the   cost-effect       analysis        in      regard    to

  ranibizumab,       bevacizumab,       and    aflibercept—the         major    anti-VEGF

  agents used to treat angiogenic eye disorders.                         (PTX 1155.5).

  Though    Thomas       notes   that    “clear     savings      can    be    seen”     with

  aflibercept, it subsequently highlights that bevacizumab is the

  most affordable treatment, and that “all three therapies are

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  considered to have equal efficacy across the board based on studies

  and clinical data that have been evaluated.”            (Id.)

        Defendants note that Dr. Csaky’s discussion of long-felt need

  was limited to a discussion of a purported long-felt need for a

  fixed extended dosing regimen.             (Tr. 1914:12-1915:6, 1915:21-

  1916:4 (Csaky)).       Defendants respond to this testimony by pointing

  to several shortcomings.

        First, Defendants note that for this discussion, Dr. Csaky

  did not rely upon any documents or evidence to support his claims

  of there being a long-felt need, and that Dr. Csaky’s expert report

  in this regard was limited to addressing AMD, not DME or DR.                (Tr.

  831:6-13,    839:24-840:7     (Albini);     DDX    6.147).       Accordingly,

  Defendants renew their motion in limine seeking to preclude Dr.

  Csaky from testifying on matters outside the scope of testimony

  provided    in   his     expert   reports    and    relying     on     secondary

  considerations testimony untethered to the novel features of the

  asserted claims of the dosing patents.             (Dkt. 506).       Therasense,

  Inc. v. Becton, Dickinson & Co., 593 F.3d 1325, 1336 (Fed. Cir.

  2010) (evidence of long-felt need failed “because it [was] not

  ‘commensurate in scope with the claims which the evidence is

  offered to support’” (quoting In re Grasselli, 713 F.2d 731, 743

  (Fed. Cir. 1983))); Merck & Cie v. Gnosis S.P.A., 808 F.3d 829,



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  838 (Fed. Cir. 2015) (long-felt need must be tied to novel claim

  elements).

          Second, Defendants highlight that the “fixed extended dosing

  regimen” concept, which is the sole basis for Dr. Csaky’s long-

  felt need opinions, was already disclosed in the prior art, and

  thus cannot form the basis for a showing of long-felt need.             BTG

  Int’l Ltd. v. Amneal Pharms. LLC, 923 F.3d 1063, 1076 (Fed. Cir.

  2019)      (“[B]ecause     other     treatments      for [the      claimed

  indication] were available, the evidence presented here does not

  establish that there was a specific unsolved, long-felt need for

  the treatment.”).      For example, Defendants’ evidence of record,

  including the prior art 2009 Dixon reference, disclosed to the

  public the use of fixed every-8-week dosing following a series of

  3 monthly injections in the treatment of AMD.        (DTX 204.4 (“2.0 mg

  at an 8 week dosing interval (following three monthly doses)”);

  see also Tr. 812:12-813:3 (Albini); DDX 6.116-119).             Additional

  evidence of record presented by Defendants and their expert Dr.

  Albini includes the 9-14-2009 Press Release, which disclosed the

  same type of fixed regimen (i.e., 8-week injection intervals) in

  the treatment of DME.     (DTX 3198.2 (“2 mg every eight weeks after

  three monthly loading doses”); see also Tr. 780:24-781:13; DDX-

  6.51).    According to Defendants, such evidence, because it was in

  the prior art, as a matter of law cannot form the basis for any

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  secondary indicia of non-obviousness. See, e.g., Merck & Cie v.

  Gnosis S.P.A., 808 F.3d 829, 838 (Fed. Cir. 2015) (long-felt need

  must be tied to novel claim elements).

          Third, Defendants point to Dr. Csaky’s failure to show nexus,

  or in other words, to tie any of the purported long-felt need to

  the aspects of the asserted claims that are purported by Plaintiffs

  to be novel and absent from the prior art: isotonicity of the

  formulation (claim 6 of the ‘572 patent) and five “loading doses”

  spaced a month apart in the treatment of DME or DR (claim 25 of

  the ‘572 patent; claims 11 and 19 of the ‘601 patent).            (See Dkt.

  506).

          Fourth, Defendants observe that Dr. Csaky did not dispute the

  evidence presented by Defendants’ expert Dr. Albini showing there

  to be extended dosing regimens and approaches in use in the prior

  art that were capable of achieving visual acuity gains while

  minimizing injections or office visits, or in the case of “treat-

  and-extend,” both.        (Tr. 831:6-837:8 (Albini); PTX 722.2-3 (“Dr.

  Brown: … I treat and extend from the start.             I give 3 monthly

  injections and see them in 8 weeks.”); DTX 2040.24; DTX 3131.1, 4,

  14; DTX 4113.8; DTX 4192.18; DTX 4194.13; DDX 6.136-147). Instead,

  Dr. Csaky attempted to narrow the scope of the asserted DME-DR

  Claims    to   regimens    that   were   “fixed,”   where   the   5   monthly

  injections are “loading doses,” or where the claims exclude monthly

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  office visits. (Tr. 1816:4-24 (Csaky) (general goals and office

  visits); Tr. at 1861:7-1863:11 (Csaky) (limits in regard to the

  ‘747 patent); Tr. 1863:12-1865:15 (Csaky) (limits in regard to the

  9-14-2009    Press   Release);    Tr.     1914:12-17   (Csaky)   (focusing

  secondary   considerations     analysis     on   “fixed   extended   dosing

  regimen[s]”)).

        Defendants note that Plaintiff never sought during the claim

  construction phase of litigation to construe the claims to import

  the limitation “fixed,” or to exclude uses in which monthly office

  visits occur, (Dkt. 124; Dkt. 174-2), and did not proffer such

  constructions at trial.       As a result, Defendants urge that any

  effort by Plaintiffs to distinguish the prior art based on any

  such imported language should be rejected.             See Key Pharms. v.

  Hercon Lab’ys Corp., 161 F.3d 709, 715 (Fed. Cir. 1998) (explaining

  “the doctrines of law … bar parties from fundamental changes in

  positions asserted at trial” and during claim construction, such

  as offering a new, alternative construction in post-trial briefing

  to “salvage” a party’s case).             Defendants further note that

  Plaintiff’s approach is inconsistent with Plaintiff’s presentation

  of its infringement case, where it did not see the need to

  distinguish allegedly infringing uses in which aflibercept was

  administered every 8 weeks in a “fixed” regimen from apparently

  non-infringing uses in which aflibercept was administered in a

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  personalized regimen where the intervals happened to fall every 8

  weeks; Plaintiff also failed to see the need to find the concept

  of skipped office visits or the terms “loading doses” and “fixed”

  administration in Defendants’ proposed prescribing information.

  (Dkt. 581, 20-28).

        Fifth, Defendants point to Dr. Csaky’s concession that “treat

  and extend and prn were clearly the dominating treatment regimens,”

  and to the extent the 8-week fixed dosing regimen is ever used, it

  is only infrequently, in “certain settings with certain patients.”

  (Tr. 1918:19-1919:11 (Csaky)). Defendants also note that Dr. Csaky

  could only tie that infrequent use to the rare situations where,

  for example, an OCT machine is not working.         (Tr. 1914:18-1915:6,

  1915:21-1916:4 (Csaky)).       According to Defendants, the at worst

  non-existent, and at best very infrequent, use of the claimed 8-

  week regimen, cannot be grounds for a showing of long-felt need.

  (See Tr. 836:20-837:8 (Albini) (long-felt need met); DDX 6.147).

        Lastly, Defendants argue that Regeneron’s evidence is not

  commensurate in scope with claim 1 (from which claim 6 depends).

  Claim 1 is drawn to all angiogenic eye disorders, including some

  for which no successful clinical trials have been run, and some

  for which aflibercept has not demonstrated efficacy. (Tr. 1273:13-

  1275:22, 1276:7-1277:7, 1279:2-1280:15 (Stewart); Tr. 1887:25-

  1888:5, 1985:18-1993:2 (Csaky); see also, generally DTX 5429; DTX

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  5430; DTX 5431; DTX 9033; DTX 9034; DTX 9035).      According to

  Defendants, reliance on a purported long-felt need for an extended

  dosing regimen for one or two disorders is not a sufficient

  representation of the claimed genus, and the evidence thus is not

  commensurate in scope with the claimed subject matter.               Asyst

  Techs., Inc. v. Emtrak, Inc., 544 F.3d 1310, 1316 (Fed. Cir. 2008)

  (citing In re Grasselli, 713 F.2d 731, 743 (Fed. Cir. 1983)).

        Defendants thus argue that Plaintiffs have not met their

  burden of showing that any long-felt need existed for the claimed

  dosing   regimens   as   of   January   2011,   and   certainly   have   not

  presented   long-felt    need   evidence   sufficient    to   overcome   the

  showing of obviousness made by Defendants.

        On failure of others, Defendants respond to the testimony of

  Plaintiff’s expert by pointing to many of the same shortcomings

  that plagued Plaintiff’s long-felt need evidence, including, inter

  alia: there was no evidence presented of any failure to develop an

  isotonic formulation or failure to administer 2 mg of aflibercept

  every 4 weeks for the first 5 injections in the treatment of DME;

  the “fixed extended” dosing concept involving 8-week injection

  intervals already had been published; and Dr. Albini’s unrebutted

  testimony that regimens existed in the prior art, including PRN,

  which eliminated the need for monthly injections, and treat-and-

  extend, which eliminated the need for both monthly injections and

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  monthly office visits. (See DTX 204.4; PTX 722.2-3 (“Dr. Brown:

  … I treat and extend from the start.          I give 3 monthly injections

  and see them in 8 weeks.”); DTX 2040.24; DTX 3131.1, 4, 14; DTX

  3198.2; DTX 4113.8; DTX 4192.18; DTX 4194.13; see also Tr. 831:6-

  838:21 (Albini)).

        Defendants also point to the testimony of Plaintiff’s expert

  Dr. Csaky, which Defendants argue is lacking, because Dr. Csaky’s

  opinions include only a high-level discussion of Macugen, a drug

  that had fallen out of favor years prior to the approval of

  aflibercept.       (Tr.   1916:17-1917:5      (Csaky)).     However,    Dr.

  Yancopoulos admitted that Macugen was a “game changer.”                (Tr.

  122:8-14 (Yancopoulos)).      Even if Macugen was a failure, this was

  resolved    by   the   success    of   ranibizumab.        (Tr.   122:8-14

  (Yancopoulos) (“Macugen sort of disappeared because the Lucentis

  was better.”). And physicians had being using ranibizumab to treat

  angiogenic eye disorders, after any so-called failure of Macugen.

  (See PTX 722).

        Dr. Csaky also pointed to the failure of Beovu, a drug that

  experienced post-approval safety issues.            (Tr. 1828:21-1829:12

  (Csaky)). Dr. Csaky admitted that Beovu (brolucizumab) was a

  “weirdo kind of molecule,” but did not attribute the failure to

  the dosing regimen.        (Tr. Id.) Defendants also point to the

  testimony of their own expert, Dr. Albini, which they note has

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  gone    unrebutted, about the availability of extended dosing

  regimens, including treat and extend, that allow for personalized

  treatment while minimizing the need for both injections and office

  visits.    (Tr. 831:6-837:8 (Albini); PTX 722.2-3 (“Dr. Brown: … I

  treat and extend from the start.       I give 3 monthly injections and

  see them in 8 weeks.”); DTX 2040.24; DTX 4113.8 (“In the ‘treat-

  and-extend’ approach … treatment is administered at each patient

  visit, even in the absence of macular edema. If the macula remains

  free of edema, and the vision is stable, the interval between

  visits is extended to a maximum of 10-11 weeks.”); DTX 4194.13;

  DTX 3131.14 (“There are other strategies that may yield similar or

  even better VA outcomes and that require fewer visits.             One such

  strategy is known as treat and extend, which is particularly

  appealing for use in routine clinical practice.”); DTX 3215.2

  (treat and extend results in “fewer patient visits and treatments

  than monthly dosing”)).

         On unexpected results, Defendants note that Dr. Csaky failed

  to     present   any   such   unexpected     results   testimony     during

  Plaintiff’s rebuttal case, and failed to present any testimony as

  to what constitutes the closest prior art or how any results

  compare to the closest prior art.         (Tr. 1921:17-1922:5 (Csaky)).

         In addition, Defendants point to the evidence presented by

  Defendants’ expert Dr. Albini, and his testimony regarding the

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  lack of unexpected results. For example, Dr. Albini testified as

  to the prior art disclosures of the positive results obtained with

  aflibercept in treating AMD patients in a Phase 2 clinical trial,

  using a regimen that involved even less frequent dosing than the

  regimen used in the Phase 3 clinical trial.                 (Tr. 842:3-10

  (Albini); DTX 204.4 (reporting the results of the Phase 2 CLEAR-

  IT-2 clinical trial); see also, generally DTX 2733; DTX 3102; DTX

  3115; DTX 4061; DDX 6.150-152).       Specifically, Dr. Albini pointed

  to the 2009 Dixon prior art reference for its disclosure that

  patients who were treated with just 4 monthly doses, followed by

  PRN   dosing,    where   patients   received,    on   average,   just   1.6

  injections over the remainder of the one-year trial, achieved

  average visual acuity gains of 9.0 ETDRS letters, and 29% gained

   15 letters by 52 weeks.            (Tr. 840:18-841:21, 940:13-941:3

  (Albini); DTX 204.4; DDX 6.151).             Dr. Albini also testified

  regarding disclosures in Dixon that the median time to first re-

  injection in all Phase 2 patient groups was 110 days, or about 15-

  16 weeks, an interval longer than the claimed 8-week intervals,

  undermining any claims of unexpected results for the 8-week dosing

  regimens.       (Tr. 841:22-25, 941:4-11 (Albini); DTX 204.4; DDX

  6.153).     Dr. Albini’s testimony on the positive data resulting

  from the aflibercept Phase 2 clinical trial went unrebutted.



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          During cross examination, Plaintiff’s expert Dr.                  Csaky

  conceded that the Phase 2 clinical trial results demonstrated that

  some patients required no injections at all during the PRN phase

  of the trial (i.e., between week 12 and week 52), meaning some

  patients     went    40   weeks   without     requiring    an    injection   of

  aflibercept.      (Tr. 1977:7-1978:5 (Csaky); DTX 3173.12).          Dr. Csaky

  also conceded that the median time to reinjection just in the Q4

  loading arm was 150 days, or about 5 months.                    (Tr. 1978:6-13

  (Csaky); DTX 3173.13).        Dr. Csaky further conceded that 100% of

  the patients in the Q4 loading arm of the CLEAR-IT-2 trial achieved

  the commonly used clinical trial endpoint of fewer than 15 letters

  lost.     (Tr. 1978:14-21 (Csaky); DTX 3173.19).

          Defendants underscore that even if Plaintiff attempts to rely

  upon any purported unexpected results based on the Phase 3 AMD

  clinical trial results, those results were published in the prior

  art, along with a disclosure that VEGF Trap-Eye was an iso-osmotic

  formulation, and was the formulation used in the Phase 3 clinical

  trials.     (Tr. 1979:12-1981:1 (Csaky); DTX 917.1-2; DTX 918.1).

  According    to     Defendants,   Plaintiff    has   not   adduced   at   trial

  evidence or testimony that establishes a conception and reduction

  to practice date prior to November 22, 2010 (the publication date

  of the disclosures in DTX 917) for claim 6 of the ‘572 patent.

  Defendants further note that Plaintiff has argued that dosing

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  regimens in the prior art are not anticipating without knowing the

  results of Phase 3 clinical trials.          (Tr. 1885:3-1887:7 (Csaky)

  (arguing lack of anticipation because Dixon was “unclear” as to

  the   “ability”   of    alternative    dosing   strategies,   and   “th[e]

  question about efficacy was definitely on our minds” after the

  VIEW trial disclosures)).       To the extent that the Court credits

  that argument, then Defendants argue that no such Phase 3 results

  are found in the ‘601 or ‘572 patents for either DME or DR, and

  Plaintiff has therefore failed to establish a conception and

  reduction to practice date prior to the publication date of any

  such Phase 3 DME or DR results.

        Although Plaintiff’s expert Dr. Trout was not qualified as an

  expert with regard to the dosing patents, Dr. Trout offered

  testimony that the low levels of observed side effects for Eylea

  during the VIEW Phase 3 clinical trials were unexpected based on

  prior art knowledge of fusion proteins.         (Tr. 2086:13-25 (Trout)).

  First, this testimony, to the extent it was intended as secondary

  indicia evidence, was never tied to the asserted DME-DR Claims.

  (See Dkt. 506).        Second, this testimony was not specific as to

  timeframe, and the evidence of record, including other testimony

  adduced at trial, shows that the side effect profile of aflibercept

  had already been tested, described and disclosed prior to 2011.

  For example, on cross examination, Plaintiff’s other expert Dr.

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  Csaky admitted that the prior art Phase 2 aflibercept trial had

  shown there to be no serious systemic adverse events that were

  deemed drug-related.         (Tr. 1978:22-1979:1 (Csaky); DTX 3173.26).

  DTX 3173 also reported that aflibercept was “[g]enerally well

  tolerated with no drug-related serious adverse events.”                   (DTX

  3173.28).      Likewise, the 2009 Dixon reference disclosed that

  aflibercept used in Phase 1 AMD trials showed that “[n]o adverse

  systemic or ocular events were noted” and “[n]o serious adverse

  events or ocular inflammation was identified during the study.”

  (DTX 204.3).    Similarly, for Phase 2, Dixon reported that “[b]ased

  on Phase II study data, VEGF Trap-Eye seems to be generally well

  tolerated    with     no   serious    drug-related   adverse   events,”   (DTX

  204.4),     similar    to    reporting     from   Regeneron    itself,    which

  disclosed in April 2008 that “VEGF Trap-Eye was generally safe and

  well tolerated and there were no drug-related serious adverse

  events.”    (DTX 2731.1).

        Moreover, Regeneron has not managed to beat the bar set by

  monthly dosing; the claimed regimens are the same as all the other

  regimens previously disclosed in terms of efficacy. (See DTX 915.7

  (“The VEGF-Trap outcomes are essentially the same as ranibizumab.

  Furthermore, the results are very similar to the many clinical

  trials that have already assessed ranibizumab and other anti[-

  ]VEGF agents ... The study is a non-inferiority trial, not a

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  superiority trial. Statistically significant superiority                 to

  ranibizumab    was   not   shown.”);   DTX   915.11   (“[Y]ou    say   that

  aflibercept will decrease treatment burden. So does PRN dosing

  which is the primary way Lucentis and Avastin are used.”)..

        Lastly, Defendants argue that Regeneron’s evidence is not

  commensurate in scope with claim 1 (from which claim 6 depends),

  which is drawn to all angiogenic eye disorders, including some for

  which no successful clinical trials have been run, and some for

  which aflibercept has not demonstrated efficacy.            (Tr. 1273:13-

  1275:22, 1276:7-1277:7, 1279:2-1280:15 (Stewart); Tr. 1887:25-

  1888:5, 1985:18-1993:2 (Csaky); see also, generally DTX 5429; DTX

  5430; DTX 5431; DTX 9033; DTX 9034; DTX 9035).               According to

  Defendants, reliance on any unexpected results for AMD or DME is

  not a sufficient representation of the claimed genus, and the

  evidence thus is not commensurate in scope with the claimed subject

  matter.   Asyst Techs., Inc. v. Emtrak, Inc., 544 F.3d 1310, 1316

  (Fed. Cir. 2008) (citing In re Grasselli, 713 F.2d 731, 743 (Fed.

  Cir. 1983)).

        Defendants also point to the absence of any testimony or

  evidence from Plaintiff’s experts of industry praise for the

  isotonicity of the Eylea formulation or for the use of five initial

  doses spaced a month apart in the treatment of DME or DR.



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        Specifically, Defendants point to where Dr. Csaky directed

  his testimony to purported praise from the FDA and from an Ohr &

  Kaiser publication about the 8-week dosing interval. (Tr. 1917:12-

  1918:13 (Csaky)).    Defendants again highlight the fact that the 8-

  week dosing interval that Plaintiff points to in those references

  was disclosed in the prior art, and therefore was not a novel or

  inventive feature of the claims.           (See, e.g., DTX 204.4; DTX

  2730.22, 20:16-67; DTX 3198.2; Tr. 761:22-763:12, 770:4-19, 777:5-

  12, 780:15-782:10, 784:14-786:22, 812:12-813:3 (Albini)).                In

  addition, Defendants argue that to the extent the praise was

  directed to the VIEW clinical trial results, those results were

  published in the prior art, and Plaintiff has not adduced at trial

  evidence or testimony that establishes a conception and reduction

  to practice date for claim 6 of the ‘572 patent that is prior to

  the November 22, 2010 publication date of the evidence in DTX 917.

  (Tr. 1979:12-1981:1 (Csaky); DTX 917.1-2; DTX 918.1). In addition,

  as Defendants’ expert Dr. Albini testified, the praise that Dr.

  Csaky discusses was directed to different subject matter than what

  is set forth in the claims, and aspects or properties of the

  aflibercept molecule, which is the subject of much earlier patents,

  all of which have now expired.            (Tr. 845:1-18, 848:25-850:12,

  850:21-852:14 (Albini); DTX 2062.105; DTX 2730.32; DTX 4116.32;

  DTX 4900.57).      Dr. Albini further testified that Dr. Csaky’s

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  testimony and documents that Dr. Csaky relied upon were silent as

  to industry praise for EYLEA’s isotonicity or for the use of 5

  monthly injections in the treatment of DME or DR.           (Tr. 846:12-19

  (Albini)).

        Defendants argue that in view of these deficiencies and the

  inability of Plaintiff’s expert Dr. Csaky to tie any of the

  objective indicia to the purportedly novel aspects of the asserted

  claims, Plaintiff has not met its burden of showing secondary

  considerations sufficient to overcome the showing of obviousness

  presented by Defendants with respect to the asserted claims of the

  ‘601 and ‘572 patents.

        The Court also weighs, as it must in its obviousness analysis,

  any   evidence   or   testimony    of   record   relating    to   secondary

  considerations.    KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

  (2007).    However, “secondary considerations of nonobviousness …

  simply cannot overcome a strong prima facie case of obviousness.”

  Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (Fed. Cir. 2010).

  Further, to weigh against a finding of obviousness, “objective

  evidence of non-obviousness must be commensurate in scope with the

  claims which the evidence is offered to support.” In re Patel, 566

  Fed. App’x 1005, 1011 (Fed. Cir. 2014); see also In re Dill, 604

  F.2d 1356, 1361 (C.C.P.A. 1979) (“The evidence presented to rebut



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  a prima facie case of obviousness must be commensurate in scope

  with the claims to which it pertains.”).

        “But there is a more fundamental requirement that must be met

  before secondary considerations can carry the day. For objective

  evidence of secondary considerations to be accorded substantial

  weight, its proponent must establish a nexus between the evidence

  and   the   merits   of   the    claimed      invention.   Where   the   offered

  secondary consideration actually results from something other than

  what is both claimed and novel in the claim, there is no nexus to

  the merits of the claimed invention.” In re Huai-Hung Kao, 639

  F.3d 1057, 1068 (Fed. Cir. 2011) (quotations and internal citations

  omitted) (emphasis added); see also Novartis AG v. Torrent Pharms.

  Ltd., 853 F.3d 1316, 1330-31 (Fed. Cir. 2017) (“In evaluating

  whether     the   requisite     nexus   exists,   the   identified   objective

  indicia must be directed to what was not known in the prior art”);

  In re GPAC, 57 F.3d 1573, 1580 (Fed. Cir. 1995) (“[F]or objective

  evidence to be accorded substantial weight, its proponent must

  establish a nexus between the evidence and the merits of the

  claimed invention.”). Even “impressive” evidence of secondary

  considerations is not “entitled to weight” unless “it is relevant

  to the claims at issue.” In re Paulsen, 30 F.3d 1475, 1482 (Fed.

  Cir. 1994).



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          Secondary considerations “when considered with the balance of

  the obviousness evidence in the record, guard as a check against

  hindsight bias.” In re Cyclobenzaprine Hydrochloride Extended-

  Release Capsule Patent Litig., 676 F.3d 1063, 1079 (Fed. Cir.

  2012).     However, the mere fact that a party has presented some

  evidence of secondary considerations does not mean that such

  evidence controls; all of it must be weighed.                       See, e.g., id.

  (court    must    consider      “all    relevant      evidence,     including    that

  relating to the objective considerations”); Genentech, Inc. v.

  Sandoz    Inc.,   55    F.4th    1368,        1378   (Fed.   Cir.   2022)   (“[W]eak

  secondary considerations generally do not overcome a strong prima

  facie case of obviousness.”) (internal citations and quotation

  marks omitted); Sealy Tech., LLC v. SSB Mfg. Co., 825 Fed. App’x

  795, 800 (Fed. Cir. 2020) (same); NantKwest, Inc. v. Lee, 686 Fed.

  App’x     864,    873    (Fed.         Cir.     2017)    (“Moreover,        secondary

  considerations ... cannot overcome a strong prima facie case of

  obviousness.”) (internal citations and quotation marks omitted);

  Ohio Willow Wood Co. v. Alps S., LLC, 735 F.3d 1333, 1344 (Fed.

  Cir. 2013) (“[W]here a claimed invention represents no more than

  the predictable use of prior art elements according to established

  functions, … evidence of secondary indicia are frequently deemed

  inadequate to establish non-obviousness.”); Stone Strong, LLC v.

  Del Zotto Prods. of Fla., Inc., 455 Fed. App’x 964, 971 (Fed. Cir.

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  2011)    (noting “secondary considerations are inadequate                   to

  establish nonobviousness as a matter of law” where a strong prima

  facie case of obviousness is shown); Stamps.com Inc. v. Endicia,

  Inc., 437 Fed. App’x 897, 905 (Fed. Cir. 2011) (evidence of

  secondary considerations is “inadequate to overcome” a “strong

  showing of obviousness”); Agrizap, Inc. v. Woodstream Corp., 520

  F.3d    1337,    1344   (Fed.   Cir.   2008)    (“[O]bjective    evidence   of

  nonobviousness simply cannot overcome … a strong prima facie case

  of obviousness”); Leapfrog Enters., Inc. v. Fisher-Price, Inc.,

  485 F.3d 1157, 1162 (Fed. Cir. 2007) (“[G]iven the strength of the

  prima    facie    obviousness    showing,      the   evidence   on   secondary

  considerations was inadequate to overcome a final conclusion that

  [the claim] would have been obvious.”); DyStar Textilfarben GmbH

  & Co. Deutscheland KG v. C.H. Patrick Co., 464 F.3d 1356, 1371

  (Fed. Cir. 2006) (“[S]econdary considerations of nonobviousness

  are insufficient as a matter of law to overcome our conclusion

  that the … claim [at issue] would have been obvious.”); Richardson-

  Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1484 (Fed. Cir. 1997)

  (“The unexpected results and commercial success of the claimed

  invention, although supported by substantial evidence, do not

  overcome the clear and convincing evidence that the subject matter

  sought to be patented is obvious.”)



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        Here, the Court agrees with the Defendants that Plaintiff has

  not tied any of the asserted secondary indicia to the aspects of

  the claims that Plaintiff has relied upon to attempt to distinguish

  the asserted claims from the prior art: the isotonicity of the

  formulation (claim 6 of the ‘572 patent), and 5 monthly “loading

  doses” (claims 11 and 19 of the ‘601 patent, and claim 25 of the

  ‘572 patent.      As a result, Plaintiff has not established the

  required nexus that must be shown between the secondary indicia

  and any novel aspects of the claims.          In re Huai-Hung Kao, 639

  F.3d 1057, 1068 (Fed. Cir. 2011); Vanda Pharms. Inc. v. Teva

  Pharms. USA, Inc., No. 2023-1247, 2023 WL 3335538, at *4 (Fed.

  Cir. May 10, 2023) (industry praise must be tied to claimed

  method).

        In addition to the lack of a demonstrated nexus, the Court

  agrees with Defendants that the secondary considerations evidence

  presented by Plaintiff is not commensurate in scope with the

  claims, including claim 6, which is drawn to all angiogenic eye

  disorders.    Defendants correctly point out that the long list of

  angiogenic eye disorders, (e.g., PTX3.16, 5:30-48), include some

  for which no clinical trials have never been run, and some for

  which aflibercept has not demonstrated efficacy.            (Tr. 1273:13-

  1275:22, 1276:7-1277:7, 1279:2-1280:15 (Stewart); Tr. 1887:25-

  1888:5, 1985:18-1993:2 (Csaky); see also, generally DTX 5429; DTX

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  5430; DTX 5431; DTX 9033; DTX 9034; DTX 9035).      This renders

  Plaintiff’s focus on a narrow set of disorders for its secondary

  considerations case insufficient to represent the full scope of

  the claimed genus, and the evidence thus is not commensurate in

  scope with the claimed subject matter.           Asyst Techs., Inc. v.

  Emtrak,   Inc.,   544   F.3d   1310,   1316   (Fed.   Cir.   2008)   (In   re

  Grasselli, 713 F.2d 731, 743 (Fed. Cir. 1983)).

        Evidence that the industry praised a claimed invention is

  relevant to the obviousness analysis because industry participants

  are unlikely to praise an obvious development over the prior art.

  Apple Inc. v. Samsung Elecs. Co., Ltd., 839 F.3d 1034, 1053 (Fed.

  Cir. 2016).     However, for the praise to be relevant it must be

  tied to the claimed invention, here the claimed methods. Vanda

  Pharms. Inc. v. Teva Pharms. USA, Inc., No. 2023-1247, 2023 WL

  3335538, at *4 (Fed. Cir. May 10, 2023) (industry praise must be

  tied to claimed method).

        For example, the industry praise that Plaintiff and its expert

  Dr. Csaky point to say nothing of isotonicity or DME-DR loading

  doses, and appear to instead be directed to either properties of

  the aflibercept molecule itself, which the Court understands was

  the subject of earlier-filed and now-expired patents, or the VIEW

  two-month dosing interval and results of that trial.           (Tr. 845:1-

  18, 846:12-19, 848:25-850:12, 850:21-852:14 (Albini); DTX 204.5;

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  DTX 2062.105; DTX 2730.32; DTX 2731.1; DTX 4116.32; DTX 4900.57).

  The two-month dosing interval was in the prior art, a fact not

  disputed by Plaintiff, and the asserted claims are not drawn to

  any particular visual acuity levels.               In any event, the VIEW

  clinical trial results were in AMD, and therefore not relevant to

  the subject matter of the DME-DR Claims.

        Failure of others to solve “the problem that a patent purports

  to   solve,”   is    relevant   to   the    obviousness    analysis.      In   re

  Cyclobenzaprine      Hydrochloride     Extended-Release        Capsule   Patent

  Litig., 676 F.3d 1063, 1082 (Fed. Cir. 2012).                  “The purpose of

  evidence of failure of others is to show ‘indirectly the presence

  of a significant defect in the prior art, while serving as a

  simulated laboratory test of the obviousness of the solution to a

  skilled artisan.’”       Id. (quoting Symbol Techs., Inc. v. Opticon,

  Inc., 935 F.2d 1569, 1578-79 (Fed. Cir. 1991)).                 The failure of

  others analysis requires that the Court define the problem the

  patent purports to solved.           Mintz v. Dietz & Watson, Inc., 679

  F.3d 1372, 1378 (Fed. Cir. 2012).               “Long-felt need is closely

  related   to   the    failure   of   others.     Evidence      is   particularly

  probative of obviousness when it demonstrates both that a demand

  existed for the patented invention, and that others tried but

  failed    to    satisfy     that     demand.”     In      re   Cyclobenzaprine



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  Hydrochloride Extended-Release Capsule Patent Litig., 676 F.3d

  1063, 1082 (Fed. Cir. 2012).

        However, when the need was already satisfied by the prior art

  or the differences between the prior art and the claimed invention

  are minimal, there cannot be any long-felt unmet need.             Geo. M.

  Martin Co. v. All. Mach. Sys. Int’l LLC, 618 F.3d 1294, 1304 (Fed.

  Cir. 2010) (“Where the differences between the prior art and the

  claimed invention are as minimal as they are here, however, it

  cannot be said that any long-felt need was unsolved.”); Cubist

  Pharms., Inc. v. Hospira, Inc., 805 F.3d 1112, 1126 (Fed. Cir.

  2015) (“[D]aptomycin treatment regimens that were only slightly

  different from Cubist’s had previously been shown to be effective

  against a variety of bacterial infections. Although the prior art

  daptomycin treatment methods had not proved effective for SAE, the

  court noted that SAE is the target infection in only about 5% of

  the cases in which daptomycin is administered. Accordingly, the

  court concluded that any “long-felt need” or “unexpected results”

  applied only to the small percentage of cases in which daptomycin

  was used to treat SAE.”)

        Likewise, with failure of others and long-felt need, no

  evidence was presented that others failed or had a long-felt need

  for an isotonic formulation of aflibercept or for a regimen that

  included 5 initial monthly doses for the treatment of DME or DR.

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  In addition, the Court agrees with Defendants that the purported

  failures that Dr. Csaky points to, such as Macugen and Beovu, lack

  relevance.     First, the testimony presented at trial shows that

  Macugen was an early generation anti-VEGF therapy, and a poor VEGF

  blocker,    based   on   different   technology     than    aflibercept   and

  ranibizumab; that technology had largely fallen out of favor, being

  supplanted by ranibizumab and off-label bevacizumab years before

  aflibercept was approved.       (See Tr. 122:5-14 (Yancopoulos); Tr.

  763:16-764:17 (Albini)).       The Court does not find the limited

  Macugen evidence persuasive, including because of the timing of

  the purported Macugen failure. Acorda Therapeutics, Inc. v. Roxane

  Lab’ys, Inc., 903 F.3d 1310, 1341 (Fed. Cir. 2018) (evidence “‘not

  particularly    probative’    because      the   [failed]   study   preceded

  publications that would render the invention obvious to those of

  skill in the art”).      Second, expert testimony established that the

  use of Beovu, also a different technology than ranibizumab or

  aflibercept, was discontinued because of safety risks, and not

  because of a failure to develop a DME regimen of 5 monthly

  injections followed by every-8-week dosing, a failure to make an

  isotonic formulation, or a failure to come up with an extended

  dosing regimen.       (Tr. 861:10-21 (Albini); Tr. 1828:21-1829:12

  (Csaky)).



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        Moreover, Plaintiff’s expert Dr. Csaky did not address Dr.

  Albini’s numerous examples of extended dosing regimens in the art

  that met any purported need for an extended dosing regimen, other

  than to testify that these examples were not examples of “fixed”

  dosing.      The absence of the language “fixed” in the asserted DME-

  DR Claims has been noted elsewhere in this opinion, and the Court

  declines to read such language into the claims.            The Court also is

  persuaded that the prior art regimens that Dr. Albini presented,

  including the widespread use of PRN and treat-and-extend, show

  that the need had been met for extended regimens that reduce the

  need for monthly injections (in the case of PRN) or reduce the

  need for both injections and office visits (in the case of treat-

  and-extend).     (Tr. 831:6-837:8 (Albini); PTX 722.2-3 (“Dr. Brown:

  … I treat and extend from the start. I give 3 monthly injections

  and see them in 8 weeks.”); DTX 2040.24; DTX 4113.8 (“In the

  ‘treat-and-extend’ approach … treatment is administered at each

  patient visit, even in the absence of macular edema. If the macula

  remains free of edema, and the vision is stable, the interval

  between visits is extended to a maximum of 10-11 weeks.”); DTX

  4194.13; DTX 3131.14 (“There are other strategies that may yield

  similar or even better VA outcomes and that require fewer visits.

  One   such    strategy   is   known   as    treat   and   extend,   which   is

  particularly appealing for use in routine clinical practice.”);

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  DTX 3215.2 (treat and extend results in “fewer patient visits and

  treatments than monthly dosing”); see also DTX 204.4 (aflibercept

  PRN regimen reducing the need for monthly injections)).                 The

  existence and use of these prior art regimens, including regimens

  for aflibercept, also show that ophthalmologists had not failed in

  the development of regimens that could treat VEGF-related eye

  disorders while reducing injections and office visits.

         Lastly, the Court finds that the blocking patents, which, as

  Dr. Albini explained, claimed subject matter that would have

  prevented anyone from developing and then using extended dosing

  regimens with aflibercept, also weigh in favor of a finding that

  there has not been a demonstrated failure of others in this case.

  (Tr.   850:21-852:14    (Albini);   DTX   2062.105;    DTX   2730.32;   DTX

  4116.32; DTX 4900.57; DDX 6.165-166).         Acorda Therapeutics, Inc.

  v. Roxane Lab’ys, Inc., 903 F.3d 1310, 1341-42 (Fed. Cir. 2018).

         “Evidence of unexpected results can be used to rebut a prima

  facie case of obviousness.” Pfizer, Inc. v. Apotex, Inc., 480 F.3d

  1348, 1369 (Fed. Cir. 2007).         “The basic principle behind this

  rule is straightforward—that which would have been surprising to

  a person of ordinary skill in a particular art would not have been

  obvious.” In re Soni, 54 F.3d 746, 750 (Fed. Cir. 1995)

         The law holds that a patentee must “show that the claimed

  invention exhibits some superior property or advantage that a

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  person of ordinary skill in the relevant art would have found

  surprising or unexpected” compared to the closest prior art.                 In

  re Geisler, 116 F.3d 1465, 1469 (Fed. Cir. 1997) (cleaned up); see

  also Bristol-Myers Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d

  967, 977 (Fed. Cir. 2014) (“To be particularly probative, evidence

  of unexpected results must establish that there is a difference

  between the results obtained and those of the closest prior art,

  and that the difference would not have been expected by one of

  ordinary skill in the art at the time of the invention.”); Alcon,

  Inc. v. Teva Pharms. USA, Inc., 664 F. Supp. 2d 443, 464 (D. Del.

  2009) (“When ‘unexpected’ and ‘significant’ differences exist

  between the properties of the claimed invention and those of the

  prior art, a finding of nonobviousness may be warranted.”) (relying

  on Eli Lilly & Co. v. Zenith Goldline Pharms., Inc., 471 F.3d 1369,

  1378 (Fed. Cir. 2006)).

        However,     unexpected    results        also   “do   not     necessarily

  guarantee   that    a   new   [product]    is    nonobvious.”      Bristol-Myers

  Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967, 977 (Fed. Cir.

  2014). “While a ‘marked superiority’ in an expected property may

  be enough in some circumstances to render a [product] patentable,

  a mere difference in degree is insufficient.” Id. (citation and

  internal quotation marks omitted).



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        Here, Dr. Csaky did not present any evidence that results for

  DME-DR using a regimen of 5 monthly injections followed by every-

  8-week dosing were unexpected.              On claim 6, no evidence was

  presented on unexpected results, but the Court did receive some

  limited testimony from Dr. Csaky in the context of reasonable

  expectation    of    success,    where    oblique   reference       was   made   to

  “incredible results” from the VIEW AMD clinical trials.                       (Tr.

  1867:2-15     (Csaky)).        However,     as   Defendants        observe,   this

  discussion was not tied to the purportedly novel aspect of claim

  6—isotonicity       of   the    formulation—and     there     is     little-to-no

  evidence of record with regard to any unexpected results stemming

  from the isotonicity of the Eylea formulation.                 The Court also

  received no evidence from Plaintiff as to the closest prior art,

  or what any unexpected results are being compared to, rendering

  Plaintiff’s unexpected results assertions insufficient.                   Bristol-

  Myers Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967, 977 (Fed.

  Cir. 2014) (“To be particularly probative, evidence of unexpected

  results must establish that there is a difference between the

  results obtained and those of the closest prior art…”).

        In addition, when assessing unexpected results, any evidence

  that is in fact provided should be “weighed against contrary

  evidence indicating that the results were not unexpected or not a

  substantial improvement over the prior art.” See Santarus, Inc. v.

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  Par Pharm., Inc., 720 F. Supp. 2d 427, 457 (D. Del. 2010), rev’d

  on other grounds, 694 F.3d 1344 (Fed. Cir. 2012) (relying upon In

  re Soni, 54 F.3d 746, 751 (Fed. Cir. 1995)).       Here, for the results

  in general, as they relate to observations of visual acuity gains

  in the VIEW clinical trials, Dr. Albini testified as to the

  successes observed in the Phase 2 aflibercept AMD clinical trial,

  including the relatively few number of PRN injections required

  after the 4 monthly loading doses, and the long interval between

  the end of the initial doses and the first as-needed injection,

  pointing to a duration of action of aflibercept that would be

  expected to cover an 8-week interval. (Tr. 840:15-842:10 (Albini);

  DTX 204.4; DDX 6.150-154; see also Tr. 1977:7-1979:11 (Csaky); DTX

  3173.6, 12-13, 19, 26, 28). Dr. Csaky did not contest or otherwise

  rebut the data reported for the aflibercept Phase 2 clinical trial.

        In conclusion, the Court finds that Regeneron failed to

  demonstrate that any secondary considerations of non-obviousness

  overcome the showing of obviousness presented by Defendants.

                                IV.   CONCLUSION

        For the reasons discussed, the Court concludes as follows:

        1.   Regeneron has demonstrated by a preponderance of the

  evidence that the Defendants have infringed claims 4, 7, 9, 11,

  14, 15, 16, and 17 of the ’865 Patent;



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        2.      Regeneron has demonstrated by a preponderance of the

  evidence that the Defendants will induce infringement of claims 6

  and 25 of the ’572 Patent and claims 11 and 19 of the ’601 Patent;

        3.     Mylan   has     not   demonstrated   by    clear   and    convincing

  evidence that claims 4, 7, 9, 11, 14, 15, 16, and 17 of the ’865

  Patent are anticipated or obvious in light of the prior art or

  invalid under 35 U.S.C. § 112 for lack of written description,

  lack of enablement, or indefiniteness.

        4.     Mylan   has     not   demonstrated   by    clear   and    convincing

  evidence that claim 6 of the ’572 Patent is invalid as anticipated;

        5.     Mylan has demonstrated by clear and convincing evidence

  that claim 6 of the ’572 Patent is invalid as obvious;

        6.     Mylan   has     not   demonstrated   by    clear   and    convincing

  evidence     that    claim    25   of   the   ‘572     patent   is    invalid   as

  anticipated;

        7.     Mylan has demonstrated by clear and convincing evidence

  that claim 25 of the ‘572 patent is invalid as obvious;

        8.     Mylan   has     not   demonstrated   by    clear   and    convincing

  evidence     that    Claim    11   of   the   ‘601     Patent   is    invalid   as

  anticipated;

        9.     Mylan has demonstrated by clear and convincing evidence

  that Claim 11 of the ‘601 patent is invalid as obvious;



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        10. Mylan has demonstrated by clear and convincing evidence

  that Claim 19 of the ‘601 Patent is invalid as obvious; and

        11.   The Oral Motion for Judgment [ECF No. 548] is DENIED.

        Out   of   an   abundance   of   caution,   the   Court   enters   this

  Memorandum Opinion and Order under seal.           The parties shall meet

  and confer to discuss which portions of this Memorandum Opinion

  can be unsealed.      They shall submit a joint proposed redaction for

  the Court’s review on or before January 10, 2024.

        It is so ORDERED.

        The Clerk is directed to transmit copies of both orders to

  counsel of record and to enter a separate judgment order.

        DATED: December 27, 2023




                                      THOMAS S. KLEEH, CHIEF JUDGE
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